         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 1 of 231


                     Bank
                     America's Most Convenient Bank®                      T   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                            Page:                                      1 of2
      SALES                                                                   Statement Period:   Aug 05 2013-Aug 31 2013
                                                                                                    REDACTED
      18 GRAF ROAD UNIT 26                                                    CustRef#:                      4532-713-T-###
                                                                                                                REDACTED
      NEWBURYPORT MA 01950-4032                                               Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                               Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                                 0.00                Average Collected Balance              7,328.22
Deposits                                                         40.00                Annual Percentage Yield Earned            0.00%
Electronic Deposits                                           9,960.00                Days in Period                                27

Electronic Payments                                             618.99
Ending Balance                                                9,381.01

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DA TE                DESCRIPTION                                                                                         AMOUNT
8/5                          DEPOSIT                                                                                              40.00
                                                                                                    Subtotal:                     40.00
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                         AMOUNT
8/12                         eTransfer Credit, Online Xfer                                                                   9,960.00
                                  Transfer from CK REDACTED 3112
                                                                                                    Subtotal:                9,960.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                         AMOUNT
8/27                         DEBIT CARD PURCHASE, AUT 082713 VISA DDA PUR                                                         59.95
                                 SEEKINGARR         775 450 4856 * NV
                                 REDACTED 3873
8/28                         TD ATM DEBIT, AUT 082813 DDA WITHDRAW                                                               500.00
                                 1197 CENTRE STREET    NEWTON CENTRE* MA
                                 REDACTED 3873
8/30                         DEBIT CARD PURCHASE, AUT 083013 VISA DDA PUR                                                         49.04
                                 LEGAL HARBORSIDE        BOSTON      * MA
                                 REDACTED 3873
8/30                         DEBIT CARD PURCHASE, AUT 083013 VISA DDA PUR                                                         10.00
                                 MASSAUTHPRKG CONGRESS        EAST BOSTON * MA
                                 REDACTED 3873
                                                                                                    Subtotal:                    618.99
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                DATE                                      BALANCE
8/5                                                             0.00               8/27                                      9,940.05
8/5                                                            40.00               8/28                                      9,440.05
8/12                                                       10,000.00               8/30                                      9,381.01



Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured j TD Bank, N.A I Equal Housing Lender      @
          Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 2 of 231


How to Balance your Account                                                                                                                                       Page:                     2 of2

Begin by adjusting your account register                            i.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0                                                                        0
DEPOSITS NOT                DOLLARS             CENTS                    WITIIDRAWALS N01   DOLLARS           CENTS                   WITIIDRAWALS NO              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you belieYe there is an      ln case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                 Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                         If you need more information, describe the item you are unsure about.
      Your name and account number.                                                          You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
                                                                                             are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in            collect the amount you question.
writing within ten (10) business days after the first telephone call.
                                                                                             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
We will investigate your complaint and will correct any error promptly. If we take
more than ten (10) business days to do this, we will credit your account for the             the finance charge on your Moneyline/Overdraft Protection accotult (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
                                                                                             charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta."X authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 3 of 231

                      Bank
                      America's Most Convenient Bank®                               T         STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                            Page:                                        1of4
      SALES                                                                                   Statement Period:     Sep 01 2013-Sep 30 2013
                                                                                                                      REDACTED
      18 GRAF ROAD UNIT 26                                                                    Cust Ref#:                       4532-713-T-###
                                                                                                                                  REDACTED
      NEWBURYPORT MA 01950-4032                                                               Primary Account#:                            4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                                 Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                              9,381.01                                  Average Collected Balance            6,843.08
                                                                                                         Annual Percentage Yield Earned          0.00%
Electronic Payments                                            5,052.95                                  Days in Period                              30
Service Charges                                                    8.00
Ending Balance                                                 4,320.06

DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                         AMOUNT
913                           TD ATM DEBIT, AUT 090313 DDA WITHDRAW                                                                               500.00
                                      1197 CENTRE STREET                      NEWTON CENTRE* MA
                                      REDACTED 3873
913                           TD ATM DEBIT, AUT 090313 DDA WITHDRAW                                                                               200.00
                                      1197 CENTRE STREET                      NEWTON CENTRE* MA
                                      REDACTED 3873
913                           DEBIT CARD PURCHASE, AUT 090313 VISA DDA PUR                                                                        182.39
                                      THE MOORING SEAFOO                       NEWPORT        * RI
                                      REDACTED 3873
915                           TD ATM DEBIT, AUT 090513 DDA WITHDRAW                                                                               400.00
                                      1197 CENTRE STREET                      NEWTON CENTRE* MA
                                      REDACTED 3873
919                           DEBIT CARD PURCHASE, AUT 090913 VISA DDA PUR                                                                         87.95
                                      FLORIST RU                      KAZAN          R US
                                      REDACTED 3873
9/11                          DEBIT CARD PURCHASE, AUT 091113 VISA DDA PUR                                                                         76.99
                                      THE CHATHAM SQUIRE                       CHATHAM        *MA
                                      REDACTED 3873
9/12                          DEBIT CARD PURCHASE, AUT 091213 VISA DDA PUR                                                                         99.95
                                      CBI CLEVERBRIDGE INC                     866 522 6855 * IL
                                      REDACTED 3873
9/16                          NONTD ATM DEBIT, AUT 091613 DDA WITHDRAW                                                                            389.61
                                      FOUR POINTS TORONTO ON                     MISSISSAUG        CAN
                                      REDACTED 3873
9/16                          NONTD ATM FEE                                                                                                         2.00
9117                          TD ATM DEBIT, AUT 091713 DDA WITHDRAW                                                                               400.00
                                      95 WASHINGTON ST STE 226                  CANTON        *MA
                                      REDACTED 3873
9/17                          TD ATM DEBIT, AUT 091713 DDA WITHDRAW                                                                               200.00
                                      95 WASHINGTON ST STE 226                  CANTON        * MA
                                      REDACTED 3873


Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender     'CEl'
          Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 4 of 231


 How to Balance your Account                                                                                                                                      Page:                    2 of4

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                    4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.              withdrawals that do not appear on
                                       this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                   s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your                                    balance should equal your account
ending account balance.                                                   balance.




a
DEPOSITS NOT                DOLLARS             CENTS                     WITHDRAWALS NOl   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS             CENTS
ON STATEMENT                                                              ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone nwnber listed on the front of your
statement or write to:                                                                      your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can. why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The do!lar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and \Vill correct any error promptly. If we take         FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the tenn "ODP"
amount you think is in error. so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the
                                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta\: authorities. The amount to be reported will be
reported separately to you by the Bank.                                                     Period times the Daily Periodic Rate (as listed in the Account Summary section on
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
          Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 5 of 231

                      Bank
                      America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      3 of4
     SALES                                                                                Statement Period:   Sep 01 2013-Sep 30 2013
                                                                                                                REDACTED
                                                                                          CustRef#:                      4532-713-T-###
                                                                                                                            REDACTED
                                                                                          Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
9/19                          NONTD ATM DEBIT, AUT 091913 DDA WITHDRAW                                                                       403.00
                                      WATERFORD                         WATERFORD   *CT
                                      REDACTED 3873
9119                          NONTD ATM DEBIT, AUT 091913 DDA WITHDRAW                                                                       303.00
                                      WATERFORD                         WATERFORD   *CT
                                      REDACTED 3873
9/19                          NONTD ATM FEE                                                                                                    2.00
9/19                          NONTD ATM FEE                                                                                                    2.00
9/20                          DEBIT CARD PURCHASE, AUT 092013 VISA DDA PUR                                                                   144.37
                                      LUSH MOHEGAN SUN                     UNCASVILLE     * CT
                                      REDACTED 3873
9/23                          TD ATM DEBIT, AUT 092313 DDA WITHDRAW                                                                          500.00
                                      1197 CENTRE STREET                  NEWTON CENTRE * MA
                                      REDACTED 3873
9/23                          DEBIT CARD PURCHASE, AUT 092313 VISA DDA PUR                                                                   324.00
                                      ELEMIS SPA MOHEGAN SUN                 UNCASVILLE      *CT
                                      REDACTED 3873
9/23                          DEBIT CARD PURCHASE, AUT 092313 VISA DDA PUR                                                                    53.02
                                      CAPT SCOTTS LOBSTER DOC                NEW LONDON          * CT
                                      REDACTED 3873
9/24                          DEBIT CARD PURCHASE, AUT 092413 VISA DDA PUR                                                                    42.72
                                      ADOBE GILAS ROSEMO                    ROSEMONT      * IL
                                      4085373001287391
9/25                         TD ATM DEBIT, AUT 092513 DDA WITHDRAW                                                                           500.00
                                      1197 CENTRE STREET                  NEWTON CENTRE* MA
                                      REDACTED 3873
9127                         DEBIT CARD PURCHASE, AUT 092713 VISA DDA PUR                                                                    239.95
                                      2BUYSAFE COM                       SCHAAN     LIE
                                      REDACTED 3873

                                                                                                               Subtotal:                 5,052.95
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
9/30                         MAINTENANCE FEE                                                                                                   8.00
                                                                                                               Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                              DATE                                   BALANCE
8/31                                                         9,381.01                            9/12                                    7,833.73
913                                                          8,498.62                            9/16                                    7,442.12
915                                                          8,098.62                            9/17                                    6,842.12
919                                                          8,010.67                            9/19                                    6,132.12
9/11                                                         7,933.68                            9120                                    5,987.75

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Bank Deposits FDIC Insured I TD Bank. N.A.1 Equal Housing Lender    @
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 6 of 231

                     Bank
                     America's Most Convenient Bank®                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                         Page:                                     4 of4
     SALES                                                                Statement Period:   Sep 01 2013-Sep 30 2013
                                                                                                REDACTED
                                                                          CustRef#:                      4532-713-T-###
                                                                          Primary Account#:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE           DATE                                      BALANCE
9/23                                                         5,110.73         9/27                                          4,328.06
9/24                                                         5,068.01         9130                                          4,320.06
9/25                                                         4,568.01




Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured I TD Bank. N.A.1 Equal Housing Lender      @
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 7 of 231

                      Bank
                      America's Most Convenient Bank®                     T   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                             Page:                                     1of4
     SALES                                                                    Statement Period:   Oct 01 2013-0ct 31 2013
                                                                                                   REDACTED
     18 GRAF ROAD UNIT 26                                                     CustRef#:                     4532-713-T-###
                                                                                                               REDACTED
     NEWBURYPORT MA 01950-4032                                                Primary Account#:                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                              Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                              4,320.06               Average Collected Balance            3,733.63
Electronic Deposits                                            4,395.80               Annual Percentage Yield Earned          0.00%
                                                                                      Days in Period                              31
Electronic Payments                                            4,485.39
Service Charges                                                    8.00
Ending Balance                                                 4,222.47

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
10/21                         eTransfer Credit, Online Xfer                                                                4,200.00
                                   Transfer from CK REDACTED 3112
10/30                         DEBIT CARD CREDIT, AUT 103013 VISA DDA REF                                                       195.80
                                   AMERICAN AI 001731581198 ATLANTA  *GA
                                   REDACTED 3873
                                                                                                   Subtotal:               4,395.80
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
10/3                          DEBIT CARD PURCHASE, AUT 100313 VISA DDA PUR                                                      68.78
                                  MET BAR GRILL       NATICK      *MA
                                  REDACTED 3873
10/7                          TD ATM DEBIT, AUT 100713 DDA WITHDRAW                                                            700.00
                                  1197 CENTRE STREET    NEWTON CENTRE * MA
                                  REDACTED 3873
10/7                          NONTD ATM DEBIT, AUT 100713 DDA WITHDRAW                                                         502.00
                                  CHESTNUT HILL REMOTE     NEWTON       * MA
                                  REDACTED 3873
10/7                          DEBIT CARD PURCHASE, AUT 100713 VISA DDA PUR                                                     372.85
                                  22 BOWEN WINE BAR       NEWPORT     *RI
                                  REDACTED 3873
10/7                          NONTDATMFEE                                                                                        2.00
10/9                          DEBIT CARD PURCHASE, AUT 100913 VISA DDA PUR                                                     119.95
                                  HKXPAY COM           18778127144 G BR
                                  REDACTED 3873
10/15                         DEBIT CARD PURCHASE, AUT 101513 VISA DDA PUR                                                      10.25
                                  GULF OIL 92038875    NATICK      *MA
                                  REDACTED 3873
10/21                         TD ATM DEBIT, AUT 102113 DDA WITHDRAW                                                            700.00
                                  1197 CENTRE STREET     NEWTON CENTRE* MA
                                  REDACTED 3873

Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured I TD Bank, N.A. l Equal Housing Lender     @
           Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 8 of 231


How to Balance your Account                                                                                                                                      Page:                     2 of4

Begin by adjusting your account register                             1   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                    WIIBDRAW ALS NO   DOLLARS           CENTS                   WIIBDRA W ALS NO             DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                      your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-I377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                   If you need more information, describe the item you are unsure about.
       Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amount and date of the suspected error.                                   are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Money line/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD'1 refers to Overdraft Protection), the Bank discloses the Average Daily Ba.lance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge. multiply the Average Daily Ba.lance times the Days in
Internal Revenue Service and State tax. authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 9 of 231

                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                     3 of4
     SALES                                                                                  Statement Period:   Oct 01 2013-0ct 31 2013
                                                                                                                 REDACTED
                                                                                            Cust Ref#:                    4532-713-T-###
                                                                                                                             REDACTED
                                                                                            Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
10/21                         DEBIT CARD PURCHASE, AUT 102113 VISA DDA PUR                                                                    104.92
                                      FLORIST RU                    KAZAN       R US
                                      REDACTED 3873
10/21                         DEBIT CARD PURCHASE, AUT 102113 VISA DDA PUR                                                                      67.25
                                      OGA S JAPANESE CUISINE                NATICK      *MA
                                      REDACTED 3873
10/21                         DEBIT CARD PURCHASE, AUT 102113 VISA DDA PUR                                                                      42.75
                                      JORDANS FURNITURE 5                 NATICK        *MA
                                      REDACTED 3873
10/21                         DEBIT CARD PURCHASE, AUT 102113 VISA DDA PUR                                                                      25.00
                                      STARBUCKS 07218 FRAMING                FRAMINGHAM            *MA
                                      REDACTED 3873
10/23                         NONTD ATM DEBIT, AUT 102313 DDA WITHDRAW                                                                        503.00
                                      72ND AND FIRST A VENUE               NEW YORK         * NY
                                      REDACTED 3873
10/23                         DEBIT POS, AUT 102313 DDA PURCHASE                                                                              131.74
                                      SEPHORA 112                   NEW YORK         * NY
                                      REDACTED 3873
10/23                         DEBIT CARD PURCHASE, AUT 102313 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
10/23                         NONTD ATM FEE                                                                                                      2.00
10/24                         DEBIT POS, AUT 102413 DDA PURCHASE                                                                               155.27
                                      TERRAIN 3002 TERRAIN 300              WESTPORT        * CT
                                      REDACTED 3873
10/28                         DEBIT CARD PURCHASE, AUT 102813 VISA DDA PUR                                                                      26.83
                                      WORLDDATING                       44203002074 G BR
                                      REDACTED 3873
10/29                         NONTD ATM DEBIT, AUT 102913 DDA WITHDRAW                                                                        703.00
                                      KENMORE SQUARE MAJOR R                 BOSTON          * MA
                                      REDACTED 3873
10/29                         DEBIT CARD PURCHASE, AUT 102913 VISA DDA PUR                                                                     195.80
                                      AMERICAN AI 001731581198              ATLANTA         *GA
                                      REDACTED 3873
10/29                         DEBIT CARD PURCHASE, AUT 102913 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 * WA
                                      REDACTED 3873
10/29                         NONTD ATM FEE                                                                                                      2.00
                                                                                                                 Subtotal:                4,485.39




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Bank Deposits FDIC Insured I TD Bank. N.A. j Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                     4 of4
     SALES                                                               Statement Period:   Oct 01 2013-0ct 31 2013
                                                                                              REDACTED
                                                                         CustRef#:                     4532-713-T-###
                                                                         Primary Account#:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DA TE                 DESCRIPTION                                                                                  AMOUNT
10/31                         MAINTENANCE FEE                                                                                8.00
                                                                                             Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE         DATE                                     BALANCE
9/30                                                          4,320.06        10/23                                    5,142.57
10/3                                                          4,251.28        10/24                                    4,987.30
10/7                                                          2,674.43        10/28                                    4,960.47
10/9                                                          2,554.48        10/29                                    4,034.67
10/15                                                         2,544.23        10/30                                    4,230.47
10/21                                                         5,804.31        10/31                                    4,222.47




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                           T           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      1 of5
     SALES                                                                                  Statement Period:   Nov 01 2013-Nov 30 2013
                                                                                                                  REDACTED
     18 GRAF ROAD UNIT 26                                                                   CustRef#:                      4532-713-T-###
                                                                                            Primary Account#:                 REDACTED
     NEWBURYPORT MA 01950-4032                                                                                                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                             4,222.47                              Average Collected Balance              3,304.90
Electronic Deposits                                          17,771.86                              Annual Percentage Yield Earned            0.00%
                                                                                                    Days in Period                                30
Electronic Payments                                           5,971.14
Service Charges                                                   8.00
Ending Balance                                               16,015.19

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRJPTION                                                                                                      AMOUNT
1114                          DEBIT CARD CREDIT, AUT 110413 VISA DDA REF                                                                       271.86
                                      PORTER ARC 451731665052               WEST LEBANON *NH
                                      REDACTED 3873
11115                         eTransfer Credit, Online Xfer                                                                                2,500.00
                                       Transfer from CK REDACTED 3112
11/29                         eTransfer Credit, Online Xfer                                                                               15,000.00
                                       Transfer from CK REDACTED 3112

                                                                                                                  Subtotal:               17,771.86
Electronic Payments
POSTING DATE                  DESCRJPTION                                                                                                      AMOUNT
11/4                          TD ATM DEBIT, AUT 110413 DDA WITHDRAW                                                                            700.00
                                      33 LOW STREET                      NEWBURYPORT       * MA
                                      REDACTED 3873
1114                          DEBIT CARD PURCHASE, AUT 110413 VISA DDA PUR                                                                     657.23
                                      ALASKA AIR 027731665052               SEATTLE        *WA
                                      REDACTED 3873
11/4                          DEBIT CARD PURCHASE, AUT 110413 VISA DDA PUR                                                                     271.86
                                      PORTER ARC 451731665052               WEST LEBANON *NH
                                      REDACTED 3873
11/4                          DEBIT CARD PURCHASE, AUT 110413 VISA DDA PUR                                                                      56.15
                                      CBS SCENE                     FOXBORO         * MA
                                      REDACTED 3873
11/4                          DEBIT CARD PURCHASE, AUT 110413 VISA DDA PUR                                                                      36.00
                                      PATRIOT PLACE 00004689                FOXBORO        *MA
                                      REDACTED 3873
11/4                          DEBIT CARD PURCHASE, AUT 110413 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 3873




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Bank Deposits FDIC Insured I TD Bank, N.A. ! Equal Housing Lender    @
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 12 of 231


 How to Balance your Account                                                                                                                                           Page:                   2 of5

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:                                                               statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                 DOLLARS            CENTS                     WITIIDRA W ALS N01   DOLLARS           CENTS                    WITIIDRAWALS NO               DOLLARS            CENTS
ON STATEMENT                                                              ON STATEMENT                                                    ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                 FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                                SUMMARY
If you need information about an electronic fund transfer or if you believe there is an         In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                                If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or \vrite to:                                                                         your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                                possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box !377, Lewiston,                                FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                                so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                      Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                      The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                      Describe the error and e;.;:plain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                       If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                                You do not have to pay any amount in question while we are investigating. but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                        are still obligated to pay the parts of your bill that are not in question. While we
                                                                                                investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                                collect the amount you question.
\\Ti ting within ten (I 0) business days after the first telephone calL
We will investigate your complaint and will correct any error promptly. If we take              FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the                the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it          or "OD" refers to Overdraft Protection). the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                            on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                                 charge. The finance charge begins to accrue on the date advances and other debits
                                                                                                are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the        To compute the finance charge. multiply the Average Daily Balance times the Days in
Internal Re\'enue Service and State ta'\'. authorities. The amount to be reported will be
                                                                                                Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                                the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                                balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                                of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                                advances have been added and payments or credits have been subtracted plus or
                                                                                                minus any other adjustments that might have occurred that day. There is no grace
                                                                                                period during which no finance charge accrues. Finance charge adjustments are
                                                                                                included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                       Page:                                       3 of5
     SALES                                                                              Statement Period:    Nov 01 2013-Nov 30 2013
                                                                                                               REDACTED
                                                                                        CustRef#:                       4532-713-T-###
                                                                                                                           REDACTED
                                                                                        Primary Account #:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                    AMOUNT
1115                         DEBIT CARD PURCHASE, AUT 110513 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                 800 782 7282 * WA
                                     REDACTED 3873
11/6                         NONTD A TM DEBIT, AUT 110613 DDA WITHDRAW                                                                      203.00
                                     360 PARKA VE                   NEWYORK       *NY
                                     REDACTED 3873
11/6                         NONTD ATM FEE                                                                                                     2.00
11/7                         DEBIT CARD PURCHASE, AUT 110713 VISA DDA PUR                                                                   266.65
                                     TAO RESTAURANT                     NEWYORK        *NY
                                     REDACTED 3873
11/7                         DEBIT CARD PURCHASE, AUT 110713 VISA DDA PUR                                                                    36.00
                                     TAO RESTAURANT                     NEWYORK        *NY
                                     REDACTED 3873
11/8                         NONTD ATM DEBIT, AUT 110813 DDA WITHDRAW                                                                         52.50
                                     1 HARBORSIDE DRIVE                 EAST BOSTON     * MA
                                     REDACTED 3873
11/8                         NONTD ATM FEE                                                                                                    2.00
11/12                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                   767.99
                                     VICTORIAS SECRET 1592               VANCOUVER       CAN
                                     REDACTED 3873
11/12                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                   374.34
                                     JOHN FLUEVOG BOOTS SHO                VANCOUVER          C AN
                                     REDACTED 3873
11112                        TD ATM DEBIT, AUT 111213 DDA WITHDRAW                                                                           191.54
                                     TD BANK                       VANCOUVER      CAN
                                     REDACTED 3873
11/12                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                     71.00
                                     SEATTLE DUTY FREE                  SEATTLE     *WA
                                     REDACTED 3873
11112                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                     42.89
                                     ALFIE ITALIA                  VANCOUVER      CAN
                                     REDACTED 3873
11112                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                     39.95
                                     SEEKINGARR                     775 450 4856 *NV
                                     REDACTED 3873
11/12                        DEBIT CARD PURCHASE, AUT 111213 VISA DDA PUR                                                                     28.00
                                     MASSAGE BAR SEATAC 1                 SEATTLE       *WA
                                     REDACTED 3873
11/13                        DEBIT CARD PURCHASE, AUT 111313 VISA DDA PUR                                                                     25.00
                                     ALASKA AIR 027213642372             BOSTON        * MA
                                     REDACTED 3873




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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      4 of5
     SALES                                                                                 Statement Period:   Nov 012013-Nov30 2013
                                                                                                                 REDACTED
                                                                                           CustRef#:                      4532-713-T-###
                                                                                           Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
11114                         DEBIT CARD PURCHASE, AUT 111413 VISA DDA PUR                                                                      21.00
                                      UNITED  016260896694              800 932 2732 *TX
                                      REDACTED 3873
11118                        DEBIT CARD PURCHASE, AUT 111513 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 3873
11121                        DEBIT CARD PURCHASE, AUT 111913 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 3873
11122                        NONTD ATM DEBIT, AUT 112213 DDA WITHDRAW                                                                          403.00
                                      CHESTNUT HILL REMOTE                 NEWTON          * MA
                                      REDACTED 3873
11122                        NONTD ATM FEE                                                                                                        2.00
11125                        DEBIT CARD PURCHASE, AUT 112013 VISA DDA PUR                                                                     1,342.70
                                      LUFTHANSA 220736295776               WEST LEBANON * NY
                                      REDACTED 3873
11/25                        DEBIT CARD PURCHASE, AUT 112313 VISA DDA PUR                                                                      188.34
                                      ROGERS   693244238                888 764 3771 CAN
                                      REDACTED 3873
11/25                        DEBIT CARD PURCHASE, AUT 112213 VISA DDA PUR                                                                        40.00
                                      MILNE TRAVEL AGENCY                   603 2986644    * NH
                                      REDACTED 3873
11126                        DEBIT CARD PURCHASE, AUT 112413 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 3873
11129                        DEBIT CARD PURCHASE, AUT 112713 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 3873

                                                                                                                 Subtotal:                    5,971.14
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                      AMOUNT
11/29                        MAINTENANCE FEE                                                                                                      8.00
                                                                                                                 Subtotal:                        8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                               DATE                                    BALANCE
10/31                                                        4,222.47                             11/12                                     645.23
11/4                                                         2,748.09                             11/13                                     620.23
11/5                                                         2,723.09                             11/14                                     599.23
1116                                                         2,518.09                             11/15                                   3,099.23
11/7                                                         2,215.44                             11/18                                   3,074.23
11/8                                                         2,160.94                             11/21                                   3,049.23

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Bank Deposits FDIC Insured I TD Bank, N.A I Equal Housing Lender    @
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                     Bank
                     America's Most Convenient Bank®                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                          Page:                                     5 of5
     SALES                                                                 Statement Period:   Nov 01 2013-Nov 30 2013
                                                                                                 REDACTED
                                                                           CustRef#:                      4532-713-T-###
                                                                           Primary Account#:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                       BALANCE             DATE                                      BALANCE
11122                                                       2,644.23            11126                                     1,048.19
11125                                                       1,073.19            11129                                    16,015.19




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Bank Deposits FDIC Insured! TD Bank, N.A I Equal Housing Lender    1B:r'
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                      Bank
                      America's Most Convenient Bank®                            T         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      1 of7
     SALES                                                                                 Statement Period:   Dec 01 2013-Dec 31 2013
                                                                                                                 REDACTED
     18 GRAF ROAD UNIT 26                                                                  Cust Ref#:                     4532-713-T-###
                                                                                           Primary Account#:                 REDACTED 4532
     NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                            Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            16,015.19                             Average Collected Balance             10,722.59
Electronic Deposits                                             589.04                             Annual Percentage Yield Earned            0.00%
                                                                                                   Days in Period                                31
Electronic Payments                                            7,562.70
Other Withdrawals                                                640.00
Service Charges                                                     8.00
Ending Balance                                                 8,393.53

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DA TE                 DESCRIPTION                                                                                                     AMOUNT
12116                         DEBIT CARD CREDIT, AUT 121613 VISA DDA REF                                                                         89.04
                                      A F 20130 6000 GLADES RO              BOCA RA TON     * FL
                                      REDACTED 3873
12/30                         ATM DEPOSIT, AUT 122813 DDA DEPOSIT                                                                              500.00
                                      1197 CENTRE STREET                   NEWTON CENTRE* MA
                                      REDACTED 3873

                                                                                                                 Subtotal:                     589.04
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
12/2                          TD ATM DEBIT, AUT 120213 DDA WITHDRAW                                                                            800.00
                                      1197 CENTRE STREET                   NEWTON CENTRE* MA
                                      REDACTED 3873
12/3                          DEBIT CARD PURCHASE, AUT 120113 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 3873
12/4                          DEBIT CARD PURCHASE, AUT 120213 VISA DDA PUR                                                                    1,542.10
                                      LUFTHANSA 220736295777                WEST LEBANON * NY
                                      REDACTED 3873
12/4                          DEBIT CARD PURCHASE, AUT 120213 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                    603 2986644   * NH
                                      REDACTED 3873
12/5                          DEBIT CARD PURCHASE, AUT 120413 VISA DDA PUR                                                                        1.50
                                      CITY OF BOSTON PAR                   BOSTON      *MA
                                      REDACTED 3873
12/9                          NONTD ATM DEBIT, AUT 120913 DDA WITHDRAW                                                                          102.50
                                      LOGAN TERtY1INAL C                   EAST BOSTON     * MA
                                      REDACTED 3873




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender      @
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 How to Balance your Account                                                                                                                                     Page:                     2 of7

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS N01   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you belieYe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                      your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information;
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                   If you need more information. describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the           the finance charge on your Moneyline/Overdraft Protection account (the tenn "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Tota! interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank.                                                     Period times the Daily Periodic Rate (as listed in the Account Summary section on
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      3 of7
     SALES                                                                                Statement Period:   Dec 012013-Dec31 2013
                                                                                                                REDACTED
                                                                                          Cust Ref#:                     4532-713-T-###
                                                                                                                            REDACTED
                                                                                          Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
12/9                          DEBIT CARD PURCHASE, AUT 120613 VISA DDA PUR                                                                    49.28
                                      BASHO JAPANESE BRA                  BOSTON        *MA
                                      REDACTED 3873
12/9                          DEBIT CARD PURCHASE, AUT 120613 VISA DDA PUR                                                                    28.54
                                      W BOSTON DINE                     BOSTON      *MA
                                      REDACTED 3873
12/9                          DEBIT CARD PURCHASE, AUT 120513 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
12/9                          DEBIT CARD PURCHASE, AUT 120613 VISA DDA PUR                                                                    14.00
                                      200 STUART ST PARKING               MASSACHUSETTS* MA
                                      REDACTED 3873
12/9                          NONTD ATM FEE                                                                                                    2.00
12/10                         DEBIT CARD PURCHASE, AUT 120913 VISA DDA PUR                                                                   139.95
                                      SEEKINGARR                    775 450 4856 * NV
                                      REDACTED 3873
12/11                         DEBIT CARD PURCHASE, AUT 120913 VISA DDA PUR                                                                    72.00
                                      MAXS GRILLE                   BOCA RA TON      * FL
                                      REDACTED 3873
12/11                         DEBIT CARD PURCHASE, AUT 120913 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
12/11                         DEBIT POS, AUT 121113 DDA PURCHASE                                                                              23.51
                                      WALGREENS 100 LINCOLN RD               MIAMI BEACH *FL
                                      REDACTED 3873
12/12                         DEBIT CARD PURCHASE, AUT 121013 VISA DDA PUR                                                                   442.97
                                      PARROT KEY HOTEL RESOR                KEY WEST        *FL
                                      REDACTED 3873
12/12                         DEBIT POS, AUT 121213 DDA PURCHASE                                                                              45.78
                                      EXXONMOBIL                    DELRAY B        *FL
                                      REDACTED 3873
12/12                         DEBIT POS, AUT 121213 DDA PURCHASE                                                                              30.08
                                      RADIOSHACK COR                     KEY WEST     *FL
                                      REDACTED 3873
12/12                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                     4.40
                                      CITY OF MIAMI BEACH PARK              MIAMI BEACH *FL
                                      REDACTED 3873
12/12                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                     2.20
                                      CITY OF MIAMI BEACH PARK              MIAMI BEACH *FL
                                      REDACTED 3873
12/13                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                   800.36
                                      APPLE STORE R087                  A VENTURA    * FL
                                      REDACTED 3873

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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      4 of7
     SALES                                                                                  Statement Period:   Dec 01 2013-Dec 31 2013
                                                                                                                  REDACTED
                                                                                            CustRef#:                      4532-713-T-###
                                                                                            Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
12113                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                     236.00
                                      JU VIA                        MIAMI BEACH * FL
                                      REDACTED 3873
12/13                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                       52.07
                                      SLS MIAMI BAZAAR                    MIAMI BEACH * FL
                                      REDACTED 3873
12/13                         DEBIT POS, AUT 121213 DDA PURCHASE                                                                                 28.10
                                      PUBLIX                        KEY WEST     * FL
                                      REDACTED 3873
12113                         DEBIT CARD PURCHASE, AUT 121113 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 3873
12/16                         TD ATM DEBIT, AUT 121513 DDA WITHDRAW                                                                            400.00
                                      450 ELSA OLAS BOULEVARD                  FT LAUDERDALE* FL
                                      REDACTED 3873
12/16                         DEBIT POS, AUT 121613 DDA PURCHASE                                                                                126.14
                                      AF 10798 6000 GLADES RD              BOCA RATON        *FL
                                      REDACTED 3873
12116                         DEBIT CARD PURCHASE, AUT 121313 VISA DDA PUR                                                                      115.00
                                      THE STONED CRAB                     305 2961043 *FL
                                      REDACTED 3873
12/16                         DEBIT POS, AUT 121613 DDA PURCHASE                                                                                111.29
                                      JUICY COUTURE 3523                  BOCA RA TON      * FL
                                      REDACTED 3873
12/16                         DEBIT POS, AUT 121613 DDA PURCHASE                                                                                 91.68
                                      BANANA REPUBLIC USA                   BOCA RA TON       * FL
                                      REDACTED 3873
12/16                         DEBIT CARD PURCHASE, AUT 121213 VISA DDA PUR                                                                       91.00
                                      SANTIAGOS BODEGA                     KEY WEST        * FL
                                      REDACTED 3873
12/16                         DEBIT POS, AUT 121613 DDA PURCHASE                                                                                 89.04
                                      AF 20130 6000 GLADES RO              BOCA RATON        *FL
                                      REDACTED 3873
12/16                         DEBIT CARD PURCHASE, AUT 121313 VISA DDA PUR                                                                       80.63
                                      BEACH CLUB                       KEY WEST     * FL
                                      REDACTED 3873
12/16                         DEBIT CARD PURCHASE, AUT 121313 VISA DDA PUR                                                                       72.00
                                      SANTIAGOS BODEGA                     KEY WEST        *FL
                                      REDACTED 3873
12/16                         DEBIT CARD PURCHASE, AUT 121513 VISA DDA PUR                                                                       67.00
                                      SKY THAI SUSHI                    FORT LAUDERDA * FL
                                      REDACTED 3873



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     ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      5 of7
     SALES                                                                                Statement Period:   Dec 012013-Dec31 2013
                                                                                                                REDACTED
                                                                                          CustRef#:                      4532-713-T-###
                                                                                          Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE                DESCRIPTION                                                                                                     AMOUNT
12/16                        DEBIT POS, AUT 121413 DDA PURCHASE                                                                               65.25
                                     00066 FLORIDA CITY F              FLORIDA CITY *FL
                                     REDACTED 3873
12116                        DEBIT CARD PURCHASE, AUT 121413 VISA DDA PUR                                                                     28.03
                                     SS CORAL GABLES                   CORAL GABLES * FL
                                     REDACTED 3873
12/16                        DEBIT POS, AUT 121413 DDA PURCHASE                                                                               25.15
                                     GUESS 3262                   FLORIDA CITY * FL
                                     REDACTED 3873
12116                        DEBIT CARD PURCHASE, AUT 121413 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                     REDACTED 3873
12116                        DEBIT CARD PURCHASE, AUT 121213 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                     REDACTED 3873
12/16                        DEBIT CARD PURCHASE, AUT 121313 VISA DDA PUR                                                                     21.49
                                     NAPLES SOAP CO KEY WEST               KEY WEST         * FL
                                     REDACTED 3873
12116                        DEBIT POS, AUT 121413 DDA PURCHASE                                                                                15.01
                                     GROVE CHEVRON                     MIAMI       * FL
                                     REDACTED 3873
12/16                        DEBIT CARD PURCHASE, AUT 121213 VISA DDA PUR                                                                       7.50
                                     CITY OF KEY WEST KW BIGH              KEY WEST         * FL
                                     REDACTED 3873
12116                        DEBIT CARD PURCHASE, AUT 121313 VISA DDA PUR                                                                       5.00
                                     CITY OF KEY WEST                  KEY WEST     *FL
                                     REDACTED 3873
12117                        DEBIT POS, AUT 121613 DDA PURCHASE                                                                               43.54
                                     CVS 03275                    BOCA RATON      *FL
                                     REDACTED 3873
12117                        DEBIT CARD PURCHASE, AUT 121513 VISA DDA PUR                                                                      11.00
                                     MUVICO BROWARD                     FT LAUDERDALE * FL
                                     REDACTED 3873
12/17                        DEBIT CARD PURCHASE, AUT 121513 VISA DDA PUR                                                                       6.25
                                     MUVICO BROWARD                     FT LAUDERDALE * FL
                                     REDACTED 3873
12118                        DEBIT CARD PURCHASE, AUT 121713 VISA DDA PUR                                                                     163.00
                                     KEEGRILL                     BOCA RATON      * FL
                                     REDACTED 3873
12/18                        DEBIT CARD PURCHASE, AUT 121613 VISA DDA PUR                                                                      97.00
                                     IPIC THEATERS MIZNER P              BOCA RATON        * FL
                                     REDACTED 3873



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     ENCOMPASS COMMUNICATIONS INC                                                     Page:                                      6 of7
     SALES                                                                            Statement Period:   Dec 012013-Dec31 2013
                                                                                                            REDACTED
                                                                                      CustRef#:                      4532-713-T-###
                                                                                      Primary Account#:                 REDACTED
                                                                                                                                 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                AMOUNT
12/18                         DEBIT CARD PURCHASE, AUT 121713 VISA DDA PUR                                                                 6.00
                                      MIA PARKING GARAGE                 305 8767599 *FL
                                      REDACTED 3873
12/19                         DEBIT CARD PURCHASE, AUT 121713 VISA DDA PUR                                                                25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 * WA
                                      REDACTED 3873
12119                         DEBIT CARD PURCHASE, AUT 121713 VISA DDA PUR                                                                25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
12/23                         TD ATM DEBIT, AUT 122113 DDA WITHDRAW                                                                      600.00
                                      1197 CENTRE STREET                NEWTON CENTRE* MA
                                      REDACTED 3873
12/23                         DEBIT CARD PURCHASE, AUT 122113 VISA DDA PUR                                                                25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
12/26                         DEBIT CARD PURCHASE, AUT 122313 VISA DDA PUR                                                                49.54
                                      FOUNDRY ON ELM                    SOMERVILLE   * MA
                                      REDACTED 3873
12/30                         TD ATM DEBIT, AUT 122813 DDA WITHDRAW                                                                      400.00
                                      1197 CENTRE STREET                NEWTON CENTRE* MA
                                      REDACTED 3873
12/30                         DEBIT POS, AUT 122913 DDA PURCHASE                                                                          67.82
                                      NORTH ATTLEBORO GULF                 N ATTLEBORO *MA
                                      REDACTED 3873
12/30                         DEBIT CARD PURCHASE, AUT 122813 VISA DDA PUR                                                                25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873

                                                                                                            Subtotal:                7,562.70
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                AMOUNT
12/3                          WIRE TRANSFER OUTGOING, Anastasia Rudneva                                                                  600.00
1213                          WIRE TRANSFER FEE                                                                                           40.00
                                                                                                            Subtotal:                    640.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                                AMOUNT
12/31                         MAINTENANCE FEE                                                                                              8.00
                                                                                                            Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                        DATE                                    BALANCE
11/30                                                       16,015.19                       1213                                    14,550.19
12/2                                                        15,215.19                       12/4                                    12,968.09
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                      Bank
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     SALES                                                                 Statement Period:   Dec 01 2013-Dec 31 2013
                                                                                                 REDACTED
                                                                           CustRef#:                      4532-713-T-###
                                                                           Primary Account#:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                         BALANCE            DATE                                     BALANCE
12/5                                                        12,966.59           12/17                                     9,384.89
12/9                                                        12,745.27           12/18                                     9,118.89
12/10                                                       12,605.32           12119                                     9,068.89
12111                                                       12,484.81           12/23                                     8,443.89
12112                                                       11,959.38           12/26                                     8,394.35
12/13                                                       10,817.85           12/30                                     8,401.53
12116                                                        9,445.68           12/31                                     8,393.53




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      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      1of4
      SALES                                                                                  Statement Period:   Jan 01 2014-Jan 31 2014
                                                                                                                   REDACTED
      18 GRAF ROAD UNIT 26                                                                   Cust Ref#:                     4532-713-T-###
                                                                                                                               REDACTED
      NEWBURYPORT MA 01950-4032                                                              Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                             8,393.53                               Average Collected Balance             7,061.70
Electronic Deposits                                          10,000.00                               Annual Percentage Yield Earned           0.00%
                                                                                                     Days in Period                               31
Electronic Payments                                           5,207.20
Other Withdrawals                                               500.00
Service Charges                                                    8.00
Ending Balance                                               12,678.33

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DA TE                 DESCRIPTION                                                                                                      AMOUNT
1127                          eTransfer Credit, Online Xfer                                                                               10,000.00
                                       Transfer from CK REDACTED 3112

                                                                                                                  Subtotal:               10,000.00
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
1/3                           DEBIT CARD PURCHASE, AUT 010114 VISA DDA PUR                                                                      34.98
                                      EPOCH COM TUMBLESTON                     800 893 8871 *CA
                                      REDACTED 3873
1/3                           DEBIT CARD PURCHASE, AUT 010114 VISA DDA PUR                                                                       8.90
                                      EPOCH COM TUMBLESTON                     800 893 8871 * CA
                                      REDACTED 3873
1/6                           TD ATM DEBIT, AUT 010414 DDA WITHDRAW                                                                        1,000.00
                                      1197 CENTRE STREET                   NEWTON CENTRE* MA
                                      REDACTED 3873
1/6                           DEBIT CARD PURCHASE, AUT 010414 VISA DDA PUR                                                                       3.00
                                      RPS OF LOWELL MA LEO AR                 LOWELL         * MA
                                      REDACTED 3873
1/8                           DEBIT POS, AUT 010714 DDA PURCHASE                                                                                 2.36
                                      EXXONMOBIL                          BRANFORD    * CT
                                      REDACTED 3873
1/9                           NONTD ATM DEBIT, AUT 010914 DDA WITHDRAW                                                                         403.00
                                      450 3RD AVE                    NEWYORK         *NY
                                      REDACTED 3873
1/9                           DEBIT CARD PURCHASE, AUT 010714 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 * WA
                                      REDACTED 3873
1/9                           DEBIT CARD PURCHASE, AUT 010814 VISA DDA PUR                                                                       6.06
                                      STARBUCKS MOHEGAN QPS                    UNCASVILLE        * CT
                                      REDACTED 3873

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How to Balance your Account                                                                                                                                      Page:                     2 of4

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS NOl   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FlRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bfillk, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                   If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            in\'estigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (l 0) business days after the first telephone calL
We will investigate your complaint and will correct any error promptly. Ifwe take           FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline!Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the A \'erage Daily Balance times the Days in
Internal Revenue Service and State ta-..: authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                     Page:                                      3 of4
     SALES                                                                            Statement Period:   Jan 01 2014-Jan 31 2014
                                                                                                            REDACTED
                                                                                      CustRef#:                      4532-713-T-###
                                                                                                                        REDACTED
                                                                                      Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                 AMOUNT
119                          NONTD ATM FEE                                                                                                  3.00
1/10                         DEBIT CARD PURCHASE, AUT 010714 VISA DDA PUR                                                                 182.85
                                      MOHEGAN SUN                      UNCASVILLE   * CT
                                      REDACTED 3873
1/10                         DEBIT CARD PURCHASE, AUT 010814 VISA DDA PUR                                                                 165.91
                                      BLUE WATER GRILL                  NEWYORK      *NY
                                      REDACTED 3873
1/10                         DEBIT CARD PURCHASE, AUT 010914 VISA DDA PUR                                                                  36.00
                                      EXCELLENT PARKING LLC                NEW YORK        * NY
                                      REDACTED 3873
1/13                         DEBIT CARD PURCHASE, AUT 010814 VISA DDA PUR                                                                  43.45
                                     MOHEGAN SUN                       UNCASVILLE   * CT
                                     REDACTED 3873
1/13                         DEBIT CARD PURCHASE, AUT 010914 VISA DDA PUR                                                                  25.00
                                      STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                      REDACTED 3873
1/13                         DEBIT CARD PURCHASE, AUT 010814 VISA DDA PUR                                                                   15.00
                                      UNION SQUARE W 230 Q93              NEW YORK     * NY
                                      REDACTED 3873
1114                         NONTD ATM DEBIT, AUT 011414 DDA WITHDRAW                                                                     703.00
                                     HAMMOND STREET                     NEWTON      *MA
                                     REDACTED 3873
1/14                         NONTD ATM FEE                                                                                                   3.00
1/16                         DEBIT CARD PURCHASE, AUT 011414 VISA DDA PUR                                                                  92.39
                                      HILLSTONE 212 689 1090            NEW YORK      *NY
                                      REDACTED 3873
1/17                         DEBIT CARD PURCHASE, AUT 011514 VISA DDA PUR                                                                   52.64
                                      OLIVES RESTAURANT                  NEWYORK      *NY
                                      REDACTED 3873
1/21                         TD ATM DEBIT, AUT 011914 DDA WITHDRAW                                                                        500.00
                                     1197 CENTRE STREET                 NEWTON CENTRE* MA
                                     REDACTED 3873
1/21                         TD ATM DEBIT, AUT 011914 DDA WITHDRAW                                                                        500.00
                                      1197 CENTRE STREET                NEWTON CENTRE* MA
                                      REDACTED 3873
1/27                         TDATMDEBIT,AUT012514DDA WITHDRAW                                                                            1,000.00
                                     1197 CENTRE STREET                 NEWTON CENTRE* MA
                                     REDACTED 3873
1/27                         DEBIT CARD PURCHASE, AUT 012514 VISA DDA PUR                                                                 139.72
                                     CAPITAL GRILLE00080010              PROVIDENCE    *RI
                                     REDACTED 3873




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                      Bank
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     ENCOMPASS COMMUNICATIONS INC                                                     Page:                                     4 of4
     SALES                                                                            Statement Period:   Jan 01 2014-Jan 31 2014
                                                                                                            REDACTED
                                                                                      Cust Ref#:                     4532-713-T-###
                                                                                      Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE                 DESCRIPTION                                                                                               AMOUNT
1127                          DEBIT CARD PURCHASE, AUT 012614 VISA DDA PUR                                                                 54.50
                                       GULLIVERS TA VERN INC             PROVIDENCE    * RI
                                       REDACTED 3873
1/28                          DEBIT CARD PURCHASE, AUT 012614 VISA DDA PUR                                                               207.44
                                       RESIDENCE INNS BOST NEED           NEEDHAM       * MA
                                       REDACTED 3873

                                                                                                           Subtotal:                    5,207.20
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
1/10                          DEBIT                                                                                                      500.00
                                                                                                           Subtotal:                     500.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
1/31                          MAINTENANCE FEE                                                                                               8.00
                                                                                                           Subtotal:                        8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                      DATE                                      BALANCE
12/31                                                         8,393.53                     1114                                      5,233.02
1/3                                                           8,349.65                     1116                                      5,140.63
1/6                                                           7,346.65                     1/17                                      5,087.99
1/8                                                           7,344.29                     1/21                                      4,087.99
1/9                                                           6,907.23                     1127                                     12,893.77
1/10                                                          6,022.47                     1/28                                     12,686.33
1/13                                                          5,939.02                     1/31                                     12,678.33




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Bank Deposits FDIC Insured I TD Bank, N.A. ! Equal Housing Lender    @
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                     Bank
                     America's Most Convenient Bank®                     T   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                           Page:                                       1of3
      SALES                                                                  Statement Period:    Feb 012014-Feb28 2014
                                                                                                    REDACTED
      18 GRAF ROAD UNIT 26                                                   CustRef#:                       4532-713-T-###
                                                                                                                REDACTED
      NEWBURYPORT MA 01950-4032                                              Primary Account #:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                              Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                           12,678.33                 Average Collected Balance             9,665.01
                                                                                      Annual Percentage Yield Earned           0.00%
Electronic Payments                                           6,170.15                Days in Period                               28
Other Withdrawals                                             2,000.00
Service Charges                                                   8.00
Ending Balance                                                4,500.18

DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE                 DESCRJPTION                                                                                        AMOUNT
213                          DEBIT CARD PURCHASE, AUT 020114 VISA DDA PUR                                                        68.94
                                 AV AS FLOWERS        877 6383303 * NJ
                                 REDACTED 3873
2/4                          NONTD ATM DEBIT, AUT 020314 DDA WITHDRAW                                                           403.00
                                 CHESTNUT HILL REMOTE     NEWTON       * MA
                                 REDACTED 3873
2/4                          NONTD ATM FEE                                                                                        3.00
2110                         NONTD ATM DEBIT, AUT 020714 DDA WITHDRAW                                                           303.00
                                 CANYON COUNTRY         SANTA CLARITA* CA
                                 REDACTED 3873
2110                         DEBIT CARD PURCHASE, AUT 020814 VISA DDA PUR                                                        50.51
                                 BACO MERCAT          LOS ANGELES *CA
                                 REDACTED 3873
2110                         DEBIT CARD PURCHASE, AUT 020614 VISA DDA PUR                                                        39.95
                                 ROSTI TUSCAN KITCHEN SM SANTA MONICA * CA
                                 REDACTED 3873
2110                         NONTD ATM FEE                                                                                        3.00
2/13                         NONTD ATM DEBIT, AUT 021214 DDA WITHDRAW                                                           703.00
                                 DESERT GATEWAY        PALM DESERT *CA
                                 REDACTED 3873
2/13                         DEBIT CARD PURCHASE, AUT 021114 VISA DDA PUR                                                       244.80
                                 AIR CANADA 014736295796 WEST LEBANO *NH
                                 REDACTED 3873
2113                         DEBIT CARD PURCHASE, AUT 021114 VISA DDA PUR                                                        40.00
                                 MILNE TRAVEL AGENCY       603 2986644 * NH
                                 REDACTED 3873
2/13                         NONTD ATM FEE                                                                                        3.00
2/18                         NONTD ATM DEBIT, AUT 021814 DDA WITHDRAW                                                           403.00
                                 HAMMOND STREET REAR       NEWTON        * MA
                                 REDACTED 3873


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Bank Deposits FDlC Insured I TD Bank, N.A I Equal Housing Lender     @
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 28 of 231


How to Balance your Account                                                                                                                                       Page:                     2 of3

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                 DOLLARS            CENTS                    W!TIIDRAWALS NOl   DOLLARS           CENTS                   W!TIIDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
Ifvou need information about an electronic fund transfer or ifvou belieYe there is an        In case of Errors or Questions About Your Bill:
er;or on your bank statement or receipt relating to an electroni~ fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When Contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will im·estigate your complaint and will correct any error promptly. If we take           FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (1 O) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the AYerage Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and \vill continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge. multiply the AYerage Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             adyances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                       Page:                                      3 of3
     SALES                                                                              Statement Period:   Feb 01 2014-Feb 28 2014
                                                                                                              REDACTED
                                                                                        CustRef#:                      4532-713-T-###
                                                                                        Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT
2/18                         DEBIT CARD PURCHASE, AUT 021614 VISA DDA PUR                                                                  244.49
                                      WESTIN LOS ANGELES ARPRT              LOS ANGELES        * CA
                                      REDACTED 3873
2/18                         NONTD ATM DEBIT, AUT 021614 DDA WITHDRAW                                                                      204.00
                                      5400 WEST CENTURY                  LOS ANGELES    * CA
                                      REDACTED 3873
2/18                         DEBIT CARD PURCHASE, AUT 021414 VISA DDA PUR                                                                  193.24
                                      FLORIST RU SHOP                  KAZAN     R US
                                      REDACTED 3873
2/18                         DEBIT CARD PURCHASE, AUT 021414 VISA DDA PUR                                                                  186.78
                                      CROSSROADS RESTAUR                   LOS ANGELES    * CA
                                      REDACTED 3873
2/18                         NONTD ATM FEE                                                                                                   3.00
2/18                         NONTD ATM FEE                                                                                                   3.00
2/21                         DEBIT CARD PURCHASE, AUT 022014 VISA DDA PUR                                                                   37.61
                                      MOXY                         PORTSMOUTH   * NH
                                      REDACTED 3873
2/24                         eTransfer Debit, Online Xfer                                                                              3,000.00
                                      Transfer to CK REDACTED 3112
2/25                         DEBIT CARD PURCHASE, AUT 022314 VISA DDA PUR                                                                   32.83
                                     THE ABBEY                      BROOKLINE    * MA
                                     REDACTED 3873

                                                                                                             Subtotal:                 6,170.15
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT
2/19                         DEBIT                                                                                                     2,000.00
                                                                                                             Subtotal:                 2,000.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT
2/28                         MAINTENANCE FEE                                                                                                 8.00
                                                                                                             Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                            DATE                                   BALANCE
1/31                                                       12,678.33                           2/19                                    7,578.62
2/3                                                        12,609.39                           2/21                                    7,541.01
2/4                                                        12,203.39                           2/24                                    4,541.01
2110                                                       11,806.93                           2/25                                    4,508.18
2/13                                                       10,816.13                           2/28                                    4,500.18
2/18                                                        9,578.62



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                     Bank
                     America's Most Convenient Bank®                             T          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     1of6
      SALES                                                                                 Statement Period:   Mar 012014-Mar31 2014
                                                                                                                 REDACTED
      18 GRAF ROAD UNIT 26                                                                  Cust Ref#:                    4532-713-T-###
                                                                                            Primary Account#:                REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                            Account# REDACTED 4532
SALES


ONLINE BILL PAY MADE EASY.
MANAGE THE MONEY IN YOUR TD BANK CHECKING ACCOUNT ANYTIME, ANYWHERE WITH TD BANK BUSINESS
DIRECT. OUR COMPREHENSIVE ONLINE BANKING SERVICE TAKES CARE OF THE DETAILS WHILE YOU FOCUS ON
GROWING YOUR BUSINESS. SIGN UP FOR FREE AT TDBANK.COM/BUSINESSDIRECT OR VISIT ANY TD BANK FOR
ASSISTANCE.

ACCOUNT SUMMARY
Beginning Balance                                             4,500.18                              Average Collected Balance            3,204.27
Electronic Deposits                                           5,568.00                              Annual Percentage Yield Earned          0.00%
                                                                                                    Days in Period                              31
Electronic Payments                                           8,314.12
Service Charges                                                   8.00
Ending Balance                                                1,746.06

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DA TE                DESCRIPTION                                                                                                     AMOUNT
317                          eTransfer Credit, Online Xfer                                                                               3,000.00
                                      Transfer from CK REDACTED 3112
3/13                         eTransfer Credit, Online Xfer                                                                               2,000.00
                                      Transfer from CK REDACTED 3112
3/31                         ATM DEPOSIT, AUT 032814 DDA DEPOSIT                                                                             568.00
                                      1197 CENTRE STREET                    NEWTON CENTRE * MA
                                      REDACTED 3873

                                                                                                                 Subtotal:               5,568.00
Electronic Payments
POSTING DA TE                DESCRIPTION                                                                                                     AMOUNT
3/3                          DEBIT CARD PURCHASE, AUT 022714 VISA DDA PUR                                                                    266.00
                                      JETBLUE 279738550788                  BELLEVUE    * WA
                                      REDACTED 3873
3/4                          NONTD ATM DEBIT, AUT 030414 DDA WITHDRAW                                                                        803.00
                                      DEDHAM 3 BRANCH                       DEDHAM      *MA
                                      REDACTED 3873
3/4                          DEBIT POS, AUT 030414 DDA PURCHASE                                                                               124.97
                                      00056 GREENLAND EMPL                    GREENLAND      * NH
                                      REDACTED 3873
314                          DEBIT CARD PURCHASE, AUT 030314 VISA DDA PUR                                                                     116.00
                                      BRINE                        NEWBURYPORT       * MA
                                      REDACTED 3873




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Bank Deposits FDIC Insured I TD Bank, N.A.1 Equal Housing Lender     tEl'
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 31 of 231


How to Balance your Account                                                                                                                                     Page:                      2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0                                                                        0
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS N01   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-I377                                                                            so will not preserve your rights. In your letter, give us the follO\ving information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.                                                         You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
                                                                                            are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a \'erbal inquiry, the Bank may ask that you send us your complaint in          collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our in\'estigation.                                                       on the periodic statement as an easier method for you to calculate the finance
                                                                                            charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the A\'erage Daily Balance times the Days in
Internal Revenue Service and State ta.'\. authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      3 of6
      SALES                                                                                  Statement Period:    Mar 012014-Mar31 2014
                                                                                                                   REDACTED
                                                                                             CustRef#:                      4532-713-T-###
                                                                                                                               REDACTED
                                                                                             Primary Account #:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
3/4                           DEBIT CARD PURCHASE, AUT 030314 VISA DDA PUR                                                                        34.25
                                      HOLLYWOOD HITS THE                      DANVERS        *MA
                                      REDACTED 3873
314                           NONTD ATM FEE                                                                                                       3.00
3/5                           DEBIT CARD PURCHASE, AUT 030414 VISA DDA PUR                                                                       56.35
                                      BERNARDS RESTAURANT                      NEWTON         * MA
                                      REDACTED 3873
317                           NONTD ATM DEBIT, AUT 030714 DDA WITHDRAW                                                                          703.00
                                      CHESTNUT HILL REMOTE                    NEWTON         * MA
                                      REDACTED 3873
317                           DEBIT CARD PURCHASE, AUT 030514 VISA DDA PUR                                                                      191.00
                                      BOKX 109 AMERICAN PRIM                   NEWTON         * MA
                                      REDACTED 3873
317                           NONTD ATM FEE                                                                                                       3.00
3/10                          NONTD ATM DEBIT, AUT 030814 DDA WITHDRAW                                                                          703.00
                                      NEWBURYPORT                        NEWBURYPORT         * MA
                                      REDACTED 3873
3/10                          TD ATM DEBIT, AUT 030914 DDA WITHDRAW                                                                             700.00
                                      1197 CENTRE STREET                     NEWTON CENTRE* MA
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030614 VISA DDA PUR                                                                      228.60
                                      HOTEL INDIGO NEWTON                      NEWTON        *MA
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030714 VISA DDA PUR                                                                       188.97
                                      FLORIST RU                      SINGAPORE       S GP
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030714 VISA DDA PUR                                                                       129.57
                                      RESIDENCE INNS BOST NEED                  NEEDHAM         * MA
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030714 VISA DDA PUR                                                                       120.90
                                      LEGAL HARBORSIDE                       BOSTON      * MA
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030814 VISA DDA PUR                                                                        97.00
                                      BRINE                         NEWBURYPORT       * MA
                                      REDACTED 3873
3/10                          DEBIT CARD PURCHASE, AUT 030914 VISA DDA PUR                                                                        96.79
                                      NEW GINZA RESTAURANT                      WATERTOWN        *MA
                                      REDACTED 3873
3/10                          DEBIT POS, AUT 030814 DDA PURCHASE                                                                                  50.00
                                      CVS 01862                     CHESTNUT HILL* MA
                                      REDACTED 3873




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Bank Deposits FDIC Insured l TD Bank, N.A. I Equal Housing Lender     'fE)
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                      Bank
                      America's Most Convenient Bank®                                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                      Page:                                    4 of6
     SALES                                                                             Statement Period:   Mar012014-Mar312014
                                                                                                            REDACTED
                                                                                       CustRef#:                     4532-713-T-###
                                                                                                                        REDACTED
                                                                                       Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT

3110                          DEBIT CARD PURCHASE, AUT 030814 VISA DDA PUR                                                               45.68
                                       HOT IN HOLLYWOOD                 NEWBURYPORT       * MA
                                  REDACTED 3873
3110                          DEBIT CARD PURCHASE, AUT 030614 VISA DDA PUR                                                                41.00
                                       TGI FRIDAYS 477               BOSTON      *MA
                                  REDACTED 3873
3110                          DEBIT CARD PURCHASE, AUT 030714 VISA DDA PUR                                                                31.80
                                  TGI FRIDAYS 0311  NEWINGTON * NH
                                  REDACTED 3873
3110                          DEBIT CARD PURCHASE, AUT 030714 VISA DDA PUR                                                                 6.00
                                       MASSPORT AUTH LOGAN PK 2               EAST BOSTON     * MA
                                  REDACTED 3873
3/10                          NONTD ATM FEE                                                                                               3.00
3/12                          DEBIT CARD PURCHASE, AUT 030914 VISA DDA PUR                                                              264.10
                                       RESIDENCE INNS BOST NEED              NEEDHAM      * MA
                                  REDACTED 3873
3/13                          DEBIT CARD PURCHASE, AUT 031214 VISA DDA PUR                                                              200.00
                                       GOOGLE WALLET TOPUP                GOOGLE COM CH * CA
                                  REDACTED 3873
3117                          DEBIT CARD PURCHASE, AUT 031414 VISA DDA PUR                                                               152.90
                                       GOOGLE WALLET TOPUP                GOOGLE COM CH * CA
                                 REDACTED 3873
3/18                          NONTD ATM DEBIT, AUT 031814 DDA WITHDRAW                                                                  403.00
                                       DEDHAM                       DEDHAM     *MA
                                  REDACTED 3873
3/18                          DEBIT CARD PURCHASE, AUT 031614 VISA DDA PUR                                                              229.29
                                       HOTEL INDIGO NEWTON               NEWTON        *MA
                                  REDACTED 3873
3/18                          NONTD ATM FEE                                                                                                3.00
3119                          DEBIT CARD PURCHASE, AUT 031814 VISA DDA PUR                                                                59.98
                                      JASPER WHITE S SUM                UNCASVILLE     *CT
                                  REDACTED 3873
3/19                          DEBIT CARD PURCHASE, AUT 031814 VISA DDA PUR                                                                48.39
                                      LUSH MOHEGAN SUN                  UNCASVILLE     * CT
                                  REDACTED 3873
3/20                          DEBIT CARD PURCHASE, AUT031814 VISA DDA PUR                                                                336.00
                                      ELEMIS SPA MOHEGAN SUN                 UNCASVILLE      *CT
                                  REDACTED 3873
3/24                          DEBIT CARD PURCHASE, AUT 032014 VISA DDA PUR                                                               110.58
                                      HOTEL INDIGO NEWTON                NEWTON        * MA
                                      REDACTED 3873



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Bank Deposits FDIC Insured l TD Bank, N.A. ! Equal Housing Lender   @
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                      Bank
                     America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                     5 of6
     SALES                                                                                   Statement Period:   Mar012014-Mar312014
                                                                                                                  REDACTED
                                                                                             CustRef#:                     4532-713-T-###
                                                                                                                              REDACTED 4532
                                                                                             Primary Account#:




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
3/24                          DEBIT CARD PURCHASE, AUT 032214 VISA DDA PUR                                                                       98.98
                                      DOUZO SUSHI                    BOSTON          * MA
                                      REDACTED 3873
3/24                          DEBIT CARD PURCHASE, AUT 032114 VISA DDA PUR                                                                       77.81
                                      EVOO CAMBRIDGE                        CAMBRIDGE        * MA
                                      REDACTED 3873
3/24                          DEBIT CARD PURCHASE, AUT 032114 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                     603 2986644    * NH
                                      REDACTED 3873
3/24                          DEBIT CARD PURCHASE, AUT 032114 VISA DDA PUR                                                                       22.00
                                      ONE KENDALL SQUARE GARAG                    CAMBRIDGE         * MA
                                      REDACTED 3873
3/24                          DEBIT CARD PURCHASE, AUT 032214 VISA DDA PUR                                                                         5.00
                                      IMPARK00340001A                   BOSTON        *MA
                                      REDACTED 3873
3125                          DEBIT CARD PURCHASE, AUT 032114 VISA DDA PUR                                                                      703.30
                                      ICELANDAIR 108738251143                SAN FRANCISCO* CA
                                      REDACTED 3873
3/26                          DEBIT POS, AUT 032614 DDA PURCHASE                                                                                530.00
                                      SUGAR DADDYS SMOKE SRO                    BOSTON         *MA
                                      REDACTED 3873
3/26                          DEBIT POS, AUT 032614 DDA PURCHASE                                                                                   7.59
                                      07428 SHAW S MARKET                   CANTON          * MA
                                      REDACTED 3873
3/26                          DEBIT POS, AUT 032614 DDA PURCHASE                                                                                   3.99
                                      07428 SHAWS MARKET                    CANTON          * MA
                                      REDACTED 3873
3/28                          DEBIT CARD PURCHASE, AUT 032614 VISA DDA PUR                                                                      198.83
                                      HOTEL INDIGO NEWTON                     NEWTON         * MA
                                      REDACTED 3873
3/28                          DEBIT CARD PURCHASE, AUT 032714 VISA DDA PUR                                                                         6.00
                                      MASSPORT AUTH LOGAN PK 2                  EAST BOSTON         * MA
                                      REDACTED 3873
3/31                          DEBIT CARD PURCHASE, AUT 032714 VISA DDA PUR                                                                        70.50
                                      HOTEL INDIGO NEWTON                    NEWTON          * MA
                                      REDACTED 3873
                                                                                                                  Subtotal:                    8,314.12
Service Charges
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
3/31                          MAINTENANCE FEE                                                                                                      8.00
                                                                                                                  Subtotal:                        8.00


Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured I TD Bank, N.A. l Equal Housing Lender   t:El'
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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                    6 of6
     SALES                                                               Statement Period:   Mar 012014-Mar31 2014
                                                                                              REDACTED
                                                                         CustRef#:                     4532-713-T-###
                                                                         Primary Account#:                REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                         BALANCE         DATE                                     BALANCE
2/28                                                          4,500.18       3/18                                         3,505.01
313                                                           4,234.18       3/19                                         3,396.64
3/4                                                           3,152.96       3/20                                         3,060.64
315                                                           3,096.61       3/24                                         2,706.27
317                                                           5,199.61       3/25                                         2,002.97
3/10                                                          2,757.30       3/26                                         1,461.39
3/12                                                          2,493.20       3/28                                         1,256.56
3/13                                                          4,293.20       3/31                                         1,746.06
3/17                                                          4,140.30




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender    @
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 36 of 231

                      Bank
                      America's Most Convenient Bank®                       T   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                              Page:                                     1of4
      SALES                                                                     Statement Period:   Apr 012014-Apr30 2014
                                                                                                     REDACTED
      18 GRAF ROAD UNIT 26                                                      Cust Ref#:                    4532-713-T-###
                                                                                                                 REDACTED
      NEWBURYPORT MA 01950-4032                                                 Primary Account#:                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                Account# REDACTED 4532
SALES


ONLINE BILL PAY MADE EASY.
MANAGE THE MONEY IN YOUR TD BANK CHECKING ACCOUNT ANYTIME, ANYWHERE WITH TD BANK BUSINESS
DIRECT. OUR COMPREHENSIVE ONLINE BANKING SERVICE TAKES CARE OF THE DETAILS WHILE YOU FOCUS ON
GROWING YOUR BUSINESS. SIGN UP FOR FREE AT TDBANK.COM/BUSINESSDIRECT OR VISIT ANY TD BANK FOR
ASSISTANCE.

ACCOUNT SUMMARY
Beginning Balance                                             1,746.06                  Average Collected Balance            7,122.78
Electronic Deposits                                           7,238.00                  Annual Percentage Yield Earned          0.00%
                                                                                        Days in Period                              30
Electronic Payments                                           1,988.12
Other Withdrawals                                               568.00
Service Charges                                                   8.00
Ending Balance                                                6,419.94

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                         AMOUNT
411                          eTransfer Credit, Online Xfer                                                                   3,500.00
                                  Transfer from CK REDACTED 3112
4/4                          eTransfer Credit, Online Xfer                                                                   2,500.00
                                  Transfer from CK REDACTED 3112
419                          ATM DEPOSIT, AUT 040914 DDA DEPOSIT                                                                 560.00
                                  95 HIGHLAND A VENUE            NEEDHAM        *MA
                                  REDACTED 3873
419                          ATM DEPOSIT, AUT 040914 DDA DEPOSIT                                                                 445.00
                                  95 HIGHLAND A VENUE            NEEDHAM        *MA
                                  REDACTED 3873
419                          ATM DEPOSIT, AUT 040914 DDA DEPOSIT                                                                 233.00
                                  95 HIGHLAND AVENUE             NEEDHAM        *MA
                                  REDACTED 3873

                                                                                                    Subtotal:                7,238.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                         AMOUNT
412                          DEBIT CARD PURCHASE, AUT 040114 VISA DDA PUR                                                          6.00
                                 MASSPORT AUTH LOGAN PK 2 EAST BOSTON * MA
                                 REDACTED 3873
4/3                          DEBIT CARD PURCHASE, AUT 040214 VISA DDA PUR                                                          3.00
                                 MASSPORT AUTH LOGAN PK 2 EAST BOSTON * MA
                                 REDACTED 3873



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Bank Deposits FDlC Insured I TD Bank. N.A.1 Equal Housing Lender     tB:r
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How to Balance your Account                                                                                                                                      Page:                     2 of4

Begin by adjusting your account register                            1    Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                    WITHDRAWALS NOl   DOLLARS           CENTS                   WITHDRAWALS NO                DOLLARS             CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not presen·e your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why               Describe the error and explain, if you can, why you belie\'e there is an error.
more information is needed. Please include:
                                                                                                   If you need more information, describe the item you are unsure about.
       Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amount and date of the suspected error.                                   are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the tenn "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta.'\. authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                         Page:                                     3 of 4
      SALES                                                                                Statement Period:   Apr 01 2014-Apr 30 2014
                                                                                                                REDACTED
                                                                                           CustRef#:                     4532-713-T-###
                                                                                                                            REDACTED
                                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
417                           DEBIT CARD PURCHASE, AUT 040314 VISA DDA PUR                                                                    396.57
                                      NORDIC STORE EHF                   REYKJAVIK     I SL
                                      REDACTED 3873
4/11                          DEBIT CARD PURCHASE, AUT 040914 VISA DDA PUR                                                                      42.92
                                      BOKX 109 AMERICAN PRIM                 NEWTON        *MA
                                      REDACTED 3873
4/17                          DEBIT CARD PURCHASE, AUT 041614 VISA DDA PUR                                                                      29.43
                                      SQ LOVE NAIL TREE INC                LOS ANGELES * CA
                                      REDACTED 3873
4/18                          DEBIT CARD PURCHASE, AUT 041614 VISA DDA PUR                                                                      69.22
                                      FRESH CENTURY CITY                  LOS ANGELES * CA
                                      REDACTED 3873
4/21                          DEBIT CARD PURCHASE, AUT 041814 VISA DDA PUR                                                                     139.95
                                      SEEKINGARR                    775 450 4856 *NV
                                      REDACTED 3873
4/21                          DEBIT CARD PURCHASE, AUT 041914 VISA DDA PUR                                                                      39.00
                                      CINEMA DE LUX                     781 926 7676 *MA
                                      REDACTED 3873
4/22                          DEBIT POS, AUT 042214 DDA PURCHASE                                                                              448.30
                                      ZARA USA 3235                 BOSTON        *MA
                                      REDACTED 3873
4/25                          DEBIT CARD PURCHASE, AUT 042314 VISA DDA PUR                                                                    359.29
                                      HOTEL INDIGO NEWTON                   NEWTON         * MA
                                      REDACTED 3873
4/25                          DEBIT CARD PURCHASE, AUT 042314 VISA DDA PUR                                                                      50.11
                                      GENKI YA SUSHI BROOKL                 BROOKLINE         * MA
                                      REDACTED 3873
4/25                          DEBIT CARD PURCHASE, AUT 042314 VISA DDA PUR                                                                       1.50
                                      TOWN OF BROOKLINE                    BROOKLINE       * MA
                                      REDACTED 3873
4/28                          DEBIT CARD PURCHASE, AUT 042614 VISA DDA PUR                                                                    302.80
                                      WESTIN WALTHAM HOTEL                   WALTHAM          *MA
                                      REDACTED 3873
4/28                          DEBIT CARD PURCHASE, AUT 042514 VISA DDA PUR                                                                      52.37
                                      PAPA RAZZ! CONCORD                   CONCORD         *MA
                                      REDACTED 3873
4/28                          DEBIT POS, AUT 042714 DDA PURCHASE                                                                                11.76
                                      WALGREENS 841 BOYLSTON S                BOSTON          *MA
                                      REDACTED 3873
4/28                          DEBIT CARD PURCHASE, AUT 042414 VISA DDA PUR                                                                      10.00
                                      FARNSWORTH ST GARAGE                   BOSTON        * MA
                                      REDACTED 3873


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Bank Deposits FDIC Insured I TD Bank. N.A. I Equal Housing Lender   @
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 39 of 231

                      Bank
                      America's Most Convenient Bank®                               STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                  Page:                                    4 of4
      SALES                                                                         Statement Period:   Apr 012014-Apr30 2014
                                                                                                         REDACTED
                                                                                    CustRef#:                     4532-713-T-###
                                                                                                                     REDACTED
                                                                                    Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                            AMOUNT

4/30                          DEBIT CARD PURCHASE, AUT 042914 VISA DDA PUR                                                              25.90
                                       THE CHINA RESTAURANT                QUINCY   * MA
                                      REDACTED 3873
                                                                                                        Subtotal:                    1,988.12
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                            AMOUNT
4/3                           DEBIT, ATM DEP UNP 033114                                                                                568.00
                                                                                                        Subtotal:                      568.00
Service Charges
POSTING DA TE                 DESCRIPTION                                                                                             AMOUNT
4/30                          MAINTENANCE FEE                                                                                            8.00
                                                                                                        Subtotal:                        8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                       DATE                                  BALANCE
3/31                                                          1,746.06                     4/17                                      7,938.14
4/1                                                           5,246.06                     4/18                                      7,868.92
4/2                                                           5,240.06                     4/21                                      7,689.97
4/3                                                           4,669.06                     4/22                                      7,241.67
4/4                                                           7,169.06                     4/25                                      6,830.77
417                                                           6,772.49                     4/28                                      6,453.84
4/9                                                           8,010.49                     4/30                                      6,419.94
4/11                                                          7,967.57




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Bank Deposits FDIC Insured I TD Bank, N.A. ! Equal Housing Lender      @
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 40 of 231

                      Bank
                      America's Most Convenient Bank®                        T   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                               Page:                                      1of6
      SALES                                                                      Statement Period:   May 01 2014-May 31 2014
                                                                                                       REDACTED
      18 GRAF ROAD UNIT 26                                                       CustRef#:                      4532-713-T-###
                                                                                                                   REDACTED
      NEWBURYPORT MA 01950-4032                                                  Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                  Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                             6,419.94                   Average Collected Balance             9,950.98
Electronic Deposits                                           8,888.00                   Annual Percentage Yield Earned           0.00%
                                                                                         Days in Period                               31
Electronic Payments                                          5,064.55
Service Charges                                                  8.00
Ending Balance                                              10,235.39

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                          AMOUNT
515                           ATM DEPOSIT, AUT 050314 DDA DEPOSIT                                                                  338.00
                                  1197 CENTRE STREET    NEWTON CENTRE* MA
                                 REDACTED 3873
5/8                           ATM DEPOSIT, AUT 050814 DDA DEPOSIT                                                              7,470.00
                                  1197 CENTRE STREET   NEWTON CENTRE* MA
                                 REDACTED 3873
5/8                           ATM DEPOSIT, AUT 050814 DDA DEPOSIT                                                              1,080.00
                                  1197 CENTRE STREET   NEWTON CENTRE* MA
                                 REDACTED 3873
                                                                                                       Subtotal:               8,888.00
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                          AMOUNT
5/1                          TD A TM DEBIT, AUT 050114 DDA WITHDRAW                                                                500.00
                                  1197 CENTRE STREET    NEWTON CENTRE * MA
                                 REDACTED 3873
515                          DEBIT CARD PURCHASE, AUT 050314 VISA DDA PUR                                                          411.00
                                  JETBLUE 279744403381 WEST LEBANO *NH
                                 REDACTED 3873
515                          TD A TM DEBIT, AUT 050314 DDA WITHDRAW                                                                300.00
                                  1197 CENTRE STREET    NEWTON CENTRE* MA
                                 REDACTED 3873
515                          DEBIT CARD PURCHASE, AUT 050114 VISA DDA PUR                                                          222.28
                                  HOTEL INDIGO NEWTON     NEWTON    * MA
                                 REDACTED 3873
515                          NONTD ATM DEBIT, AUT 050414 DDA WITHDRAW                                                              202.00
                                  845 MOODY ST        WALTHAM    *MA
                                 REDACTED 3873
515                          NONTD ATM DEBIT, AUT 050414 DDA WITHDRAW                                                              202.00
                                  845 MOODY ST        WALTHAM    *MA
                                 REDACTED 3873

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Bank Deposits FDIC Insured I TD Bank, N.A I Equal Housing Lender     'CE:r
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 41 of 231


How to Balance your Account                                                                                                                                      Page:                     2 of6

Begin by adjusting your account register                            1   Your ending balance shown on this
as follows:
                                                                        statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




a
DEPOSITS NOT                DOLLARS             CENTS
                                                                        0
                                                                        WITHDRAWALS N01    DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                            ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                      your bill, write us at P.O. Box 1377, Lewiston,. Maine 04243-1377 as soon as
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                   If you need more information, describe the item you are unsure about
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a \'erbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error. so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta">; authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 42 of 231

                      Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                      Page:                                      3 of6
      SALES                                                             Statement Period:   May 01 2014-May 31 2014
                                                                                              REDACTED
                                                                        Cust Ref#:                     4532-713-T-###
                                                                                                          REDACTED
                                                                        Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                  AMOUNT
515                           DEBIT CARD PURCHASE, AUT 050214 VISA DDA PUR                                                 172.45
                                  HOTEL INDIGO NEWTON     NEWTON        * MA
                                  REDACTED 3873
515                           DEBIT CARD PURCHASE, AUT 050214 VISA DDA PUR                                                  56.15
                                  Q RESTAURANT        BOSTON      *MA
                                  REDACTED 3873
515                           DEBIT CARD PURCHASE, AUT 050114 VISA DDA PUR                                                  47.06
                                  BOKX 109 AMERICAN PRIM   NEWTON        * MA
                                  REDACTED 3873
515                           DEBIT CARD PURCHASE, AUT 050314 VISA DDA PUR                                                  35.85
                                  THE PARAMOUNT         BOSTON      *MA
                                  REDACTED 3873
515                           NONTDATMFEE                                                                                    3.00
515                           NONTDATMFEE                                                                                    3.00
516                           DEBIT CARD PURCHASE, AUT 050514 VISA DDA PUR                                                  35.22
                                  ALBA DELI EXPRESS     QUINCY      *MA
                                  REDACTED 3873
516                           DEBIT CARD PURCHASE, AUT 050414 VISA DDA PUR                                                   3.79
                                  DUNKIN 330308 Q35    NAHANT      * MA
                                  REDACTED 3873
517                           DEBIT CARD PURCHASE, AUT 050414 VISA DDA PUR                                                  40.00
                                  BALL SQUARE CAFE BREAK SOMERVILLE * MA
                                  REDACTED 3873
517                           DEBIT CARD PURCHASE, AUT 050514 VISA DDA PUR                                                  40.00
                                  MILNE TRAVEL AGENCY     603 2986644 * NH
                                  REDACTED 3873
517                           DEBIT CARD PURCHASE, AUT 050614 VISA DDA PUR                                                  30.00
                                  STARBUCKS 00824 BROOKLI BROOKLINE *MA
                                  REDACTED 3873
5/8                           DEBIT CARD PURCHASE, AUT 050614 VISA DDA PUR                                                  25.00
                                  STARBUCKS CARD RELOAD     800 782 7282 *WA
                                  REDACTED 3873
5/8                           DEBIT CARD PURCHASE, AUT 050714 VISA DDA PUR                                                  24.00
                                  CINEMA DE LUX        NORWOOD       * MA
                                  REDACTED 3873
519                           DEBIT CARD PURCHASE, AUT 050714 VISA DDA PUR                                                  57.94
                                  LEGAL C BAR DEDHAM      DEDHAM        * MA
                                  REDACTED 3873
519                           DEBIT CARD PURCHASE, AUT 050714 VISA DDA PUR                                                  25.00
                                  STARBUCKS CARD RELOAD     800 782 7282 *WA
                                  REDACTED 3873




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Bank Deposits FDIC Insured I TD Bank, N.A. l Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                        Page:                                      4 of6
     SALES                                                                               Statement Period:   May 01 2014-May 31 2014
                                                                                                               REDACTED
                                                                                         Cust Ref#:                     4532-713-T-###
                                                                                                                           REDACTED
                                                                                         Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
5112                          DEBIT CARD PURCHASE, AUT 051014 VISA DDA PUR                                                                  134.04
                                      HOTEL INDIGO NEWTON                  NEWTON        * MA
                                      REDACTED 3873
5/12                          DEBIT CARD PURCHASE, AUT 050814 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
5113                          DEBIT CARD PURCHASE, AUT 051114 VISA DDA PUR                                                                  249.87
                                      HOTEL INDIGO NEWTON                  NEWTON        *MA
                                      REDACTED 3873
5/13                          DEBIT CARD PURCHASE, AUT 051114 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
5/14                          DEBIT CARD PURCHASE, AUT 050814 VISA DDA PUR                                                                    54.23
                                      WWW NIC RU                    MOSCOW        R US
                                      REDACTED 3873
5/16                          DEBIT CARD PURCHASE, AUT 051414 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
5119                          TDATMDEBIT,AUT051914DDA WITHDRAW                                                                              300.00
                                      1197 CENTRE STREET                 NEWTON CENTRE* MA
                                      REDACTED 3873
5/19                          DEBIT CARD PURCHASE, AUT 051614 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
5/21                          TD ATM DEBIT, AUT 052114 DDA WITHDRAW                                                                         500.00
                                      516 ADAMS STREET                  QUINCY      *MA
                                      REDACTED 3873
5/21                          TD ATM DEBIT, AUT 052114 DDA WITHDRAW                                                                         500.00
                                      516 ADAMS STREET                   QUINCY     *MA
                                      REDACTED 3873
5/22                          DEBIT CARD PURCHASE, AUT 052114 VISA DDA PUR                                                                    56.08
                                      Q RESTAURANT                      BOSTON    *MA
                                      REDACTED 3873
5123                          DEBIT CARD PURCHASE, AUT 052114 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 3873
5123                          DEBIT CARD PURCHASE, AUT 052114 VISA DDA PUR                                                                    15.00
                                      LAZ PARKING 550576                 BOSTON     *MA
                                      REDACTED 3873
5/27                          DEBIT CARD PURCHASE, AUT 052414 VISA DDA PUR                                                                   206.85
                                      HOTEL INDIGO NEWTON                  NEWTON        * MA
                                      REDACTED 3873



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                     Bank
                      America's Most Convenient Bank®                                 STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                     Page:                                      5 of6
     SALES                                                                            Statement Period:   May 01 2014-May 31 2014
                                                                                                            REDACTED
                                                                                      Cust Ref#:                     4532-713-T-###
                                                                                                                        REDACTED
                                                                                      Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRlPTION                                                                                                 AMOUNT
5/27                         DEBIT CARD PURCHASE, AUT 052214 VISA DDA PUR                                                                163.87
                                      OSAKA JAPANESE SUSHI AND             BROOKLINE        *MA
                                      REDACTED 3873
5/27                         DEBIT CARD PURCHASE, AUT 052414 VISA DDA PUR                                                                 49.90
                                      THE STORE AT DECORDOVA               LINCOLN      * MA
                                      REDACTED 3873
5/27                         DEBIT CARD PURCHASE, AUT 052414 VISA DDA PUR                                                                 40.00
                                      MAIN STREETS MARKET CA              CONCORD       * MA
                                      REDACTED 3873
5/27                          DEBIT CARD PURCHASE, AUT 052414 VISA DDA PUR                                                                31.11
                                      TST ROXY S ALLSTON                ALLSTON      * MA
                                      REDACTED 3873
5/27                         DEBIT CARD PURCHASE, AUT 052414 VISA DDA PUR                                                                 28.00
                                      DECORDOVA SCULPTURE PA               LINCOLN      *MA
                                      REDACTED 3873
5/27                         DEBIT CARD PURCHASE, AUT 052214 VISA DDA PUR                                                                 25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
5/27                         DEBIT CARD PURCHASE, AUT 052314 VISA DDA PUR                                                                 25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
5/28                         DEBIT CARD PURCHASE, AUT 052614 VISA DDA PUR                                                                 25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
5/29                         DEBIT CARD PURCHASE, AUT 052814 VISA DDA PUR                                                                 74.86
                                      OGA S JAPANESE CUISINE             NATICK      *MA
                                      REDACTED 3873
5/30                         DEBIT CARD PURCHASE, AUT 052814 VISA DDA PUR                                                                 25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
                                                                                                            Subtotal:                5,064.55
Service Charges
POSTING DATE                 DESCRlPTION                                                                                                 AMOUNT
5/30                         MAINTENANCE FEE                                                                                               8.00
                                                                                                            Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                         DATE                                    BALANCE
4/30                                                         6,419.94                       517                                      4,454.14
5/1                                                          5,919.94                       5/8                                     12,955.14
5/5                                                          4,603.15                       519                                     12,872.20
516                                                          4,564.14                       5112                                    12,713.16

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                     Bank
                     America's Most Convenient Bank®                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                      6 of6
     SALES                                                               Statement Period:    May 012014-May312014
                                                                                                REDACTED
                                                                         CustRef#:                       4532-713-T-###
                                                                         Primary Account #:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE           DATE                                      BALANCE

5/13                                                       12,438.29          5/23                                      10,937.98
5/14                                                       12,384.06          5/27                                      10,368.25
5/16                                                       12,359.06          5/28                                      10,343.25
5/19                                                       12,034.06          5/29                                      10,268.39
5/21                                                       11,034.06          5/30                                      10,235.39
5/22                                                       10,977.98




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                     Bank
                     America's Most Convenient Bank®                            T        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                       Page:                                        1of6
      SALES                                                                              Statement Period:     Jun 01 2014-Jun 30 2014
                                                                                                                 REDACTED
      18 GRAF ROAD UNIT 26                                                               CustRef#:                        4532-713-T-###
                                                                                         Primary Account#:                   REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                           Account# REDACTED 4532
SALES


WE'RE MAKING ATM CASH DEPOSITS AVAILABLE RIGHT A WAY.
BEGINNING AUGUST 17, 2014, CASH DEPOSITS MADE AT ANY OF OUR TD BANK ENVELOPE-FREE ATMS WILL BE
AVAILABLE IMMEDIATELY. WITH MORE THAN 1,500 ATMS THAT COUNT YOUR CASH DEPOSITS, YOU CAN DEPOSIT
AND USE THE FUNDS RIGHT A WAY TO COVER PAYMENTS OR PURCHASES. QUICKER ACCESS TO FUNDS IS JUST
ONE MORE WAY WE'RE MAKING BANKING CONVENIENT FOR YOU!

ACCOUNT SUMMARY
Beginning Balance                                          10,235.39                                Average Collected Balance            7,465.91
Electronic Deposits                                            32.77                                Annual Percentage Yield Earned          0.00%
                                                                                                    Days in Period                              30
Electronic Payments                                          5,489.81
Service Charges                                                   8.00
Ending Balance                                               4,770.35

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
6/16                         DEBIT CARD CREDIT, AUT 061414 VISA DDA REF                                                                       32.77
                                     HOTEL INDIGO NEWTON                     NEWTON      *MA
                                     REDACTED 3873

                                                                                                                Subtotal:                     32.77
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
612                          DEBIT CARD PURCHASE, AUT 053114 VISA DDA PUR                                                                    218.50
                                     KOULLSHI                       CHARLESTOWN       * MA
                                     REDACTED 3873
612                          DEBIT POS, AUT 060114 DDA PURCHASE                                                                               35.85
                                     CVS 01862                     CHESTNUT HILL* MA
                                     REDACTED 3873
612                          DEBIT CARD PURCHASE, AUT 053114 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                     REDACTED 3873
612                          DEBIT CARD PURCHASE, AUT 053114 VISA DDA PUR                                                                     24.67
                                     RESIDENCE INNS BOST NEED                 NEEDHAM        * MA
                                     REDACTED 3873
6/3                          DEBIT CARD PURCHASE, AUT 053114 VISA DDA PUR                                                                    169.41
                                     HOTEL INDIGO NEWTON                     NEWTON      * MA
                                     REDACTED 3873
613                          DEBIT CARD PURCHASE, AUT 060114 VISA DDA PUR                                                                     53.20
                                     BLACK COW TAP GRILL                     NEWBURYPORT     * MA
                                     REDACTED 3873


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How to Balance your Account                                                                                                                                      Page:                     2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                    WIIBDRAWALS N01   DOLLARS           CENTS                   W!IBDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
Ifvou need information about an electronic fund transfer or ifvou believe there is an       In case of Errors or Questions About Your Bill:
er~or on your bank statement or receipt relating to an electroniC fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                   If you need more information, describe the item you are unsure about.
       Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about
     • The dollar amount and date of the suspected error.                                   are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone calL
We will investigate your complaint and \Vill correct any error promptly. If we take         FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (IO) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term ''ODP"
amount you think is in error, so that you ha\·e the use of the money during the time it     or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance char2e begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                     Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      3 of6
      SALES                                                                                Statement Period:   Jun 01 2014-Jun 30 2014
                                                                                                                 REDACTED
                                                                                           CustRef#:                      4532-713-T-###
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
6/4                           DEBIT CARD PURCHASE, AUT 060214 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 3873
615                           DEBIT CARD PURCHASE, AUT 060314 VISA DDA PUR                                                                      67.18
                                      BOKX 109 AMERICAN PRIM              NEWTON           * MA
                                      REDACTED 3873
616                          DEBIT CARD PURCHASE, AUT 060414 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                      REDACTED 3873
619                          DEBIT CARD PURCHASE, AUT 060714 VISA DDA PUR                                                                     578.00
                                      JETBLUE 279744403394             WEST LEBANO        * NH
                                      REDACTED 3873
619                           DEBIT CARD PURCHASE, AUT 060814 VISA DDA PUR                                                                      67.50
                                      HOUSERS RESTAURANT                 OCEAN BEACH *NY
                                      REDACTED 3873
619                          DEBIT CARD PURCHASE, AUT 060814 VISA DDA PUR                                                                       51.12
                                      NYC BIKE SHARE LLC               PORTLAND           * OR
                                      REDACTED 3873
619                          DEBIT CARD PURCHASE, AUT 060714 VISA DDA PUR                                                                       46.19
                                      COOKSHOP RESTAURANT BA                NEW YORK             *NY
                                      REDACTED 3873
619                          DEBIT CARD PURCHASE, AUT 060714 VISA DDA PUR                                                                       25.30
                                      LADUREE                      NEW YORK        * NY
                                      REDACTED 3873
619                          DEBIT CARD PURCHASE, AUT 060614 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                      REDACTED 3873
6/10                         DEBIT CARD PURCHASE, AUT 060814 VISA DDA PUR                                                                      186.81
                                      W HOTELS                     NEW YORK        * NY
                                      REDACTED 3873
6/10                         DEBIT CARD PURCHASE, AUT 060814 VISA DDA PUR                                                                       48.91
                                      REINS NY STYLE DELI              VERt'\lON      * CT
                                      REDACTED 3873
6/10                         DEBIT CARD PURCHASE, AUT 060814 VISA DDA PUR                                                                       33.75
                                      W HOTELS                     NEW YORK        *NY
                                      REDACTED 3873
6/11                         TD ATM DEBIT, AUT 061014 DDA WITHDRAW                                                                            500.00
                                      95 HIGHLAND AVENUE                NEEDHAM           *MA
                                      REDACTED 3873
6/11                         TD ATM DEBIT, AUT 061014 DDA WITHDRAW                                                                            500.00
                                      95 HIGHLAND AVENUE                NEEDHAM           * MA
                                      REDACTED 3873



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                     Bank
                     America's Most Convenient Bank®                                   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                      Page:                                       4 of6
     SALES                                                                             Statement Period:    Jun 012014-Jun30 2014
                                                                                                              REDACTED
                                                                                       Cust Ref#:                      4532-713-T-###
                                                                                       Primary Account #:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT
6/11                         DEBIT CARD PURCHASE, AUT 060914 VISA DDA PUR                                                                  250.59
                                     HOTEL INDIGO NEWTON                 NEWTON        * MA
                                     REDACTED 3873
6/11                         DEBIT CARD PURCHASE, AUT 060914 VISA DDA PUR                                                                    40.00
                                     MILNE TRAVEL AGENCY                 603 2986644   * NH
                                     REDACTED 3873
6112                         DEBIT CARD PURCHASE, AUT 061014 VISA DDA PUR                                                                    50.07
                                     EXXONMOBIL 97448302                STOUGHTON       * MA
                                     REDACTED 3873
6/13                         DEBIT CARD PURCHASE, AUT 061214 VISA DDA PUR                                                                    31.74
                                     ALBA DELI EXPRESS                 QUINCY     *MA
                                     REDACTED 3873
6/16                         DEBIT CARD PURCHASE, AUT 061414 VISA DDA PUR                                                                    51.86
                                     EXXONMOBIL 97448302                STOUGHTON       *MA
                                     REDACTED 3873
6/16                         DEBIT CARD PURCHASE, AUT 061414 VISA DDA PUR                                                                    43.00
                                     NILE LOUNGE                    ALLSTON     *MA
                                     REDACTED 3873
6/17                         DEBIT CARD PURCHASE, AUT 061414 VISA DDA PUR                                                                   151.86
                                     HOTEL INDIGO NEWTON                 NEWTON        * MA
                                     REDACTED 3873
6/17                         DEBIT CARD PURCHASE, AUT 061514 VISA DDA PUR                                                                    56.30
                                     EXXONMOBIL 97440127                CAMBRIDGE      *MA
                                     REDACTED 3873
6/17                         DEBIT CARD PURCHASE, AUT 061514 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                     REDACTED 3873
6/18                         DEBIT CARD PURCHASE, AUT 061614 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                 800 782 7282 * WA
                                     REDACTED 3873
6/20                         DEBIT POS, AUT 062014 DDA PURCHASE                                                                              65.00
                                     CVS 00107                    NEWTONVILLE *MA
                                     REDACTED 3873
6/20                         DEBIT CARD PURCHASE, AUT 061814 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                800 782 7282 *WA
                                     REDACTED 3873
6/23                         DEBIT CARD PURCHASE, AUT 062114 VISA DDA PUR                                                                  251.64
                                     HOTEL INDIGO NEWTON                 NEWTON        * MA
                                     REDACTED 3873
6/23                         DEBIT CARD PURCHASE, AUT 061914 VISA DDA PUR                                                                    51.35
                                     EXXONMOBIL 97448302                STOUGHTON       * MA
                                     REDACTED 3873



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                     Bank
                     America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      5 of6
     SALES                                                                                Statement Period:   Jun 01 2014-Jun 30 2014
                                                                                                                REDACTED
                                                                                          CustRef#:                      4532-713-T-###
                                                                                                                            REDACTED
                                                                                          Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
6/23                         DEBIT CARD PURCHASE, AUT 061914 VISA DDA PUR                                                                     40.56
                                     PORT 305 IN CORPORA TED               QUINCY     * MA
                                     REDACTED 3873
6123                         DEBIT CARD PURCHASE, AUT 061914 VISA DDA PUR                                                                      25.00
                                     STARBUCKS CARD RELOAD                  800 782 7282 * WA
                                     REDACTED 3873
6/24                         TD ATM DEBIT, AUT 062414 DDA WITHDRAW                                                                           500.00
                                     95 HIGHLAND AVENUE                 NEEDHAM           *MA
                                     REDACTED 3873
6/24                         DEBIT CARD PAYMENT, AUT 062314 VISA DDA PUR                                                                     170.00
                                     EQUINOX MOTO 202                  866 332 6549 * MA
                                     REDACTED 3873
6/24                         DEBIT CARD PURCHASE, AUT 062214 VISA DDA PUR                                                                      52.48
                                     EXXONMOBIL 97448302                STOUGHTON         * MA
                                     REDACTED 3873
6/25                         DEBIT CARD PURCHASE, AUT 062314 VISA DDA PUR                                                                      25.00
                                     STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                     REDACTED 3873
6/25                         DEBIT POS, AUT 062414 DDA PURCHASE                                                                                 3.08
                                     CVS 00321                    CANTON     *MA
                                     REDACTED 3873
6/25                         DEBIT POS, AUT 062414 DDA PURCHASE                                                                                 2.48
                                     CVS 00321                    CANTON     *MA
                                     REDACTED 3873
6/30                         DEBIT CARD PURCHASE, AUT 062714 VISA DDA PUR                                                                    555.00
                                     PHS MASS GENERAL HOSP                 617 726 4098 *MA
                                     REDACTED 3873
6/30                         DEBIT CARD PURCHASE, AUT 062814 VISA DDA PUR                                                                     195.12
                                     THE CLARKE COOKE HOUSE                 NEWPORT         * RI
                                     REDACTED 3873
6130                         DEBIT CARD PURCHASE, AUT 062714 VISA DDA PUR                                                                      40.24
                                     SKIPJACKS FOXBOROUGH                  FOXBOROUGH         * MA
                                     REDACTED 3873
6/30                         DEBIT CARD PURCHASE, AUT 062614 VISA DDA PUR                                                                      31.05
                                     PF CHAN GS 9854                DEDHAM          *MA
                                     REDACTED 3873
6/30                         DEBIT CARD PURCHASE, AUT 062714 VISA DDA PUR                                                                      25.00
                                     STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                     REDACTED 3873

                                                                                                               Subtotal:                 5,489.81




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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                       Page:                                     6 of6
      SALES                                                              Statement Period:   Jun 012014-Jun30 2014
                                                                                               REDACTED
                                                                         CustRef#:                      4532-713-T-###
                                                                         Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE                  DESCRIPTION                                                                                   AMOUNT
6130                          MAINTENANCE FEE                                                                                  8.00
                                                                                              Subtotal:                        8.00
DAILY BALANCE SUMMARY
DATE                                                          BALANCE        DATE                                      BALANCE
5/31                                                         10,235.39       6/13                                          7,156.60
6/2                                                           9,931.37       6/16                                          7,094.51
6/3                                                           9,708.76       6/17                                          6,861.35
614                                                           9,683.76       6/18                                          6,836.35
615                                                           9,616.58       6/20                                          6,746.35
616                                                           9,591.58       6/23                                          6,377.80
619                                                           8,798.47        6124                                         5,655.32
6110                                                          8,529.00       6/25                                          5,624.76
6111                                                          7,238.41       6/30                                          4,770.35
6/12                                                          7,188.34




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                      Bank
                      America's Most Convenient Bank®                                E          STATEMENT OF ACCOUNT



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      SALES                                                                                     Statement Period:    Jul 01 2014-Jul 31 2014
                                                                                                                      REDACTED
      18 GRAF ROAD UNIT 26                                                                      CustRef#:                      4532-713-E-***
                                                                                                Primary Account#:                REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                                Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                              4,770.35                                 Average Collected Balance            3,002.48
Electronic Deposits                                              965.42                                 Annual Percentage Yield Earned          0.00%
                                                                                                        Days in Period                              31
Electronic Payments                                            4,865.49
Service Charges                                                    8.00
Ending Balance                                                   862.28

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRJPTION                                                                                                        AMOUNT

717                           ATM DEPOSIT, AUT 070714 DDA DEPOSIT                                                                                965.42
                                      1197 CENTRE STREET                    NEWTON CENTRE* MA
                                      REDACTED 3873
                                                                                                                    Subtotal:                    965.42
Electronic Payments
POSTING DATE                  DESCRJPTION                                                                                                        AMOUNT

7/1                           DEBIT CARD PURCHASE, AUT 062814 VISA DDA PUR                                                                       142.30
                                      HOTEL INDIGO NEWTON                     NEWTON            * MA
                                      REDACTED 3873
711                           DEBIT CARD PURCHASE, AUT 062914 VISA DDA PUR                                                                         50.06
                                      EXXONMOBIL 97439319                    BROOKLINE          *MA
                                      REDACTED 3873
712                           DEBIT CARD PURCHASE, AUT 063014 VISA DDA PUR                                                                         20.00
                                      E Z PASS MA CS00100040                NATICK         *MA
                                      REDACTED 3873
713                           DEBIT POS, AUT 070214 DDA PURCHASE                                                                                   68.01
                                      7 ELEVEN                      EAST WAREHAM * MA
                                      REDACTED 3873
713                           DEBIT CARD PURCHASE, AUT 070114 VISA DDA PUR                                                                         25.00
                                      STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                      REDACTED 3873
717                           DEBIT POS, AUT 070414 DDA PURCHASE                                                                                 185.86
                                      ZARA USA 3235                       NATICK         *MA
                                      REDACTED 3873
717                           DEBIT CARD PURCHASE, AUT 070314 VISA DDA PUR                                                                        109.59
                                      DOUZO SUSHI                         BOSTON         * MA
                                      REDACTED 3873
717                           DEBIT CARD PURCHASE, AUT 070214 VISA DDA PUR                                                                         58.33
                                      EXXONMOBIL 97540942                    WEST BARNSTAB *MA
                                      REDACTED 3873

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Bank Deposits FDIC Insured I TD Bank, N.A. ! Equal Housing Lender     @'
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How to Balance your Account                                                                                                                                         Page:                     2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                DOLLARS             CENTS                    WITIIDRA W ALS N01   DOLLARS           CENTS                   WITIIDRAWALS NO              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                   ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,               If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
statement or write to:
                                                                                               possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                               FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                               so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                           If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                               You do not have to pay any amount in question while we are investigating. but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                       are still obligated to pay the parts of your bill that are not in question. While we
                                                                                               inYestigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                               collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it         or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                           on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                                charge. The finance charge begins to accrue on the date advances and other debits
                                                                                               are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the       To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                               Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                               the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                               balance for each day of the billing cycle, then diYiding the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits haYe been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                 STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                   Page:                                     3 of6
      SALES                                                                          Statement Period:    Jul 01 2014-Jul 31 2014
                                                                                                           REDACTED
                                                                                     Cust Ref#:                     4532-713-E-***
                                                                                     Primary Account #:               REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                               AMOUNT
717                          DEBIT CARD PURCHASE, AUT 070514 VISA DDA PUR                                                               37.95
                                     EXXONMOBIL 97437172               STOUGHTON      *MA
                                     REDACTED 3873
717                          DEBIT CARD PURCHASE, AUT 070414 VISA DDA PUR                                                               25.00
                                 STARBUCKS CARD RELOAD    800 782 7282 * WA
                                 REDACTED 3873
717                          DEBIT CARD PURCHASE, AUT 070314 VISA DDA PUR                                                                8.00
                                 COPLEY PLACE       BOSTON      *MA
                                 REDACTED 3873
719                          DEBIT CARD PURCHASE, AUT 070714 VISA DDA PUR                                                               25.00
                                 STARBUCKS CARD RELOAD    800 782 7282 *WA
                                 REDACTED 3873
7110                         DEBIT CARD PURCHASE, AUT 070814 VISA DDA PUR                                                              102.72
                                 BOKX 109 AMERICAN PRIM  NEWTON        * MA
                                 REDACTED 3873
7110                         DEBIT CARD PURCHASE, AUT 070814 VISA DDA PUR                                                               25.00
                                  STARBUCKS CARD RELOAD     800 782 7282 *WA
                                 REDACTED 3873
7/11                         TD A TM DEBIT, AUT 071114 DDA WITHDRAW                                                                1,000.00
                                  516 ADAMS STREET      QUINCY      *MA
                                 REDACTED 3873
7/14                         DEBIT CARD PURCHASE, AUT 071014 VISA DDA PUR                                                               50.00
                                 AMC FRAMINGHAM 15 0810 FRAMINGHAM *MA
                                 REDACTED 3873
7114                         DEBIT CARD PURCHASE, AUT 071114 VISA DDA PUR                                                               50.00
                                 EXXONMOBIL 97448302   STOUGHTON * MA
                                 REDACTED 3873
7114                         DEBIT CARD PURCHASE, AUT 071314 VISA DDA PUR                                                               40.17
                                     LUCCA RESTAURANT                  BOSTON       * MA
                                     REDACTED 3873
7/14                         DEBIT CARD PURCHASE, AUT 071214 VISA DDA PUR                                                               25.00
                                 STARBUCKS CARD RELOAD    800 782 7282 *WA
                                 REDACTED 3873
7114                         DEBIT CARD PURCHASE, AUT 071014 VISA DDA PUR                                                               25.00
                                 STARBUCKS CARD RELOAD    800 782 7282 * WA
                                 REDACTED 3873
7/14                         DEBIT CARD PURCHASE, AUT 071214 VISA DDA PUR                                                               23.10
                                     SANTORINI RESTAURANT                  REVERE    *MA
                                     REDACTED 3873
7/14                         DEBIT CARD PURCHASE, AUT 071114 VISA DDA PUR                                                               23.00
                                     PHO HOA                      QUINCY     * MA
                                     REDACTED 3873



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                      Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                       Page:                                    4 of6
     SALES                                                              Statement Period:   Jul 01 2014-Jul 31 2014
                                                                                             REDACTED
                                                                        Cust Ref#:                    4532-713-E-***
                                                                                                        REDACTED
                                                                        Primary Account#:                        4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                AMOUNT
7114                          DEBIT POS, AUT 071314 DDA PURCHASE                                                           5.48
                                  TRADER JOE S 502     CAMBRIDGE * MA
                                  REDACTED 3873
7114                          DEBIT POS, AUT 071314 DDA PURCHASE                                                           3.99
                                  TRADER JOE S 502     CAMBRIDGE * MA
                                  REDACTED 3873
7/15                          DEBIT CARD PURCHASE, AUT 071314 VISA DDA PUR                                               233.49
                                  HOTEL INDIGO NEWTON       NEWTON         * MA
                                  REDACTED 3873
7115                          TD ATM DEBIT, AUT 071514 DDA WITHDRAW                                                      100.00
                                  95 HIGHLAND AVENUE       NEEDHAM         * MA
                                  REDACTED 5552
7115                          DEBIT CARD PURCHASE, AUT 071314 VISA DDA PUR                                                94.45
                                  LEGAL HARBORSIDE        BOSTON        * MA
                                  REDACTED 3873
7115                          DEBIT POS, AUT 071514 DDA PURCHASE                                                          89.66
                                  00188 KITTERY FACTOR     KITTERY       *ME
                                  REDACTED 5552
7/15                          DEBIT POS, AUT 071514 DDA PURCHASE                                                          89.32
                                  00188 KITTERY FACTOR     KITTERY       *ME
                                  REDACTED 5552
7115                          DEBIT CARD PURCHASE, AUT 071314 VISA DDA PUR                                                12.00
                                  MASSAUTHPRKG CONGRESS         EAST BOSTON * MA
                                  REDACTED 3873
7115                          DEBIT POS, AUT 071514 DDA PURCHASE                                                           6.95
                                  STONEWALL KITCHEN        YORK         *ME
                                  REDACTED 5552
7/18                          NONTD ATM DEBIT, AUT 071814 DDA WITHDRAW                                                   403.50
                                  90 SHARON STREET       STOUGHTON * MA
                                  REDACTED 5552
7118                          DEBIT CARD PURCHASE, AUT 071514 VISA DDA PUR                                                35.91
                                  STONEWALL CAFE 800826173 YORK           *ME
                                  REDACTED 5552
7118                          DEBIT CARD PURCHASE, AUT 071614 VISA DDA PUR                                                25.00
                                  STARBUCKS CARD RELOAD        800 782 7282 * WA
                                  REDACTED 5552
7118                          DEBIT CARD PURCHASE, AUT 071614 VISA DDA PUR                                                25.00
                                  STARBUCKS CARD RELOAD        800 782 7282 *WA
                                  REDACTED 5552
7/18                          DEBIT CARD PURCHASE, AUT 071714 VISA DDA PUR                                                13.90
                                  MASSPIKE    00200055  888 5253278 * MA
                                  REDACTED 5552
7/18                          NONTDATMFEE                                                                                  3.00

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Bank Deposits FDIC Insured J TD Bank, N.A. I Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                                           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                               Page:                                    5 of6
     SALES                                                                                      Statement Period:   Jul 01 2014-Jul 31 2014
                                                                                                CustRef#:            REDACTED
                                                                                                                              4532-713-E-* **
                                                                                                Primary Account#:               REDACTED
                                                                                                                                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
7/21                          DEBIT CARD PURCHASE, AUT 071814 VISA DDA PUR                                                                       494.00
                                      UNITED  016746166710                   800 932 2732 *TX
                                      REDACTED 5552
7/21                          DEBIT CARD PURCHASE, AUT 071714 VISA DDA PUR                                                                        33.16
                                      EXXONMOBIL 97448302                      STOUGHTON        *MA
                                      REDACTED 5552
7/21                          DEBIT CARD PURCHASE, AUT 071814 VISA DDA PUR                                                                        22.75
                                      EXXONMOBIL 97448302                     STOUGHTON         *MA
                                      REDACTED 5552
7/23                          DEBIT CARD PURCHASE, AUT 072114 VISA DDA PUR                                                                        40.00
                                      MILNE TRAVEL AGENCY                       603 2986644   * NH
                                      REDACTED 5552
7/24                          DEBIT POS, AUT 072414 DDA PURCH W/CB                                                                                82.44
                                      STOP SHOP PHARMACY 39                      EDGARTOWN         * MA
                                      REDACTED 5552
7/24                          DEBIT CARD PURCHASE, AUT 072214 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                       800 782 7282 *WA
                                      REDACTED 5552
7125                          DEBIT CARD PURCHASE, AUT 072414 VISA DDA PUR                                                                       332.00
                                      NELL          EDGARTOWN                        * MA
                                      REDACTED 5552
7125                          DEBIT CARD PURCHASE, AUT 072414 VISA DDA PUR                                                                       127.00
                                      JACK WILLS M VINEYARD                     EDGARTOWN          *MA
                                      REDACTED 5552
7/25                          DEBIT CARD PURCHASE, AUT 072314 VISA DDA PUR                                                                        45.00
                                      EXXONMOBIL 97459101                     BRAINTREE       * MA
                                      REDACTED 5552
7/25                          DEBIT CARD PURCHASE, AUT 072314 VISA DDA PUR                                                                        20.56
                                      EXXONMOBIL 97459101                     BRAINTREE       *MA
                                      REDACTED 5552
7129                          DEBIT POS, AUT 072914 DDA PURCHASE                                                                                  28.00
                                      AMERICAN APPAREL RETAIL                     CAMBRIDGE          *MA
                                      REDACTED 5552
7130                          DEBIT CARD PURCHASE, AUT 072914 VISA DDA PUR                                                                       254.68
                                      TANNERY                       CAMBRIDGE          * MA
                                      REDACTED 5552
7130                          DEBIT CARD PURCHASE, AUT 072914 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                       800 782 7282 *WA
                                      REDACTED 5552
7/31                          DEBIT CARD PURCHASE, AUT 072914 VISA DDA PUR                                                                        50.16
                                      GENKI SUSHI DEDHAM                       DEDHAM         * MA
                                      REDACTED 5552


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                Bank
                America's Most Convenient Bank®              STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                           Page:                                   6 of6
      SALES                                                  Statement Period:   Jul 01 2014-Jul 31 2014
                                                                                  REDACTED
                                                             Cust Ref#:                    4532-713-E-***
                                                             Primary Account#:               REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE        DESCRIPTION                                                                              AMOUNT
7/31                 DEBIT CARD PURCHASE, AUT 072914 VISA DDA PUR                                               25.00
                          STARBUCKS CARD RELOAD    800 782 7282 *WA
                          REDACTED 5552

                                                                                 Subtotal:                   4,865.49
Service Charges
POSTING DATE         DESCRIPTION                                                                              AMOUNT
7/31                 MAINTENANCE FEE                                                                             8.00
                                                                                 Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                    BALANCE                  DATE                                    BALANCE
6130                                    4,770.35                 7/15                                        2,981.34
711                                     4,577.99                 7/18                                        2,475.03
712                                     4,557.99                 7/21                                        1,925.12
7/3                                     4,464.98                 7/23                                        1,885.12
7/7                                     5,005.67                 7/24                                        1,777.68
7/9                                     4,980.67                 7/25                                        1,253.12
7110                                    4,852.95                 7/29                                        1,225.12
7111                                    3,852.95                 7/30                                          945.44
7114                                    3,607.21                 7/31                                          862.28




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Bank Deposits FDIC Insured I TD Bank. N.A.1 Equal Housing Lender fE:J'
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 58 of 231

                      Bank
                      America's Most Convenient Bank®                           E          STATEMENT OF ACCOUNT


      ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      1 of6
      SALES                                                                                Statement Period:   Aug 01 2014-Aug 31 2014
                                                                                                                  REDACTED
      18 GRAF ROAD UNIT 26                                                                 Cust Ref#:                      4532-713-E-***
                                                                                           Primary Account#:                 REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                            Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                               862.28                               Average Collected Balance            5,230.53
Electronic Deposits                                          15,519.65                               Annual Percentage Yield Earned          0.00%
                                                                                                     Days in Period                              31
Electronic Payments                                            7,715.67
Service Charges                                                    8.00
Ending Balance                                                 8,658.26

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
8/4                           ATM DEPOSIT, AUT 080414 DDA DEPOSIT                                                                         1,500.00
                                      95 HIGHLAND A VENUE                  NEEDHAM         * MA
                                      REDACTED 5552
8/4                           ATM DEPOSIT, AUT 080414 DDA DEPOSIT                                                                             500.00
                                      95 HIGHLAND A VENUE                  NEEDHAM         * MA
                                      REDACTED 5552
8/4                           ATM DEPOSIT, AUT 080414 DDA DEPOSIT                                                                             327.97
                                      1197 CENTRE STREET                  NEWTON CENTRE * MA
                                      REDACTED 5552
8/6                           ACH DEPOSIT, LOYAL3 LOYAL3WITH 2d348204flfe55 l                                                                27.78
8/13                          ACH DEPOSIT, LOYAL3 LOYAL3WITH d02b69dld6e8c04                                                              3,163.90
8/20                          ATM CHECK DEPOSIT, AUT 081914 ATM CHECK DEPOSI                                                             10,000.00
                                      95 HIGHLAND A VENUE                  NEEDHAM         *MA
                                      REDACTED 5552

                                                                                                                 Subtotal:               15,519.65
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
811                           DEBIT CARD PURCHASE, AUT 073014 VISA DDA PUR                                                                     63.51
                                      BRINE                         NEWBURYPORT     * MA
                                      REDACTED 5552
8/1                           DEBIT CARD PURCHASE, AUT 073114 VISA DDA PUR                                                                     56.00
                                      HUBWAY                         PORTLAND       * OR
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 073114 VISA DDA PUR                                                                     66.24
                                      EXXONMOBIL 97437172                  STOUGHTON       *MA
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 080214 VISA DDA PUR                                                                     54.48
                                      DA VIO S FOXBOROUGH                   FOXBOROUGH        * MA
                                      REDACTED 5552



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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender     @
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How to Balance your Account                                                                                                                                      Page:                     2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS N01   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you belieYe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you belie\'e there is an error or why              Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are im·estigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take           FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      3 of6
      SALES                                                                                  Statement Period:   Aug 012014-Aug31 20I4
                                                                                                                    REDACTED
                                                                                             CustRef#:                       4532-713-E-***
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
8/4                           DEBIT CARD PURCHASE, AUT 080114 VISA DDA PUR                                                                       49.37
                                      RUDIS RESTAURANT                   PORTSMOUTH          *NH
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 080214 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 073114 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 * WA
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 080214 VISA DDA PUR                                                                       12.00
                                      MASSPIKE  00200055                888 5253278   * MA
                                      REDACTED 5552
8/4                           DEBIT CARD PURCHASE, AUT 080114 VISA DDA PUR                                                                        3.00
                                      CITY OF PORTSMOUTH NH                  PORTSMOUTH         * NH
                                      REDACTED 5552
8/5                           DEBIT CARD PURCHASE, AUT 080314 VISA DDA PUR                                                                      222.28
                                      RESIDENCE INNS BOST NEED               NEEDHAM           * MA
                                      REDACTED 5552
815                           DEBIT CARD PURCHASE, AUT 080414 VISA DDA PUR                                                                      179.85
                                      2BUYSAFE COM SA                           LIE
                                      REDACTED 5552
8/5                           DEBIT CARD PURCHASE, AUT 080414 VISA DDA PUR                                                                        2.00
                                      PARKING METERS PIL                 BOSTON        *MA
                                      REDACTED 5552
8/6                           DEBIT CARD PURCHASE, AUT 080414 VISA DDA PUR                                                                       45.04
                                      EXXONMOBIL 97456966                 BRAINTREE      * MA
                                      REDACTED 5552
8/8                           TD ATM DEBIT, AUT 080714 DDA WITHDRAW                                                                             500.00
                                      95 HIGHLAND AVENUE                   NEEDHAM       * MA
                                      REDACTED 5552
8/8                           TD ATM DEBIT, AUT 080814 DDA WITHDRAW                                                                             500.00
                                      380 WASHINGTON STREET                 WELLESLEY         * MA
                                      REDACTED 5552
8/8                           DEBIT CARD PURCHASE, AUT 080614 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 5552
8/11                          DEBIT CARD PURCHASE, AUT 080814 VISA DDA PUR                                                                      170.00
                                      EQUINOX WEB 998                   NEWYORK        *NY
                                      REDACTED 5552
8/11                          DEBIT CARD PURCHASE, AUT 080714 VISA DDA PUR                                                                       66.00
                                      RED BIRD TRADING INC                NEWBURYPORT *MA
                                      REDACTED 5552



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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   @
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                     Bank
                     America's Most Convenient Bank®                                             STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                Page:                                      4 of6
     SALES                                                                                       Statement Period:   Aug 012014-Aug 312014
                                                                                                                        REDACTED
                                                                                                 Cust Ref#:                      4532-713-E-***
                                                                                                                                   REDACTED
                                                                                                 Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRJPTION                                                                                                            AMOUNT
8/11                         DEBIT CARD PURCHASE, AUT 080714 VISA DDA PUR                                                                            29.22
                                     WISHBASKET                      NEWBURYPORT            * MA
                                     REDACTED 5552
8/12                         DEBIT CARD PURCHASE, AUT 081014 VISA DDA PUR                                                                           165.00
                                     AMTRAK COM 222067202380                    WASHINGTON          *DC
                                     REDACTED 5552
8/13                         DEBIT CARD PURCHASE, AUT 081114 VISA DDA PUR                                                                            25.00
                                     STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                     REDACTED 5552
8/14                         DEBIT CARD PURCHASE, AUT 081214 VISA DDA PUR                                                                            75.60
                                     EXXONMOBIL 97448302                      STOUGHTON          *MA
                                     REDACTED 5552
8/18                         DEBIT CARD PURCHASE, AUT 081614 VISA DDA PUR                                                                           311.86
                                     HOTEL INDIGO NEWTON                       NEWTON        * MA
                                     REDACTED 5552
8/18                         DEBIT CARD PURCHASE, AUT 081614 VISA DDA PUR                                                                            80.48
                                     BRINE OYSTER                     NEWBURYPORT           * MA
                                     REDACTED 5552
8/18                         DEBIT CARD PURCHASE, AUT 081414 VISA DDA PUR                                                                            66.19
                                     EXXONMOBIL 97537401                      PORTSMOUTH          * RI
                                     REDACTED 5552
8118                         DEBIT CARD PURCHASE, AUT 081414 VISA DDA PUR                                                                            25.00
                                     STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                     REDACTED 5552
8/18                         DEBIT CARD PURCHASE, AUT 081614 VISA DDA PUR                                                                            25.00
                                     STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                     REDACTED 5552
8/18                         DEBIT POS, AUT 081714 DDA PURCHASE                                                                                       15.00
                                     CVS 00107                     NEWTONVILLE *MA
                                     REDACTED 5552
8/19                         DEBIT CARD PURCHASE, AUT 081714 VISA DDA PUR                                                                            25.00
                                     STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                     REDACTED 5552
8/20                         TD ATM DEBIT, AUT 081914 DDA WITHDRAW                                                                                  700.00
                                     95 HIGHLAND A VENUE                       NEEDHAM       * MA
                                     REDACTED 5552
8/20                         DEBIT CARD PURCHASE, AUT 081914 VISA DDA PUR                                                                             11.00
                                     MASSPIKE  00200055                     888 5253278   * MA
                                     REDACTED 5552
8/22                         DEBIT CARD PURCHASE, AUT 082014 VISA DDA PUR                                                                            25.00
                                     STARBUCKS CARD RELOAD                        800 782 7282 *WA
                                     REDACTED 5552



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Bank Deposits FDIC Insured I TD Bank, N.A.1 Equal Housing Lender    t:E:J
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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     5 of6
     SALES                                                                                 Statement Period:   Aug012014-Aug312014
                                                                                           Cust Ref#:            REDACTED
                                                                                                                          4532-713-E-* **
                                                                                           Primary Account#:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
8/25                         DEBIT CARD PAYMENT, AUT 082314 VISA DDA PUR                                                                     170.00
                                     EQUINOX MOTO 202                      866 332 6549 * MA
                                     REDACTED 5552
8/25                         DEBIT CARD PURCHASE, AUT 082314 VISA DDA PUR                                                                     40.00
                                     HUBWAY                        PORTLAND         * OR
                                     REDACTED 5552
8/25                         DEBIT CARD PURCHASE, AUT 082214 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                     800 782 7282 * WA
                                     REDACTED 5552
8/26                         eTransfer Debit, Online Xfer                                                                                3,200.00
                                     Transfer to CK REDACTED 3112
8/26                         TD ATM DEBIT, AUT 082614 DDA WITHDRAW                                                                           400.00
                                     1197 CENTRE STREET                    NEWTON CENTRE * MA
                                     REDACTED 5552
8/26                         DEBIT CARD PURCHASE, AUT 082414 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                     REDACTED 5552
8/27                         DEBIT CARD PURCHASE, AUT 082514 VISA DDA PUR                                                                     98.15
                                     HOTEL INDIGO NEWTON                     NEWTON        *MA
                                     REDACTED 5552
8/27                         DEBIT CARD PURCHASE, AUT 082514 VISA DDA PUR                                                                     49.46
                                     GENKI SUSHI DEDHAM                     DEDHAM         * MA
                                     REDACTED 5552
8/28                         DEBIT CARD PURCHASE, AUT 082714 VISA DDA PUR                                                                     38.94
                                     WEB NETWORKSOLUTIONS                      888 642 9675 * FL
                                     REDACTED 5552
8/29                         DEBIT CARD PURCHASE, AUT 082714 VISA DDA PUR                                                                     25.00
                                     STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                     REDACTED 5552

                                                                                                                Subtotal:                7,715.67
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
8/29                         MAINTENANCE FEE                                                                                                   8.00
                                                                                                                Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                       BALANCE                                DATE                                  BALANCE
7/31                                                          862.28                              8/8                                    1,389.26
8/1                                                           742.77                              8/11                                   1,124.04
8/4                                                         2,835.65                              8/12                                     959.04
8/5                                                         2,431.52                              8/13                                   4,097.94
8/6                                                         2,414.26                              8/14                                   4,022.34

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Bank Deposits FDIC Insured 1TD Bank, N.A.1 Equal Housing Lender    1B:r'
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                     Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT


     ENCOMPASS COMMUNICATIONS INC                                       Page:                                     6 of6
     SALES                                                              Statement Period:   Aug 012014-Aug31 2014
                                                                                               REDACTED
                                                                        CustRef#:                       4532-713-E-***
                                                                        Primary Account#:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE          DATE                                     BALANCE
8/18                                                         3,498.81        8/26                                         8,877.81
8/19                                                         3,473.81        8/27                                         8,730.20
8/20                                                        12,762.81        8/28                                         8,691.26
8/22                                                        12,737.81        8/29                                         8,658.26
8/25                                                        12,502.81




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Bank Deposits FDIC Insured I TD Bank, N.A.1 Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                            E       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                       Page:                                      1 of7
      SALES                                                                              Statement Period:   Sep 01 2014-Sep 30 2014
      18 GRAF ROAD UNIT 26                                                               CustRef#:              REDACTED
                                                                                                                         4532-713-E-* **
                                                                                         Primary Account#:                 REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                          Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                             8,658.26                           Average Collected Balance             12,240.57
Deposits                                                     30,000.00                           Annual Percentage Yield Earned            0.00%
Electronic Deposits                                           4,607.05                           Days in Period                                30

Electronic Payments                                          36,192.42
Other Withdrawals                                               700.00
Service Charges                                                    8.00
Ending Balance                                                6,364.89

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
913                           DEPOSIT                                                                                                  20,000.00
9/16                          DEPOSIT                                                                                                  10,000.00
                                                                                                              Subtotal:                30,000.00
Electronic Deposits
POSTING DA TE                 DESCRIPTION                                                                                                   AMOUNT
9/2                           ATM CASH DEPOSIT, AUT 082914 ATM CASH DEPOSIT                                                             1,000.00
                                      1197 CENTRE STREET                   NEWTON CENTRE * MA
                                      REDACTED 5552
9/8                           ATM CASH DEPOSIT, AUT 090714 ATM CASH DEPOSIT                                                                 720.00
                                      51 STATE STREET                     NEWBURYPORT   * MA
                                      REDACTED 5552
9/8                           DEBIT CARD CREDIT, AUT 090614 VISA DDA REF                                                                    334.05
                                      HOTEL INDIGO NEWTON                    NEWTON      *MA
                                      REDACTED 5552
9/15                          ATM CASH DEPOSIT, AUT 091514 ATM CASH DEPOSIT                                                                 177.00
                                      1197 CENTRE STREET                   NEWTON CENTRE * MA
                                      REDACTED 5552
9129                          ATM CHECK DEPOSIT, AUT 092814 ATM CHECK DEPOSI                                                            2,376.00
                                      95 HIGHLAND AVENUE                    NEEDHAM      *MA
                                      REDACTED 5552

                                                                                                              Subtotal:                 4,607.05
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
9/2                           DEBIT CARD PURCHASE, AUT 090114 VISA DDA PUR                                                                   25.17
                                      AJS WOOD GRILL PIZZA                  KITTERY     *ME
                                      REDACTED 5552



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How to Balance your Account                                                                                                                                        Page:                     2 of7

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS
                                                                         0
                                                                         WITIJDRA W ALS NO   DOLLARS           CENTS                   WITIJDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                  ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                    Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                    Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                          If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                              You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                              collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the             the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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               Bank
               America's Most Convenient Bank®                           STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                       Page:                                      3 of7
      SALES                                                              Statement Period:   Sep 01 2014-Sep 30 2014
                                                                                                REDACTED
                                                                         CustRef#:                       4532-713-E-***
                                                                                                           REDACTED
                                                                         Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE        DESCRIPTION                                                                                             AMOUNT
912                 DEBIT CARD PURCHASE, AUT 083114 VISA DDA PUR                                                             25.00
                         STARBUCKS CARD RELOAD               800 782 7282 * WA
                         REDACTED 5552
912                 DEBIT CARD PURCHASE, AUT 083014 VISA DDA PUR                                                             11.54
                         EXXONMOBIL 97448302              STOUGHTON       * MA
                         REDACTED 5552
913                 DEBIT CARD PURCHASE, AUT 090114 VISA DDA PUR                                                            334.05
                         HOTEL INDIGO NEWTON               NEWTON        *MA
                         REDACTED 5552
913                DEBIT CARD PURCHASE, AUT 083014 VISA DDA PUR                                                              80.00
                         IHG REWARDS CLUB                888 2119874 *GA
                         REDACTED 5552
913                DEBIT CARD PURCHASE, AUT 090114 VISA DDA PUR                                                              41.63
                         HOTEL INDIGO NEWTON               NEWTON        * MA
                         REDACTED 5552
913                DEBIT CARD PURCHASE, AUT 090114 VISA DDA PUR                                                              25.00
                         STARBUCKS CARD RELOAD               800 782 7282 *WA
                         REDACTED 5552
914                DEBIT CARD PURCHASE, AUT 090214 VISA DDA PUR                                                              38.28
                         EXXONMOBIL 97448302              STOUGHTON       * MA
                         REDACTED 5552
9/4                DEBIT CARD PURCHASE, AUT 090214 VISA DDA PUR                                                               4.67
                        EXXONMOBIL 97448302               STOUGHTON       *MA
                        REDACTED 5552
915                DEBIT CARD PURCHASE, AUT 090314 VISA DDA PUR                                                             388.20
                        DELTA AIR 006741259205           WEST LEBANON *NH
                        REDACTED 5552
915                DEBIT CARD PURCHASE, AUT 090314 VISA DDA PUR                                                              81.05
                        THE ALBATROSS                   OCEAN BEACH *NY
                        REDACTED 5552
915                DEBIT CARD PURCHASE, AUT 090314 VISA DDA PUR                                                              40.00
                        MILNE TRAVEL AGENCY                603 2986644   * NH
                        REDACTED 5552
915                DEBIT CARD PURCHASE, AUT 090314 VISA DDA PUR                                                              25.00
                        STARBUCKS CARD RELOAD                800 782 7282 *WA
                        REDACTED 5552
9/8                eTransfer Debit, Online Xfer                                                                         5,000.00
                         Transfer to CK REDACTED 3112
9/8                DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                             424.62
                        AGENT PROVOCATEUR INC               NEW YORK        *NY
                        REDACTED 5552




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                     Bank
                     America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                      Page:                                      4of7
      SALES                                                                             Statement Period:   Sep 01 2014-Sep 30 2014
                                                                                                               REDACTED
                                                                                        CustRef#:                       4532-713-E-***
                                                                                                                          REDACTED
                                                                                        Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                  AMOUNT

9/8                          DEBIT CARD PURCHASE, AUT 090414 VISA ODA PUR                                                                  116.08
                                     MAGUIRES RESTAURANT                    OCEAN BEACH       * NY
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090514 VISA DDA PUR                                                                  102.19
                                     HIDEAWAYRESTAURANT                      OCEANBEACH *NY
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                   50.00
                                     MOMA ADM LOBBY PAS                     NEWYORK        *NY
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                    43.00
                                     QUIK PARK WEST 57 LLC                NEW YORK      *NY
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                    33.60
                                     LADUREE MADISON                     NEWYORK       *NY
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                     REDACTED 5552
9/8                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                    15.46
                                     NESPRESSO USA                      NEWYORK      *NY
                                     REDACTED 5552
919                          DEBIT CARD PURCHASE, AUT 090614 VISA DDA PUR                                                                    66.80
                                     TODD ENGLISH FOOD HALL                  NEW YORK      * NY
                                     REDACTED 5552
919                          DEBIT POS, AUT 090814 DDA PURCHASE                                                                              22.18
                                      CVS 00321                    CANTON      *MA
                                      REDACTED 5552
9/10                         DEBIT CARD PURCHASE, AUT 090814 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                     REDACTED 5552
9/10                         DEBIT POS, AUT 090914 DDA PURCHASE                                                                               3.60
                                     TEDESCHI FOOD SHOP 205                 NATICK     * MA
                                     REDACTED 5552
9/11                         eTransfer Debit, Online Xfer                                                                                 2,450.00
                                      Transfer to CK REDACTED 3112
9/11                         DEBIT CARD PURCHASE, AUT 090914 VISA DDA PUR                                                                 1,800.00
                                     CENTRAL CHRYSLER JEEP DO                NORWOOD          *MA
                                     REDACTED 5552
9/11                         DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR                                                                  650.00
                                     PPLM BOSTON HEALTH CENTE                 BOSTON       * MA
                                     REDACTED 5552




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Bank Deposits FDIC Insured I TD Bank, N.A I Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                          STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                              Page:                                      5 of7
     SALES                                                                     Statement Period:   Sep 01 2014-Sep 30 2014
                                                                                                      REDACTED
                                                                               CustRef#:                       4532-713-E-***
                                                                                                                 REDACTED
                                                                               Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                         AMOUNT
9/11                          NONTD ATM DEBIT, AUT 091114 DDA WITHDRAW                                                            603.50
                                   90 SHARON STREET              STOUGHTON * MA
                                   REDACTED 5552
9111                          NONTD ATM DEBIT, AUT 091114 DDA WITHDRAW                                                            103.50
                                   90 SHARON STREET              STOUGHTON * MA
                                   REDACTED 5552
9/11                          DEBIT CARD PURCHASE, AUT 090914 VISA DDA PUR                                                         40.90
                                   SHANGHAI TOKYO                 NATICK      * MA
                                   REDACTED 5552
9/11                          DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR                                                         13.88
                                   PANERA BREAD 3558              NEEDHAM       * MA
                                   REDACTED 5552
9111                          DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR                                                         12.00
                                   BU PARKING SERVICES             BOSTON       *MA
                                   REDACTED 5552
9/11                          NONTD A TM FEE                                                                                      3.00
9/11                          NONTD A TM FEE                                                                                      3.00
9/12                          eTransfer Debit, Online Xfer                                                                   13,000.00
                                   Transfer to CK REDACTED 3112
9112                          DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR                                                         52.86
                                   DINING IN                6172782121 *MA
                                   REDACTED 5552
9/15                          eTransfer Debit, Online Xfer                                                                    3,834.64
                                   Transfer to CK REDACTED 3112
9115                          DEBIT CARD PURCHASE, AUT 091014 VISA DDA PUR                                                        383.98
                                   SHERATON NEEDHAM HOTEL              NEEDHAM        *MA
                                   REDACTED 5552
9/15                          DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR                                                        188.77
                                   RESIDENCE INNS BOST NEED NEEDHAM                 * MA
                                   REDACTED 5552
9/15                          DEBIT CARD PURCHASE, AUT 091214 VISA DDA PUR                                                         76.60
                                   EXXONMOBIL 97448302             STOUGHTON * MA
                                   REDACTED 5552
9115                          DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR                                                         58.15
                                   Q RESTAURANT                 BOSTON      * MA
                                   REDACTED 5552
9/15                          DEBIT CARD PURCHASE, AUT 091414 VISA DDA PUR                                                         28.54
                                   FARlMONT COPLEY PLAZA F BOSTON                  *MA
                                   REDACTED 5552
9115                          DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR                                                         25.00
                                   STARBUCKS CARD RELOAD              800 782 7282 * WA
                                   REDACTED 5552


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                     Bank
                     America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      6 of7
     SALES                                                                                  Statement Period:   Sep 012014-Sep30 2014
                                                                                            CustRef#:              REDACTED
                                                                                                                            4532-713-E-* **
                                                                                            Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
9/15                          DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR                                                                      24.01
                                      THE PARAMOUNT                    BOSTON         *MA
                                      REDACTED 5552
9115                         DEBIT CARD PURCHASE, AUT 091414 VISA DDA PUR                                                                       16.00
                                      MASSPIKE  00200055               888 5253278   * MA
                                      REDACTED 5552
9/15                         DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR                                                                         2.50
                                      PARKING METERS PIL                BOSTON         *MA
                                      REDACTED 5552
9115                         DEBIT CARD PURCHASE, AUT 091314 VISA DDA PUR                                                                         0.50
                                      PARKING METERS PIL                BOSTON         * MA
                                      REDACTED 5552
9118                         NONTD ATM DEBIT, AUT 091814 DDA WITHDRAW                                                                          703.00
                                      DEDHAM                       DEDHAM       *MA
                                      REDACTED 5552
9/18                         DEBIT CARD PURCHASE, AUT 091614 VISA DDA PUR                                                                       47.00
                                      PF CHANGS 9854                 DEDHAM          * MA
                                      REDACTED 5552
9118                         DEBIT CARD PURCHASE, AUT 091614 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
9/18                         NONTD ATM FEE                                                                                                       3.00
9/19                         DEBIT CARD PURCHASE, AUT 091714 VISA DDA PUR                                                                      727.98
                                      JETBLUE 279748667859             WEST LEBANO        * NH
                                      REDACTED 5552
9/19                         DEBIT CARD PURCHASE, AUT 091814 VISA DDA PUR                                                                       20.02
                                      HUDSON NEW                     EAST BOSTON * MA
                                      REDACTED 5552
9119                         DEBIT CARD PURCHASE, AUT 091814 VISA DDA PUR                                                                         6.00
                                      MASSPORT AUTH LOGAN PK 2                EAST BOSTON        * MA
                                      REDACTED 5552
9/22                         DEBIT CARD PURCHASE, AUT 091814 VISA DDA PUR                                                                       83.04
                                      EXXONMOBIL 97459028                ROXBURY         * MA
                                      REDACTED 5552
9/22                         DEBIT CARD PURCHASE, AUT 091814 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                  603 2986644   * NH
                                      REDACTED 5552
9/22                         DEBIT CARD PURCHASE, AUT 091814 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
9/22                         DEBIT CARD PURCHASE, AUT091814 VISA DDA PUR                                                                         13.55
                                      LOGAN CURRITO                    EAST BOSTON       * MA
                                      REDACTED 5552

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                     Bank
                     America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                       Page:                                      7 of7
      SALES                                                                              Statement Period:   Sep 01 2014-Sep 30 2014
                                                                                         CustRef#:              REDACTED
                                                                                                                         4532-713-E-* **
                                                                                         Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                    AMOUNT
9/23                         DEBIT CARD PURCHASE, AUT 092114 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 5552
9/24                         DEBIT CARD PAYMENT, AUT 092314 VISA DDA PUR                                                                    170.00
                                     EQUINOX MOTO 202                     866 332 6549 *MA
                                     REDACTED 5552
9129                         eTransfer Debit, Online Xfer                                                                               3,885.38
                                      Transfer to CK REDACTED 3112

                                                                                                              Subtotal:                36,192.42
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                    AMOUNT
9/18                         DEBIT                                                                                                          700.00
                                                                                                              Subtotal:                     700.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                    AMOUNT
9130                         MAINTENANCE FEE                                                                                                  8.00
                                                                                                              Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                           DATE                                     BALANCE
8/31                                                        8,658.26                          9/15                                        470.86
912                                                         9,596.55                          9/16                                     10,470.86
913                                                        29,115.87                          9/18                                      8,992.86
914                                                        29,072.92                          9/19                                      8,238.86
915                                                        28,538.67                          9/22                                      8,077.27
9/8                                                        23,782.77                          9/23                                      8,052.27
919                                                        23,693.79                          9/24                                      7,882.27
9/10                                                       23,665.19                          9/29                                      6,372.89
9/11                                                       17,985.41                          9/30                                      6,364.89
9/12                                                        4,932.55




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                      Bank
                      America's Most Convenient Bank®                             E         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           p~~                                      1~7
     SALES                                                                                  Statement Period:   Oct 01 2014-0ct 31 2014
                                                                                                                  REDACTED
     18 GRAF ROAD UNIT 26                                                                   Cust Ref#:                     4532-713-E-***
                                                                                                                             REDACTED
     NEWBURYPORT MA 01950-4032                                                              Primary Account#:                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                            Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            6,364.89                               Average Collected Balance            43,817.21
Deposits                                                    75,000.00                               Annual Percentage Yield Earned           0.00%
Electronic Deposits                                          1,000.00                               Days in Period                               31

Electronic Payments                                         48,828.52
Service Charges                                                   8.00
Ending Balance                                              33,528.37

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/7                          DEPOSIT                                                                                                    75,000.00
                                                                                                                 Subtotal:               75,000.00
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/14                         ATM CASH DEPOSIT, AUT 101114 ATM CASH DEPOSIT                                                                  1,000.00
                                      95 HIGHLAND AVENUE                   NEEDHAM          * MA
                                      REDACTED 5552
                                                                                                                 Subtotal:                   1,000.00
Electronic Payments
POSTING DA TE                 DESCRIPTION                                                                                                    AMOUNT
10/1                          DEBIT CARD PURCHASE, AUT 093014 VISA DDA PUR                                                                    600.31
                                      LOUIS VUITTON 5                    BOSTON       *MA
                                      REDACTED 5552
10/1                          DEBIT CARD PURCHASE, AUT 093014 VISA DDA PUR                                                                       8.08
                                      FINAGLE A BAGEL 104                 CHESTNUT HILL* MA
                                      REDACTED 5552
10/2                          DEBIT CARD PURCHASE, AUT 100114 VISA DDA PUR                                                                    743.44
                                      LOUIS VUITTON 5                    BOSTON       *MA
                                      REDACTED 5552
10/6                          eTransfer Debit, Online Xfer                                                                                   3,085.98
                                      Transfer to CK REDACTED 3112
10/6                          DEBIT CARD PURCHASE, AUT 100214 VISA DDA PUR                                                                     117.49
                                      DOUZO MODERN JAPAN                    BOSTON      * MA
                                      REDACTED 5552
10/6                          DEBIT CARD PURCHASE, AUT 100414 VISA DDA PUR                                                                      56.06
                                  Q RESTAURANT       BOSTON     *MA
                                      REDACTED 5552



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How to Balance your Account                                                                                                                                      Page:                     2 of7

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




a
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS NO    DOLLARS           CENTS                   WITHDRAWALS N01              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, \Vrite us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the follO\\·ing information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why               Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        lfyou need more information, describe the item you are unsure about.
      Your name and account number.                                                         You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
                                                                                            are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in           collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will in\'estigate your complaint and will correct any error promptly. If we take         FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (lO) business days to do this, we will credit your account for the            the finance charge on your MoneylineJOverdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection). the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
                                                                                            charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge. multiply the Average Daily Balance times the Days in
Internal Revenue Ser\'ice and State tax authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            ad\'ances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



    ENCOMPASS COMMUNICATIONS INC                                                        Page:                                     3 of7
    SALES                                                                               Statement Period:   Oct012014-0ct312014
                                                                                                              REDACTED
                                                                                        CustRef#:                      4532-713-E-***
                                                                                                                         REDACTED
                                                                                        Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                  AMOUNT
10/6                         DEBIT POS, AUT 100514 DDA PURCHASE                                                                             38.25
                                     MAC NEWBURY 691486                 BOSTON        * MA
                                     REDACTED 5552
10/6                         DEBIT CARD PURCHASE, AUT 100414 VISA DDA PUR                                                                   30.00
                                     ISABELLA STEWART GARDNER                 BOSTON         *MA
                                     REDACTED 5552
10/6                         DEBIT CARD PURCHASE, AUT 100514 VISA DDA PUR                                                                   30.00
                                     TEUSCHER CHOCOLATE                     BOSTON     *MA
                                     REDACTED 5552
10/6                         DEBIT CARD PURCHASE, AUT 100414 VISA DDA PUR                                                                   25.00
                                     STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                     REDACTED 5552
10/7                         DEBIT CARD PURCHASE, AUT 100514 VISA DDA PUR                                                                   78.34
                                     CAFETERIA BOSTON                   BOSTON        * MA
                                     REDACTED 5552
10/8                         eTransfer Debit, Online Xfer                                                                             9,144.00
                                      Transfer to CK REDACTED 3112
10/8                         DEBIT CARD PURCHASE, AUT 100614 VISA DDA PUR                                                                  359.40
                                     ELEMIS SPA MOHEGAN SUN                  UNCASVILLE      *CT
                                     REDACTED 5552
10/8                         DEBIT CARD PURCHASE, AUT 100614 VISA DDA PUR                                                                   38.97
                                     LANSDOWNE PUB MS LLC                   UNCASVILLE       * CT
                                     REDACTED 5552
10/8                         DEBIT POS, AUT 100814 DDA PURCHASE                                                                              21.24
                                     DOROTHY S BOUTI 190 MASS                BOSTON      * MA
                                     REDACTED 5552
10/9                         DEBIT CARD PURCHASE, AUT 100714 VISA DDA PUR                                                                  100.00
                                     FUGAKYU JAPANESE CUISINE                 BROOKLINE       *MA
                                     REDACTED 5552
10/10                        DEBIT CARD PURCHASE, AUT 100814 VISA DDA PUR                                                                    25.32
                                     CARDULLOS GOURMET SHOP                   CAMBRIDGE        * MA
                                     REDACTED 5552
10/14                        eTransfer Debit, Online Xfer                                                                                 1,275.00
                                      Transfer to CK REDACTED 3112
10/14                        eTransfer Debit, Online Xfer                                                                                  916.19
                                      Transfer to CK REDACTED 3112
10/14                        NONTD ATM DEBIT, AUT 101214 DDA WITHDRAW                                                                      663.66
                                     LAUGA VEGUR 26 REYKJAVIK                 REYKJAVIK       I SL
                                     REDACTED 5552
10/14                        DEBIT CARD PURCHASE, AUT 100914 VISA DDA PUR                                                                  201.00
                                     MISTRAL                       BOSTON      *MA
                                     REDACTED 5552
10/14                        NONTD ATM FEE                                                                                                    3.00

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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           p~~                                      4~7
     SALES                                                                                  Statement Period:   Oct012014-0ct312014
                                                                                            Cust Ref#:            REDACTED
                                                                                                                           4532-713-E-* **
                                                                                                                             REDACTED
                                                                                            Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10117                         eTransfer Debit, Online Xfer                                                                                   1,620.00
                                       Transfer to CK REDACTED 3112
10/17                         eTransfer Debit, Online Xfer                                                                                   1,317.59
                                       Transfer to CK REDACTED 3112
10117                         eTransfer Debit, Online Xfer                                                                                    919.10
                                       Transfer to CK REDACTED 3112
10/17                         eTransfer Debit, Online Xfer                                                                                    489.04
                                       Transfer to CK REDACTED 3112
10/20                         NONTD ATM DEBIT, AUT 102014 DDA WITHDRAW                                                                        168.46
                                      SUDURLANDSBRAUT 2 REYKJ                REYKJAVIK          I SL
                                      REDACTED 5552
10/20                         NONTD ATM DEBIT, AUT 102014 DDA WITHDRAW                                                                        168.46
                                      SUDURLANDSBRAUT 2 REYKJ                REYKJAVIK          I SL
                                      REDACTED 5552
10/20                         NONTDATMDEBIT,AUT 102014DDA WITHDRAW                                                                             168.46
                                      SUDURLANDSBRAUT 2 REYKJ                 REYKJAVIK         I SL
                                      REDACTED 5552
10/20                         NONTD ATM DEBIT, AUT 102014 DDA WITHDRAW                                                                         168.46
                                      SUDURLANDSBRAUT 2 REYKJ                 REYKJAVIK         I SL
                                      REDACTED 5552
10/20                         DEBIT CARD PURCHASE, AUT 101714 VISA DDA PUR                                                                      54.75
                                      GOD HEILSA EHF                  REYKJAVIK      I SL
                                      REDACTED 5552
10/20                         NONTD ATM FEE                                                                                                      3.00
10/20                         NONTDATMFEE                                                                                                        3.00
10/20                         NONTD ATM FEE                                                                                                      3.00
10/20                         NONTD ATM FEE                                                                                                      3.00
10/21                         DEBIT CARD PURCHASE, AUT 102014 VISA DDA PUR                                                                   2,869.88
                                      GRETTISBORG IS EUR                 GRETTISGOTU 5 I SL
                                      REDACTED 5552
10/22                         ELECTRONIC PMT-TEL, NA VI ED SERV TEL STUDNTLOAN 6K9IJLQG 1VI                                                   880.00
10/22                         DEBIT CARD PURCHASE, AUT 102014 VISA DDA PUR                                                                    329.48
                                      FISKMARKADURINN                    REYKJAVIK      I SL
                                      REDACTED 5552
10/22                         DEBIT CARD PURCHASE, AUT 101914 VISA DDA PUR                                                                    316.00
                                      ICELANDAIR 10835064835              REYKJAVIK     I SL
                                      REDACTED 5552
10/22                         DEBIT CARD PURCHASE, AUT 101914 VISA DDA PUR                                                                    316.00
                                      ICELANDAIR 10835064846              REYKJAVIK     I SL
                                      REDACTED 5552
10/22                         DEBIT CARD PURCHASE, AUT 102014 VISA DDA PUR                                                                     126.56
                                      VOX RESTAURANT                     REYKJAVIK     I SL
                                      REDACTED 5552

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                     Bank
                      America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                             Page:                                     5 of7
     SALES                                                                                    Statement Period:   Oct 01 2014-0ct 31 2014
                                                                                                                    REDACTED
                                                                                              Cust Ref#:                     4532-713-E-***
                                                                                                                               REDACTED
                                                                                              Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
10/22                         DEBIT CARD PAYMENT, AUT 102114 VISA DDA PUR                                                                       121.11
                                      AT T BILL PAYMENT                  800 288 2020 * TX
                                      REDACTED 5552
10/22                        DEBIT CARD PURCHASE, AUT 102014 VISA DDA PUR                                                                         23.31
                                      VOX RESTAURANT                     REYKJAVIK       I SL
                                      REDACTED 5552
10/23                         DEBIT CARD PURCHASE, AUT 102114 VISA DDA PUR                                                                      678.80
                                      JETBLUE 279748667873               WEST LEBANO *NH
                                      REDACTED 5552
10/23                        DEBIT CARD PURCHASE, AUT 102114 VISA DDA PUR                                                                       667.88
                                      FLUGFELAG ISLANDS INTERN                 REYKJA VIKURFL I SL
                                      REDACTED 5552
10/23                        DEBIT CARD PURCHASE, AUT 102114 VISA DDA PUR                                                                         38.39
                                      GLOENGJATEIGI                     REYKJAVIK       ISL
                                      REDACTED 5552
10/24                        DEBIT CARD PAYMENT, AUT 102314 VISA DDA PUR                                                                        170.00
                                      EQUINOX MOTO 202                   866 332 6549 * MA
                                      REDACTED 5552
10/24                        DEBIT CARD PURCHASE, AUT 102114 VISA DDA PUR                                                                        144.31
                                      NI            KOPAVOGUR                  I SL
                                      REDACTED 5552
10/24                        DEBIT CARD PURCHASE, AUT 102214 VISA DDA PUR                                                                         85.04
                                      UNO           REYKJAVIK                  I SL
                                      REDACTED 5552
10/24                        DEBIT CARD PURCHASE, AUT 102314 VISA DDA PUR                                                                         73.79
                                      KOFI TO MASAR SUSHIBARINN                REYKJAVIK          I SL
                                      REDACTED 5552
10/24                        DEBIT CARD PURCHASE, AUT 102214 VISA DDA PUR                                                                         40.00
                                      MILNE TRAVEL AGENCY                   603 298 6644 * NH
                                      REDACTED 5552
10/24                        DEBIT CARD PURCHASE, AUT 102214 VISA DDA PUR                                                                         18.69
                                      OSUSHI                       REYKJAVIK     I SL
                                      REDACTED 5552
10/27                        eTransfer Debit, Online Xfer                                                                                  17,500.17
                                      Transfer to CK REDACTED 3112
10/27                        DEBIT CARD PURCHASE, AUT 102314 VISA DDA PUR                                                                       617.23
                                      HILTON REYKJAVIK NORDICA                 REYKJAVIK          I SL
                                      REDACTED 5552
10/27                        DEBIT POS, AUT 102514 DDA PURCHASE                                                                                  108.00
                                      10422 LEGACY PLACE                 DEDHAM         * MA
                                      REDACTED 5552




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                      Bank
                      America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                             Page:                                     6 of7
     SALES                                                                                    Statement Period:   Oct012014-0ct312014
                                                                                                                    REDACTED
                                                                                              Cust Ref#:                     4532-713-E-***
                                                                                                                               REDACTED
                                                                                              Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
10/27                         DEBIT CARD PURCHASE, AUT 102414 VISA DDA PUR                                                                       81.56
                                      SHABU ZEN                       ALLSTON         * MA
                                      REDACTED 5552
10/27                         DEBIT CARD PURCHASE, AUT 102514 VISA DDA PUR                                                                       80.10
                                      LEGAL C BAR DEDHAM                        DEDHAM       *MA
                                      REDACTED 5552
10/27                         DEBIT CARD PURCHASE, AUT 102514 VISA DDA PUR                                                                       67.92
                                      EXXONMOBIL 97458780                      RANDOLPH      *MA
                                      REDACTED 5552
10/27                         DEBIT POS, AUT 102514 DDA PURCHASE                                                                                 58.44
                                      SEPHORA 682                     DEDHAM          * MA
                                      REDACTED 5552
10/27                         DEBIT CARD PURCHASE, AUT 102514 VISA DDA PUR                                                                       15.71
                                      EXXONMOBIL 97458780                      RANDOLPH      * MA
                                      REDACTED 5552
10/27                         DEBIT CARD PURCHASE, AUT 102414 VISA DDA PUR                                                                       12.72
                                      NORD                          REYKJAVIK       I SL
                                      REDACTED 5552
10/27                         DEBIT CARD PURCHASE, AUT 102414 VISA DDA PUR                                                                       11.15
                                      GRAND HOTEL REYKJAVIK                       REYKJAVIK     I SL
                                      REDACTED 5552
10/28                         DEBITCARDPURCHASE,AUT 102414 VISADDAPUR                                                                           303.87
                                      HERTZ BILALEIGA FLUGL                      REYKJAVIK    I SL
                                      REDACTED 5552
10/28                         DEBIT CARD PURCHASE, AUT 102614 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                       800 782 7282 *WA
                                      REDACTED 5552
10/28                         DEBIT CARD PURCHASE, AUT 102614 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                       800 782 7282 *WA
                                      REDACTED 5552
10/28                         DEBIT CARD PURCHASE, AUT 102414 VISA DDA PUR                                                                       17.35
                                      BISTRO ATLANTIC                         REYKJANESBER I SL
                                      REDACTED 5552
10/28                         DEBIT CARD PURCHASE, AUT 102414 VISA DDA PUR                                                                       13.88
                                      KAFFITAR LEIFSTOD                       REYKJANESBER I SL
                                      REDACTED 5552
10/29                         DEBIT CARD PURCHASE, AUT 102814 VISA DDA PUR                                                                       99.09
                                      CASA ROMERO                        BOSTON        *MA
                                      REDACTED 5552
10/29                         DEBIT CARD PURCHASE, AUT 102714 VISA DDA PUR                                                                       38.53
                                      LORETTA                        NEWBURYPORT *MA
                                      REDACTED 5552



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                      Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                       Page:                                     7 of7
     SALES                                                              Statement Period:   Oct 01 2014-0ct 31 2014
                                                                                              REDACTED
                                                                        Cust Ref#:                     4532-713-E-***
                                                                                                         REDACTED
                                                                        Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE                 DESCRIPTION                                                                                 AMOUNT
10/30                         DEBIT CARD PURCHASE, AUT 102914 VISA DDA PUR                                                 73.53
                                  MICHAELS HARBORS!       NEWBURYPORT * MA
                                  REDACTED 5552
10/30                         DEBIT CARD PURCHASE, AUT 102814 VISA DDA PUR                                                 38.00
                                  PRUDENTIAL CENTER GARA     BOSTON       * MA
                                  REDACTED 5552
10/30                         DEBIT CARD PURCHASE, AUT 102814 VISA DDA PUR                                                 38.00
                                  PRUDENTIAL CENTER GARA     BOSTON       * MA
                                  REDACTED 5552
10/31                         DEBIT POS, AUT 103114 DDA PURCHASE                                                           31.98
                                  TEDESCHI FOOD SHOP 00    NEWTON HIGHLA * MA
                                  REDACTED 5552
10/31                         DEBIT CARD PURCHASE, AUT 102914 VISA DDA PUR                                                 25.00
                                  STARBUCKS CARD RELOAD      800 782 7282 *WA
                                  REDACTED 5552
                                                                                            Subtotal:                48,828.52
Service Charges
POSTING DATE                  DESCRIPTION                                                                                 AMOUNT
10/31                         MAINTENANCE FEE                                                                               8.00
                                                                                            Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE        DATE                                     BALANCE
9/30                                                         6,364.89        10/20                                   59,717.84
10/1                                                         5,756.50        10/21                                   56,847.96
10/2                                                         5,013.06        10/22                                   54,735.50
10/6                                                         1,630.28        10/23                                   53,350.43
10/7                                                        76,551.94        10/24                                   52,818.60
10/8                                                        66,988.33        10/27                                   34,265.60
10/9                                                        66,888.33        10/28                                   33,880.50
10/10                                                       66,863.01        10/29                                   33,742.88
10/14                                                       64,804.16        10/30                                   33,593.35
10117                                                       60,458.43        10/31                                   33,528.37




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                     Bank
                     America's Most Convenient Bank®                     E   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                            Page:                                      1 of9
     SALES                                                                   Statement Period:   Nov 01 2014-Nov 30 2014
                                                                                                    REDACTED
     18 GRAF ROAD UNIT 26                                                    Cust Ref#:                      4532-713-E-***
                                                                                                               REDACTED
     NEWBURYPORT MA 01950-4032                                               Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                              Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                          33,528.37                 Average Collected Balance             55,217.66
Deposits                                                   50,000.00                 Annual Percentage Yield Earned            0.00%
                                                                                     Days in Period                                30
Electronic Payments                                        25,864.84
Other Withdrawals                                           4,500.00
Service Charges                                                  8.00
Ending Balance                                             53,155.53

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                 DESCRIPTION                                                                                        AMOUNT
11/6                         DEPOSIT                                                                                       50,000.00
                                                                                                  Subtotal:                50,000.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                        AMOUNT
11/3                         TD ATM DEBIT, AUT 103114 DDA WITHDRAW                                                              300.00
                                 95 HIGHLAND AVENUE      NEEDHAM        * MA
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 103014 VISA DDA PUR                                                       273.26
                                 EXPEDIA 189885203165  EXPEDIA COM *NV
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR                                                        99.95
                                 CBI CLEVERBRIDGE INC    800 799 9570 * IL
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 103114 VISA DDA PUR                                                        65.11
                                 NEW GINZA RESTAURANT      WATERTOWN *MA
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 103114 VISA DDA PUR                                                        35.90
                                 THE PARAMOUNT         BOSTON       * MA
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 103114 VISA DDA PUR                                                        24.00
                                 GOVERNMENT CENTER GARA       BOSTON       * MA
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 110114 VISA DDA PUR                                                        16.00
                                 RESIDENCE INNS BOST NEED NEEDHAM          * MA
                                 REDACTED 5552
11/3                         DEBIT CARD PURCHASE, AUT 110114 VISA DDA PUR                                                         3.00
                                 MASSPORT AUTH LOGAN PK 2 EAST BOSTON * MA
                                 REDACTED 5552



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How to Balance your Account                                                                                                                                      Page:                     2 of9

Begin by adjusting your account register                            i.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0                                                                                                                                    WITHDRAWALS NO
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALSN01    DOLLARS           CENTS                                                DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty ( 60) calendar days after we sent you the               Your name and account number ..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why               Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inqui1y, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (1 O) business days to do this, we will credit your account for the           the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                       p~~                                       3~9
     SALES                                                                              Statement Period:   Nov 012014-Nov30 2014
                                                                                                               REDACTED
                                                                                        Cust Ref#:                      4532-713-E-***
                                                                                        Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                 AMOUNT
11/3                          DEBIT POS, AUT 110114 DDA PURCHASE                                                                              1.58
                                      WALGREENS 1101 BEACON ST             NEWTON         *MA
                                      REDACTED 5552
11/4                          DEBIT CARD PURCHASE, AUT 110214 VISA DDA PUR                                                                 293.10
                                      VIRGIN AMER 984214055110           877 3598474 * CA
                                      REDACTED 5552
11/4                          DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR                                                                 179.85
                                      2BUYSAFE COM SA                          LIE
                                      REDACTED 5552
11/4                          DEBIT CARD PURCHASE, AUT 110214 VISA DDA PUR                                                                   30.00
                                      VIRGIN AMER 984061250148           877 3598474 *CA
                                      REDACTED 5552
11/5                          DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR                                                                   25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 5552
11/6                          eTransfer Debit, Online Xfer                                                                                 636.43
                                       Transfer to CK REDACTED 3112
11/7                          eTransfer Debit, Online Xfer                                                                                1,730.00
                                       Transfer to CK REDACTED 3112
11110                         eTransfer Debit, Online Xfer                                                                                4,211.95
                                       Transfer to CK REDACTED 3112
11/10                         DEBIT CARD PURCHASE, AUT 110614 VISA DDA PUR                                                                   49.80
                                      BOKX 109 AMERICAN PRIM              NEWTON         *MA
                                      REDACTED 5552
11/10                         DEBIT CARD PURCHASE, AUT 110914 VISA DDA PUR                                                                   25.00
                                      STARBUCKS CARD RELOAD                800 782 7282 *WA
                                      REDACTED 5552
11112                         TD ATM DEBIT, AUT 111014 DDA WITHDRAW                                                                        700.00
                                      535 BOYLSTON STREET                BOSTON        * MA
                                      REDACTED 5552
11/12                         DEBIT CARD PURCHASE, AUT 111014 VISA DDA PUR                                                                  159.00
                                      VIRGIN AMER 984061252785           877 3598474 *CA
                                      REDACTED 5552
11/12                         DEBIT CARD PURCHASE, AUT 111014 VISA DDA PUR                                                                  159.00
                                      VIRGIN AMER 984061252789           877 3598474   * CA
                                      REDACTED 5552
11/12                         DEBIT CARD PURCHASE, AUT 111014 VISA DDA PUR                                                                   47.59
                                      Q RESTAURANT                    BOSTON      *MA
                                      REDACTED 5552
11/12                         DEBIT CARD PURCHASE, AUT 110914 VISA DDA PUR                                                                   44.33
                                      EXXONMOBIL 97448302                STOUGHTON       *MA
                                      REDACTED 5552



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                      Bank
                      America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                             Page:                                      4 of9
     SALES                                                                                    Statement Period:   Nov 012014-Nov30 2014
                                                                                                                     REDACTED
                                                                                              Cust Ref#:                      4532-713-E-***
                                                                                                                                REDACTED
                                                                                              Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
11112                         DEBIT CARD PURCHASE, AUT 111014 VISA DDA PUR                                                                        10.16
                                       Q RESTAURANT                       BOSTON       * MA
                                       REDACTED 5552
11/13                         eTransfer Debit, Online Xfer                                                                                   4,000.00
                                       Transfer to CK REDACTED 3112
11/13                         NONTD ATM DEBIT, AUT 111314 DDA WITHDRAW                                                                           503.00
                                       VENICE                       VENICE      * CA
                                       REDACTED 5552
11113                         DEBIT CARD PURCHASE, AUT 111114 VISA DDA PUR                                                                        30.00
                                       EQUINOX WEB 998                    NEW YORK       *NY
                                       REDACTED 5552
11/13                         DEBIT CARD PURCHASE, AUT 111114 VISA DDA PUR                                                                        25.00
                                       STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                       REDACTED 5552
11 /13                        NONTDATMFEE                                                                                                          3.00
11/14                         DEBIT CARD PURCHASE, AUT 111214 VISA DDA PUR                                                                       581.35
                                       VICEROY SEASIDE SA                    SANTA MONICA * CA
                                       REDACTED 5552
11114                         DEBIT CARD PURCHASE, AUT 111314 VISA DOA PUR                                                                       228.90
                                      SAKS FIFTH AVENUE 003                  BEYERLY HILLS * CA
                                      REDACTED 5552
11/14                         DEBIT CARD PURCHASE, AUT 111314 VISA ODA PUR                                                                       228.90
                                      AG BEYERLY HILLS                     BEYERLY HILLS * CA
                                      REDACTED 5552
11/14                         DEBIT POS, AUT 111314 ODA PURCHASE                                                                                  61.04
                                      ALL SAINTS USA LTD BEVER                 BEVERLY HILLS* CA
                                      REDACTED 5552
11/14                         DEBIT CARD PURCHASE, AUT 111214 VISA DDA PUR                                                                        13.14
                                      VICEROY SEASIDE SA                     SANTA MONICA * CA
                                      REDACTED 5552
11114                         DEBIT CARD PURCHASE, AUT 111314 VISA ODA PUR                                                                         0.50
                                      CITY OF B H PARKING METE                 BEVERLY HILLS* CA
                                      REDACTED 5552
11/17                         eTransfer Debit, Online Xfer                                                                                   1,803.92
                                       Transfer to CK REDACTED 3112
11117                         DEBIT CARD PURCHASE, AUT 111414 VISA ODA PUR                                                                       214.00
                                      HAKKASAN LOS ANGELES                     BEVERLY HILLS* CA
                                      REDACTED 5552
11/17                         DEBIT POS, AUT 111614 DDA PURCHASE                                                                                 150.24
                                      RALPHS 700 S PACIFIC CS                LAGUNA BEACH *CA
                                      REDACTED 5552




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               America's Most Convenient Bank®                        STATEMENT OF ACCOUNT



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   SALES                                                           Statement Period:   Nov 012014-Nov30 2014
                                                                                          REDACTED
                                                                   Cust Ref#:                      4532-713-E-***
                                                                                                     REDACTED
                                                                   Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE        DESCRIPTION                                                                                       AMOUNT
11/17               DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                       93.00
                         GLADSTONES               PACIFIC PALIS* CA
                        REDACTED 5552
11/17               DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                       70.15
                         LUCKY STRIKE HOLLYWOOD          HOLLYWOOD         * CA
                        REDACTED 5552
11/17               DEBIT CARD PURCHASE, AUT 111414 VISA DDA PUR                                                       53.74
                         SUGARFISH LA BREA           LOS ANGELES   * CA
                        REDACTED 5552
11/17               DEBIT CARD PURCHASE, AUT 111414 VISA DDA PUR                                                       32.00
                         ARCLIGHT CINEMAS HOLLYWO          LOS ANGELES *CA
                        REDACTED 5552
11/17               DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                        30.07
                         LUCKY STRIKE HOLLYWOOD          HOLLYWOOD         * CA
                        REDACTED 5552
11117               DEBIT CARD PURCHASE, AUT 111314 VISA DDA PUR                                                       30.07
                         NESPRESSO USA INC           BEYERLY HILLS * CA
                        REDACTED 5552
11/17               DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                         5.22
                         WETZELS PRETZELS HOL          LOS ANGELES     * CA
                       REDACTED 5552
11/17              DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                          3.00
                         CINERAMADOME CRALA A DLA          HOLLYWOOD           * CA
                       REDACTED 5552
11/17              DEBIT CARD PURCHASE, AUT 111514 VISA DDA PUR                                                          2.00
                         LA CITY PARKING METER         LOS ANGELES *CA
                        REDACTED 5552
11/18               DEBIT CARD PURCHASE,AUT 111614 VISA DDA PUR                                                       730.58
                         SLS HOTEL BEYERLY HILLS        LOS ANGELES     * CA
                        REDACTED 5552
11/18              eTransfer Debit, Online Xfer                                                                       210.73
                        Transfer to CK REDACTED 3112
11118              DEBIT CARD PURCHASE, AUT 111714 VISA DDA PUR                                                       205.20
                         EARTHSTONES INT LLC          LAGUNA BEACH * CA
                       REDACTED 5552
11/18              DEBIT CARD PURCHASE, AUT 111714 VISA DDA PUR                                                        158.76
                         FIERCE INC              LAGUNA BEACH * CA
                       REDACTED 5552
11/18              DEBIT CARD PURCHASE, AUT 111614 VISA DDA PUR                                                         85.28
                         WATERMARC GRILL             LAGUNA BEACH * CA
                         REDACTED 5552



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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          p~~                                       6~9
     SALES                                                                                 Statement Period:   Nov 012014-Nov30 2014
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
11118                        DEBIT CARD PURCHASE, AUT 111714 VISA DDA PUR                                                                       32.40
                                      THE CHAKRA SHACK                    LAGUNA BEACH * CA
                                      REDACTED 5552
11/19                        eTransfer Debit, Online Xfer                                                                                    2,250.00
                                      Transfer to CK REDACTED 3112
11/19                        DEBIT CARD PURCHASE, AUT 111714 VISA DDA PUR                                                                       53.98
                                      BELLA EVER AFTER                   LAGUNA BEACH * CA
                                      REDACTED 5552
11/19                        DEBIT CARD PURCHASE, AUT 111714 VISA DDA PUR                                                                        3.00
                                      CITY OF LAGUNA BEACH I               LAGUNA BEACH * CA
                                      REDACTED 5552
11/20                        DEBIT CARD PURCHASE, AUT 111814 VISA DDA PUR                                                                      543.51
                                      JETBLUE 279750266505              WEST LEBANO    * NH
                                      REDACTED 5552
11/20                        DEBIT CARD PURCHASE, AUT 111914 VISA DDA PUR                                                                     277.08
                                      NOBU LA                      WEST HOLLYWOO * CA
                                      REDACTED 5552
11/20                        DEBIT CARD PURCHASE, AUT 111814 VISA DDA PUR                                                                       72.48
                                      MOSAIC BAR AND GRILL                 LAGUNA BEACH * CA
                                      REDACTED 5552
11/20                        DEBIT CARD PURCHASE, AUT 111814 VISA DDA PUR                                                                       70.00
                                      JETBLUE 279061462385              SALT LAKE CTY *UT
                                      REDACTED 5552
11/20                        DEBIT CARD PURCHASE, AUT 111814 VISA DDA PUR                                                                       27.68
                                      LOBBY LOUNGE                      LAGUNA BEACH * CA
                                      REDACTED 5552
11/21                        DEBIT CARD PURCHASE, AUT 111914 VISA DDA PUR                                                                       65.00
                                      3360 LAS VEGAS KU                 LAS VEGAS     * NV
                                      REDACTED 5552
11/21                        DEBIT CARD PURCHASE, AUT 112014 VISA DDA PUR                                                                       54.92
                                      BELLAGIO ESSENTIALS                 LAS VEGAS        * NV
                                      REDACTED 5552
11/21                        DEBIT CARD PURCHASE, AUT 111914 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                  603 298 6644 * NH
                                      REDACTED 5552
11/21                        DEBIT CARD PURCHASE, AUT 111914 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
11/21                        DEBIT CARD PURCHASE, AUT 112014 VISA DDA PUR                                                                       10.00
                                      BELLAGIO JPM                   LAS VEGAS      * NV
                                      REDACTED 5552




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                      Bank
                      America's Most Convenient Bank®                            STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                Pq~                                       7~9
     SALES                                                                       Statement Period:   Nov 01 2014-Nov 30 2014
                                                                                                        REDACTED
                                                                                 Cust Ref#:                      4532-713-E-***
                                                                                                                   REDACTED
                                                                                 Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                          AMOUNT
11/24                         DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                          673.13
                                   SAKS DIRECT 689               877 551 7257 *MD
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 111914 VISA DDA PUR                                                          394.57
                                   SLS LAS VEGAS ROTE               LAS VEGAS * NV
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112114 VISA DDA PUR                                                            74.06
                                   PIL PIL SPANISH TAP AS WI NEW YORK                *NY
                                   REDACTED 5552
11/24                         DEBIT POS, AUT 112314 DDA PURCHASE                                                                      59.90
                                   ZARA USA 1260                NEW YORK       *NY
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112014 VISA DDA PUR                                                            54.16
                                   VENETIAN                  LAS VEGAS * NV
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112114 VISA DDA PUR                                                            53.20
                                   CIRCLE K 05399              LAS VEGAS * NV
                                   REDACTED 5552
11/24                         DEBIT POS, AUT 112314 DDA PURCHASE                                                                      51.51
                                   DUANE READE                   NEWYORK        *NY
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112214 VISA DDA PUR                                                            44.00
                                   GUGGENHEIM VISITOR SERV NEW YORK                    *NY
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112214 VISA DDA PUR                                                            40.00
                                   MMA ADMISSIONS                  NEW YORK       * NY
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112014 VISA DDA PUR                                                            13.89
                                   ARIA HIGH LIMIT BAR              LAS VEGAS *NV
                                   REDACTED 5552
11/24                         DEBIT CARD PURCHASE, AUT 112214 VISA DDA PUR                                                             6.60
                                   NYC TAXI 8Y55                BRONX        *NY
                                   REDACTED 5552
11/25                         eTransfer Debit, Online Xfer                                                                         1,608.00
                                   Transfer to CK REDACTED 3112
11/25                         DEBIT CARD PURCHASE, AUT 112414 VISA DDA PUR                                                          132.00
                                   AMTRAK COM 327070211515 WASHINGTON *DC
                                   REDACTED 5552
11/25                         DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                            82.68
                                   MANDARIN ORIENTAL FB                NEW YORK       *NY
                                   REDACTED 5552




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                     Bank
                     America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                      8 of9
     SALES                                                                                   Statement Period:   Nov 01 2014-Nov 30 2014
                                                                                                                    REDACTED
                                                                                             Cust Ref#:                      4532-713-E-***
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
11/25                        DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                                         29.98
                                     AMC LINCOLN SQ 13 2116               NEW YORK        *NY
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                                         21.51
                                     AMC LINCOLN SQ 13 2116               NEW YORK           *NY
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                                          13.10
                                     NYC TAXI                      BROOKLYN       *NY
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112214 VISA DDA PUR                                                                          11.25
                                     SARABETH S EAST                    NEW YORK        * NY
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112314 VISA DDA PUR                                                                           5.90
                                     NYC TAXI                      WOODSIDE       *NY
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112514 VISA DDA PUR                                                                           2.60
                                     USA AMERICAN FOOD VEND                   NEWTON UPPER * MA
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112514 VISA DDA PUR                                                                           2.60
                                     USA AMERICAN FOOD VEND                   NEWTON UPPER * MA
                                     REDACTED 5552
11/25                        DEBIT CARD PURCHASE, AUT 112514 VISA DDA PUR                                                                           1.60
                                     USA AMERICAN FOOD VEND                   NEWTON UPPER * MA
                                     REDACTED 5552
11126                        DEBIT CARD PURCHASE, AUT 112414 VISA DDA PUR                                                                          25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 * WA
                                     REDACTED 5552
11/28                        DEBIT CARD PURCHASE, AUT 112514 VISA DDA PUR                                                                        223.25
                                      HOTEL INDIGO NEWTON                   NEWTON           * MA
                                      REDACTED 5552
11/28                        DEBIT CARD PURCHASE, AUT 112414 VISA DDA PUR                                                                          29.30
                                      NYC TAXI                     LONG IS CITY * NY
                                      REDACTED 5552
11/28                        DEBIT CARD PURCHASE, AUT 112614 VISA DDA PUR                                                                          13.20
                                     MASSPIKE  00200055                 888 5253278   * MA
                                     REDACTED 5552
                                                                                                                   Subtotal:               25,864.84
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
11/3                         DEBIT                                                                                                              4,500.00
                                                                                                                   Subtotal:                    4,500.00


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                      Bank
                      America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                      Page:                                     9 of9
     SALES                                                             Statement Period:   Nov 01 2014-Nov 30 2014
                                                                                              REDACTED
                                                                       CustRef#:                       4532-713-E-***
                                                                       Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DA TE                 DESCRIPTION                                                                                AMOUNT
11/28                         MAINTENANCE FEE                                                                              8.00
                                                                                            Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE        DATE                                      BALANCE
10/31                                                      33,528.37        11/17                                    61,746.12
1113                                                       28,209.57        11/18                                    60,323.17
1114                                                       27,706.62        11/19                                    58,016.19
11/5                                                       27,681.62        11120                                    57,025.44
11/6                                                       77,045.19        11/21                                    56,830.52
11/7                                                       75,315.19        11/24                                    55,365.50
11110                                                      71,028.44        11/25                                    53,454.28
11112                                                      69,908.36        11/26                                    53,429.28
11113                                                      65,347.36        11/28                                    53,155.53
11114                                                      64,233.53




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                     Bank
                     America's Most Convenient Bank®                     E    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                             p~~                                          1~8
     SALES                                                                    Statement Period:      Dec 01 2014-Dec 31 2014
                                                                                                        REDACTED
     18 GRAF ROAD UNIT 26                                                     Cust Ref#:                         4532-713-E-***
                                                                                                                   REDACTED
     NEWBURYPORT MA 01950-4032                                                Primary Account#:                             4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                  Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                           53,155.53                     Average Collected Balance            30,249.11
Electronic Deposits                                            173.48                     Annual Percentage Yield Earned           0.00%
                                                                                          Days in Period                               31
Electronic Payments                                         35,222.76
Service Charges                                                   8.00
Ending Balance                                              18,098.25

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                           AMOUNT
12/26                        DEBIT CARD CREDIT, AUT 122614 VISA DDA REF                                                             173.48
                                 TIV TIVO SERVICE    877 367 8486 * CA
                                 REDACTED 5552
                                                                                                      Subtotal:                     173.48
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                           AMOUNT
12/1                         eTransfer Debit, Online Xfer                                                                          1,195.00
                                  Transfer to CK REDACTED 3112
12/1                         eTransfer Debit, Online Xfer                                                                           755.00
                                  Transfer to CK REDACTED 3112
12/1                         DEBIT CARD PURCHASE, AUT 112614 VISA DDA PUR                                                           530.00
                                  EBI EBAGS COM                800 820 6126 * co
                                  REDACTED 5552
12/l                         DEBIT CARD PURCHASE, AUT 112814 VISA DDA PUR                                                           311.20
                                  AMERICAN AI 001750266509 WEST LEBANON *NH
                                  REDACTED 5552
12/l                         DEBIT CARD PURCHASE, AUT 112814 VISA DDA PUR                                                             40.00
                                  EXXONMOBIL 97437172              STOUGHTON *MA
                                  REDACTED 5552
12/1                         DEBIT POS, AUT 113014 DDA PURCHASE                                                                        9.87
                                  EXXONMOBIL                   BRANFORD        * CT
                                  REDACTED 5552
12/1                         DEBIT POS, AUT 120114 DDA PURCHASE                                                                        6.18
                                  INTERFUEL                 SPRINGFIELD * VA
                                  REDACTED 5552
12/2                         eTransfer Debit, Online Xfer                                                                          5,500.00
                                  Transfer to CK REDACTED 3112
12/2                         DEBIT CARD PURCHASE, AUT 113014 VISA DDA PUR                                                             25.00
                                  STARBUCKS CARD RELOAD                800 782 7282 *WA
                                  REDACTED 5552

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 How to Balance your Account                                                                                                                                      Page:                     2 of8

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                     WlTHDRAWALS N01   DOLLARS           CENTS                   WlTHDRA W ALS NO             DOLLARS              CENTS
ON STATEMENT                                                              ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank. N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and accoWlt number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
       Your name and accoWlt number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amoWlt and date of the suspected error.                                   are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your accoWlt for the             the finance charge on your Moneyline/O\'erdraft Protection account (the tenn "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the bnlance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             includedinyour total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           p~~                                       3~8
     SALES                                                                                  Statement Period:   Dec 01 2014-Dec 31 2014
                                                                                                                   REDACTED
                                                                                            Cust Ref#:                      4532-713-E-***
                                                                                                                              REDACTED
                                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
12/2                          DEBIT CARD PURCHASE, AUT 120114 VISA DDA PUR                                                                        7.15
                                      BORGATA RETAIL                     ATLANTIC CITY* NJ
                                      REDACTED 5552
12/3                          eTransfer Debit, Online Xfer                                                                                    1,524.86
                                      Transfer to CK REDACTED 3112
12/3                          DEBIT CARD PURCHASE, AUT 120114 VISA DDA PUR                                                                     119.99
                                      ON AG                        ZOLLIKON    CHE
                                      REDACTED 5552
12/3                          DEBIT CARD PURCHASE, AUT 120114 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                   603 298 6644 * NH
                                      REDACTED 5552
12/3                          DEBIT CARD PURCHASE, AUT 120114 VISA DDA PUR                                                                        6.42
                                      CAFE TAZZA                     NORTHFIELD      * NJ
                                      REDACTED 5552
12/4                          DEBIT CARD PURCHASE, AUT 120214 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 * WA
                                      REDACTED 5552
12/4                          DEBIT POS, AUT 120414 DDA PURCHASE                                                                                 13.90
                                      WALGREENS                       MIAMI BEACH      * FL
                                      REDACTED 5552
12/4                          DEBIT POS, AUT 120414 DDA PURCHASE                                                                                 10.83
                                      WALGREENS                       MIAMI BEACH      * FL
                                      REDACTED 5552
12/5                          DEBIT CARD PURCHASE, AUT 120314 VISA DDA PUR                                                                     242.74
                                      MEAT MARKET                        MIAMI BEACH    * FL
                                      REDACTED 5552
12/5                          DEBIT CARD PURCHASE, AUT 120414 VISA DDA PUR                                                                        7.00
                                      CITY OF MIAMI BEACH PARK                MIAMI BEACH *FL
                                      REDACTED 5552
12/5                          DEBIT CARD PURCHASE, AUT 120414 VISA DDA PUR                                                                        5.34
                                      WALGREENS 4957                     MIAMI BEACH    * FL
                                      REDACTED 5552
12/8                          eTransfer Debit, Online Xfer                                                                                    8,600.00
                                      Transfer to CK REDACTED 3112
12/8                         DEBIT CARD PURCHASE, AUT 120414 VISA DDA PUR                                                                        62.00
                                      AMERICAN AI 001065765698              DALLAS          *TX
                                      REDACTED 5552
12/8                         DEBIT CARD PURCHASE, AUT 120514 VISA DDA PUR                                                                        42.10
                                      MIAMI JUICE                    SUNNY ISLES B *FL
                                      REDACTED 5552
12/8                         DEBIT CARD PURCHASE, AUT 120514 VISA DDA PUR                                                                        36.94
                                      MIAMI JUICE                    SUNNY ISLES B * FL
                                      REDACTED 5552

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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          p~~                                       4~8

     SALES                                                                                 Statement Period:   Dec 01 2014-Dec 31 2014
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT

12/8                         DEBIT CARD PURCHASE, AUT 120414 VISA DDA PUR                                                                       25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                     REDACTED 5552
12/9                         DEBIT CARD PURCHASE, AUT 120714 VISA DDA PUR                                                                       70.85
                                     HILTON CABANA HOTEL                     MIAMI BEACH *FL
                                     REDACTED 5552
12/9                         DEBIT CARD PURCHASE, AUT 120514 VISA DDA PUR                                                                       41.92
                                     SKR SKRILL COM                     LONDON       G BR
                                     REDACTED 5552
12/9                         DEBIT CARD PURCHASE, AUT 120614 VISA DDA PUR                                                                       26.50
                                     SPUNTINO                       MIAMI      *FL
                                     REDACTED 5552
12/15                        eTransfer Debit, Online Xfer                                                                                    2,204.72
                                      Transfer to CK REDACTED 3112
12/15                        eTransfer Debit, Online Xfer                                                                                    1,057.06
                                      Transfer to CK REDACTED 3112
12/15                        DEBIT CARD PURCHASE, AUT 121214 VISA DDA PUR                                                                     640.93
                                     NESPRESSO USA INC                     MIAMI     *FL
                                     REDACTED 5552
12/15                        DEBIT POS, AUT 121314 DDA PURCH W/CB                                                                             633.13
                                     WHOLEFDS SBE 102 1020 AL                MIAMI     *FL
                                     REDACTED 5552
12/15                        DEBIT CARD PURCHASE, AUT 121314 VISA DDA PUR                                                                     442.05
                                     AMERICAN AI 001750266513               WEST LEBANON *NH
                                     REDACTED 5552
12/15                        DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                     341.36
                                     THE RITZ CARLTON SAN JUA                 CAROLINA       P RI
                                     REDACTED 5552
12/15                        DEBIT POS, AUT 121414 DDA PURCHASE                                                                                161.35
                                     PUBLIX                        MIAMI      *FL
                                     REDACTED 5552
12/15                        DEBIT POS, AUT 121414 DDA PURCHASE                                                                                 29.03
                                     PUBLIX                        MIAMI      *FL
                                     REDACTED 5552
12/15                        DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                       25.00
                                     AMERICAN AI 001027676662               SAN JUAN       P RI
                                     REDACTED 5552
12/15                        DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                       25.00
                                     AMERICAN AI 001027676634               SAN JUAN       P RI
                                     REDACTED 5552
12/15                        DEBIT CARD PURCHASE, AUT 121214 VISA DDA PUR                                                                       25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                     REDACTED 5552

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                      Bank
                      America's Most Convenient Bank®                                             STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                 p~~                                     5cl8
     SALES                                                                                     Statement Period:   Dec 01 2014-Dec 31 2014
                                                                                                                      REDACTED
                                                                                               Cust Ref#:                      4532-713-E-***
                                                                                                                                 REDACTED
                                                                                               Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
12/15                         DEBIT CARD PURCHASE, AUT 121214 VISA DDA PUR                                                                         13.77
                                      VICEROY MIAMI FOOD AND B                     MIAMI          * FL
                                      REDACTED 5552
12/15                         DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                          9.99
                                      DUFRY PUERTO RICO S0091                    CAROLINA          P RI
                                      REDACTED 5552
12/15                         DEBIT POS, AUT 121314 DDA PURCHASE                                                                                    7.49
                                      WHOLEFDS SBE 102 1020 AL                  MIAMI        *FL
                                      REDACTED 5552
12/15                         DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                          6.83
                                      GATE 11 EXPRESSO                        SAN JUAN     P RI
                                      REDACTED 5552
12/15                         DEBIT CARD PURCHASE, AUT 121114 VISA DDA PUR                                                                          5.33
                                      CONVENIENCE STORES 8                      CAROLINA          P RI
                                      REDACTED 5552
12/16                         DEBIT POS, AUT 121614 DDA PURCHASE                                                                                 414.70
                                      BEDBATH BEYOND BEDBATH                        MIAMI          *FL
                                      REDACTED 5552
12/16                         DEBIT POS, AUT 121514 DDA PURCHASE                                                                                 318.71
                                      TARGET T2188                    MIAMI          *FL
                                      REDACTED 5552
12/16                         DEBIT POS, AUT 121514 DDA PURCHASE                                                                                 100.89
                                      PUBLIX                        MIAMI         * FL
                                      REDACTED 5552
12/16                         DEBIT CARD PURCHASE, AUT 121414 VISA DDA PUR                                                                         47.00
                                      ROSA MEXICANO MIA                        MIAMI        * FL
                                      REDACTED 5552
12/17                         eTransfer Debit, Online Xfer                                                                                       747.53
                                       Transfer to CK REDACTED 3112
12/17                         eTransfer Debit, Online Xfer                                                                                       542.76
                                       Transfer to CK REDACTED 3112
12/17                         DEBIT CARD PURCHASE, AUT 121214 VISA DDA PUR                                                                       333.97
                                      TIV TIVO SERVICE                    877 367 8486 * CA
                                      REDACTED 5552
12/17                         DEBIT CARD PURCHASE, AUT 121314 VISA DDA PUR                                                                        194.74
                                      BODUM ONLINE SHOP                        BODUM COM           N LD
                                      REDACTED 5552
12/17                         DEBIT CARD PURCHASE, AUT 121514 VISA DDA PUR                                                                         60.03
                                      AMERICAN AI 001065797049                  DALLAS        *TX
                                      REDACTED 5552
12/17                         DEBIT CARD PURCHASE, AUT 121514 VISA DDA PUR                                                                         40.00
                                      MILNE TRAVEL AGENCY                        603 298 6644 * NH
                                      REDACTED 5552

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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                      6 of8
     SALES                                                                                   Statement Period:   Dec 012014-Dec31 2014
                                                                                                                    REDACTED
                                                                                             Cust Ref#:                      4532-713-E-***
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
12/17                         DEBIT CARD PURCHASE, AUT 121514 VISA DDA PUR                                                                       32.78
                                      VICEROY MIAMI FOOD AND B                  MIAMI         * FL
                                      REDACTED 5552
12/17                         DEBIT CARD PURCHASE, AUT 121614 VISA DDA PUR                                                                       21.00
                                      LADUREE MIAMI                     MIAMI          *FL
                                      REDACTED 5552
12/17                         DEBIT CARD PURCHASE, AUT 121514 VISA DDA PUR                                                                        2.00
                                      AMPCO SYSTEM PARKING                   MIAMI           *FL
                                      REDACTED 5552
12/18                         DEBIT CARD PURCHASE, AUT 121614 VISA DDA PUR                                                                       24.00
                                      REGAL CINEMAS SOUTH BCH                   MIAMI         * FL
                                      REDACTED 5552
12/18                         DEBIT CARD PURCHASE, AUT 121714 VISA DDA PUR                                                                       20.00
                                      LAZ PARKING 782                   MIAMI BEACH      * FL
                                      REDACTED 5552
12/18                        DEBIT CARD PURCHASE, AUT 121614 VISA DDA PUR                                                                        10.63
                                      CHATIME                       MIAMI       * FL
                                      REDACTED 5552
12118                        DEBIT POS, AUT 121814 DDA PURCHASE                                                                                   6.37
                                      CVS 10132                    MIAMI        *FL
                                      REDACTED 5552
12119                         eTransfer Debit, Online Xfer                                                                                      731.29
                                      Transfer to CK REDACTED 3112
12119                         eTransfer Debit, Online Xfer                                                                                      355.75
                                      Transfer to CK REDACTED 3112
12/19                        DEBIT POS, AUT 121914 DDA PURCHASE                                                                                  84.31
                                      PUBLIX                       MIAMI      *FL
                                      REDACTED 5552
12119                        DEBIT CARD PURCHASE, AUT 121814 VISA DDA PUR                                                                         9.16
                                      CREMA EXPRESSO BAR                    MIAMI BEACH         * FL
                                      REDACTED 5552
12/22                        eTransfer Debit, Online Xfer                                                                                       770.00
                                      Transfer to CK REDACTED 3112
12/22                        DEBIT CARD PURCHASE, AUT 121914 VISA DDA PUR                                                                       145.23
                                      MONDRIAN LA SAVINA                    MIAMI BEACH         * FL
                                      REDACTED 5552
12/22                        DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR                                                                        25.00
                                      AMERICAN Al 001027719062              MIAMI        *FL
                                      REDACTED 5552
12/22                        DEBIT CARD PURCHASE, AUT 121814 VISA DDA PUR                                                                        21.40
                                      FRITZ S SKATE                  305 5321954 *FL
                                      REDACTED 5552


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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Pq~                                       7~8
     SALES                                                                                 Statement Period:   Dec 012014-Dec31 2014
                                                                                           Cust Ref#:             REDACTED
                                                                                                                           4532-713-E-* **
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
12/22                         DEBIT CARD PURCHASE, AUT 121914 VISA DDA PUR                                                                      20.53
                                      VICEROY MIAMI FOOD AND B                MIAMI        * FL
                                      REDACTED 5552
12/22                         DEBIT CARD PURCHASE, AUT 122014 VISA DDA PUR                                                                      12.59
                                      NEWS LINK B 107A NMAV                 MIAMI      * FL
                                      REDACTED 5552
12/22                         DEBIT CARD PURCHASE, AUT 121914 VISA DDA PUR                                                                       8.29
                                      THE UPS STORE 3155                 MIAMI      *FL
                                      REDACTED 5552
12/23                         DEBIT POS, AUT 122314 DDA PURCHASE                                                                                15.00
                                      CVS 01132                     NEWBURYPORT *MA
                                      REDACTED 5552
12/24                         DEBIT CARD PAYMENT, AUT 122314 VISA DDA PUR                                                                     170.00
                                      EQUINOX MOTO 202                    866 332 6549 *MA
                                      REDACTED 5552
12/24                         DEBIT CARD PURCHASE, AUT 122314 VISA DDA PUR                                                                       5.72
                                      SQ ATOMIC CAFE NEWBUR                  NEWBURYPORT *MA
                                      REDACTED 5552
12/26                         eTransfer Debit, Online Xfer                                                                                   1,822.00
                                       Transfer to CK REDACTED 3112
12/26                         DEBIT CARD PURCHASE, AUT 122514 VISA DDA PUR                                                                      66.64
                                      Q RESTAURANT                       BOSTON     *MA
                                      REDACTED 5552
12/26                         DEBIT CARD PURCHASE, AUT 122314 VISA DDA PUR                                                                      39.02
                                      EXXONMOBIL 97448302                  STOUGHTON       *MA
                                      REDACTED 5552
12/29                         DEBIT CARD PURCHASE, AUT 122714 VISA DDA PUR                                                                    926.63
                                      APPLE STORE Rl49                   BOSTON     * MA
                                      REDACTED 5552
12/29                         DEBIT CARD PURCHASE, AUT 122814 VISA DDA PUR                                                                     129.14
                                      FARIMONT COPLEY PLAZA F                 BOSTON         *MA
                                      REDACTED 5552
12/29                         DEBIT CARD PURCHASE, AUT 122614 VISA DDA PUR                                                                      38.17
                                      EXXONMOBIL 97448302                  STOUGHTON       *MA
                                      REDACTED 5552
12/29                         DEBIT CARD PURCHASE, AUT 122514 VISA DDA PUR                                                                      25.58
                                      AMC BOSTON COMMON 2657                  BOSTON         * MA
                                      REDACTED 5552
12/29                         DEBIT CARD PURCHASE, AUT 122714 VISA DDA PUR                                                                      23.27
                                      THE PARAMOUNT                       BOSTON      * MA
                                      REDACTED 5552




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                     Bank
                     America's Most Convenient Bank®                                   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                      Page:                                      8 of8
     SALES                                                                             Statement Period:   Dec 01 2014-Dec 31 2014
                                                                                                              REDACTED
                                                                                       Cust Ref#:                      4532-713-E-***
                                                                                                                         REDACTED
                                                                                       Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                  AMOUNT
12/29                        DEBIT CARD PURCHASE, AUT 122714 VISA DDA PUR                                                                   1.50
                                      PARKING METERS PIL               BOSTON        *MA
                                      REDACTED 5552
12/30                         eTransfer Debit, Online Xfer                                                                            1,850.00
                                      Transfer to CK REDACTED 3112
12/30                        DEBIT CARD PURCHASE, AUT 122814 VISA DDA PUR                                                                  25.00
                                      STARBUCKS CARD RELOAD                 800 782 7282 * WA
                                      REDACTED 5552
12/31                        DEBIT CARD PURCHASE, AUT 122714 VISA DDA PUR                                                                  75.60
                                      ORINOCO                      BOSTON     * MA
                                      REDACTED 5552
                                                                                                            Subtotal:                35,222.76
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                  AMOUNT
12/31                        MAINTENANCE FEE                                                                                                8.00
                                                                                                            Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                         DATE                                     BALANCE
11/30                                                      53,155.53                        12/17                                    25,390.59
12/1                                                       50,308.28                        12/18                                    25,329.59
12/2                                                       44,776.13                        12/19                                    24,149.08
12/3                                                       43,084.86                        12/22                                    23,146.04
12/4                                                       43,035.13                        12/23                                    23,131.04
12/5                                                       42,780.05                        12/24                                    22,955.32
12/8                                                       34,014.01                        12/26                                    21,201.14
12/9                                                       33,874.74                        12/29                                    20,056.85
12/15                                                      28,246.70                        12/30                                    18,181.85
12/16                                                      27,365.40                        12/31                                    18,098.25




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                      Bank
                      America's Most Convenient Bank®                            E          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          Pq~                                       1~9
      SALES                                                                                 Statement Period:   Jan 012015-Jan31 2015
                                                                                                                   REDACTED
      18 GRAF ROAD UNIT 26                                                                  Cust Ref#:                      4532-713-E-***
                                                                                                                              REDACTED
      NEWBURYPORT MA 01950-4032                                                             Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                           18,098.25                               Average Collected Balance             24,116.20
Deposits                                                    75,000.00                               Annual Percentage Yield Earned            0.00%
Electronic Deposits                                          3,242.36                               Days in Period                                31

Electronic Payments                                         63,815.99
Service Charges                                                   8.00
Ending Balance                                              32,516.62

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
115                           DEPOSIT                                                                                                     40,000.00
1/23                          DEPOSIT                                                                                                     35,000.00
                                                                                                                 Subtotal:
Electronic Deposits
POSTING DA TE                DESCRIPTION                                                                                                      AMOUNT
1/6                          ATM CASH DEPOSIT, AUT 010615 ATM CASH DEPOSIT                                                                    2,760.00
                                      1197 CENTRE STREET                 NEWTON CENTRE * MA
                                      REDACTED 5552
1/6                          ATM CASH DEPOSIT, AUT 010615 ATM CASH DEPOSIT                                                                      140.00
                                      1197 CENTRE STREET                 NEWTON CENTRE * MA
                                      REDACTED 5552
1/9                          DEBIT CARD CREDIT, AUT 010915 VISA DDA REF                                                                        342.36
                                      WILLIAMS SONOMA E COMM                   800 541 1262 * CA
                                      REDACTED 5552

                                                                                                                 Subtotal:                    3,242.36
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                      AMOUNT
1/2                          eTransfer Debit, Online Xfer                                                                                     1,807.00
                                      Transfer to CK REDACTED 3112
112                          TD ATM DEBIT, AUT 010115 DDA WITHDRAW                                                                             700.00
                                      95 HIGHLAND AVENUE                   NEEDHAM          * MA
                                      REDACTED 5552
112                          DEBIT CARD PURCHASE, AUT 123014 VISA DDA PUR                                                                      399.00
                                      JOMASHOP COM                       212 924 9925 *NY
                                      REDACTED 5552
112                          eTransfer Debit, Online Xfer                                                                                      297.60
                                      Transfer to CK REDACTED 3112



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 How to Balance your Account                                                                                                                                       Page:                     2 of9

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:                                                               statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                 DOLLARS            CENTS                     WIIBDRA WALS NOl   DOLLARS           CENTS                   WIIBDRA W ALS NO             DOLLARS              CENTS
ON STATEMENT                                                              ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             ff you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                    Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                    Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                     If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                              You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                              collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the              the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta.'\'. authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      3 of9
      SALES                                                                                 Statement Period:   Jan 01 2015-Jan 31 2015
                                                                                            Cust Ref#:             REDACTED
                                                                                                                            4532-713-E-* **
                                                                                                                              REDACTED
                                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
1/2                           DEBIT CARD PURCHASE, AUT 123014 VISA DDA PUR                                                                      86.49
                                      FUGAKYU JAPANESE CUISINE                 BROOKLINE          *MA
                                      REDACTED 5552
1/2                           DEBIT CARD PURCHASE, AUT 123114 VISA DDA PUR                                                                      40.74
                                      EXXONMOBIL 97448302                STOUGHTON           * MA
                                      REDACTED 5552
1/2                           DEBIT CARD PURCHASE, AUT 123014 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
1/2                           DEBIT CARD PURCHASE, AUT 123014 VISA DDA PUR                                                                      23.95
                                      AMERICAN AI 001065836710            DALLAS           *TX
                                      REDACTED 5552
1/2                           DEBIT CARD PURCHASE, AUT 010115 VISA DDA PUR                                                                       2.50
                                      PARKING METERS PIL                BOSTON         * MA
                                      REDACTED 5552
115                           DEBIT CARD PURCHASE, AUT 123114 VISA DDA PUR                                                                 1,167.78
                                      THE ELIOT HOTEL                  BOSTON        * MA
                                      REDACTED 5552
115                          NONTDATMDEBIT,AUT010315 DDA WITHDRAW                                                                              503.00
                                      CHESTNUT HILL MALL                 NEWTON            * MA
                                      REDACTED 5552
1/5                          DEBIT CARD PURCHASE, AUT010315 VISA DDA PUR                                                                       114.60
                                      NEIMAN MARCUS LAST CALL                  DEDHAM             * MA
                                      REDACTED 5552
115                          DEBIT CARD PURCHASE, AUT 010315 VISA DDA PUR                                                                       10.00
                                      MASSPIKE  00200055               888 5253278   * MA
                                      REDACTED 5552
115                          NONTD ATM FEE                                                                                                       3.00
116                          eTransfer Debit, Online Xfer                                                                                      324.44
                                      Transfer to CK REDACTED 3112
1/7                          eTransfer Debit, Online Xfer                                                                                  1,982.11
                                      Transfer to CK REDACTED 3112
1/7                          DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                      342.36
                                      WILLIAMS SONOMA E COMM                   800 541 1262 *CA
                                      REDACTED 5552
118                          DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                       73.00
                                      BALANS LINCOLN ROAD                  MIAMI BEACH * FL
                                      REDACTED 5552
118                          DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                       29.40
                                      LADUREE MIAMI                    MIAMI         *FL
                                      REDACTED 5552




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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          p~~                                      4~9
      SALES                                                                                 Statement Period:   Jan 01 2015-Jan 31 2015
                                                                                            Cust Ref#:             REDACTED
                                                                                                                            4532-713-E-** *
                                                                                                                              REDACTED
                                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE                 DESCRIPTION                                                                                                     AMOUNT
1/8                           DEBIT CARD PURCHASE, AUT 010615 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
1/8                           DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                        5.00
                                      CITY OF MIAMI BEACH 17 S             MIAMI BEACH        * FL
                                      REDACTED 5552
1/9                           DEBIT POS, AUT 010815 DDA PURCHASE                                                                              1,741.94
                                      SOU BEST BUY 1498 162              MIAMIBEACH *FL
                                      REDACTED 5552
1/9                           DEBIT CARD PURCHASE, AUT 010915 VISA DDA PUR                                                                     364.85
                                      AMERICAN AI 001750266516             WEST LEBANON *NH
                                      REDACTED 5552
1/9                           DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                       66.88
                                      FRITZ S SKATE                 305 5321954 *FL
                                      REDACTED 5552
1/9                           DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 5552
1/9                           DEBIT CARD PURCHASE, AUT 010715 VISA DDA PUR                                                                       10.50
                                      NESPRESSO USA INC                 MIAMI        * FL
                                      REDACTED 5552
1/9                           DEBIT CARD PURCHASE, AUT 010815 VISA DDA PUR                                                                        1.25
                                      PKG MULTI SP MTRS                 FT LAUDERDALE* FL
                                      REDACTED 5552
1/12                          eTransfer Debit, Online Xfer                                                                               11,513.00
                                      Transfer to CK REDACTED 3112
1112                          eTransfer Debit, Online Xfer                                                                                    4,000.00
                                      Transfer to CK REDACTED 3112
1/12                         DEBIT POS, AUT 011015 DDA PURCHASE                                                                               2,000.00
                                      SOU BEST BUY 1498 432              MIAMI BEACH        * FL
                                      REDACTED 5552
1/12                         NONTD ATM DEBIT, AUT 011215 DDA WITHDRAW                                                                          703.00
                                      BRICKELL                     MIAMI     *FL
                                      REDACTED 5552
1/12                         DEBIT POS, AUT 011115 DDA PURCHASE                                                                                337.57
                                      CONTAINERSTOREMIAMIFL                  MIAMI          *FL
                                      REDACTED 5552
1/12                         DEBIT CARD PURCHASE, AUT 010915 VISA DDA PUR                                                                      243.04
                                      CIPRIANI MIAMI                 MIAMI      *FL
                                      REDACTED 5552
1/12                         DEBIT CARD PURCHASE, AUT 010815 VISA DDA PUR                                                                        90.00
                                      EQUINOX WEB 998                   NEW YORK      * NY
                                      REDACTED 5552

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                      Bank
                      America's Most Convenient Bank®                                           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                               p~~                                    5~9
     SALES                                                                                   Statement Period:   Jan 012015-Jan31 2015
                                                                                             Cust Ref#:             REDACTED
                                                                                                                             4532-713-E-* **
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
1112                          NONTD ATM FEE                                                                                                     3.00
1/13                          eTransfer Debit, Online Xfer                                                                                 12,500.00
                                       Transfer to CK REDACTED 3112
1/13                          eTransfer Debit, Online Xfer                                                                                     4,650.00
                                       Transfer to CK REDACTED 3112
1/13                          DEBIT CARD PURCHASE, AUT 010815 VISA DDA PUR                                                                        88.81
                                      RHI RESTO 989 CW                  800 910 9836 * CA
                                      REDACTED 5552
1/13                          DEBIT POS, AUT 011315 DDA PURCHASE                                                                                  42.79
                                      CONTAINERSTOREMIAMIFL                    MIAMI            *FL
                                      REDACTED 5552
1113                          DEBIT CARD PURCHASE, AUT 011215 VISA DDA PUR                                                                         2.50
                                      SQ ATELIER MONNIER BRIC                 MIAMI         *FL
                                      REDACTED 5552
1/14                          DEBIT CARD PURCHASE, AUT 011415 VISA DDA PUR                                                                       342.36
                                      WILLIAMS SONOMA E COMM                   800 5411262 *CA
                                      REDACTED 5552
1114                          DEBIT POS, AUT 011315 DDA PURCHASE                                                                                 136.60
                                      BEDBATH BEYOND BEDBATH                    MIAMI            *FL
                                      REDACTED 5552
1114                          DEBIT POS, AUT 011315 DDA PURCHASE                                                                                  92.29
                                      TARGETT1039                    MIAMI          *FL
                                      REDACTED 5552
1114                          DEBIT CARD PURCHASE, AUT011315 VISA DDA PUR                                                                          6.00
                                      PEREZ ART MUSEUM                      MIAMI         *FL
                                      REDACTED 5552
1/15                          eTransfer Debit, Online Xfer                                                                                     1,024.00
                                       Transfer to CK REDACTED 3112
1115                          eTransfer Debit, Online Xfer                                                                                       577.16
                                       Transfer to CK REDACTED 3112
1115                          eTransfer Debit, Online Xfer                                                                                       280.50
                                       Transfer to CK REDACTED 3112
1115                          DEBIT CARD PURCHASE, AUT 011315 VISA DDA PUR                                                                        75.00
                                      BLK PEREZ ART MUSEUM                   3053753000      * CA
                                      REDACTED 5552
1115                          DEBIT CARD PURCHASE, AUT 011415 VISA DDA PUR                                                                        10.70
                                      DECO BIKE MIAMI LLC                   MIAMI         * FL
                                      REDACTED 5552
1115                          DEBIT CARD PURCHASE, AUT 011415 VISA DDA PUR                                                                        10.70
                                      DECO BIKE MIAMI LLC                   MIAMI         *FL
                                      REDACTED 5552




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   t:E:r
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      6 of9
     SALES                                                                                 Statement Period:   Jan 01 2015-Jan 31 2015
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
1/16                          DEBIT POS, AUT 011615 DDA PURCHASE                                                                              162.93
                                      WHOLEFDS MIA 10 299 SE              MIAMI        * FL
                                      REDACTED 5552
1/20                          eTransfer Debit, Online Xfer                                                                                3,247.66
                                       Transfer to CK REDACTED 3112
1120                          eTransfer Debit, Online Xfer                                                                                    315.66
                                       Transfer to CK REDACTED 3112
1/20                          eTransfer Debit, Online Xfer                                                                                    228.58
                                       Transfer to CK REDACTED 3112
1/20                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                                    145.52
                                      LULULEMON LINCOLN ROAD                    MIAMI BEACH      * FL
                                      REDACTED 5552
1120                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                                    136.94
                                      BLOOMINGDALES COM                    MASON          * OH
                                      REDACTED 5552
1/20                          DEBIT CARD PURCHASE, AUT 011615 VISA DDA PUR                                                                     124.14
                                      ZUMA MIAMI                    MIAMI        *FL
                                      REDACTED 5552
1120                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                                      96.65
                                      ZUMA MIAMI                    MIAMI        *FL
                                      REDACTED 5552
1/20                          DEBIT POS, AUT 011715 DDA PURCHASE                                                                                70.00
                                      WHOLEFDS MIA 10 299 SE              MIAMI        *FL
                                      REDACTED 5552
1/20                          DEBIT CARD PURCHASE, AUT 011615 VISA DDA PUR                                                                      68.47
                                      BLOOMINGDALES COM                    MASON          * OH
                                      REDACTED 5552
1120                          DEBIT POS, AUT 011715 DDA PURCHASE                                                                                47.90
                                      THE RUSSIAN STORE                  MIAMI      * FL
                                      REDACTED 5552
1/20                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                                      47.62
                                      OSKLEN MIAMI                    305 532 8977 * FL
                                      REDACTED 5552
1120                          DEBIT CARD PURCHASE, AUT 011815 VISA DDA PUR                                                                      30.00
                                      LAZ PARKING 782                   MIAMI BEACH    * FL
                                      REDACTED 5552
1120                          DEBIT CARD PURCHASE, AUT 011815 VISA DDA PUR                                                                      21.91
                                      KFC F428048 42080481              MIAMI      *FL
                                      REDACTED 5552
1120                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                                       5.00
                                      CITY OF MIAMI BEACH 17 S             MIAMI BEACH        * FL
                                      REDACTED 5552


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                            p~~                                       7~9
     SALES                                                                   Statement Period:   Jan Ol 2015-Jan312015
                                                                                                    REDACTED
                                                                             Cust Ref#:                      4532-713-E-* **
                                                                                                               REDACTED
                                                                             Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
1121                          eTransfer Debit, Online Xfer                                                                      575.76
                                   Transfer to CK REDACTED 3112
1/21                          eTransfer Debit, Online Xfer                                                                      566.18
                                   Transfer to CK REDACTED 3112
1121                          eTransfer Debit, Online Xfer                                                                      315.66
                                   Transfer to CK REDACTED 3112
1/21                          eTransfer Debit, Online Xfer                                                                      288.99
                                   Transfer to CK REDACTED 3112
1/21                          DEBIT CARD PURCHASE, AUT 012015 VISA DDA PUR                                                      110.00
                                   SPA NAIL FEVER                BRICKELL     *FL
                                   REDACTED 5552
1121                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                        53.61
                                   ROSA MEXICANO SOUTH BEAC MIAMI BEACH * FL
                                   REDACTED 5552
1121                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                        37.00
                                   REGAL CINEMAS SOUTH BCH MIAMI                   * FL
                                   REDACTED 5552
1/21                          DEBIT CARD PURCHASE, AUT 011915 VISA DDA PUR                                                        12.50
                                   REGAL CINEMAS SOUTH BCH MIAMI                   * FL
                                   REDACTED 5552
1122                          eTransfer Debit, Online Xfer                                                                      304.19
                                   Transfer to CK REDACTED 3112
1/22                          eTransfer Debit, Online Xfer                                                                      224.19
                                   Transfer to CK REDACTED 3112
1/22                          eTransfer Debit, Online Xfer                                                                      217.66
                                   Transfer to CK REDACTED 3112
1122                          DEBIT POS, AUT 012215 DDA PURCHASE                                                                147.87
                                   WHOLEFDS MIA 10 299 SE MIAMI                 *FL
                                   REDACTED 5552
1122                          DEBIT CARD PURCHASE, AUT 012215 VISA DDA PUR                                                      136.94
                                   CAPITAL GRILLE00080069           MIAMI       *FL
                                   REDACTED 5552
1123                          DEBIT CARD PURCHASE, AUT 012015 VISA DDA PUR                                                      527.49
                                   BED BATH BEYOND 651              800 462 3966 *NJ
                                   REDACTED 5552
1/23                          DEBIT CARD PURCHASE, AUT 012215 VISA DDA PUR                                                      190.00
                                   DR RAFFAELLA ARMSTRONG MIAMI                     *FL
                                   REDACTED 5552
1126                          eTransfer Debit, Online Xfer                                                                     1,750.00
                                   Trans fer to CK REDACTED 3112
1126                          eTransfer Debit, Online Xfer                                                                      507.48
                                   Transfer to CK REDACTED 3112


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   'CE:J'
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                      8 of9
     SALES                                                                                   Statement Period:   Jan 01 2015-Jan 31 2015
                                                                                             Cust Ref#:             REDACTED
                                                                                                                             4532-713-E-* **
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRJPTION                                                                                                       AMOUNT
1126                          DEBIT CARD PAYMENT, AUT 012315 VISA DDA PUR                                                                        170.00
                                      EQUINOX MOTO 202                   866 332 6549 * MA
                                      REDACTED 5552
1126                          DEBIT POS, AUT 012615 DDA PURCHASE                                                                                 110.16
                                      BEDBATH BEYOND BEDBATH                    MIAMI             *FL
                                      REDACTED 5552
1126                          DEBIT POS, AUT 012615 DDA PURCHASE                                                                                   86.05
                                      WINN DIXIE 0 3275 SW               MIAMI        * FL
                                      REDACTED 5552
1126                          DEBIT CARD PURCHASE, AUT 012315 VISA DDA PUR                                                                         40.97
                                      EXXONMOBIL 97682843                   NORTH MIAMI B * FL
                                      REDACTED 5552
1126                          DEBIT POS, AUT 012615 DDA PURCHASE                                                                                   39.56
                                      NORDSTROM 777 3301 CORAL                 CORAL GABLES *FL
                                      REDACTED 5552
1127                          eTransfer Debit, Online Xfer                                                                                      1,462.30
                                      Transfer to CK REDACTED 3112
1127                          DEBIT CARD PURCHASE, AUT 012615 VISA DDA PUR                                                                       123.98
                                      VICTOIRE LLC                   323 2250101    * CA
                                      REDACTED 5552
1127                          DEBIT CARD PURCHASE, AUT 012615 VISA DDA PUR                                                                         22.64
                                      PRESSXPRESS                    MIAMI         * FL
                                      REDACTED 5552
1/28                          DEBIT POS, AUT 012715 DDA PURCHASE                                                                                  127.16
                                      PLEASURE EMPORIU                    HOLLYWOOD           *FL
                                      REDACTED 5552
1128                          DEBIT POS, AUT 012815 DDA PURCHASE                                                                                  111.68
                                      WHOLEFDS MIA 10 299 SE                MIAMI          * FL
                                      REDACTED 5552
l/28                          DEBIT POS, AUT 012715 DDA PURCHASE                                                                                   82.77
                                      CRATE BARREL 808                   HALLANDALE BC * FL
                                      REDACTED 5552
1/28                          DEBIT CARD PURCHASE, AUT 012715 VISA DDA PUR                                                                         14.09
                                      HAAGEN DAZS 6085                   HALLENDALE BE * FL
                                      REDACTED 5552
1129                          NONTD ATM DEBIT, AUT 012915 DDA WITHDRAW                                                                           703.00
                                      BRICKELL                      MIAMI      * FL
                                      REDACTED 5552
1129                          eTransfer Debit, Online Xfer                                                                                       232.15
                                      Transfer to CK REDACTED 3112
1/29                          DEBIT CARD PURCHASE, AUT 012715 VISA DDA PUR                                                                         95.50
                                      SWEET NECTAR CHARCOAL GR                   954 7612122       * FL
                                      REDACTED 5552

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                     Bank
                     America's Most Convenient Bank®                            STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                               Page:                                      9 of9
     SALES                                                                      Statement Period:   Jan 01 2015-Jan 31 2015
                                                                                                       REDACTED
                                                                                CustRef#:                       4532-713-E-***
                                                                                                                  REDACTED
                                                                                Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                           AMOUNT
1/29                         eTransfer Debit, Online Xfer                                                                           95.00
                                  Transfer to CK REDACTED 3112
1/29                         NONTDATMFEE                                                                                             3.00
1/30                         DEBIT CARD PURCHASE, AUT 012515 VISA DDA PUR                                                          291.02
                                  BLOOMINGDALES COM                  866 593 2540 * OH
                                  REDACTED 5552
1/30                         DEBIT CARD PURCHASE, AUT 012915 VISA DDA PUR                                                          267.50
                                  VIVID SEATS                866 848 8499 * IL
                                  REDACTED 5552
1/30                         DEBIT CARD PURCHASE, AUT 012815 VISA DDA PUR                                                          121.55
                                  CIPRIANI MIAMI               MIAMI        *FL
                                  REDACTED 5552
                                                                                                     Subtotal:                63,815.99
Service Charges
POSTING DATE                 DESCRIPTION                                                                                           AMOUNT
1/30                         MAINTENANCE FEE                                                                                         8.00
                                                                                                     Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                  DATE                                     BALANCE
12/31                                                      18,098.25                 1/16                                     12,276.27
1/2                                                        14,715.97                 1120                                      7,690.22
1/5                                                        52,917.59                 1/21                                      5,730.52
1/6                                                        55,493.15                 1/22                                      4,699.67
1/7                                                        53,168.68                 1/23                                     38,982.18
1/8                                                        53,036.28                 1/26                                     36,277.96
1/9                                                        51,168.22                 1/27                                     34,669.04
1/12                                                       32,278.61                 1/28                                     34,333.34
1/13                                                       14,994.51                 1/29                                     33,204.69
1114                                                       14,417.26                 1/30                                     32,516.62
1/15                                                       12,439.20




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Bank Deposits FDIC Insured I TD Bank, N.A I Equal Housing Lender       t::E')
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                      Bank
                      America's Most Convenient Bank®                              E          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                            p~~                                       1~9
      SALES                                                                                   Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                                     REDACTED
      18 GRAF ROAD UNIT 26                                                                    Cust Ref#:                      4532-713-E-***
                                                                                              Primary Account#:                 REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                               Account# REDACTED 4532
SALES


WE'RE CHANGING WHEN WE SEND CHECKING STATEMENTS TO INACTIVE ACCOUNTS
BEGINNING APRIL 1, WE WILL NO LONGER MAIL STATEMENTS FOR CHECKING ACCOUNTS THAT SHOW NO
CUSTOMER INITIATED ACTIVITY FOR 6 MONTHS. WHEN ACTIVITY RESUMES (EXCLUDING FEES AND INTEREST
PAYMENTS), STATEMENTS WILL AS WELL. REST ASSURED, YOU CAN VIEW YOUR STATEMENT ANYTIME FROM
ANYWHERE USING ONLINE BANKING OR BY REQUEST. IT'S EASY! ENROLL IN ONLINE BANKING AT
TDBANK.COM/GO-ONLINE. FOR HELP, CALL 1-888-751-9000.

ACCOUNT SUMMARY
Beginning Balance                                           32,516.62                                 Average Collected Balance             22,676.07
Deposits                                                    50,000.00                                 Annual Percentage Yield Earned            0.00%
Electronic Deposits                                            547.49                                 Days in Period                                28

Electronic Payments                                          54,309.18
Service Charges                                                    8.00
Ending Balance                                               28,746.93

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DA TE                 DESCRIPTION                                                                                                       AMOUNT
2119                          DEPOSIT                                                                                                       50,000.00
                                                                                                                   Subtotal:                50,000.00
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
216                           DEBIT CARD CREDIT, AUT 020615 VISA DDA REF                                                                         387.00
                                      JOMASHOP COM                        212 924 9925 *NY
                                      REDACTED 5552
216                           DEBIT CARD CREDIT, AUT 020615 VISA DDA REF                                                                          160.49
                                      TIV TIVO SERVICE                    877 367 8486 * CA
                                      REDACTED 5552
                                                                                                                   Subtotal:                     547.49
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
212                           eTransfer Debit, Online Xfer                                                                                      7,600.00
                                      Transfer to CK REDACTED 3112
212                           eTransfer Debit, Online Xfer                                                                                      3,812.15
                                      Transfer to CK REDACTED 3112
212                           eTransfer Debit, Online Xfer                                                                                      2,250.00
                                      Transfer to CK REDACTED 3112




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How to Balance your Account                                                                                                                                       Page:                     2 of9

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                     WIIBDRAWALS NOl   DOLLARS           CENTS                   WIIBDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                              ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so \viii not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about
       Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take           FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (1 O) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection accotmt (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          p~~                                       3~9
      SALES                                                                                 Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                                   REDACTED
                                                                                            Cust Ref#:                      4532-713-E-***
                                                                                                                              REDACTED
                                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
2/2                           DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR                                                                       36.00
                                      2AMERAIRARENA10200301                  MIAMI         *FL
                                      REDACTED 5552
2/2                           DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR                                                                       15.00
                                      2AMERAIRARENA10200301                  MIAMI         *FL
                                      REDACTED 5552
212                           DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR                                                                       14.00
                                      2AMERAIRARENA10200301                  MIAMI         *FL
                                      REDACTED 5552
212                           DEBIT POS, AUT 013015 DDA PURCHASE                                                                                 10.70
                                      THE MIAMI HEAT STORE                  MIAMI      *FL
                                      REDACTED 5552
212                           DEBIT CARD PURCHASE, AUT 013015 VISA DDA PUR                                                                        9.00
                                      2AMERAIRARENA10200301                  MIAMI         *FL
                                      REDACTED 5552
2/2                           DEBIT CARD PURCHASE, AUT 020115 VISA DDA PUR                                                                        3.00
                                      MIAMI PARKING AUTHORITY                  MIAMI        * FL
                                      REDACTED 5552
2/4                           eTransfer Debit, Online Xfer                                                                                    1,730.00
                                      Transfer to CK REDACTED 3112
2/4                          DEBIT POS, AUT 020415 DDA PURCHASE                                                                                212.49
                                      SOUBESTBUY 596 131                   WATERTOWN        *MA
                                      REDACTED 5552
2/4                          DEBIT POS, AUT 020415 DDA PURCHASE                                                                                  64.89
                                      CVS 00391                    NEWTON       * MA
                                      REDACTED 5552
2/4                          DEBIT POS, AUT 020415 DDA PURCHASE                                                                                  21.94
                                      CVS 00391                    NEWTON       * MA
                                      REDACTED 5552
2/4                          DEBIT POS, AUT 020415 DDA PURCHASE                                                                                  17.65
                                      CVS 00391                    NEWTON       * MA
                                      REDACTED 5552
2/4                          DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR                                                                         9.95
                                      GOGOAIR COM                      877 350 0038 * IL
                                      REDACTED 5552
2/5                          DEBIT CARD PURCHASE, AUT 020315 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 5552
2/5                          DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR                                                                        13.39
                                      PANERA BREAD 3558                    NEEDHAM         *MA
                                      REDACTED 5552




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                      Bank
                      America's Most Convenient Bank®                      STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                         Page:                                      4 of9
      SALES                                                                Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                  REDACTED
                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                             REDACTED
                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                     AMOUNT
2/5                           DEBIT POS, AUT 020515 DDA PURCHASE                                                               10.65
                                  WHOLEFDS INK 10 348 HAR BOSTON    *MA
                                  REDACTED 5552
215                           DEBIT CARD PURCHASE, AUT 020415 VISA DDA PUR                                                      4.59
                                  PANERA BREAD 3558     NEEDHAM    *MA
                                  REDACTED 5552
2/9                           eTransfer Debit, Online Xfer                                                                2,519.48
                                   Transfer to CK REDACTED 3112
219                           TD A TM DEBIT, AUT 020915 DDA WITHDRAW                                                          700.00
                                   1101 BRICKELL AVE            MIAMI *FL
                                  REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020515 VISA DDA PUR                                                    638.83
                                   RESIDENCE INNS BOST NEED NEEDHAM       * MA
                                  REDACTED 5552
2/9                           eTransfer Debit, Online Xfer                                                                    385.83
                                      Transfer to CK REDACTED 3112
219                          DEBIT CARD PAYMENT, AUT 020615 VISA DDA PUR                                                      135.00
                                 HOTELTONIGHT          800 208 2949 * CA
                                 REDACTED 5552
2/9                          DEBIT POS, AUT 020715 DDA PURCHASE                                                                45.89
                                 AIRPORT EXXON SHOP        RICHMOND      * VA
                                 REDACTED 5552
219                          DEBIT POS, AUT 020715 DDA PURCHASE                                                                45.76
                                 EXXONMOBIL           DARIEN       *GA
                                 REDACTED 5552
2/9                          DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR                                                      42.15
                                 SONNY S BBQ 066       BRUNSWICK * GA
                                 REDACTED 5552
219                          DEBIT CARD PURCHASE, AUT 020515 VISA DDA PUR                                                      41.42
                                 EXXONMOBIL 97438162      READING       *MA
                                 REDACTED 5552
219                          DEBIT CARD PURCHASE, AUT 020515 VISA DDA PUR                                                      35.00
                                 GOVERNMENT CENTER GARA         BOSTON      * MA
                                 REDACTED 5552
2/9                          DEBIT POS, AUT 020915 DDA PURCHASE                                                                34.38
                                 WHOLEFDS MIA 10 299 SE MIAMI          *FL
                                 REDACTED 5552
2/9                          DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR                                                      34.28
                                 EXXONMOBIL 97456883      FRAMINGHAM * MA
                                 REDACTED 5552
219                          DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR                                                      30.46
                                 SUNOCO 0368301801      WOODBRIDGE TW * NJ
                                 REDACTED 5552

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Bank Deposits FDIC Insured I TD Bank, N.A ! Equal Housing Lender   t:El'
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                      Bank
                      America's Most Convenient Bank®                                          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                             p~~                                       5~9
      SALES                                                                                    Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                                      REDACTED
                                                                                               Cust Ref#:                      4532-713-E-***
                                                                                                                                 REDACTED
                                                                                               Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
219                           DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR                                                                        25.89
                                      EXXONMOBIL 42221887                    LUMBERTON          *NC
                                      REDACTED 5552
219                           DEBIT POS, AUT 020815 DDA PURCHASE                                                                                  25.37
                                      FORT PIERCE MARA                      FORT PIERCE       * FL
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR                                                                         17.94
                                      POPEYES NATHAN10965705                   WOODBRIDGE            *NJ
                                      REDACTED 5552
219                           DEBIT POS, AUT 020715 DDA PURCHASE                                                                                   15.68
                                      EXXONMOBIL                      EMPORIA          * VA
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR                                                                         14.46
                                      MARKET PLACE                      ABERDEEN         * MD
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020615 VISA DDA PUR                                                                          9.96
                                      EXXONMOBIL 97456883                    FRAMINGHAM          * MA
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR                                                                          6.54
                                      KRISPY KREME 543                      FLORENCE      *SC
                                      REDACTED 5552
219                           DEBIT POS, AUT 020715 DDA PURCHASE                                                                                    4.60
                                      EXXONMOBIL                      EMPORIA          * VA
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR                                                                          4.04
                                      EXXONMOBIL 42221887                    LUMBERTON          *NC
                                      REDACTED 5552
219                           DEBIT POS, AUT 020715 DDA PURCHASE                                                                                    3.89
                                      EXXONMOBIL                      DARIEN           * GA
                                      REDACTED 5552
219                           DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR                                                                          2.52
                                      DUNKIN DONUTS                         ABERDEEN      * MD
                                      REDACTED 5552
219                           DEBIT POS, AUT 020815 DDA PURCHASE                                                                                    0.04
                                      FORT PIERCE MARA                      FORT PIERCE       * FL
                                      REDACTED 5552
2/10                          TD ATM DEBIT, AUT 021015 DDA WITHDRAW                                                                              700.00
                                      1101 BRICKELL A VE                    MIAMI      * FL
                                      REDACTED 5552
2/10                          DEBIT CARD PURCHASE, AUT 020715 VISA DDA PUR                                                                        134.83
                                      HYATT PLACE RICHMOND AIR                      RICHMOND         *VA
                                      REDACTED 5552


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   t:E:J
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                      Bank
                     America's Most Convenient Bank®                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                          Page:                                      6 of9
     SALES                                                                 Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                  REDACTED
                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                             REDACTED
                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                     AMOUNT
2110                          DEBIT POS, AUT 021015 DDA PURCHASE                                                              101.30
                                   TARGET T2848               MIAMI      *FL
                                   REDACTED 5552
2110                          DEBIT POS, AUT 021015 DDA PURCHASE                                                                77.75
                                   WHOLEFDS MIA 10 299 SE MIAMI                * FL
                                   REDACTED 5552
2/10                          DEBIT POS, AUT 021015 DDA PURCHASE                                                                17.50
                                   WHOLEFDS MIA 10 299 SE MIAMI                * FL
                                   REDACTED 5552
2110                          DEBIT CARD PURCHASE, AUT 020815 VISA DDA PUR                                                      11.00
                                   AA INFLIGHT VISA 1            TULSA      * OK
                                   REDACTED 5552
2111                          eTransfer Debit, Online Xfer                                                                    630.00
                                   Transfer to CK REDACTED 3112
2/11                          DEBIT CARD PURCHASE, AUT 020915 VISA DDA PUR                                                      20.34
                                   PRESSXPRESS                 MIAMI      *FL
                                   REDACTED 5552
2112                          DEBIT CARD PURCHASE, AUT 021115 VISA DDA PUR                                                    178.00
                                   JOES STONE CRAB RESTAURA MIAMI BEACH * FL
                                   REDACTED 5552
2112                          DEBIT CARD PURCHASE, AUT 021115 VISA DDA PUR                                                      28.98
                                   JOES STONE CRAB RESTAURA MIAMI BEACH * FL
                                   REDACTED 5552
2/17                          eTransfer Debit, Online Xfer                                                                1,097.00
                                   Transfer to CK REDACTED 3112
2117                          DEBIT CARD PURCHASE, AUT 021415 VISA DDA PUR                                                    960.00
                                   SAKS FIFTH AVENUE 637            BAL HARBOUR * FL
                                   REDACTED 5552
2/17                          eTransfer Debit, Online Xfer                                                                    344.00
                                   Transfer to CK REDACTED 3112
2/17                          DEBIT POS, AUT 021715 DDA PURCHASE                                                              204.58
                                   PUBLIX                  MIAMI      * FL
                                   REDACTED 5552
2117                          eTransfer Debit, Online Xfer                                                                     119.10
                                   Transfer to CK REDACTED 3112
2117                          eTransfer Debit, Online Xfer                                                                     115.00
                                   Transfer to CK REDACTED 3112
2/17                          DEBIT CARD PURCHASE, AUT 021215 VISA DDA PUR                                                     110.00
                                   SP A NAIL FEVER              BRICKELL    * FL
                                   REDACTED 5552
2117                          eTransfer Debit, Online Xfer                                                                      98.84
                                   Transfer to CK REDACTED 3112


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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Pq~                                       7~9
     SALES                                                                                  Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                                                   REDACTED
                                                                                            Cust Ref#:                      4532-713-E-* **
                                                                                                                              REDACTED
                                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
2117                          DEBIT POS, AUT 021715 DDA PURCHASE                                                                                 82.46
                                      WHOLEFDS MIA 10 299 SE                MIAMI      *FL
                                      REDACTED 5552
2117                          DEBIT CARD PURCHASE, AUT 021315 VISA DDA PUR                                                                       68.58
                                      MICHAEL MINA                       MIAMI BEACH * FL
                                      REDACTED 5552
2/17                          DEBIT POS, AUT 021415 DDA PURCHASE                                                                                 38.52
                                      NORDSTROM 774 19507BISCA                AVENTURA         *FL
                                      REDACTED 5552
2117                          DEBIT CARD PURCHASE, AUT 021215 VISA DDA PUR                                                                       34.25
                                      REGAL CINEMAS SOUTH BCH                  MIAMI         * FL
                                      REDACTED 5552
2/17                          DEBIT CARD PURCHASE, AUT 021315 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 5552
2117                          DEBIT POS, AUT 021715 DDA PURCHASE                                                                                 20.72
                                      CVS 10132                     MIAMI      *FL
                                      REDACTED 5552
2117                          DEBIT CARD PURCHASE, AUT 021215 VISA DDA PUR                                                                       15.00
                                      MAND M PARKING SB LLC                  MIAMI BEACH *FL
                                      REDACTED 5552
2/18                          TD ATM DEBIT, AUT 021815 DDA WITHDRAW                                                                            700.00
                                      1101 BRICKELL AVE                  MIAMI       *FL
                                      REDACTED 5552
2/18                          DEBIT CARD PURCHASE, AUT 021715 VISA DDA PUR                                                                       36.22
                                      SQ ZAK THE BAKER                    MIAMI      * FL
                                      REDACTED 5552
2/18                          DEBIT POS, AUT 021815 DDA PURCHASE                                                                                 28.68
                                      CVS 10132                     MIAMI      *FL
                                      REDACTED 5552
2119                          eTransfer Debit, Online Xfer                                                                                    4,580.00
                                      Transfer to CK REDACTED 3112
2/19                          TD ATM DEBIT, AUT 021915 DDA WITHDRAW                                                                            700.00
                                      1101 BRICKELL A VE                 MIAMI       *FL
                                      REDACTED 5552
2/19                          DEBIT CARD PURCHASE, AUT 021715 VISA DDA PUR                                                                        2.00
                                      AMPCO SYSTEM PARKING                   MIAMI          *FL
                                      REDACTED 5552
2120                          eTransfer Debit, Online Xfer                                                                                    1,130.00
                                      Transfer to CK REDACTED 3112
2/20                          eTransfer Debit, Online Xfer                                                                                     370.61
                                      Transfer to CK REDACTED 3112


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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          p~~                                       8~9
     SALES                                                                                 Statement Period:   Feb 012015-Feb28 2015
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
2/23                         TD ATM DEBIT, AUT 022315 DDA WITHDRAW                                                                            700.00
                                     1101 BRICKELL AVE                   MIAMI      *FL
                                     REDACTED 5552
2/23                         DEBIT POS, AUT 022315 DDA PURCHASE                                                                               280.27
                                     WHOLEFDS MIA 10 299 SE                MIAMI       * FL
                                     REDACTED 5552
2/23                         DEBIT CARD PURCHASE, AUT 021915 VISA DDA PUR                                                                     163.16
                                     TRULUCKS SEAFOOD STEAK A                    HOUSTON         * TX
                                     REDACTED 5552
2/23                         DEBIT POS, AUT 022215 DDA PURCHASE                                                                               118.71
                                     THE NORTH FACE 501                  ANN ARBOR        * MI
                                     REDACTED 5552
2/23                         DEBIT CARD PURCHASE, AUT 022215 VISA DDA PUR                                                                       31.80
                                     THEM DEN ON CAMPU                     ANN ARBOR       * MI
                                     REDACTED 5552
2/23                         DEBIT CARD PURCHASE, AUT 022115 VISA DDA PUR                                                                       25.00
                                     STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                     REDACTED 5552
2/23                         DEBIT CARD PURCHASE, AUT 022015 VISA DDA PUR                                                                        9.95
                                     GOGOAIRCOM                      877 350 0038 * IL
                                     REDACTED 5552
2/23                         DEBIT CARD PURCHASE, AUT 022215 VISA DDA PUR                                                                        9.00
                                     GOGOAIRCOM                      877 350 0038 * IL
                                     REDACTED 5552
2/24                         DEBIT CARD PAYMENT, AUT 022315 VISA DDA PUR                                                                       170.00
                                     EQUINOX MOTO 202                    866 332 6549 * MA
                                     REDACTED 5552
2/24                         eTransfer Debit, Online Xfer                                                                                      166.88
                                     Transfer to CK REDACTED 3112
2/24                         DEBIT CARD PURCHASE, AUT 022215 VISA DDA PUR                                                                       62.54
                                     ANN ARBOR BIVOUAC INC                  734 761 6207 *MI
                                     REDACTED 5552
2/25                         eTransfer Debit, Online Xfer                                                                                     934.64
                                     Transfer to CK REDACTED 3112
2/26                         eTransfer Debit, Online Xfer                                                                                14,600.00
                                     Transfer to CK REDACTED 3112
2/26                         eTransfer Debit, Online Xfer                                                                                    3,400.00
                                     Transfer to CK REDACTED 3112
2/27                         DEBIT CARD PURCHASE, AUT 022415 VISA DDA PUR                                                                      136.08
                                     TAMARINA                     MIAMI          *FL
                                     REDACTED 5552




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Bank Deposits FDIC Insured! ID Bank, N.A I Equal Housing Lender   'CE)
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                      Bank
                      America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                      p~~                                       9~9
     SALES                                                             Statement Period:   Feb 01 2015-Feb 28 2015
                                                                                              REDACTED
                                                                       Cust Ref#:                      4532-713-E-***
                                                                                                         REDACTED
                                                                       Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                AMOUNT
2127                          DEBIT CARD PURCHASE, AUT 022515 VISA DDA PUR                                                27.38
                                  LIVING ROOM LOUNGE        MIAMI BEACH * FL
                                  REDACTED 5552
2127                          DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                10.70
                                  DECO BIKE         305 416 7445 *FL
                                  REDACTED 5552
2127                          DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                 3.00
                                  CITY OF MIAMI BEACH 17 S MIAMI BEACH * FL
                                  REDACTED 5552
                                                                                            Subtotal:                54,309.18
Service Charges
POSTING DATE                 DESCRIPTION                                                                                 AMOUNT
2127                         MAINTENANCE FEE                                                                               8.00
                                                                                            Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE          DATE                                    BALANCE
1/31                                                       32,516.62         2/17                                    7,151.55
212                                                        18,766.77         2/18                                    6,386.65
214                                                        16,709.85         2/19                                   51,104.65
215                                                        16,656.22         2/20                                   49,604.04
216                                                        17,203.71         2123                                   48,266.15
219                                                        12,384.30         2/24                                   47,866.73
2110                                                       11,341.92         2125                                   46,932.09
2/11                                                       10,691.58         2126                                   28,932.09
2/12                                                       10,484.60         2/27                                   28,746.93




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                      Bank
                      America's Most Convenient Bank®                               E         STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                            Pq~                                      1~8
      SALES                                                                                   Statement Period:   Mar012015-Mar312015
      18 GRAF ROAD UNIT 26                                                                    Cust Ref#:            REDACTED
                                                                                                                             4532-713-E-* **
                                                                                                                               REDACTED
      NEWBURYPORT MA 01950-4032                                                               Primary Account#:                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                               Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            28,746.93                                Average Collected Balance            15,250.33
Deposits                                                     50,000.00                                Annual Percentage Yield Earned           0.00%
Electronic Deposits                                               10.70                               Days in Period                               31

Electronic Payments                                          63,017.06
Other Withdrawals                                               740.00
Service Charges                                                    8.00
Ending Balance                                               14,992.57

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
3/20                          DEPOSIT                                                                                                      50,000.00
                                                                                                                   Subtotal:               50,000.00
Electronic Deposits
POSTING DA TE                 DESCRIPTION                                                                                                      AMOUNT
313                           DEBIT CARD CREDIT, AUT 030315 VISA DDA REF                                                                          10.70
                                      DECO BIKE MIAMI LLC                    MIAMI      * FL
                                      REDACTED 5552
                                                                                                                   Subtotal:                      10.70
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
312                           eTransfer Debit, Online Xfer                                                                                     3,750.00
                                       Transfer to CK REDACTED 3112
3/2                           eTransfer Debit, Online Xfer                                                                                     1,500.00
                                       Transfer to CK REDACTED 3112
312                           eTransfer Debit, Online Xfer                                                                                      827.32
                                       Transfer to CK REDACTED 3112
3/2                           DEBIT POS, AUT 022815 DDA PURCHASE                                                                                  88.94
                                      EPICURE MARKET                        SUNNY ISLES B * FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022815 VISA DDA PUR                                                                        46.88
                                      MIAMI JUICE                     SUNNY ISLES B * FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                                        28.00
                                      NESPRESSO USA INC                     MIAMI       *FL
                                      REDACTED 5552




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender     !E)
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How to Balance your Account                                                                                                                                         Page:                     2 of8

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITIIDRA W ALS N01   DOLLARS           CENTS                   WITIIDRA WALS NO             DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                   ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bil!:
error on your bank statement or receipt relating to an electronic fund transfer,               If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                               possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                               FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                               so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                     Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                           If you need more information, describe the item you are unsure about.
      Your name nnd account number.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or trnnsaction you are unsure about.
    • The dollar amount and date of the suspected error.                                       are still obligated to pay the parts of your bill that are not in question. While we
                                                                                               investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                               collect the amount you question.
writing within ten (IO) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (IO) business days to do this, we will credit your account for the               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it         or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                           on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                                charge. The finance charge begins to accrue on the date advances and other debits
                                                                                               are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the       To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta..x authorities. The amount to be reported will be
                                                                                               Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                               the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                               balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might ha\'e occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                            STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                               p~~                                      3~8
      SALES                                                                                      Statement Period:   Mar012015-Mar312015
                                                                                                                       REDACTED
                                                                                                 Cust Ref#:                     4532-713-E-***
                                                                                                                                  REDACTED
                                                                                                 Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                         AMOUNT
312                           DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                                          25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                                          20.49
                                      PRESSXPRESS                     MIAMI         *FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022815 VISA DDA PUR                                                                           19.95
                                      KALINKA DELI                    SUNNY ISLES         * FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022815 VISA DDA PUR                                                                           12.32
                                      MATRYOSKA                       SUNNY ISLES B * FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 030115 VISA DDA PUR                                                                           10.70
                                      DECO BIKE MIAMI LLC                   MIAMI         * FL
                                      REDACTED 5552
312                           DEBIT CARD PURCHASE, AUT 022615 VISA DDA PUR                                                                            8.21
                                      TACO BELL 297400297424                MIAMI         * FL
                                      REDACTED 5552
3/3                           TD ATM DEBIT, AUT 030315 DDA WITHDRAW                                                                                700.00
                                      1101 BRICKELL AVE                  MIAMI        *FL
                                      REDACTED 5552
313                           eTransfer Debit, Online Xfer                                                                                         425.00
                                      Transfer to CK REDACTED 3112
313                           DEBIT POS, AUT 030315 DDA PURCHASE                                                                                   168.53
                                      TARGET T2188                   MIAMI          *FL
                                      REDACTED 5552
313                           DEBIT CARD PURCHASE, AUT 030115 VISA DDA PUR                                                                         126.20
                                      OASIS RESTAURANT                      SUNNY ISL BCH * FL
                                      REDACTED 5552
313                           DEBIT CARD PURCHASE, AUT 030115 VISA DDA PUR                                                                           65.41
                                      THE RUSSIAN STORE                  MIAMI         * FL
                                      REDACTED 5552
313                           DEBIT CARD PURCHASE, AUT 030215 VISA DDA PUR                                                                           10.70
                                      DECO BIKE MIAMI LLC                   MIAMI         * FL
                                      REDACTED 5552
3/4                           eTransfer Debit, Online Xfer                                                                                        1,635.00
                                       Transfer to CK REDACTED 3112
3/4                           DEBIT POS, AUT 030415 DDA PURCHASE                                                                                     25.49
                                      CVS 10132                     MIAMI       *FL
                                      REDACTED 5552
3/4                           DEBIT CARD PURCHASE, AUT 030215 VISA DDA PUR                                                                           15.45
                                      305 CONCEPTS WYNWOOD                     MIAMI          *FL
                                      REDACTED 5552

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               Bank
               America's Most Convenient Bank®                                STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                            Page:                                     4 of8
      SALES                                                                   Statement Period:   Mar 012015-Mar31 2015
                                                                                                    REDACTED
                                                                              Cust Ref#:                     4532-713-E-***
                                                                                                               REDACTED
                                                                              Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE       DESCRIPTION                                                                                                  AMOUNT
315                 eTransfer Debit, Online Xfer                                                                            1,123.00
                         Transfer to CK REDACTED 3112
315                 eTransfer Debit, Online Xfer                                                                                580.00
                         Transfer to CK REDACTED 3112
315                DEBIT CARD PURCHASE, AUT 030315 VISA DDA PUR                                                                  19.39
                         POTIONZ                 MIAMI           *FL
                         REDACTED 5552
3/6                eTransfer Debit, Online Xfer                                                                                 580.00
                         Transfer to CK REDACTED 3112
3/6                DEBIT CARD PURCHASE, AUT 030415 VISA DDA PUR                                                                 110.00
                         SPA NAIL FEVER                 BRICKELL       * FL
                         REDACTED 5552
3/6                DEBIT CARD PURCHASE, AUT 030415 VISA DDA PUR                                                                  25.00
                         STARBUCKS CARD RELOAD                  800 782 7282 *WA
                         REDACTED 5552
319                eTransfer Debit, Online Xfer                                                                             1,455.00
                         Transfer to CK REDACTED 3112
3/9                eTransfer Debit, Online Xfer                                                                                 350.00
                         Transfer to CK REDACTED 3112
3110               eTransfer Debit, Online Xfer                                                                             1,450.00
                         Transfer to CK REDACTED 3112
3/10               DEBIT CARD PURCHASE, AUT 030815 VISA DDA PUR                                                                 459.10
                         UNITED  016757945503            800 932 2732 *TX
                         REDACTED 5552
3/10               DEBIT CARD PURCHASE, AUT 030815 VISA DDA PUR                                                                 297.10
                         AMERICAN AI001757945413            BELLEVUE          *WA
                         REDACTED 5552
3110               DEBIT CARD PURCHASE, AUT 030915 VISA DDA PUR                                                                 120.87
                         PF CHANGS 9931                 MIAMI      *FL
                         REDACTED 5552
3/11               TD ATM DEBIT, AUT 031015 DDA WITHDRAW                                                                        700.00
                         1101 BRICKELL AVE               MIAMI         *FL
                         REDACTED 5552
3/11               TD ATM DEBIT, AUT 031115 DDA WITHDRAW                                                                        700.00
                       1 IOI BRICKELL AVE    MIAMI   *FL
                         REDACTED 5552
3/12               eTransfer Debit, Online Xfer                                                                             1,950.00
                         Transfer to CK REDACTED 3112
3/12               DEBIT CARD PURCHASE, AUT 031015 VISA DDA PUR                                                                 306.01
                         PLOOM                  844 7566637 * CA
                         REDACTED 5552




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Bank Deposits FDIC Insured I ID Bank, N.A. I Equal Housing Lender !El'
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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Pq~                                      5~8
     SALES                                                                                  Statement Period:   Mar012015-Mar312015
                                                                                                                  REDACTED
                                                                                            Cust Ref#:                     4532-713-E-***
                                                                                                                             REDACTED
                                                                                            Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
3/12                          DEBIT POS, AUT 031115 DDA PURCHASE                                                                             127.97
                                      PUBLIX                       MIAMI BEACH     * FL
                                      REDACTED 5552
3/12                          DEBIT CARD PAYMENT, AUT 031115 VISA DDA PUR                                                                     26.75
                                      DECO BIKE MIAMI LLC                  MIAMI         *FL
                                      REDACTED 5552
3/13                          DEBIT POS, AUT 031315 DDA PURCHASE                                                                             244.96
                                      WHOLEFDS MIA 10 299 SE               MIAMI          *FL
                                      REDACTED 5552
3/13                          DEBIT CARD PURCHASE, AUT 031115 VISA DDA PUR                                                                   235.39
                                      FRITZ S SKATE                  305 5321954   * FL
                                      REDACTED 5552
3/13                          DEBIT CARD PURCHASE, AUT 031115 VISA DDA PUR                                                                    33.72
                                      PRESSXPRESS                    MIAMI         *FL
                                      REDACTED 5552
3/13                          DEBIT CARD PURCHASE, AUT 031215 VISA DDA PUR                                                                     2.20
                                      CITY OF MIAMI BEACH PARK               MIAMI BEACH *FL
                                      REDACTED 5552
3/16                          TD ATM DEBIT, AUT 031615 DDA WITHDRAW                                                                          400.00
                                      1101 BRICKELL AVE                 MIAMI        *FL
                                      REDACTED 5552
3/16                         TD ATM DEBIT, AUT 031615 DDA WITHDRAW                                                                           300.00
                                      1101 BRICKELL AVE                 MIAMI        *FL
                                      REDACTED 5552
3/16                         DEBIT CARD PURCHASE, AUT 031515 VISA DDA PUR                                                                    181.90
                                      ALCHEMIST                     MIAMI BEACH      * FL
                                      REDACTED 5552
3/16                         DEBIT CARD PURCHASE, AUT 031215 VISA DDA PUR                                                                     27.33
                                      CANTINA LA VEINTE                 MIAMI        *FL
                                      REDACTED 5552
3/16                         DEBIT CARD PURCHASE, AUT 031215 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 * WA
                                      REDACTED 5552
3/16                         DEBIT POS, AUT 031615 DDA PURCHASE                                                                               15.00
                                      CVS 10132                    MIAMI      * FL
                                      REDACTED 5552
3/17                         eTransfer Debit, Online Xfer                                                                                    870.03
                                      Transfer to CK REDACTED 3112
3/17                         DEBIT CARD PURCHASE, AUT 031515 VISA DDA PUR                                                                     52.50
                                      NESPRESSO USA INC                 MIAMI        *FL
                                      REDACTED 5552




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Bank Deposits FDIC Insured I TD Bank, N.A I Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            p~~                                      6~8
     SALES                                                                                   Statement Period:   Mar 012015-Mar 31 2015
                                                                                                                   REDACTED
                                                                                             Cust Ref#:                     4532-713-E-***
                                                                                                                              REDACTED
                                                                                             Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
3/17                          DEBIT CARD PURCHASE, AUT 031515 VISA DDA PUR                                                                       37.41
                                      SRIRACHA                      MIAMI BEACH       * FL
                                      REDACTED 5552
3/17                          DEBIT CARD PURCHASE, AUT 031515 VISA DDA PUR                                                                        4.00
                                      MIAMI BEACH PARK PA AVE                  MIAMI BEACH *FL
                                      REDACTED 5552
3/18                          DEBIT CARD PURCHASE, AUT 031615 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                      REDACTED 5552
3119                          DEBIT CARD PURCHASE, AUT 031715 VISA DDA PUR                                                                      187.96
                                      SLS MIAMI KATSUYA                     MIAMI BEACH * FL
                                      REDACTED 5552
3119                          DEBIT CARD PURCHASE, AUT 031715 VISA DDA PUR                                                                      150.00
                                      0602 FOREVER 21                 CABAZON         *CA
                                      REDACTED 5552
3119                          DEBIT CARD PURCHASE, AUT 031715 VISA DDA PUR                                                                      150.00
                                      0602 FOREVER 21                 CABAZON         *CA
                                      REDACTED 5552
3120                          eTransfer Debit, Online Xfer                                                                                    3,000.00
                                      Transfer to CK REDACTED 3112
3120                          eTransfer Debit, Online Xfer                                                                                    1,109.79
                                      Transfer to CK REDACTED 3112
3123                          eTransfer Debit, Online Xfer                                                                                24,480.00
                                      Transfer to CK REDACTED 3112
3/23                          DEBIT POS, AUT 032315 DDA PURCHASE                                                                                 82.27
                                      EPICURE MARKET                       SUNNY ISLES B * FL
                                      REDACTED 7323
3/23                          DEBIT CARD PURCHASE, AUT 032015 VISA DDA PUR                                                                       40.61
                                      SUGAR FACTORY OCEAN DRIV                   MIAMI BEACH *FL
                                      REDACTED 7323
3124                          DEBIT CARD PURCHASE, AUT 032215 VISA DDA PUR                                                                       60.00
                                      EQUINOX WEB 998                      NEW YORK     * NY
                                      REDACTED 7323
3124                          DEBIT POS, AUT 032415 DDA PURCHASE                                                                                 57.24
                                      ANTHROPOLOGIE 4 ANTHROPO                    WEST PALM BEA* FL
                                      REDACTED 7323
3/24                          DEBIT CARD PURCHASE, AUT 032315 VISA DDA PUR                                                                       20.71
                                      EPICURE CAFE                   SUNNY ISLES B * FL
                                      REDACTED 7323
3125                          DEBIT CARD PURCHASE, AUT 032315 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                      REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                          STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                              p~~                                      7~8
     SALES                                                                     Statement Period:   Mar 01 2015-Mar 31 2015
                                                                                                     REDACTED
                                                                               Cust Ref#:                     4532-713-E-***
                                                                                                                REDACTED
                                                                               Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                       AMOUNT
3/25                          DEBIT POS, AUT 032515 DDA PURCHASE                                                                 18.06
                                   CVS 10132                MIAMI        *FL
                                   REDACTED 7323
3/26                          DEBIT POS, AUT 032615 DDA PURCHASE                                                                137.15
                                   PUBLIX                   MIAMI       * FL
                                   REDACTED 7323
3/26                          DEBIT POS, AUT 032615 DDA PURCHASE                                                                114.47
                                   NST BEST BUY 1498 0362          MIAMI BEACH *FL
                                   REDACTED 7323
3/26                          DEBIT CARD PURCHASE, AUT 032515 VISA DDA PUR                                                      110.34
                                   MANDOLIN RESTAURANT                 MIAMI        *FL
                                   REDACTED 7323
3/26                          DEBIT POS, AUT 032615 DDA PURCHASE                                                                 12.74
                                   CVS 05010                MIAMI        *FL
                                   REDACTED 7323
3/27                          DEBIT POS, AUT 032715 DDA PURCHASE                                                                116.64
                                   WHOLEFDS MIA 10 299 SE MIAMI                  * FL
                                   REDACTED 7323
3/27                          DEBIT CARD PURCHASE, AUT 032615 VISA DDA PUR                                                      106.38
                                   SP ADONIT                 STORE ADONIT * TX
                                   REDACTED 7323
3/27                          DEBIT CARD PURCHASE, AUT 032515 VISA DDA PUR                                                       50.00
                                   SPA NAIL FEVER               BRICKELL      *FL
                                   REDACTED 7323
3/27                          DEBIT CARD PURCHASE, AUT 032615 VISA DDA PUR                                                       24.99
                                   SENSU INC                 773 818 4758 *IL
                                   REDACTED 7323
3/27                          DEBIT CARD PURCHASE, AUT 032615 VISA DDA PUR                                                        4.00
                                   CITY OF MIAMI BEACH 17 S MIAMI BEACH * FL
                                   REDACTED 7323
3/30                          eTransfer Debit, Online Xfer                                                                  10,582.00
                                   Transfer to CK REDACTED 3112
3130                          DEBIT CARD PURCHASE, AUT 032915 VISA DDA PUR                                                       32.49
                                   BALANS BRICKELL                MIAMI       * FL
                                   REDACTED 7323
                                                                                                    Subtotal:               63,017.06
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                       AMOUNT
3/13                          DEBIT, 5470100093RF 0                                                                              40.00
                                  RES 5470100093 RESEARCH FEE
3119                          DEBIT                                                                                             700.00
                                                                                                    Subtotal:                   740.00

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                      Bank
                      America's Most Convenient Bank®                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                            p~~                                      8~8
     SALES                                                                   Statement Period:   Mar012015-Mar312015
                                                                                                   REDACTED
                                                                             Cust Ref#:                     4532-713-E-***
                                                                                                              REDACTED
                                                                             Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE                  DESCRIPTION                                                                                     AMOUNT
3/31                          MAINTENANCE FEE                                                                                   8.00
                                                                                                  Subtotal:                     8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE               DATE                                   BALANCE
2/28                                                        28,746.93              3117                                   6,398.41
312                                                         22,409.12              3/18                                   6,373.41
313                                                         20,923.98              3119                                   5,185.45
314                                                         19,248.04              3/20                                  51,075.66
315                                                         17,525.65              3123                                  26,472.78
316                                                         16,810.65              3124                                  26,334.83
319                                                         15,005.65              3/25                                  26,291.77
3110                                                        12,678.58              3126                                  25,917.07
3/11                                                        11,278.58              3127                                  25,615.06
3/12                                                         8,867.85              3130                                  15,000.57
3113                                                         8,311.58              3/31                                  14,992.57
3116                                                         7,362.35




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                      Bank
                      America's Most Convenient Bank®                                 E         STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                              Page:                                    1 oflO
      SALES                                                                                     Statement Period:    Apr 012015-Apr30 2015
                                                                                                                       REDACTED
      18 GRAF ROAD UNIT 26                                                                      CustRef#:                       4532-713-E-***
                                                                                                                                  REDACTED
      NEWBURYPORT MA 01950-4032                                                                 Primary Account #:                         4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                                 Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                           14,992.57                                    Average Collected Balance           12,123.70
Deposits                                                    75,000.00                                    Annual Percentage Yield Earned          0.00%
Electronic Deposits                                            196.99                                    Days in Period                              30

Electronic Payments                                         34,967.57
Other Withdrawals                                            3,000.00
Service Charges                                                   8.00
Ending Balance                                              52,213.99

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DA TE                DESCRIPTION                                                                                                          AMOUNT
4/13                         DEPOSIT                                                                                                         25,000.00
4130                         DEPOSIT                                                                                                         50,000.00
                                                                                                                     Subtotal:               75,000.00
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                                          AMOUNT
413                          DEBIT CARD CREDIT, AUT 040315 VISA DDA REF                                                                           106.99
                                      BEST BUY  00014985                  MIAMI BEACH *FL
                                      REDACTED 7323
4/14                         DEBIT CARD CREDIT, AUT 041415 VISA DDA REF                                                                            90.00
                                      EQUINOX MOTO 202                        866 332 6549 * MA
                                      REDACTED 5552

                                                                                                                     Subtotal:                    196.99
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                          AMOUNT
4/1                          eTransfer Debit, Online Xfer                                                                                         750.00
                                      Transfer to CK REDACTED 3112
4/1                          TD ATM DEBIT, AUT 033115 DDA WITHDRAW                                                                                700.00
                                     1101 BRICKELL AVE                        MIAMI       *FL
                                     REDACTED 7323
4/1                          TD ATM DEBIT, AUT 040115 DDA WITHDRAW                                                                                700.00
                                     1101 BRICKELL A VE                       MIAMI       *FL
                                     REDACTED 7323
4/1                          DEBIT CARD PURCHASE, AUT 033015 VISA DDA PUR                                                                         110.49
                                     FONTAINEBLEAU LA COTE                       MIAMI BEACH *FL
                                     REDACTED 7323




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Bank Deposits FDIC Insured! TD Bank, N.A. I Equal Housing Lender     t:E:J'
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How to Balance your Account                                                                                                                                       Page:                   2 oflO

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITIJDRAWALS N01   DOLLARS           CENTS                   WITIJDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-I377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                         If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. \Vhile we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take           FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your accowlt for the             the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta\: authorities. The amount to be reported \vill be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                      Bank
                     America's Most Convenient Bank®                                          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                            Page:                                    3 oflO
      SALES                                                                                   Statement Period:    Apr 012015-Apr30 2015
                                                                                                                     REDACTED
                                                                                              CustRef#:                       4532-713-E-***
                                                                                                                                REDACTED
                                                                                              Primary Account #:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
411                          DEBIT CARD PURCHASE, AUT 033015 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                      REDACTED 7323
4/1                          DEBIT POS, AUT 040115 DDA PURCHASE                                                                                  14.43
                                      CVS 10132                    MIAMI        *FL
                                      REDACTED 7323
412                          DEBIT POS, AUT 040215 DDA PURCHASE                                                                                   8.22
                                      WALGREENS                      MIAMI BEACH        * FL
                                      REDACTED 7323
4/3                          DEBIT CARD PURCHASE, AUT 040115 VISA DDA PUR                                                                       144.90
                                      SEASALT AND PEPPER                     MIAMI      *FL
                                      REDACTED 7323
413                          DEBIT CARD PURCHASE, AUT 040115 VISA DDA PUR                                                                        42.84
                                      SEASALT AND PEPPER                     MIAMI      *FL
                                      REDACTED 7323
416                          DEBIT POS, AUT 040315 DDA PURCHASE                                                                                 291.59
                                      WHOLEFDS SBE 102 1020 AL                MIAMI       * FL
                                      REDACTED 7323
416                          eTransfer Debit, Online Xfer                                                                                       217.00
                                      Transfer to CK REDACTED 3112
4/6                          DEBIT POS, AUT 040415 DDA PURCHASE                                                                                 110.00
                                      SPA NAIL FEVE 900 S MI                BRICKELL     *FL
                                      REDACTED 7323
416                          DEBIT POS, AUT 040515 DDA PURCHASE                                                                                  28.89
                                      VICTORIA S SECRET STORES                 COCONUT GROVE * FL
                                      REDACTED 7323
4/6                          DEBIT CARD PURCHASE, AUT 040315 VISA DDA PUR                                                                        25.00
                                     STARBUCKS CARD RELOAD                      800 782 7282 * WA
                                     REDACTED 7323
416                          DEBIT CARD PURCHASE, AUT 040215 VISA DDA PUR                                                                        18.67
                                     SHAKE SHACK 1103                       MIAMI      * FL
                                     REDACTED 7323
416                          DEBIT CARD PURCHASE, AUT 040415 VISA DDA PUR                                                                         7.02
                                     SQ PANTHER COFFEE                      MIAMI       *FL
                                     REDACTED 7323
416                          DEBIT CARD PURCHASE, AUT 040315 VISA DDA PUR                                                                         3.00
                                     CITY OF MIAMI BEACH 17 S                 MIAMI BEACH        * FL
                                     REDACTED 7323
417                          DEBIT POS, AUT 040715 DDA PURCHASE                                                                                  31.03
                                     BRICKELL SHOE REPAIR                    MIAMI       *FL
                                     REDACTED 7323




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                     Bank
                     America's Most Convenient Bank®                                             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                               Page:                                    4 oflO
      SALES                                                                                      Statement Period:    Apr 01 2015-Apr 30 2015
                                                                                                                        REDACTED
                                                                                                 CustRef#:                       4532-713-E-***
                                                                                                 Primary Account #:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                           AMOUNT
417                          DEBIT POS, AUT 040715 DDA PURCHASE                                                                                     23.49
                                     PUBLIX                        MIAMI      * FL
                                     REDACTED 7323
417                          DEBIT CARD PURCHASE, AUT 040415 VISA DDA PUR                                                                            8.08
                                     THE PLAZA MARKET                      MIAMI          * FL
                                     REDACTED 7323
4/8                          eTransfer Debit, Online Xfer                                                                                          143.75
                                      Transfer to CK REDACTED 3112
4/8                          DEBIT CARD PURCHASE, AUT 040615 VISA DDA PUR                                                                           24.54
                                     305 CONCEPTS WYNWOOD                    MIAMI           * FL
                                     REDACTED 7323
419                          DEBIT POS, AUT 040915 DDA PURCHASE                                                                                     95.23
                                     NORDSTROM 774 19507BISCA                AVENTURA               *FL
                                     REDACTED 7323
4/9                          DEBIT CARD PURCHASE, AUT 040715 VISA DDA PUR                                                                           44.94
                                     WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                     REDACTED 7323
4/9                          DEBIT POS, AUT 040915 DDA PURCHASE                                                                                     42.10
                                     BEDBATH BEYOND BEDBATH                     AVENTURA              *FL
                                     REDACTED 7323
4/10                         eTransfer Debit, Online Xfer                                                                                      5,530.00
                                      Transfer to CK REDACTED 3112
4/10                         eTransfer Debit, Online Xfer                                                                                          500.00
                                      Transfer to CK REDACTED 3112
4110                         eTransfer Debit, Online Xfer                                                                                          384.15
                                      Transfer to CK REDACTED 3112
4110                         DEBIT POS, AUT 040915 DDA PURCHASE                                                                                     79.69
                                     WHOLEFDS MIA 10 299 SE                 MIAMI          * FL
                                     REDACTED 7323
4/10                         DEBIT CARD PURCHASE, AUT 040815 VISA DDA PUR                                                                           25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 * WA
                                     REDACTED 7323
4/10                         DEBIT CARD PURCHASE, AUT 040915 VISA DDA PUR                                                                           24.61
                                     PRESSXPRESS                     MIAMI         * FL
                                     REDACTED 7323
4/10                         DEBIT CARD PURCHASE, AUT 040915 VISA DDA PUR                                                                           22.63
                                     LUSH AVENTURA                      AVENTURA           * FL
                                     REDACTED 7323
4/13                         TD ATM DEBIT, AUT 041315 DDA WITHDRAW                                                                                 700.00
                                     1101 BRICKELL A VE                 MIAMI        * FL
                                     REDACTED 7323




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Bank Deposits FDIC Insured 11D Bank, N.A. ! Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                   5of10
     SALES                                                                                   Statement Period:   Apr 01 2015-Apr 30 2015
                                                                                                                   REDACTED
                                                                                             CustRef#:                      4532-713-E-***
                                                                                             Primary Account#:                REDACTED
                                                                                                                                       4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
4/13                          DEBIT CARD PURCHASE, AUT 040915 VISA DDA PUR                                                                    437.96
                                      JETBLUE 279758076819                WEST LEBANO *NH
                                      REDACTED 7323
4/13                          DEBIT POS, AUT 041215 DDA PURCHASE                                                                              132.37
                                      WHOLEFDS MIA 10 299 SE                 MIAMI       *FL
                                      REDACTED 7323
4/13                          DEBIT CARD PURCHASE, AUT 041115 VISA DDA PUR                                                                     99.99
                                      ONLY DOMAINS LIMIT                    STREET       N ZL
                                      REDACTED 7323
4/13                          DEBIT CARD PURCHASE, AUT 040915 VISA DDA PUR                                                                     64.09
                                      SUR LA TABLE 83                    AVENTURA        *FL
                                      REDACTED 7323
4/13                          DEBIT POS, AUT 041215 DDA PURCHASE                                                                               54.85
                                      PUBLIX                        MIAMI      * FL
                                      REDACTED 7323
4/13                          DEBIT CARD PURCHASE, AUT 041015 VISA DDA PUR                                                                     40.00
                                      MILNE TRAVEL AGENCY                     603 298 6644 * NH
                                      REDACTED 7323
4/13                          DEBIT POS, AUT 041215 DDA PURCHASE                                                                               33.49
                                      THE RUSSIAN STORE                     MIAMI      *FL
                                      REDACTED 7323
4/13                          DEBIT CARD PURCHASE, AUT 040915 VISA DDA PUR                                                                      6.59
                                      NORDSTROM 0774                     A VENTURA       * FL
                                      REDACTED 7323
4/14                          DEBIT CARD PURCHASE, AUT 041315 VISA DDA PUR                                                                     11.20
                                      LADUREE MIAMI                      MIAMI        * FL
                                      REDACTED 7323
4/15                          eTransfer Debit, Online Xfer                                                                                    339.00
                                       Transfer to CK REDACTED 3112
4/15                          DEBIT POS, AUT 041515 DDA PURCHASE                                                                              207.56
                                      WHOLEFDS MIA 10 299 SE                 MIAMI       *FL
                                      REDACTED 7323
4/15                          DEBIT CARD PURCHASE, AUT 041315 VISA DDA PUR                                                                     25.00
                                      REGAL CINEMAS SOUTH BCH                    MIAMI         * FL
                                      REDACTED 7323
4/15                          DEBIT CARD PURCHASE, AUT 041315 VISA DDA PUR                                                                      4.00
                                      CITY OF MIAMI BEACH 17 S                MIAMI BEACH       * FL
                                      REDACTED 7323
4/15                          DEBIT CARD PURCHASE, AUT 041315 VISA DDA PUR                                                                      3.60
                                      PAUL USA LINCOLN RD                    MIAMI BEACH *FL
                                      REDACTED 7323




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                     Bank
                     America's Most Convenient Bank®                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                          Page:                                   6 oflO
     SALES                                                                 Statement Period:   Apr 01 2015-Apr 30 2015
                                                                                                 REDACTED
                                                                           CustRef#:                      4532-713-E-***
                                                                                                            REDACTED
                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                    AMOUNT
4/16                         DEBIT CARD PAYMENT, AUT 041515 VISA DDA PUR                                                     26.75
                                  DECO BIKE MIAMI LLC            MIAMI    *FL
                                  REDACTED 7323
4/17                         eTransfer Debit, Online Xfer                                                               1,733.00
                                  Transfer to CK REDACTED 3112
4/17                         DEBIT POS, AUT 041715 DDA PURCHASE                                                               53.39
                                  GAP USA                  MIAMI BEACH * FL
                                  REDACTED 7323
4/17                         DEBIT CARD PURCHASE, AUT 041615 VISA DDA PUR                                                     14.20
                                 CRUMB ON PARCHMENT     MIAMI      *FL
                                 REDACTED 7323
4/20                         TDATMDEBIT,AUT042015 DDA WITHDRAW                                                              700.00
                                1101 BRICKELL A VE MIAMI   *FL
                                REDACTED 7323
4/20                         eTransfer Debit, Online Xfer                                                                   525.00
                                  Transfer to CK REDACTED 3112
4/20                         eTransfer Debit, Online Xfer                                                                   496.00
                                  Transfer to CK REDACTED 3112
4/20                         DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR                                                   211.86
                                  SEE 507                MIAMI BEACH * FL
                                  REDACTED 7323
4/20                         DEBIT CARD PURCHASE, AUT 041815 VISA DDA PUR                                                    159.00
                                  AMERICAN WATERSPORTS SB MIAMI BEACH *FL
                                  REDACTED 7323
4/20                         DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR                                                    107.72
                                  WYNWOOD KITCHEN AND BA             MIAMI       * FL
                                  REDACTED 7323
4/20                         DEBIT POS, AUT 041815 DDA PURCHASE                                                               76.40
                                  WHOLEFDS MIA IO 299 SE MIAMI              * FL
                                  REDACTED 7323
4/20                         DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR                                                     40.85
                                  ANTHONYS COAL FIRED PIZZ MIAMI BEACH * FL
                                  REDACTED 7323
4120                         DEBIT POS, AUT 041815 DDA PURCHASE                                                               32.07
                                  TJ TJ MAXX                MIAMIBEACH * FL
                                  REDACTED 7323
4/20                         DEBIT CARD PURCHASE, AUT 041815 VISA DDA PUR                                                     25.00
                                  STARBUCKS CARD RELOAD            800 782 7282 * WA
                                  REDACTED 7323
4120                         DEBIT CARD PURCHASE, AUT 041715 VISA DDA PUR                                                     21.00
                                  NESPRESSO USA INC             MIAMI     *FL
                                  REDACTED 7323


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   ENCOMPASS COMMUNICATIONS INC                                                Page:                                   7 of IO
   SALES                                                                       Statement Period:   Apr 012015-Apr30 2015
                                                                                                     REDACTED
                                                                               CustRef#:                      4532-713-E-***
                                                                               Primary Account#:                REDACTED
                                                                                                                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE        DESCRIPTION                                                                                                  AMOUNT
4/20                DEBIT POS, AUT 041715 DDA PURCHASE                                                                            12.07
                         WALGREENS                  MIAMI BEACH          * FL
                         REDACTED 7323
4120               DEBIT CARD PURCHASE, AUT 041915 VISA DDA PUR                                                                   10.70
                         DECO BIKE MIAMI LLC              MIAMI          *FL
                         REDACTED 7323
4120               DEBIT CARD PURCHASE, AUT 041815 VISA DDA PUR                                                                   10.70
                         DECO BIKE                MIAMI        * FL
                         REDACTED 7323
4/20               DEBIT CARD PURCHASE, AUT 041915 VISA DDA PUR                                                                    7.42
                         SQ PANTHER COFFEE                MIAMI          *FL
                         REDACTED 7323
4120               DEBIT POS, AUT 042015 DDA PURCHASE                                                                              4.74
                         WHOLEFDS MIA 10 299 SE            MIAMI           * FL
                         REDACTED 7323
4120               DEBIT CARD PURCHASE, AUT 041815 VISA DDA PUR                                                                    3.00
                         CITY OF MIAMI BEACH 17 S           MIAMI BEACH *FL
                         REDACTED 7323
4/21               DEBIT POS, AUT 042115 DDA PURCHASE                                                                             57.43
                       WHOLEFDS MIA IO 299 SE MIAMI                        * FL
                         REDACTED 7323
4/21               DEBIT CARD PURCHASE, AUT 041915 VISA DDA PUR                                                                   28.36
                         COYO TACO                  MIAMI          *FL
                         REDACTED 7323
4/22               eTransfer Debit, Online Xfer                                                                              7,850.00
                         Transfer to CK REDACTED 3112
4/22               DEBIT CARD PURCHASE, AUT 042015 VISA DDA PUR                                                                  130.00
                         SPA NAIL FEVER                 BRICKELL      * FL
                         REDACTED 7323
4/22               DEBIT POS, AUT 042215 DDA PURCHASE                                                                             36.99
                       WHOLEFDS MIA IO 299 SE MIAMI                        * FL
                        REDACTED 7323
4/23               DEBIT CARD PURCHASE, AUT 042215 VISA DDA PUR                                                                   37.84
                        STARR EVENTS VERDE                 MIAMI           * FL
                        REDACTED 7323
4/24               DEBIT CARD PAYMENT, AUT 042315 VISA DDA PUR                                                                   170.00
                        EQUINOX MOTO 202                 866 332 6549 *MA
                        REDACTED 7323
4/24               DEBIT POS, AUT 042415 DDA PURCHASE                                                                            115.40
                        PUBLIX                  MIAMI BEACH         * FL
                        REDACTED 7323




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                      Bank
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     ENCOMPASS COMMUNICATIONS INC                                                                 Page:                                   8 oflO
     SALES                                                                                        Statement Period:   Apr 012015-Apr30 2015
                                                                                                                        REDACTED
                                                                                                  CustRef#:                      4532-713-E-***
                                                                                                  Primary Account#:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                          AMOUNT
4/27                          DEBIT POS, AUT 042515 DDA PURCHASE                                                                                   267.48
                                      LIQUID TUBE SUR 713 71ST                 MIAMI BEACH          * FL
                                      REDACTED 7323
4/27                          DEBIT CARD PURCHASE, AUT 042415 VISA DDA PUR                                                                         216.72
                                      COYA RESTAURANT MIAMI                      MIAMI            *FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                         107.00
                                      1973 BYMRR                    MIAMI BEACH            * FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                          64.20
                                      RICKY S NYC 301                  MIAMI           * FL
                                      REDACTED 7323
4/27                          DEBIT CARD PURCHASE, AUT 042415 VISA DDA PUR                                                                          52.46
                                      MIAMI SMOKERS                          MIAMI      *FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                          36.38
                                      COYO TACO                      MIAMI            *FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                          25.00
                                      STARBUCKS CARD RELOAD                      800 782 7282 * WA
                                      REDACTED 7323
4/27                          DEBIT CARD PURCHASE, AUT 042615 VISA DDA PUR                                                                          10.70
                                      DECO BIKE                     MIAMI            *FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042615 VISA DDA PUR                                                                          10.70
                                      DECO BIKE                     MIAMI            *FL
                                      REDACTED 7323
4/27                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                           8.56
                                      COYO TACO                      MIAMI            *FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042515 VISA DDA PUR                                                                           5.00
                                      CITY OF MIAMI BEACH 17 S                  MIAMI BEACH          * FL
                                      REDACTED 7323
4127                          DEBIT POS, AUT 042515 DDA PURCHASE                                                                                     3.73
                                      RADIOSHACK COR                         MIAMI BEACH          * FL
                                      REDACTED 7323
4127                          DEBIT CARD PURCHASE, AUT 042415 VISA DDA PUR                                                                           3.00
                                      CITY OF MIAMI BEACH 17 S                  MIAMI BEACH          * FL
                                      REDACTED 7323
4/28                          DEBIT CARD PURCHASE, AUT 042715 VISA DDA PUR                                                                         378.00
                                      JOES STONE CRAB RESTAURA                       MIAMI BEACH         * FL
                                      REDACTED 7323



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                      Bank
                     America's Most Convenient Bank®                                           STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                             Page:                                   9 oflO
      SALES                                                                                    Statement Period:   Apr 012015-Apr30 2015
                                                                                               CustRef#:             REDACTED
                                                                                                                              4532-713-E-* **
                                                                                               Primary Account#:                REDACTED
                                                                                                                                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
4/28                         DEBIT CARD PURCHASE, AUT 042615 VISA DDA PUR                                                                       122.08
                                     SUSHI SAMBA DROMO MIAM                      MIAMI BEACH           * FL
                                     REDACTED 7323
4/28                         DEBIT POS, AUT 042715 DDA PURCHASE                                                                                  38.32
                                     WHOLEFDS SBE 102 1020 AL                  MIAMI       * FL
                                     REDACTED 7323
4/28                         DEBIT CARD PURCHASE, AUT 042615 VISA DDA PUR                                                                        15.00
                                     MIAMI BEACH PARK PA AVE                    MIAMI BEACH           * FL
                                     REDACTED 7323
4/28                         DEBIT CARD PURCHASE, AUT 042615 VISA DDA PUR                                                                         7.00
                                     NESPRESSO USA INC                    MIAMI         * FL
                                     REDACTED 7323
4129                         eTransfer Debit, Online Xfer                                                                                   6,800.00
                                      Transfer to CK REDACTED 3112
4129                         NONTD ATM DEBIT, AUT 042915 DDA WITHDRAW                                                                           703.00
                                     BRICKELL                     MIAMI          * FL
                                     REDACTED 7323
4/29                         NONTD ATM FEE                                                                                                        3.00
4/30                         NONTD ATM DEBIT, AUT 043015 DDA WITHDRAW                                                                           703.00
                                     BRICKELL                     MIAMI          * FL
                                     REDACTED 7323
4/30                         DEBIT CARD PURCHASE, AUT 042915 VISA DDA PUR                                                                       315.65
                                     Y 3 A VENTURA MALL                   AVENTURA             * FL
                                     REDACTED 7323
4/30                         DEBIT CARD PURCHASE, AUT 042815 VISA DDA PUR                                                                        35.71
                                     COYO TACO                         MIAMI       *FL
                                     REDACTED 7323
4/30                         NONTD ATM FEE                                                                                                        3.00
                                                                                                                   Subtotal:               34,967.57
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
4/1                          DEBIT                                                                                                          3,000.00
                                                                                                                   Subtotal:                3,000.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                        AMOUNT
4/30                         MAINTENANCE FEE                                                                                                      8.00
                                                                                                                   Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                       BALANCE                                    DATE                                 BALANCE
3131                                                       14,992.57                                  4/2                                   9,684.43
4/1                                                         9,692.65                                  4/3                                   9,603.68
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      ENCOMPASS COMMUNICATIONS INC                                      Page:                                   10of10
      SALES                                                             Statement Period:    Apr 01 2015-Apr 30 2015
                                                                                               REDACTED
                                                                        Cust Ref#:                      4532-713-E-***
                                                                        Primary Account #:                REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                         BALANCE         DATE                                    BALANCE
4/6                                                          8,902.51        4/20                                    20,582.70
417                                                          8,839.91        4/21                                    20,496.91
4/8                                                          8,671.62        4122                                    12,479.92
419                                                          8,489.35        4123                                    12,442.08
4110                                                         1,923.27        4/24                                    12,156.68
4113                                                        25,353.93        4127                                    11,345.75
4/14                                                        25,432.73        4/28                                    10,785.35
4/15                                                        24,853.57        4129                                     3,279.35
4/16                                                        24,826.82        4/30                                    52,213.99
4/17                                                        23,026.23




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                      Bank
                      America's Most Convenient Bank®                            E           STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      1 of7
      SALES                                                                                  Statement Period:   May 01 2015-May 31 2015
                                                                                                                    REDACTED
      18 GRAF ROAD UNIT 26                                                                   CustRef#:                       4532-713-E-***
                                                                                             Primary Account#:                 REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                              Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            52,213.99                               Average Collected Balance             33,528.27
Electronic Deposits                                             276.43                               Annual Percentage Yield Earned            0.00%
                                                                                                     Days in Period                                31
Electronic Payments                                          40,055.54
Service Charges                                                    8.00
Ending Balance                                               12,426.88

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
5/21                          DEBIT CARD CREDIT, AUT 052115 VISA DDA REF                                                                          6.42
                                      DECO BIKE MIAMI LLC                   MIAMI         * FL
                                      REDACTED 7323
5/27                          DEBIT CARD CREDIT, AUT 052715 VISA DDA REF                                                                         26.64
                                      DAI SPORTSTODA Y                    877 6874277     * CA
                                      REDACTED 7323
5129                          DEBIT CARD CREDIT, AUT 052915 VISA DDA REF                                                                        243.37
                                      EASTBAY                        WAUSAU         *WI
                                      REDACTED 7323

                                                                                                                   Subtotal:                    276.43
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
5/1                           NONTD BALANCE INQUIRY, AUT 050115 DDA BAL INQ                                                                       0.00
                                      460 W BROWARD BLVD                    FORT LAUDERDA *FL
                                      REDACTED 7323
5/1                           DEBIT POS, AUT 043015 DDA PURCHASE                                                                                105.76
                                      WHOLEFDS MIA IO 299 SE                MIAMI         * FL
                                      REDACTED 7323
5/1                           NONTD ATM DEBIT, AUT 050115 DDA WITHDRAW                                                                          102.95
                                      460 W BROWARD BLVD                    FORT LAUDERDA * FL
                                      REDACTED 7323
5/1                           BAL INQ FEE, BAL INQ FEE                                                                                          3.00
5/1                           NONTD ATM FEE                                                                                                     3.00
5/4                           eTransfer Debit, Online Xfer                                                                                  4,000.00
                                       Transfer to CK REDACTED 3112
5/4                           NONTD ATM DEBIT, AUT 050215 DDA WITHDRAW                                                                          703.00
                                      BRICKELL                      MIAMI      *FL
                                      REDACTED 7323




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How to Balance your Account                                                                                                                                       Page:                     2 of7

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                DOLLARS             CENTS                     WITHDRAWALS NOl   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                              ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-I377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (I 0) business days after the first telephone can.
We wiJI investigate your complaint and will correct any error promptly. Jf\ve take           FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during \Vhich no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                      America's Most Convenient Bank®                                           STATEMENT OF ACCOUNT



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      SALES                                                                                     Statement Period:   May 01 2015-May 31 2015
                                                                                                                       REDACTED
                                                                                                CustRef#:                       4532-713-E-***
                                                                                                Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                          AMOUNT
514                           DEBIT POS, AUT 050215 DDA PURCHASE                                                                                    175.36
                                      WHOLEFDS SSC 10 12150 B                NORTH MIAMI *FL
                                      REDACTED 7323
5/4                           DEBIT CARD PURCHASE, AUT 050115 VISA DDA PUR                                                                          150.23
                                      SAVE KHAKI                     323 235 1555 * CA
                                      REDACTED 7323
514                           DEBIT CARD PURCHASE, AUT 050215 VISA DDA PUR                                                                            65.00
                                      IN ICON AUTO SPA                   305 8588949     * FL
                                      REDACTED 7323
5/4                          DEBIT CARD PURCHASE, AUT 050115 VISA DDA PUR                                                                             63.69
                                      DAI SPORTSTODA Y                     877 6874277    * CA
                                      REDACTED 7323
514                          NONTDATMFEE                                                                                                               3.00
515                          DEBIT CARD PURCHASE, AUT 050315 VISA DDA PUR                                                                             90.14
                                      JOEY S                       MIAMI       * FL
                                      REDACTED 7323
516                          DEBIT CARD PURCHASE, AUT 050115 VISA DDA PUR                                                                           454.00
                                      JAMESPERSE COM                       323 588 2226 * CA
                                      REDACTED 7323
516                          DEBIT POS, AUT 050615 DDA PURCHASE                                                                                     186.73
                                      PUBLIX                       MIAMI        *FL
                                      REDACTED 7323
516                          DEBIT CARD PURCHASE, AUT 050415 VISA DDA PUR                                                                             25.74
                                      SHAKE SHACK 1111                     CORAL GABLES * FL
                                      REDACTED 7323
516                          DEBIT CARD PURCHASE, AUT 050415 VISA DDA PUR                                                                             25.00
                                      STARBUCKS CARD RELOAD                     800 782 7282 *WA
                                      REDACTED 7323
517                          DEBIT POS, AUT 050615 DDA PURCHASE                                                                                     205.69
                                 WHOLEFDS MIA IO 299 SE MIAMI                              * FL
                                      REDACTED 7323
5/8                          eTransfer Debit, Online Xfer                                                                                          1,730.00
                                      Transfer to CK REDACTED 3112
5/8                          DEBIT CARD PURCHASE, AUT 050515 VISA DDA PUR                                                                           256.35
                                      EASTBAY                       800 8262205 * WI
                                      REDACTED 7323
5/8                          DEBIT POS, AUT 050815 DDA PURCHASE                                                                                       40.24
                                      CVS 10132                    MIAMI         *FL
                                      REDACTED 7323
5/11                         DEBIT CARD PURCHASE, AUT 050715 VISA DDA PUR                                                                             84.00
                                     TRULUCKS SEAFOOD STEAK A                    HOUSTON           * TX
                                     REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                      4 of7
     SALES                                                                                   Statement Period:   May 01 2015-May 31 2015
                                                                                                                    REDACTED
                                                                                             CustRef#:                       4532-713-E-***
                                                                                             Primary Account#:                 REDACTED
                                                                                                                                        4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
5/11                          DEBIT CARD PURCHASE, AUT 051015 VISA DDA PUR                                                                       75.70
                                       JOES STONE CRAB RESTAURA              MIAMI BEACH * FL
                                       REDACTED 7323
5/11                          DEBIT POS, AUT 050915 DDA PURCHASE                                                                                 46.48
                                       TARGET T2188                 MIAMI        *FL
                                       REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                       43.20
                                       SAKA YA KITCHEN LLC                MIAMI         *FL
                                       REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                       25.00
                                       STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                       REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050815 VISA DDA PUR                                                                       12.00
                                      FONTAINEBLEAU VALET PA                MIAMIBEACH           * FL
                                      REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                        7.42
                                      SQ PANTHER COFFEE                  MIAMI         *FL
                                      REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                        4.00
                                      CITY OF MIAMI BEACH 17 S            MIAMI BEACH          * FL
                                      REDACTED 7323
5/11                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                        3.24
                                      SAKAYA KITCHEN LLC                  MIAMI         *FL
                                      REDACTED 7323
5/12                          DEBIT POS, AUT 051215 DDA PURCHASE                                                                                154.86
                                      WHOLEFDS MIA 10 299 SE              MIAMI         *FL
                                      REDACTED 7323
5/12                          DEBIT CARD PURCHASE, AUT 051115 VISA DDA PUR                                                                       33.21
                                      DAI SPORTSTODA Y                  877 6874277 *CA
                                      REDACTED 7323
5/12                          DEBIT CARD PURCHASE, AUT 051015 VISA DDA PUR                                                                        4.00
                                      SANTA FE NEWS AND ESPR                BAL HARBOR          * FL
                                      REDACTED 7323
5/12                          DEBIT CARD PURCHASE, AUT 050915 VISA DDA PUR                                                                        2.00
                                      AMPCO SYSTEM PARKING                  MIAMI         *FL
                                      REDACTED 7323
5/13                          TDATMDEBIT,AUT051315 DDA WITHDRAW                                                                                 700.00
                                      1101 BRICKELL AVE                 MIAMI       *FL
                                      REDACTED 7323
5/13                          DEBIT CARD PURCHASE, AUT 051115 VISA DDA PUR                                                                       34.03
                                      TMS JUGOFRESH WYNWOOD                     MIAMI         * FL
                                      REDACTED 7323


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                     Bank
                     America's Most Convenient Bank®                                           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                              Page:                                      5 of7
     SALES                                                                                     Statement Period:   May 01 2015-May 31 2015
                                                                                                                      REDACTED
                                                                                               CustRef#:                       4532-713-E-***
                                                                                               Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                          AMOUNT

5/13                         DEBIT CARD PURCHASE, AUT 051115 VISA DDA PUR                                                                           12.84
                                      COYO TACO                      MIAMI            *FL
                                      REDACTED 7323
5/14                         TDATMDEBIT,AUT051415 DDA WITHDRAW                                                                                     700.00
                                      350 LINCOLN ROAD                       MIAMI BEACH      * FL
                                      REDACTED 7323
5115                         DEBIT CARD PURCHASE, AUT 051415 VISA DDA PUR                                                                           39.99
                                      NICRU                        MOSKVA         RUS
                                      REDACTED 7323
5/18                         eTransfer Debit, Online Xfer                                                                                    14,800.00
                                      Transfer to CK REDACTED 3112
5/18                         NONTD ATM DEBIT, AUT 051815 DDA WITHDRAW                                                                              703.00
                                      BRICKELL                     MIAMI         *FL
                                      REDACTED 7323
5/18                         DEBIT CARD PURCHASE, AUT 051415 VISA DDA PUR                                                                           32.00
                                      REGAL CINEMAS SOUTH BCH                    MIAMI             * FL
                                      REDACTED 7323
5/18                         DEBIT CARD PAYMENT, AUT 051615 VISA DDA PUR                                                                            26.75
                                      DECO BIKE MIAMI LLC                     MIAMI         * FL
                                      REDACTED 7323
5/18                         DEBIT CARD PURCHASE, AUT 051415 VISA DDA PUR                                                                           25.00
                                     STARBUCKS CARD RELOAD                       800 782 7282 * WA
                                     REDACTED 7323
5/18                         DEBIT CARD PURCHASE, AUT 051515 VISA DDA PUR                                                                             6.42
                                     DECO BIKE MIAMI LLC                      MIAMI         * FL
                                     REDACTED 7323
5/18                         DEBIT CARD PURCHASE, AUT 051515 VISA DDA PUR                                                                             5.00
                                     CITY OF MIAMI BEACH 17 S                  MIAMI BEACH          * FL
                                     REDACTED 7323
5/18                         NONTD ATM FEE                                                                                                            3.00
5119                         eTransfer Debit, Online Xfer                                                                                         1,362.20
                                      Transfer to CK REDACTED 3112
5119                         TD ATM DEBIT, AUT051915 DDA WITHDRAW                                                                                  700.00
                                     350 LINCOLN ROAD                        MIAMI BEACH      * FL
                                     REDACTED 7323
5120                         DEBIT CARD PURCHASE, AUT 051415 VISA DDA PUR                                                                            87.00
                                     LASTCALLCOM                         800 456 5488 * TX
                                     REDACTED 7323
5/21                         TD ATM DEBIT, AUT 052015 DDA WITHDRAW                                                                                 700.00
                                     350 LINCOLN ROAD                        MIAMI BEACH *FL
                                     REDACTED 7323




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                     Bank
                     America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                       Page:                                      6 of7
     SALES                                                                              Statement Period:   May 01 2015-May 31 2015
                                                                                                               REDACTED
                                                                                        Cust Ref#:                      4532-713-E-***
                                                                                        Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT
5122                         DEBIT CARD PURCHASE, AUT 051815 VISA DDA PUR                                                                  370.81
                                     SONOS INC                     800 6055797 * CA
                                     REDACTED 7323
5/22                         DEBIT CARD PURCHASE, AUT 052115 VISA DDA PUR                                                                  176.55
                                     JAMES PERSE BALHARBOUR                 BAL HARBOUR       * FL
                                     REDACTED 7323
5/22                         DEBIT CARD PURCHASE, AUT 052015 VISA DDA PUR                                                                  123.68
                                     MANDOLIN RESTAURANT                   MIAMI        *FL
                                     REDACTED 7323
5/22                         DEBIT CARD PURCHASE, AUT 052115 VISA DDA PUR                                                                    17.87
                                     MIAMI JUICE                   SUNNY ISLES B * FL
                                     REDACTED 7323
5/22                         DEBIT CARD PURCHASE, AUT 052015 VISA DDA PUR                                                                     1.00
                                     CITY OF MIAMI BEACH 17 S             MIAMI BEACH *FL
                                     REDACTED 7323
5126                         eTransfer Debit, Online Xfer                                                                              7,000.00
                                     Transfer to CK REDACTED 3112
5/26                         DEBIT CARD PAYMENT, AUT 052315 VISA DDA PUR                                                                    170.00
                                     EQUINOX MOTO 202                  866 332 6549 * MA
                                     REDACTED 7323
5126                         DEBIT CARD PURCHASE, AUT 052215 VISA DDA PUR                                                                    11.06
                                     NATHANS FT DRUM PLAZA                 OKEECHOBEE         *FL
                                     REDACTED 7323
5/27                         DEBIT CARD PURCHASE, AUT 052515 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                     REDACTED 7323
5/28                         eTransfer Debit, Online Xfer                                                                              3,050.00
                                     Transfer to CK REDACTED 3112
5/28                         DEBIT CARD PURCHASE, AUT 052615 VISA DDA PUR                                                                    25.00
                                     STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                     REDACTED 7323
5/28                         DEBIT POS, AUT 052715 DDA PURCHASE                                                                              11.80
                                     CVS 01862                    CHESTNUT HILL * MA
                                     REDACTED 7323
5/29                         DEBIT POS, AUT 052815 DDA PURCHASE                                                                            250.05
                                     CONTAINERSTORECHSTNH                   CHESTNUT HILL * MA
                                     REDACTED 7323
5129                         DEBIT CARD PURCHASE, AUT 052715 VISA DDA PUR                                                                     1.50
                                     TOWN OF BROOKLINE                   BROOKLINE      *MA
                                     REDACTED 7323

                                                                                                              Subtotal:               40,055.54



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                      Bank
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      SALES                                                             Statement Period:   May 012015-May 312015
                                                                                               REDACTED
                                                                        CustRef#:                       4532-713-E-***
                                                                        Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE                  DESCRIPTION                                                                                  AMOUNT
5129                          MAINTENANCE FEE                                                                                8.00
                                                                                              Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE        DATE                                      BALANCE
4/30                                                        52,213.99       5/15                                      41,843.14
5/1                                                         51,999.28       5/18                                      26,241.97
5/4                                                         46,839.00       5/19                                      24,179.77
515                                                         46,748.86       5/20                                      24,092.77
516                                                         46,057.39       5/21                                      23,399.19
517                                                         45,851.70       5/22                                      22,709.28
5/8                                                         43,825.11       5/26                                      15,528.22
5/11                                                        43,524.07       5/27                                      15,529.86
5112                                                        43,330.00       5/28                                      12,443.06
5/13                                                        42,583.13       5129                                      12,426.88
5/14                                                        41,883.13




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                Bank
                America's Most Convenient Bank®              E     STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                 Page:                                        1 of9
      SALES                                                        Statement Period:     Jun 01 2015-Jun 30 2015
                                                                                            REDACTED
      18 GRAF ROAD UNIT 26                                         Cust Ref#:                        4532-713-E-***
                                                                   Primary Account#:                   REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                      Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                      12,426.88                              Average Collected Balance            15,365.65
Electronic Deposits                     2,573.30                              Annual Percentage Yield Earned           0.00%
Other Credits                         150,000.00                              Days in Period                               30

Electronic Payments                    64,043.54
Other Withdrawals                          30.00
Service Charges                              8.00
Ending Balance                        100,918.64

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE          DESCRIPTION                                                                                       AMOUNT
6/8                   DEBIT CARD CREDIT, AUT 060815 VISA DDA REF                                                         82.33
                          BLOOMYS 011 175 BOYL        CHESTNUTHILL* MA
                          REDACTED 7323
6116                  DEBIT CARD CREDIT, AUT 061615 VISA DDA REF                                                         82.33
                          BLOOMINGDALE S 0011         CHESTNUT HILL * MA
                          REDACTED 7323
6/18                  DEBIT CARD CREDIT, AUT 061815 VISA DDA REF                                                        103.06
                          APPLE STORE R076          CHESTNUT HILL * MA
                          REDACTED 7323
6/19                  DEBIT CARD CREDIT, AUT 061915 VISA DDA REF                                                         37.58
                          AMC BOSTON COMMON 2657         BOSTON        * MA
                          REDACTED 7323
6126                  ATM CHECK DEPOSIT, AUT 062615 ATM CHECK DEPOSI                                                2,268.00
                          24 WINTER STREET          BOSTON       *MA
                          REDACTED 7323

                                                                                          Subtotal:
Other Credits
POSTING DATE          DESCRIPTION                                                                                       AMOUNT
6/15                  WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                               50,000.00
6130                  WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                              100,000.00
                                                                                          Subtotal:              150,000.00
Electronic Payments
POSTING DATE          DESCRIPTION                                                                                       AMOUNT
611                   DEBIT POS, AUT 053115 DDA PURCHASE                                                                164.21
                          WHOLEFDS DHM 103 300 LEG      DEDHAM         * MA
                          REDACTED 7323



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How to Balance your Account                                                                                                                                        Page:                      2 of9

Begin by adjusting your account register                              1.   Your ending balance shown on this
as follows:                                                                statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                 DOLLARS             CENTS                     WITHDRAWALS NOl    DOLLARS           CENTS                   WITHDRAWALS NO              DOLLARS               CENTS
ON STATEMENT                                                               ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,               If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                               possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                               FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                               so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                           If you need more information, describe the item you are unsure about.
      Your name and account number.                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                               investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in              collect the amount you question.
writing within ten (l O) business days after the first telephone call.
                                                                                               FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
We will investigate your complaint and will correct any error promptly. Ifwe take
more than ten (10) business days to do this, we will credit your account for the               the finance charge on your Moneyline!Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it         or "OD" refers to Overdraft Protection), the Bank discloses the Average Dailv Balance
takes to complete our investigation.                                                           on the periodic statement as an easier method for you to calculate the finance.
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                               are posted to your account and wilt continue until the balance has been paid in full.
Total interest credited by the Bank to you this year \i.:ill be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                               Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                               the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                               balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                           STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                              p~~                                       3~9
      SALES                                                                     Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                Cust Ref#:             REDACTED
                                                                                                                4532-713-E-* **
                                                                                                                  REDACTED
                                                                                Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                         AMOUNT
611                           DEBIT CARD PURCHASE, AUT 052915 VISA DOA PUR                                                           95.98
                                   OFF FIFTH 807              SOMERVILLE * MA
                                   REDACTED 7323
611                           DEBIT CARD PURCHASE, AUT 053015 VISA DOA PUR                                                           25.00
                                   STARBUCKS CARD RELOAD                800 782 7282 * WA
                                   REDACTED 7323
611                           DEBIT CARD PURCHASE, AUT 052915 VISA DOA PUR                                                           21.03
                                   PRET A MANGER 0068              BOSTON        * MA
                                   REDACTED 7323
612                           DEBIT CARD PURCHASE, AUT 053115 VISA DOA PUR                                                           87.19
                                   PF CHANGS 9854               DEDHAM         *MA
                                   REDACTED 7323
613                           DEBIT CARD PURCHASE, AUT 060215 VISA DOA PUR                                                           21.25
                                   LOCCITANE 47                CHESTNUT HILL* MA
                                   REDACTED 7323
614                           eTransfer Debit, Online Xfer                                                                        8,375.00
                                   Transfer to CK REDACTED 3112
614                           DEBIT CARD PURCHASE, AUT 060215 VISA DOA PUR                                                         500.60
                                   JETBLUE 279759173437 WEST LEBANO * NH
                                   REDACTED 7323
6/4                           DEBIT CARD PURCHASE, AUT 060215 VISA ODA PUR                                                           52.06
                                   APPLE STORE R076              CHESTNUT HILL* MA
                                   REDACTED 7323
6/4                           DEBIT CARD PURCHASE, AUT 060315 VISA DOA PUR                                                           14.42
                                   PRET A MANGER 0068              BOSTON        * MA
                                   REDACTED 7323
615                           DEBIT CARD PURCHASE, AUT 060315 VISA DOA PUR                                                           40.00
                                   MILNE TRAVEL AGENCY                603 298 6644 * NH
                                   REDACTED 7323
6/8                           DEBIT CARD PURCHASE, AUT 060715 VISA DOA PUR                                                         265.61
                                   SAKS OFF5TH COM                877 551 7257 *NY
                                   REDACTED 7323
6/8                           DEBIT POS, AUT 060715 DOA PURCHASE                                                                     82.33
                                   BLOOMYS 011 175 BOYL CHESTNUT HILL* MA
                                   REDACTED 7323
6/8                           DEBIT POS, AUT 060815 DOA PURCHASE                                                                     32.70
                                   WALGREENS                   BOSTON        * MA
                                   REDACTED 7323
6/8                           DEBIT POS, AUT 060715 DOA PURCHASE                                                                     29.58
                                   ROCHE BROTHERS121                BOSTON        *MA
                                   REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      4 of9
      SALES                                                                                  Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                                                    REDACTED
                                                                                             Cust Ref#:                      4532-713-E-***
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
6/8                           DEBIT CARD PURCHASE, AUT 060715 VISA DDA PUR                                                                       28.54
                                      BACK DECK                     BOSTON        * MA
                                      REDACTED 7323
619                           DEBIT CARD PURCHASE, AUT 060715 VISA DDA PUR                                                                       82.33
                                      BLOOMINGDALE S 0011                 CHESTNUT HILL * MA
                                      REDACTED 7323
6110                          DEBIT CARD PURCHASE, AUT 060915 VISA DDA PUR                                                                       12.00
                                      MASSPIKE  00200055                888 5253278   * MA
                                      REDACTED 7323
6/11                          eTransfer Debit, Online Xfer                                                                                  2,000.00
                                       Transfer to CK REDACTED 3112
6115                          eTransfer Debit, Online Xfer                                                                                 17,500.00
                                       Transfer to CK REDACTED 3112
6115                          TD ATM DEBIT, AUT 061315 DDA WITHDRAW                                                                             500.00
                                      24 WINTER STREET                  BOSTON        *MA
                                      REDACTED 7323
6116                          NONTD ATM DEBIT, AUT 061615 DDA WITHDRAW                                                                          703.00
                                      CHESTNUT HILL MALL                  NEWTON         *MA
                                      REDACTED 7323
6116                          TD ATM DEBIT, AUT 061515 DDA WITHDRAW                                                                             700.00
                                      24 WINTER STREET                  BOSTON        *MA
                                      REDACTED 7323
6116                          DEBIT POS, AUT 061615 DDA PURCHASE                                                                                315.84
                                      BLOOMYS 011 175 BOYL                CHESTNUT HILL * MA
                                      REDACTED 7323
6116                          NONTD ATM DEBIT, AUT 061615 DDA WITHDRAW                                                                          303.00
                                      CHESTNUT HILL MALL                  NEWTON         *MA
                                      REDACTED 7323
6/16                          DEBIT POS, AUT 061615 DDA PURCHASE                                                                                135.98
                                      BLOOMYS 011 175 BOYL                CHESTNUT HILL * MA
                                      REDACTED 7323
6116                          DEBIT POS, AUT 061615 DDA PURCHASE                                                                                 42.48
                                      CONTAINERSTORECHSTNH                    CHESTNUT HILL * MA
                                      REDACTED 7323
6/16                          NONTD ATM FEE                                                                                                     3.00
6116                          NONTD ATM FEE                                                                                                     3.00
6117                          eTransfer Debit, Online Xfer                                                                                  2,000.00
                                      Transfer to CK REDACTED 3112
6117                          TD ATM DEBIT, AUT 061715 DDA WITHDRAW                                                                         1,000.00
                                      24 WINTER STREET                  BOSTON        *MA
                                      REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



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     SALES                                                               Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                                REDACTED
                                                                         Cust Ref#:                      4532-713-E-* **
                                                                                                           REDACTED
                                                                         Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                   AMOUNT
6/17                          DEBIT CARD PURCHASE, AUT 061615 VISA DDA PUR                                                  585.00
                                  SA VE KHAKI          323 235 1555 * CA
                                  REDACTED 7323
6117                          DEBIT CARD PURCHASE, AUT 061515 VISA DDA PUR                                                  200.54
                                  BRINE OYSTER          NEWBURYPORT * MA
                                  REDACTED 7323
6/17                          DEBIT CARD PURCHASE, AUT 061615 VISA DDA PUR                                                  131.60
                                  HAUTLK RACK8885478438       188 854 7843 * CA
                                  REDACTED 7323
6117                          DEBIT POS, AUT 061615 DDA PURCHASE                                                             74.34
                                  NST BEST BUY    0460    WATERTOWN *MA
                                  REDACTED 7323
6/17                          DEBIT CARD PURCHASE, AUT 061515 VISA DDA PUR                                                   52.52
                                  EXXONMOBIL 97456131        SAUGUS        * MA
                                  REDACTED 7323
6/18                          DEBIT CARD PURCHASE, AUT 061615 VISA DDA PUR                                                  194.44
                                  APPLE STORE R076       CHESTNUT HILL* MA
                                  REDACTED 7323
6/18                          DEBIT CARD PURCHASE, AUT 061615 VISA DDA PUR                                                   21.50
                                  NESPRESSO USA INC         NEWTON        * MA
                                  REDACTED 7323
6/18                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                   10.00
                                  MASSPIKE    00200055    888 5253278 * MA
                                  REDACTED 7323
6/19                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                  559.76
                                  JETBLUE 279765835075 WEST LEBANO * NH
                                  REDACTED 7323
6/19                          DEBIT CARD PURCHASE, AUT 061815 VISA DDA PUR                                                   99.42
                                  BLOOMINGDALE S 0011        CHESTNUTHILL* MA
                                  REDACTED 7323
6/19                          DEBIT POS, AUT 061915 DDA PURCHASE                                                             74.36
                                  NST BEST BUY    0961    DORCHESTER * MA
                                  REDACTED 7323
6119                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                   60.00
                                  JETBLUE 279061826366 SALT LAKE CTY *UT
                                  REDACTED 7323
6119                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                   41.58
                                  FANDANGO COM             FANDANGO COM* CA
                                  REDACTED 7323
6/19                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                   41.44
                                  APPLE STORE R076       CHESTNUT HILL* MA
                                  REDACTED 7323


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Bank Deposits FDIC Insured I TD Bank:, N.A. ! Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                            Page:                                      6 of9
     SALES                                                                                   Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                                                    REDACTED
                                                                                             Cust Ref#:                      4532-713-E-* **
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
6/19                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                                       40.00
                                      MILNE TRAVEL AGENCY                   603 298 6644 * NH
                                      REDACTED 7323
6/19                          DEBIT CARD PAYMENT, AUT 061815 VISA DDA PUR                                                                        26.75
                                      DECO BIKE MIAMI LLC                 MIAMI         * FL
                                      REDACTED 7323
6/19                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 7323
6/19                          DEBIT CARD PURCHASE, AUT 061715 VISA DDA PUR                                                                       12.00
                                      AMC BOSTON COMMON 2657                   BOSTON          * MA
                                      REDACTED 7323
6/22                          eTransfer Debit, Online Xfer                                                                                  1,343.60
                                       Transfer to CK REDACTED 3112
6/22                          NONTD ATM DEBIT, AUT 062015 DDA WITHDRAW                                                                      1,003.00
                                      BACK BAY                      BOSTON       * MA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 062015 VISA DDA PUR                                                                      865.41
                                      CANNONDALE 246102                   CAMBRIDGE        *MA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR                                                                      637.37
                                      ADOBE CREATIVE CLOUD                   800 833 6687 *CA
                                      REDACTED 7323
6/22                          DEBIT POS, AUT 062115 DDA PURCHASE                                                                                390.97
                                      BLOOMYS 011175 BOYL                  CHESTNUTHILL* MA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR                                                                      389.95
                                      JAMESPERSE COM                     323 588 2226 * CA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR                                                                      357.00
                                      AG JEANS                      866 5251631 *CA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061815 VISA DDA PUR                                                                      212.47
                                      BLOOMINGDALE S 0011                  CHESTNUT HILL* MA
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR                                                                       85.00
                                      HUBWAY                        PORTLAND       *OR
                                      REDACTED 7323
6/22                          DEBIT CARD PURCHASE, AUT 061815 VISA DDA PUR                                                                       60.00
                                      JETBLUE 279061828280               SALT LAKE CTY *UT
                                      REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                               Page:                                      7 of9
     SALES                                                                      Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                                       REDACTED
                                                                                Cust Ref#:                      4532-713-E-***
                                                                                                                  REDACTED
                                                                                Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                           AMOUNT
6122                         DEBIT CARD PURCHASE, AUT 061915 VISA DDA PUR                                                            42.50
                                  APPLE STORE Rl49              BOSTON         *MA
                                  REDACTED 7323
6/22                         DEBIT POS, AUT 062015 DDA PURCHASE                                                                      32.91
                                  MICRO CENTER 12 730 MEM CAMBRIDGE * MA
                                  REDACTED 7323
6122                         DEBIT CARD PURCHASE, AUT 061815 VISA DDA PUR                                                             31.82
                                  CABLEJIVE LLC                800 554 3363 * MA
                                  REDACTED 7323
6/22                         DEBIT CARD PURCHASE, AUT 062015 VISA DDA PUR                                                             31.30
                                  FLOUR BAKERY CAF                 CAMBRIDGE * MA
                                  REDACTED 7323
6122                         DEBIT POS, AUT 062015 DDA PURCHASE                                                                       14.95
                                  TRADER JOE S 502              CAMBRIDGE * MA
                                  REDACTED 7323
6122                         DEBIT CARD PURCHASE, AUT 062015 VISA DDA PUR                                                              4.46
                                  FINAGLE A BAGEL 101              BOSTON        *MA
                                  REDACTED 7323
6122                         NONTD ATM FEE                                                                                             3.00
6123                         DEBIT CARD PURCHASE, AUT 062115 VISA DDA PUR                                                             25.00
                                  STARBUCKS CARD RELOAD                 800 782 7282 *WA
                                  REDACTED 7323
6/24                         DEBIT CARD PAYMENT, AUT 062315 VISA DDA PUR                                                            180.00
                                  EQUINOX MOTO 202                866 332 6549 * MA
                                  REDACTED 7323
6/25                         eTransfer Debit, Online Xfer                                                                      6,525.00
                                  Transfer to CK REDACTED 3112
6126                         TD ATM DEBIT, AUT 062615 DDA WITHDRAW                                                                 1,000.00
                                  24 WINTER STREET               BOSTON        *MA
                                  REDACTED 7323
6126                         DEBIT POS, AUT 062615 DDA PURCHASE                                                                       47.64
                                  THE HOME DEPOT 2665              WEST ROXBURY * MA
                                  REDACTED 7323
6129                         eTransfer Debit, Online Xfer                                                                      8,415.00
                                  Transfer to CK REDACTED 3112
6129                         eTransfer Debit, Online Xfer                                                                      3,049.00
                                  Transfer to CK REDACTED 3112
6129                         eTransfer Debit, Online Xfer                                                                          1,190.00
                                  Transfer to CK REDACTED 3112
6/29                         DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR                                                           156.36
                                  WEB NETWORKSOLUTIONS                  888 642 9675 * FL
                                  REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                             p~~                                       8~9
     SALES                                                                                    Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                                                     REDACTED
                                                                                              Cust Ref#:                      4532-713-E-***
                                                                                                                                REDACTED
                                                                                              Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
6/29                          DEBIT CARD PURCHASE, AUT 062615 VISA DDA PUR                                                                      124.40
                                      GOURMET DUMPLING HOUSE                    BOSTON          * MA
                                      REDACTED 7323
6129                          DEBIT POS, AUT 062915 DDA PURCHASE                                                                                104.00
                                      A RUSSO SONS                      WATERTOWN        *MA
                                      REDACTED 7323
6129                          DEBIT POS, AUT 062715 DDA PURCHASE                                                                                  94.02
                                      STOP SHOP 0089                    ALLSTON        * MA
                                      REDACTED 7323
6129                          DEBIT CARD PURCHASE, AUT 062715 VISA DDA PUR                                                                       43.49
                                      MASSPIKE  00200055                 888 5253278   * MA
                                      REDACTED 7323
6129                          DEBIT CARD PURCHASE, AUT 062715 VISA DDA PUR                                                                        17.03
                                      LEGAL CROSSING                     BOSTON         * MA
                                      REDACTED 7323
6129                          DEBIT POS, AUT 062915 DDA PURCHASE                                                                                  14.00
                                      STOP SHOP 0446                    WATERTOWN        *MA
                                      REDACTED 7323
6129                          DEBIT CARD PURCHASE, AUT 062715 VISA DDA PUR                                                                         3.87
                                      FUEL AMERICA                      BRIGHTON        * MA
                                      REDACTED 7323
6130                          DEBIT POS, AUT 063015 DDA PURCHASE                                                                                 141.29
                                      BLOOMYS 011 175 BOYL                 CHESTNUT HILL * MA
                                      REDACTED 7323
6130                          DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR                                                                        21.35
                                      SWEETGREEN TY                      202 813 9439 * MA
                                      REDACTED 7323
                                                                                                                   Subtotal:                64,043.54
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
6/15                          WIRE TRANSFER FEE                                                                                                   15.00
6130                          WIRE TRANSFER FEE                                                                                                   15.00
                                                                                                                   Subtotal:                      30.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
6130                          MAINTENANCE FEE                                                                                                      8.00
                                                                                                                   Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                                DATE                                    BALANCE
5/31                                                        12,426.88                               612                                     12,033.47
611                                                         12,120.66                               613                                     12,012.22
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                      Bank
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      SALES                                                             Statement Period:   Jun 01 2015-Jun 30 2015
                                                                                               REDACTED
                                                                        Cust Ref#:                      4532-713-E-***
                                                                                                          REDACTED
                                                                        Primary Account#:                          4532




DAILY BALANCE SUMMARY
DATE                                                         BALANCE        DATE                                      BALANCE
614                                                          3,070.14       6/18                                     26,273.53
615                                                          3,030.14       6/19                                     25,330.80
6/8                                                          2,673.71       6122                                     19,825.09
619                                                          2,591.38       6/23                                     19,800.09
6/10                                                         2,579.38       6/24                                     19,620.09
6/11                                                           579.38       6/25                                     13,095.09
6/15                                                        32,564.38       6/26                                     14,315.45
6116                                                        30,440.41       6/29                                      1,104.28
6/17                                                        26,396.41       6130                                    100,918.64




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                     Bank
                     America's Most Convenient Bank®                             E          STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      1 of8
      SALES                                                                                 Statement Period:     Jul 012015-Jul31 2015
                                                                                                                   REDACTED
      18 GRAF ROAD UNIT 26                                                                  CustRef#:                       4532-713-E-***
                                                                                            Primary Account #:                REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                         100,918.64                                 Average Collected Balance            30,257.27
Electronic Deposits                                           821.02                                 Annual Percentage Yield Earned           0.00%
Other Credits                                             100,000.00                                 Days in Period                               31

Electronic Payments                                        77,387.58
Other Withdrawals                                         116,212.00
Service Charges                                                  8.00
Ending Balance                                              8,132.08

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                                       AMOUNT
716                          DEBIT CARD CREDIT, AUT 070515 VISA DDA REF                                                                           27.34
                                      THE HOME DEPOT 2602                 WATERTOWN          *MA
                                      REDACTED 7323
7120                         DEBIT CARD CREDIT, AUT 071815 VISA DDA REF                                                                           29.95
                                      CABLEJIVE LLC                     MALDEN       * MA
                                      REDACTED 7323
7/24                         DEBIT CARD CREDIT, AUT 072415 VISA DDA REF                                                                         763.73
                                      JOHN VARVATOS LAS VEGAS                 LAS VEGAS        *NV
                                      REDACTED 7323

                                                                                                                 Subtotal:                      821.02
Other Credits
POSTING DATE                 DESCRIPTION                                                                                                       AMOUNT
7/16                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                50,000.00
7120                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                50,000.00
                                                                                                                 Subtotal:              100,000.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                       AMOUNT
711                          DEBIT POS, AUT 070115 DDA PURCHASE                                                                                 249.47
                                      BLOOMYS 011 175 BOYL                 CHESTNUT HILL* MA
                                      REDACTED 7323
711                          DEBIT CARD PURCHASE, AUT 063015 VISA DDA PUR                                                                       211.44
                                      BANG OLUFSEN                      BOSTON       * MA
                                      REDACTED 7323
712                          eTransfer Debit, Online Xfer                                                                                  2,085.45
                                      Transfer to CK REDACTED 3112
712                          eTransfer Debit, Online Xfer                                                                                      1,068.30
                                      Transfer to CK REDACTED 3112


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How to Balance your Account                                                                                                                                      Page:                     2 of8

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS N01   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone nwnber listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following infonnation:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why               Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.                                                         You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
                                                                                            are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in           collect the amount you question.
writing within ten (10) business days after the first telephone call.
                                                                                            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
We will investigate your complaint and will correct any error promptly. If we take
more than ten (l 0) business days to do this, we will credit your account for the           the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection). the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
                                                                                            charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta.'< authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      America's Most Convenient Bank®                                   STATEMENT OF ACCOUNT



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      SALES                                                                             Statement Period:   Jul 012015-Jul31 2015
                                                                                                             REDACTED
                                                                                        CustRef#:                     4532-713-E-***
                                                                                        Primary Account#:               REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                AMOUNT
712                           eTransfer Debit, Online Xfer                                                                               407.73
                                      Transfer to CK REDACTED 3112
712                           DEBIT POS, AUT 070215 DDA PURCHASE                                                                         388.81
                                      NST BEST BUY  0431               WATERTOWN       *MA
                                      REDACTED 7323
712                           eTransfer Debit, Online Xfer                                                                               284.95
                                      Transfer to CK REDACTED 3112
712                           eTransfer Debit, Online Xfer                                                                               112.53
                                      Transfer to CK REDACTED 3112
712                           DEBIT POS, AUT 070215 DDA PURCHASE                                                                           66.44
                                      THE HOME DEPOT 2602                WATERTOWN       *MA
                                      REDACTED 7323
712                           DEBIT POS, AUT 070215 DDA PURCHASE                                                                           32.41
                                      AMAZON COM                       SEATTLE    *WA
                                      REDACTED 7323
712                           DEBIT CARD PURCHASE, AUT 063015 VISA DDA PUR                                                                 25.00
                                      STARBUCKS CARD RELOAD                 800 782 7282 * WA
                                      REDACTED 7323
713                          DEBIT CARD PURCHASE, AUT 070115 VISA DDA PUR                                                                150.26
                                      CHESTNUT HILL DA VIOS               CHESTNUT HILL* MA
                                      REDACTED 7323
716                           eTransfer Debit, Online Xfer                                                                           2,000.00
                                      Transfer to CK REDACTED 3112
716                           eTransfer Debit, Online Xfer                                                                               711.61
                                      Transfer to CK REDACTED 3112
716                          eTransfer Debit, Online Xfer                                                                                613.76
                                      Transfer to CK REDACTED 3112
716                          DEBIT POS, AUT 070315 DDA PURCHASE                                                                          584.33
                                      NST BEST BUY  0261               DORCHESTER      * MA
                                      REDACTED 7323
716                          DEBIT CARD PURCHASE, AUT 062815 VISA DDA PUR                                                                270.43
                                      SPORTING LIFE                 TORONTO       CAN
                                      REDACTED 7323
716                          DEBIT CARD PURCHASE, AUT 070315 VISA DDA PUR                                                                 165.00
                                      JAMES PERSE BOSTON                 BOSTON        * MA
                                      REDACTED 7323
716                          eTransfer Debit, Online Xfer                                                                                 128.90
                                      Transfer to CK REDACTED 3112
716                          DEBIT CARD PURCHASE, AUT 070515 VISA DDA PUR                                                                  86.16
                                      MARTYS                       NEWTON        *MA
                                      REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                         Page:                                    4 of8
      SALES                                                                                Statement Period:   Jul 01 2015-Jul 31 2015
                                                                                                                REDACTED
                                                                                           CustRef#:                     4532-713-E-***
                                                                                                                           REDACTED
                                                                                           Primary Account#:                        4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
716                           DEBIT CARD PURCHASE, AUT 070315 VISA DDA PUR                                                                    63.04
                                      EXXONMOBIL 97550917                  WINTHROP     * MA
                                      REDACTED 7323
716                           DEBIT CARD PURCHASE, AUT 070215 VISA DDA PUR                                                                    42.63
                                      AMAZON MKTPLACE PMTS                    AMZN COM BILL* WA
                                      REDACTED 7323
716                           DEBIT POS, AUT 070515 DDA PURCHASE                                                                              28.59
                                      THE HOME DEPOT 2602                  WATERTOWN       *MA
                                      REDACTED 7323
716                           DEBIT POS, AUT 070515 DDA PURCHASE                                                                               12.00
                                      STOP SHOP 0446                  WATERTOWN       *MA
                                      REDACTED 7323
717                           DEBIT CARD PURCHASE, AUT 070515 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 7323
7/8                           TD ATM DEBIT, AUT 070815 DDA WITHDRAW                                                                          700.00
                                      95 HIGHLAND A VENUE                   NEEDHAM     * MA
                                      REDACTED 7323
7/8                           eTransfer Debit, Online Xfer                                                                                   488.69
                                       Transfer to CK REDACTED 3112
7/8                           DEBIT CARD PURCHASE, AUT 070515 VISA DDA PUR                                                                   248.13
                                      RESTORATION HARDWARE                    844 252 0930 *CA
                                      REDACTED 7323
719                           eTransfer Debit, Online Xfer                                                                             12,214.00
                                       Transfer to CK REDACTED 3112
719                           TD ATM DEBIT, AUT 070915 DDA WITHDRAW                                                                     1,000.00
                                      24 WINTER STREET                    BOSTON    *MA
                                      REDACTED 7323
7110                          DEBIT CARD PURCHASE, AUT 070815 VISA DDA PUR                                                              1,272.88
                                      JOHNVARVATOSLASVEGAS                    LASVEGAS        *NV
                                      REDACTED 7323
7/10                          TD ATM DEBIT, AUT 071015 DDA WITHDRAW                                                                     1,000.00
                                      24 WINTER STREET                    BOSTON    *MA
                                      REDACTED 7323
7110                          DEBIT CARD PURCHASE, AUT 070815 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 7323
7113                          eTransfer Debit, Online Xfer                                                                              2,337.50
                                      Transfer to CK REDACTED 3112
7113                          TD ATM DEBIT, AUT 071315 DDA WITHDRAW                                                                         1,000.00
                                      24 WINTER STREET                    BOSTON    * MA
                                      REDACTED 7323


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     ENCOMPASS COMMUNICATIONS INC                                                              Page:                                    5 of8
     SALES                                                                                     Statement Period:   Jul 01 2015-Jul 31 2015
                                                                                                                    REDACTED
                                                                                               CustRef#:                     4532-713-E-***
                                                                                               Primary Account#:               REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
7113                          eTransfer Debit, Online Xfer                                                                                      910.00
                                       Transfer to CK REDACTED 3112
7113                          eTransfer Debit, Online Xfer                                                                                      364.66
                                       Transfer to CK REDACTED 3112
7/13                          eTransfer Debit, Online Xfer                                                                                      329.63
                                       Transfer to CK REDACTED 3112
7/13                          DEBIT CARD PURCHASE, AUT 070715 VISA DDA PUR                                                                      200.78
                                      RESTORATION HARDWARE                        844 252 0930 *CA
                                      REDACTED 7323
7113                          DEBIT POS, AUT 071215 DDA PURCHASE                                                                                 38.07
                                      WHOLEFDS DHM 103 300 LEG                    DEDHAM        * MA
                                      REDACTED 7323
7/13                          DEBIT POS, AUT 071215 DDA PURCHASE                                                                                 31.88
                                      AT T MOBILITY II LLC                    DEDHAM       *MA
                                      REDACTED 7323
7/13                          DEBIT CARD PURCHASE, AUT 071015 VISA DDA PUR                                                                        7.69
                                      SQ KICKSTAND CAFE                        ARLINGTON       *MA
                                      REDACTED 7323
7/13                          DEBIT CARD PURCHASE, AUT 071015 VISA DDA PUR                                                                        7.00
                                      ALEWIFE                       CAMBRIDGE          * MA
                                      REDACTED 7323
7/13                          DEBIT POS, AUT 071315 DDA PURCHASE                                                                                  0.62
                                      USPS 2400870112                  BOSTON          *MA
                                      REDACTED 7323
7114                          eTransfer Debit, Online Xfer                                                                                  1,730.00
                                       Transfer to CK REDACTED 3112
7/14                          TD ATM DEBIT, AUT 071415 DDA WITHDRAW                                                                         1,000.00
                                      24 WINTER STREET                        BOSTON    * MA
                                      REDACTED 7323
7114                          eTransfer Debit, Online Xfer                                                                                      493.54
                                      Transfer to CK REDACTED 3112
7114                          eTransfer Debit, Online Xfer                                                                                      344.99
                                      Transfer to CK REDACTED 3112
7114                          eTransfer Debit, Online Xfer                                                                                      201.93
                                      Transfer to CK REDACTED 3112
7114                          DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR                                                                       75.29
                                      YARD HOUSE 00083261                      DEDHAM         * MA
                                      REDACTED 7323
7114                          DEBIT CARD PURCHASE, AUT 071215 VISA DDA PUR                                                                       58.34
                                      EXXONMOBIL 97448229                      BOSTON      * MA
                                      REDACTED 7323




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender    t:E::r
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                    6 of8
     SALES                                                                                 Statement Period:   Jul 012015-Jul31 2015
                                                                                                                REDACTED
                                                                                           CustRef#:                     4532-713-E-***
                                                                                           Primary Account#:               REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT

7114                          DEBIT POS, AUT 071415 DDA PURCHASE                                                                                4.39
                                      A RUSSO SONS                     WATERTOWN      * MA
                                      REDACTED 7323
7/14                          DEBIT POS, AUT 071415 DDA PURCHASE                                                                                3.23
                                      USPS 2400870112               BOSTON         *MA
                                      REDACTED 7323
7/17                          eTransfer Debit, Online Xfer                                                                             10,801.00
                                       Transfer to CK REDACTED 3112
7/17                          eTransfer Debit, Online Xfer                                                                              7,729.00
                                       Trans fer to CK REDACTED 3112
7/17                          eTransfer Debit, Online Xfer                                                                                   668.62
                                       Transfer to CK REDACTED 3112
7120                          eTransfer Debit, Online Xfer                                                                                  1,951.20
                                       Transfer to CK REDACTED 3112
7/20                          eTransfer Debit, Online Xfer                                                                              1,368.19
                                       Transfer to CK REDACTED 3112
7120                          TD ATM DEBIT, AUT 072015 DDA WITHDRAW                                                                     1,000.00
                                      51 STATE STREET                  NEWBURYPORT       * MA
                                      REDACTED 7323
7/20                          eTransfer Debit, Online Xfer                                                                                   783.00
                                       Transfer to CK REDACTED 3112
7/20                          DEBIT CARD PURCHASE, AUT 071815 VISA DDA PUR                                                                     56.55
                                      EXXONMOBIL 97448302                 STOUGHTON         *MA
                                      REDACTED 7323
7/20                          DEBIT POS, AUT 072015 DDA PURCHASE                                                                               53.33
                                      EXXONMOBIL                       PEABODY      * MA
                                      REDACTED 7323
7120                          DEBIT POS, AUT 071915 DDA PURCHASE                                                                               46.73
                                      CONTAINERSTORECHSTNH                  CHESTNUT HILL* MA
                                      REDACTED 7323
7120                          DEBIT CARD PURCHASE, AUT 071715 VISA DDA PUR                                                                     28.41
                                      CAFFE NERO MILLENNIUM 10               BOSTON         * MA
                                      REDACTED 7323
7/20                          DEBIT CARD PAYMENT, AUT 071915 VISA DDA PUR                                                                      26.75
                                      DECO BIKE MIAMI LLC                MIAMI       * FL
                                      REDACTED 7323
7/20                          DEBIT POS, AUT 071915 DDA PURCHASE                                                                                2.99
                                      BROS MKTPLC 401                   MEDFIELD     * MA
                                      REDACTED 7323
7/21                          TD ATM DEBIT, AUT 072115 DDA WITHDRAW                                                                         1,000.00
                                      185 FRANKLIN SREET                 BOSTON      * MA
                                      REDACTED 7323


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                     Bank
                     America's Most Convenient Bank®                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                            Page:                                     7 of8
     SALES                                                                   Statement Period:    Jul 01 2015-Jul 31 2015
                                                                                                   REDACTED
                                                                             Cust Ref#:                     4532-713-E-***
                                                                                                              REDACTED
                                                                             Primary Account #:                        4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                       AMOUNT
7/21                        DEBIT CARD PURCHASE, AUT 071815 VISA DDA PUR                                                        94.33
                                 RESTORATION HARDWARE                 844 252 0930 *CA
                                 REDACTED 7323
7/22                        eTransfer Debit, Online Xfer                                                                   3,699.00
                                 Transfer to CK REDACTED 3112
7/22                        eTransfer Debit, Online Xfer                                                                   3,000.00
                                 Transfer to CK REDACTED 3112
7/22                        DEBIT POS, AUT 072115 DDA PURCHASE                                                                 107.68
                                 NST THE HOME DEPOT 761             BOSTON       * MA
                                 REDACTED 7323
7122                        DEBIT POS, AUT 072115 DDA PURCHASE                                                                  40.41
                                 STOP SHOP 0429               DORCHESTER * MA
                                 REDACTED 7323
7122                        DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR                                                        25.00
                                 STARBUCKS CARD RELOAD                800 782 7282 *WA
                                 REDACTED 7323
7/23                        DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR                                                   1,167.69
                                 SONOS INC                 800 6055797 * CA
                                 REDACTED 7323
7/23                        TD A TM DEBIT, AUT 072315 DDA WITHDRAW                                                         1,000.00
                                 185 FRANKLIN SREET             BOSTON         *MA
                                 REDACTED 7323
7/23                        DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR                                                        16.96
                                 HI RISE BREAD COMPANY              CAMBRIDGE *MA
                                 REDACTED 7323
7/24                        DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR                                                       531.25
                                 SONOS INC                 800 6055797 * CA
                                 REDACTED 7323
7124                        DEBIT CARD PURCHASE, AUT 072315 VISA DDA PUR                                                       526.82
                                 NEST LABS                 855 469 6378 * CA
                                 REDACTED 7323
7/24                        DEBIT CARD PURCHASE, AUT 072215 VISA DDA PUR                                                       288.76
                                 BRINE OYSTER                 NEWBURYPORT * MA
                                 REDACTED 7323
7124                        DEBIT CARD PURCHASE, AUT 072215 VISA DDA PUR                                                        25.00
                                 STARBUCKS CARD RELOAD                800 782 7282 *WA
                                 REDACTED 7323
7/27                        TD A TM DEBIT, AUT 072515 DDA WITHDRAW                                                         1,000.00
                                 185 FRANKLIN SREET             BOSTON         *MA
                                 REDACTED 7323
7/27                        DEBIT CARD PURCHASE, AUT 072515 VISA DDA PUR                                                        53.19
                                 EXXONMOBIL 97448302              STOUGHTON * MA
                                 REDACTED 7323

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                      Bank
                      America's Most Convenient Bank®                               STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                   Page:                                    8 of8
     SALES                                                                          Statement Period:   Jul 01 2015-Jul 31 2015
                                                                                                         REDACTED
                                                                                    CustRef#:                     4532-713-E-***
                                                                                                                    REDACTED
                                                                                    Primary Account#:                        4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                            AMOUNT
7129                          DEBIT CARD PURCHASE, AUT 072715 VISA DDA PUR                                                           333.75
                                      PANERAI BAL HARBOUR               786 735 6446 *FL
                                      REDACTED 7323
7129                          DEBIT CARD PURCHASE, AUT 072715 VISA DDA PUR                                                            25.00
                                      STARBUCKS CARD RELOAD               800 782 7282 *WA
                                      REDACTED 7323
7/31                          eTransfer Debit, Online Xfer                                                                       3,600.00
                                       Transfer to CK REDACTED 3112
7/31                          eTransfer Debit, Online Xfer                                                                           434.49
                                      Transfer to CK REDACTED 3112

                                                                                                        Subtotal:               77,387.58
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                            AMOUNT
711                           DEBIT                                                                                             50,000.00
716                           DEBIT                                                                                              5,008.00
7/14                          DEBIT                                                                                              2,158.00
7/16                          WIRE TRANSFER FEE                                                                                      15.00
7/20                          DEBIT                                                                                             25,008.00
7/20                          WIRE TRANSFER FEE                                                                                      15.00
7/23                          DEBIT                                                                                             25,008.00
7/27                          DEBIT                                                                                              9,000.00
                                                                                                        Subtotal:              116,212.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                            AMOUNT
7/31                          MAINTENANCE FEE                                                                                          8.00
                                                                                                        Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                       DATE                                 BALANCE
6130                                                      100,918.64                       7116                                 57,862.50
711                                                        50,457.73                       7117                                 38,663.88
7/2                                                        45,986.11                       7/20                                 58,353.68
713                                                        45,835.85                       7/21                                 57,259.35
716                                                        36,148.74                       7/22                                 50,387.26
717                                                        36,123.74                       7/23                                 23,194.61
7/8                                                        34,686.92                       7/24                                 22,586.51
719                                                        21,472.92                       7/27                                 12,533.32
7110                                                       19,175.04                       7/29                                 12,174.57
7113                                                       13,947.21                       7/31                                  8,132.08
7/14                                                        7,877.50


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                      Bank
                      America's Most Convenient Bank®                   E   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                          Page:                                      1 of9
      SALES                                                                 Statement Period:   Aug 012015-Aug31 2015
                                                                                                   REDACTED
      18 GRAF ROAD UNIT 26                                                  CustRef#:                       4532-713-E-***
                                                                                                              REDACTED
      NEWBURYPORT MA 01950-4032                                             Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            8,132.08               Average Collected Balance              6,630.99
Electronic Deposits                                          1,294.41               Annual Percentage Yield Earned            0.00%
Other Credits                                               35,000.00               Days in Period                                31

Checks Paid                                                    290.69
Electronic Payments                                         31,718.10
Other Withdrawals                                            6,258.00
Service Charges                                                  8.00
Ending Balance                                               6,151.70

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
8/5                          DEBIT CARD CREDIT, AUT 080515 VISA DDA REF                                                        373.05
                                 JAMESPERSE COM       3235882226 * CA
                                 REDACTED 7323
8/24                         DEBIT CARD CREDIT, AUT 082215 VISA DDA REF                                                          1.92
                                 WEB NETWORK.SOLUTIONS     888 642 9675 * FL
                                 REDACTED 7323
8/24                         DEBIT CARD CREDIT, AUT 082215 VISA DDA REF                                                          1.92
                                 WEB NETWORK.SOLUTIONS     888 642 9675 * FL
                                 REDACTED 7323
8/24                         DEBIT CARD CREDIT, AUT 082215 VISA DDA REF                                                          1.92
                                 WEB NETWORK.SOLUTIONS     888 642 9675 * FL
                                 REDACTED 7323
8/31                         DEBIT CARD CREDIT, AUT 082915 VISA DDA REF                                                        915.60
                                 WOW AIR          REYKJAVIK I SL
                                 REDACTED 7323
                                                                                                 Subtotal:
Other Credits
POSTING DATE                 DESCRIPTION                                                                                       AMOUNT
8/11                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                 5,000.00
8/12                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                 5,000.00
8/18                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                 5,000.00
8/19                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                10,000.00
8/27                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                10,000.00
                                                                                                 Subtotal:                35,000.00




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How to Balance your Account                                                                                                                                       Page:                     2 of9

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITI!DRAWALS N01   DOLLARS           CENTS                   WITI!DRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
Ifvou need information about an electronic fund transfer or ifvou belie\'e there is an       In case of Errors or Questions About Your Bill:
er;or on your bank statement or receipt relating to an electroni~ fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                   Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                   Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While \Ve
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the             the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                                 STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                    Page:                                              3 of9
      SALES                                                                                           Statement Period:           Aug 012015-Aug31 2015
                                                                                                                                     REDACTED
                                                                                                      CustRef#:                               4532-713-E-***
                                                                                                                                                REDACTED
                                                                                                      Primary Account #:                                 4532




DAILY ACCOUNT ACTIVITY
Checks Paid               No. Checks: I              For online bill pay customers, checks numbered "99XXXX" likely represent payments to a Biller that were
                                                     delivered as a paper check. Funds were withdrawn from your account when the check was cashed. You can view
                                                     these cleared checks in the Account History section of Online Banking.
                                                     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERlALNO.                           AMOUNT
8/31                        995001                                  290.69
                                                                                                                                    Subtotal:                      290.69
Electronic Payments
POSTING DATE                  DESCRlPTION                                                                                                                         AMOUNT
8/3                           TD ATM DEBIT, AUT 080215 DDA WITHDRAW                                                                                               1,000.00
                                      24 WINTER STREET                        BOSTON           *MA
                                      REDACTED 7323
8/3                           DEBIT CARD PURCHASE, AUT 080215 VISA DDA PUR                                                                                           58.00
                                      THE LARZ ANDERSON AUTO M                          617 5226547 *MA
                                      REDACTED 7323
8/3                           DEBIT CARD PURCHASE, AUT 073115 VISA DDA PUR                                                                                           25.00
                                      STARBUCKS CARD RELOAD                           800 782 7282 * WA
                                      REDACTED 7323
8/4                           DEBIT CARD PURCHASE, AUT 080215 VISA DDA PUR                                                                                           27.68
                                      MIKE PATTY S                           BOSTON         *MA
                                      REDACTED 7323
8/5                           DEBIT CARD PURCHASE, AUT 080415 VISA DDA PUR                                                                                           42.80
                                      PURITAN AND COMPANY                           WWW PURITANCA *MA
                                      REDACTED 7323
8/6                           eTransfer Debit, Online Xfer                                                                                                         914.00
                                       Transfer to CK REDACTED 3112
8/6                           eTransfer Debit, Online Xfer                                                                                                         603.00
                                       Transfer to CK REDACTED 3112
8/6                           DEBIT CARD PURCHASE, AUT 080415 VISA DDA PUR                                                                                           13.84
                                      MIKE PATTY S                           BOSTON         *MA
                                      REDACTED 7323
8/7                           TD ATM DEBIT, AUT 080715 DDA WITHDRAW                                                                                               1,000.00
                                      391 MARKET STREET                        BRIGHTON            * MA
                                      REDACTED 7323
8/7                           DEBIT CARD PURCHASE, AUT 080515 VISA DDA PUR                                                                                           53.83
                                      EXXONMOBIL 97448302 , STOUGHTON                                  * MA
                                      REDACTED 7323
8/7                           DEBIT CARD PURCHASE, AUT 080515 VISA DDA PUR                                                                                           39.88
                                      WEB NETWORKSOLUTIONS                            888 642 9675 * FL
                                      REDACTED 7323
8/10                          eTransfer Debit, Online Xfer                                                                                                        1,730.00
                                      Transfer to CK REDACTED 3112
8/10                          eTransfer Debit, Online Xfer                                                                                                        1,152.79
                                      Transfer to CK REDACTED 3112



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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      4 of9
     SALES                                                                                  Statement Period:   Aug 012015-Aug 31 2015
                                                                                                                   REDACTED
                                                                                            CustRef#:                       4532-713-E-***
                                                                                            Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
8/10                          eTransfer Debit, Online Xfer                                                                                     829.68
                                      Transfer to CK REDACTED 3112
8/10                          DEBIT CARD PURCHASE, AUT 080615 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 7323
8/10                          DEBIT CARD PURCHASE, AUT 080615 VISA DDA PUR                                                                       2.00
                                      THE CITY OF CAMBRIDGE                CAMBRIDGE         * MA
                                      REDACTED 7323
8/11                          eTransfer Debit, Online Xfer                                                                                 5,000.00
                                      Transfer to CK REDACTED 3112
8/12                          DEBIT CARD PURCHASE, AUT 081015 VISA DDA PUR                                                                     541.22
                                      GAS SNIFFER COM                   800 829 9580 * CA
                                      REDACTED 7323
8112                          DEBIT CARD PURCHASE, AUT 081115 VISA DDA PUR                                                                      94.61
                                      TOKYO III STEAKHOU                 NEWTON        *MA
                                      REDACTED 7323
8/12                          DEBIT POS, AUT 081215 DDA PURCHASE                                                                                73.13
                                      EXXONMOBIL                     BOSTON        *MA
                                      REDACTED 7323
8/12                          DEBIT POS, AUT 081215 DDA PURCHASE                                                                                50.00
                                      CVS 00107                    NEWTONVILLE     * MA
                                      REDACTED 7323
8/12                          DEBIT CARD PURCHASE, AUT 081015 VISA DDA PUR                                                                      25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 7323
8112                          DEBIT CARD PURCHASE, AUT 081115 VISA DDA PUR                                                                       1.40
                                      OPC BOSTON PARK                   617 635 4140 *MA
                                      REDACTED 7323
8/13                         DEBIT CARD PURCHASE, AUT 081115 VISA DDA PUR                                                                       18.89
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
8114                         DEBIT POS, AUT 081415 DDA PURCHASE                                                                                 91.04
                                      WM SUPERCENTER                    SAUGUS       *MA
                                      REDACTED 7323
8114                         DEBIT POS, AUT 081415 DDA PURCHASE                                                                                 63.59
                                      WAL WALMARTSUPER510                   SAUGUS          *MA
                                      REDACTED 7323
8114                         DEBIT POS, AUT 081415 DDA PURCHASE                                                                                 52.12
                                      2704 FRAMINGHAM                   FRAMINGHAM          *MA
                                      REDACTED 7323
8117                         eTransfer Debit, Online Xfer                                                                                  4,475.00
                                      Transfer to CK REDACTED 3112


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                      Bank
                      America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                         Page:                                      5 of9
     SALES                                                                                Statement Period:   Aug 01 2015-Aug 31 2015
                                                                                                                 REDACTED
                                                                                          CustRef#:                       4532-713-E-***
                                                                                          Primary Account#:                 REDACTED
                                                                                                                                     4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
8/17                          TD A TM DEBIT, AUT 081715 DDA WITHDRAW                                                                         300.00
                                      51 STATE STREET                  NEWBURYPORT *MA
                                      REDACTED 7323
8/17                          DEBIT POS, AUT 081715 DDA PURCHASE                                                                              70.05
                                      EXXONMOBIL                     NEWBURYP        * MA
                                      REDACTED 7323
8/17                          DEBIT CARD PURCHASE, AUT 081515 VISA DDA PUR                                                                    49.57
                                      THE GROG RESTAURANT                  NEWBURYPORT *MA
                                      REDACTED 7323
8/17                         DEBIT CARD PURCHASE, AUT 081515 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 *WA
                                      REDACTED 7323
8/17                         DEBIT CARD PURCHASE, AUT 081415 VISA DDA PUR                                                                     14.55
                                      SQ ATOMIC CAFE NEWBUR                 NEWBURYPORT *MA
                                      REDACTED 7323
8/17                         DEBIT CARD PURCHASE, AUT 081315 VISA DDA PUR                                                                     11.86
                                      SORELLE BAKERY CAFE                 CHARLESTOWN        * MA
                                      REDACTED 7323
8/18                         eTransfer Debit, Online Xfer                                                                                2,691.69
                                      Transfer to CK REDACTED 3112
8/18                         DEBIT CARD PURCHASE, AUT 081715 VISA DDA PUR                                                                    121.92
                                      KELLY S TRUE VALUE                 NEWBURY PORT * MA
                                      REDACTED 7323
8/19                         DEBIT CARD PURCHASE, AUT 081715 VISA DDA PUR                                                                     44.82
                                      PIZZA FACTORY                    NEWBURYPORT * MA
                                      REDACTED 7323
8/20                         DEBIT CARD PAYMENT, AUT 081915 VISA DDA PUR                                                                      26.75
                                      DECO BIKE MIAMI LLC                MIAMI       * FL
                                      REDACTED 7323
8/20                         DEBIT CARD PURCHASE, AUT 081915 VISA DDA PUR                                                                     11.97
                                      INFLIGHT WI FI LTV               321 216 3303 *FL
                                      REDACTED 7323
8/21                         DEBIT CARD PURCHASE, AUT 082015 VISA DDA PUR                                                                     83.57
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
8/21                         DEBIT CARD PURCHASE, AUT 082015 VISA DDA PUR                                                                     65.80
                                      QUARTINO S                   CHICAGO       * IL
                                      REDACTED 7323
8/21                         DEBIT CARD PURCHASE, AUT 082015 VISA DDA PUR                                                                     26.00
                                     SQUARESPACE INC                    6465803456   *NY
                                     REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      6 of9
     SALES                                                                                 Statement Period:   Aug 012015-Aug31 2015
                                                                                                                  REDACTED
                                                                                           CustRef#:                       4532-713-E-***
                                                                                           Primary Account#:                 REDACTED
                                                                                                                                      4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRlPTION                                                                                                     AMOUNT
8/21                          DEBIT CARD PURCHASE, AUT 081915 VISA DDA PUR                                                                     25.00
                                      UNITED  016260258168              800 932 2732 *TX
                                      REDACTED 7323
8/21                          DEBIT CARD PURCHASE, AUT 081915 VISA DDA PUR                                                                      7.99
                                      UNITED  016292241473              800 932 2732 *TX
                                      REDACTED 7323
8/21                          DEBIT CARD PURCHASE, AUT 082015 VISA DDA PUR                                                                      5.76
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323
8/24                          eTransfer Debit, Online Xfer                                                                                3,313.16
                                       Transfer to CK REDACTED 3112
8/24                          DEBIT CARD PURCHASE, AUT 082115 VISA DDA PUR                                                                    559.16
                                      RENAISSANCE9673VSCHAUMB                  SCHAUMBURG           * IL
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082115 VISA DDA PUR                                                                    198.10
                                      AMERICAN AI 001766835336             WEST LEBANON *NH
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082315 VISA DDA PUR                                                                    198.10
                                      AMERICAN AI 001766835336             WEST LEBANON *NH
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082215 VISA DDA PUR                                                                     87.00
                                      MASSPORT AUTH LOGAN PK 2                EAST BOSTON         * MA
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082115 VISA DDA PUR                                                                     61.88
                                      WOLFGANG PUCK 20258307                CHICAGO        * IL
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082315 VISA DDA PUR                                                                     61.06
                                      RENAISSANCE9673VSCHMBF B                CHICAGO         *IL
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082115 VISA DDA PUR                                                                     40.00
                                      MILNE TRAVEL AGENCY                  603 298 6644 * NH
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082115 VISA DDA PUR                                                                     25.00
                                      AMERICAN AI 001028930547             CHICAGO      *IL
                                      REDACTED 7323
8/24                          DEBIT CARD PURCHASE, AUT 082315 VISA DDA PUR                                                                     19.98
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 73 23
8/24                          DEBIT CARD PURCHASE, AUT 082315 VISA DDA PUR                                                                      5.76
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323




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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      7 of9
     SALES                                                                                 Statement Period:   Aug 01 2015-Aug 31 2015
                                                                                                                  REDACTED
                                                                                           CustRef#:                       4532-713-E-***
                                                                                           Primary Account#:                 REDACTED
                                                                                                                                      4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
8/24                          DEBIT CARD PURCHASE, AUT 082215 VISA DDA PUR                                                                      3.00
                                       CITY OF PORTSMOUTH NH                 PORTSMOUTH          * NH
                                       REDACTED 7323
8/25                          DEBIT CARD PURCHASE, AUT 082415 VISA DDA PUR                                                                     19.67
                                      SQ JAHO COFFEE ROASTER                 BOSTON        * MA
                                      REDACTED 7323
8/25                          DEBIT CARD PURCHASE, AUT 082415 VISA DDA PUR                                                                      7.33
                                      SQ JAHO COFFEE ROASTER                 BOSTON        * MA
                                      REDACTED 7323
8/26                          eTransfer Debit, Online Xfer                                                                                    450.00
                                       Transfer to CK REDACTED 3112
8/26                          DEBIT CARD PURCHASE, AUT 082415 VISA DDA PUR                                                                     26.00
                                      LAZ PARKING 550576                  BOSTON       *MA
                                      REDACTED 7323
8/26                          DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                     10.00
                                      BAR CODE GRAPHICS CB                  312 664 0700 *IL
                                      REDACTED 7323
8/27                        . DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                    915.60
                                      WOW AIR                        REYKJAVIK     I SL
                                      REDACTED 7323
8/27                          DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                    915.60
                                      WOW AIR                        REYKJAVIK     I SL
                                      REDACTED 7323
8/27                          DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                    287.35
                                      AIR CANADA 014766835337               WEST LEBANON *NH
                                      REDACTED 7323
8/27                          DEBIT CARD PURCHASE, AUT 082715 VISA DDA PUR                                                                    287.35
                                      AIR CANADA 014766835337               WEST LEBANON *NH
                                      REDACTED 7323
8/27                          DEBIT POS, AUT 082615 DDA PURCHASE                                                                              278.21
                                      NST BEST BUY  0230                  DORCHESTER      * MA
                                      REDACTED 7323
8/27                          DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                    250.00
                                      GS 1 US                       LAWRENCEVILLE * NJ
                                      REDACTED 7323
8/27                          DEBIT CARD PURCHASE, AUT 082515 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 * WA
                                      REDACTED 7323
8/27                          DEBIT POS, AUT 082715 DDA PURCHASE                                                                               10.00
                                      STOP SHOP 0089                   ALLSTON      * MA
                                      REDACTED 7323




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                     Bank
                     America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                       Page:                                      8 of9
     SALES                                                                              Statement Period:   Aug 012015-Aug31 2015
                                                                                                               REDACTED
                                                                                        CustRef#:                       4532-713-E-***
                                                                                                                          REDACTED
                                                                                        Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT

8/28                         TD ATM DEBIT, AUT 082815 DDA WITHDRAW                                                                     1,000.00
                                     24 WINTER STREET                 BOSTON      * MA
                                     REDACTED 7323
8/28                         DEBIT CARD PURCHASE, AUT 082615 VISA DDA PUR                                                                   100.00
                                     SOURCEONE EVENTS INC                708 3444111    * IL
                                     REDACTED 7323
8/28                         DEBIT CARD PURCHASE, AUT 082615 VISA DDA PUR                                                                    50.70
                                     EXXONMOBIL 97448302                STOUGHTON        *MA
                                     REDACTED 7323
8/28                         DEBIT CARD PURCHASE, AUT 082615 VISA DDA PUR                                                                    40.00
                                     MILNE TRAVEL AGENCY                 603 298 6644 * NH
                                     REDACTED 7323
8/31                         DEBIT CARD PURCHASE, AUT 082815 VISA DDA PUR                                                                   595.00
                                     TOURNEAU 38 R                  BOSTON       * MA
                                     REDACTED 7323
8/31                         DEBIT CARD PURCHASE, AUT 082915 VISA DDA PUR                                                                   100.00
                                     NEST LABS                    855 469 6378 * CA
                                     REDACTED 7323
8/31                         DEBIT CARD PURCHASE, AUT 082815 VISA DDA PUR                                                                     79.00
                                     APPLE STORE R149                 BOSTON      *MA
                                     REDACTED 7323
8/31                         DEBIT CARD PURCHASE, AUT 082715 VISA DDA PUR                                                                     63.29
                                     EXXONMOBIL 97448229                BOSTON         * MA
                                     REDACTED 7323
8/31                         DEBIT CARD PURCHASE, AUT 082915 VISA DDA PUR                                                                     50.00
                                     NEST LABS                    855 469 6378 * CA
                                     REDACTED 7323
                                                                                                              Subtotal:               31,718.10
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                   AMOUNT

8/11                         WIRE TRANSFER FEE                                                                                                15.00
8/12                         WIRE TRANSFER FEE                                                                                                15.00
8/18                         OVERDRAFT PD                                                                                                    175.00
8/18                         WIRE TRANSFER FEE                                                                                                15.00
8/19                         WIRE TRANSFER FEE                                                                                                15.00
8/27                         WIRE TRANSFER FEE                                                                                                15.00
8/28                         DEBIT                                                                                                         6,008.00
                                                                                                              Subtotal:                    6,258.00




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                     Bank
                     America's Most Convenient Bank®                           STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                             Page:                                     9 of9
      SALES                                                                    Statement Period:   Aug 01 2015-Aug 31 2015
                                                                                                      REDACTED
                                                                               CustRef#:                       4532-713-E-***
                                                                               Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE                 DESCRIPTION                                                                                         AMOUNT
8/31                         MAINTENANCE FEE                                                                                       8.00
                                                                                                    Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                 DATE                                     BALANCE
7/31                                                         8,132.08               8/17                                           0.60
8/3                                                          7,049.08               8/18                                      1,996.99
8/4                                                          7,021.40               8/19                                     11,937.17
8/5                                                          7,351.65               8/20                                     11,898.45
8/6                                                          5,820.81               8/21                                     11,684.33
817                                                          4,727.10               8/24                                      7,117.89
8/10                                                           987.63               8/25                                      7,090.89
8/11                                                           972.63               8/26                                      6,604.89
8112                                                         5,172.27               8/27                                     13,620.78
8/13                                                         5,153.38               8/28                                      6,422.08
8114                                                         4,946.63               8/31                                      6,151.70




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                      Bank
                      America's Most Convenient Bank®                             E         STATEMENT OF ACCOUNT


     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      1 of6
     SALES                                                                                  Statement Period:   Sep 01 2015-Sep 30 2015
                                                                                                                   REDACTED
     18 GRAF ROAD UNIT 26                                                                   CustRef#:                       4532-713-E-***
                                                                                            Primary Account#:                 REDACTED 4532
     NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            6,151.70                               Average Collected Balance              7,770.38
Electronic Deposits                                            665.00                               Annual Percentage Yield Earned            0.00%
Other Credits                                               42,500.00                               Days in Period                                30

Checks Paid                                                 30,934.05
Electronic Payments                                          5,081.62
Other Withdrawals                                               60.00
Service Charges                                                   8.00
Ending Balance                                              13,233.03

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                      AMOUNT
9/10                          ACH DEPOSIT, PA YP AL VERIFYBANK 204JDJ222HHEBXQ                                                                   0.17
9/10                          ACH DEPOSIT, PA YPAL VERIFYBANK 104JDJ222HHEBXQ                                                                    0.05
9/18                          DEBIT CARD CREDIT, AUT 091815 VISA DDA REF                                                                       428.36
                                      BLF BLUEFLY COM877258335              877 2583359 *NY
                                      REDACTED 7323
9/21                          DEBIT CARD CREDIT, AUT 091915 VISA DDA REF                                                                        16.79
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323
9/21                          DEBIT CARD CREDIT, AUT 091915 VISA DDA REF                                                                        16.79
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323
9/21                         DEBIT CARD CREDIT, AUT 091915 VISA DDA REF                                                                          1.92
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323
9/21                         DEBIT CARD CREDIT, AUT 091915 VISA DDA REF                                                                          1.92
                                      WEB NETWORK.SOLUTIONS                  888 642 9675 * FL
                                      REDACTED 7323
9/29                          ATM CHECK DEPOSIT, AUT 092915 ATM CHECK DEPOSI                                                                   199.00
                                      24 WINTER STREET                   BOSTON       *MA
                                      REDACTED 7323

                                                                                                                 Subtotal:                     665.00
Other Credits
POSTING DATE                 DESCRIPTION                                                                                                       AMOUNT
9/2                          WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                 7,500.00
9/10                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                10,000.00
9/15                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                10,000.00



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How to Balance your Account                                                                                                                                        Page:                     2 of6

Begin by adjusting your account register                            r. Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




0
DEPOSITS NOT                DOLLARS             CENTS                   WITilDRA W ALS N01   DOLLARS           CENTS                   WITilDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                            ON STATEMENT                                                   ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,              If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                              your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                              FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                              so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                    Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or \Vhy                Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                          If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                              You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                              collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we \Viii credit your account for the             the finance charge on your Moneyline/Overdraft Protection accollllt (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and \Vill continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                                    STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                       Page:                                                3 of6
      SALES                                                                                              Statement Period:             Sep 01 2015-Sep 30 2015
                                                                                                                                          REDACTED
                                                                                                         Cust Ref#:                                4532-713-E-***
                                                                                                         Primary Account#:                           REDACTED 4532




DAILY ACCOUNT ACTIVITY
Other Credits (continued)
POSTING DATE                  DESCRIPTION                                                                                                                             AMOUNT
9/28                          WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                                       15,000.00
                                                                                                                                         Subtotal:                42,500.00
Checks Paid               No. Checks: 12             For online bill pay customers, checks numbered "99XA'XX" likely represent payments to a Biller that were
                                                     delivered as a paper check. Funds were withdrawn from your account when the check was cashed. You can view
                                                     these cleared checks in the Account History section of Online Banking.
                                                     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                          AMOUNT                                          DATE                       SERIAL NO.                 AMOUNT
911                         995002                            2,400.00                                          9115                       995008                  8,799.00
911                         995003                            1,312.60                                          9/21                       995010*                 3,212.00
912                         995004                            2,337.50                                          9/21                       995011                  1,900.00
912                         995005                            1,000.00                                          9/22                       995012                     48.29
9110                        995006                            2,142.81                                          9/29                       995013                  6,060.00
919                         995007                            1,673.56                                          9/29                       995014                     48.29
                                                                                                                                         Subtotal:                30,934.05
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                                             AMOUNT
912                           DEBIT CARD PURCHASE, AUT 083115 VISA DDA PUR                                                                                            443.26
                                      BLF BLUEFLY COM877258335                        877 2583359        * NY
                                      REDACTED 7323
9/2                           DEBIT CARD PURCHASE, AUT 083115 VISA DDA PUR                                                                                             24.56
                                      JUICE REPUBLIC                        BOSTON              *MA
                                      REDACTED 7323
913                           eTransfer Debit, Online Xfer                                                                                                         1,012.28
                                       Transfer to CK REDACTED 3112
9/3                           DEBIT CARD PURCHASE, AUT 090115 VISA DDA PUR                                                                                             25.00
                                      STARBUCKS CARD RELOAD                             800 782 7282 *WA
                                      REDACTED 7323
9/8                           DEBIT CARD PURCHASE, AUT 090215 VISA DDA PUR                                                                                            285.20
                                      MOHEGAN SUN                            UNCASVILLE              * CT
                                      REDACTED 7323
9/8                           DEBIT CARD PURCHASE, AUT 090415 VISA DDA PUR                                                                                             29.98
                                      WEB NETWORKSOLUTIONS                              888 642 9675 * FL
                                      REDACTED 7323
9/8                           DEBIT CARD PURCHASE, AUT 090615 VISA DDA PUR                                                                                             29.55
                                      PF CHANGS 5600                        BOSTON              * MA
                                      REDACTED 7323
9/8                           DEBIT CARD PURCHASE, AUT 090715 VISA DDA PUR                                                                                             11.68
                                      FEDEXOFFICE 00002725                       BOSTON              * MA
                                      REDACTED 7323
9/8                           DEBIT CARD PURCHASE, AUT 090415 VISA DDA PUR                                                                                              8.23
                                      SQ JAHO COFFEE ROASTER                          BOSTON             * MA
                                      REDACTED 7323

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                      Bank
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      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      4 of6
      SALES                                                                                  Statement Period:   Sep 01 2015-Sep 30 2015
                                                                                                                    REDACTED
                                                                                             CustRef#:                       4532-713-E-***
                                                                                                                               REDACTED
                                                                                             Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
919                           DEBIT POS, AUT 090915 DDA PURCHASE                                                                                 48.10
                                      PAYPAL HRANNARB HRANN                     SAN JOSE       * CA
                                      REDACTED 7323
9/10                          ACH DEBIT, PAYPAL VERIFYBANK 404JDJ222HHEBXQ                                                                        0.22
9111                          DEBIT CARD PURCHASE, AUT 091015 VISA DDA PUR                                                                      393.90
                                      ONLY DOMAINS LIMIT                     STREET      NZL
                                      REDACTED 7323
9111                          DEBIT CARD PURCHASE, AUT 090915 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 7323
9114                          DEBIT POS, AUT 091215 DDA PURCHASE                                                                                123.87
                                      PAYPAL ONLYDOMAINS                      SAN JOSE       *CA
                                      REDACTED 7323
9114                          DEBIT POS, AUT 091315 DDA PURCHASE                                                                                 69.88
                                      NST BEST BUY  0032                   DORCHESTER    * MA
                                      REDACTED 7323
9114                          DEBIT CARD PURCHASE, AUT 091115 VISA DDA PUR                                                                       44.03
                                      FOODLER                      FOODLER COM        * MA
                                      REDACTED 7323
9114                          DEBIT CARD PURCHASE, AUT 091015 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 7323
9/14                          DEBIT CARD PURCHASE, AUT 091115 VISA DDA PUR                                                                       25.00
                                      STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                      REDACTED 7323
9114                          DEBIT CARD PURCHASE, AUT 091315 VISA DDA PUR                                                                       23.88
                                      ONLY DOMAINS LIMIT                    STREET       NZL
                                      REDACTED 7323
9/14                         DEBIT CARD PURCHASE, AUT 091215 VISA DDA PUR                                                                         9.99
                                      WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                      REDACTED 7323
9/14                         DEBIT CARD PURCHASE, AUT 091315 VISA DDA PUR                                                                         9.99
                                      WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                      REDACTED 7323
9114                         DEBIT CARD PURCHASE, AUT 091315 VISA DDA PUR                                                                         3.98
                                      WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                      REDACTED 7323
9/14                         DEBIT CARD PURCHASE, AUT 091315 VISA DDA PUR                                                                         2.40
                                      WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                      REDACTED 7323
9114                         DEBIT CARD PURCHASE, AUT 091315 VISA DDA PUR                                                                         2.40
                                      WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                      REDACTED 7323

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Bank Deposits FDIC Insured! TD Bank, N.A. I Equal Housing Lender   t:E:J
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                     Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT


     ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      5 of6
     SALES                                                                                  Statement Period:   Sep 01 2015-Sep 30 2015
                                                                                                                   REDACTED
                                                                                            Cust Ref#:                      4532-713-E-***
                                                                                            Primary Account#:                 REDACTED
                                                                                                                                       4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                       AMOUNT
9/15                         DEBIT CARD PURCHASE, AUT 091115 VISA DDA PUR                                                                  1,166.31
                                     MOHEGAN SUN                        UNCASVILLE     *CT
                                     REDACTED 7323
9/18                         DEBIT CARD PURCHASE, AUT 091615 VISA DDA PUR                                                                      250.00
                                     GSIUS                        LAWRENCEVILLE * NJ
                                     REDACTED 7323
9/18                         DEBIT CARD PURCHASE, AUT 091615 VISA DDA PUR                                                                       56.08
                                     EXXONMOBIL 97448229                  BOSTON          * MA
                                     REDACTED 7323
9/18                         DEBIT CARD PURCHASE, AUT 091615 VISA DDA PUR                                                                       36.24
                                     EXXONMOBIL 97448302                  STOUGHTON         * MA
                                     REDACTED 7323
9/21                         DEBIT POS, AUT 092015 DDA PURCHASE                                                                                 39.56
                                     PAYPAL HRANNARB                      SAN JOSE        *CA
                                     REDACTED 7323
9/21                         DEBIT CARD PAYMENT, AUT 091915 VISA DDA PUR                                                                        26.75
                                     DECO BIKE MIAMI LLC                  MIAMI       *FL
                                     REDACTED 7323
9/21                         DEBIT CARD PAYMENT, AUT 092015 VISA DDA PUR                                                                        26.00
                                     SQUARESPACE INC                     646 580 3456 *NY
                                     REDACTED 7323
9/21                         DEBIT CARD PURCHASE, AUT 091815 VISA DDA PUR                                                                       25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 *WA
                                     REDACTED 7323
9/21                         DEBIT CARD PURCHASE, AUT 092015 VISA DDA PUR                                                                        1.92
                                     WEB NETWORKSOLUTIONS                     888 642 9675 * FL
                                     REDACTED 7323
9/22                         DEBIT CARD PAYMENT, AUT 092015 VISA DDA PUR                                                                        31.11
                                     LEVELUPFOODLER9716681                  855 466 5585 *MA
                                     REDACTED 7323
9/22                         DEBIT CARD PURCHASE, AUT 092015 VISA DDA PUR                                                                       30.94
                                     NESPRESSO USA                      BOSTON       * MA
                                     REDACTED 7323
9123                         DEBIT CARD PURCHASE, AUT 092115 VISA DDA PUR                                                                      105.77
                                     DOUZO MODERN JAPAN                     BOSTON          *MA
                                     REDACTED 7323
9124                         DEBIT CARD PURCHASE, AUT 092215 VISA DDA PUR                                                                      182.21
                                     BLACK COW TAP GRILL                   NEWBURYPORT *MA
                                     REDACTED 7323
9/24                         DEBIT CARD PURCHASE, AUT 092215 VISA DDA PUR                                                                       74.20
                                     SOURCEONE EVENTS INC                   708 3444111    * IL
                                     REDACTED 7323



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                      Bank
                      America's Most Convenient Bank®                       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                          Page:                                      6 of6
      SALES                                                                 Statement Period:   Sep 01 2015-Sep 30 2015
                                                                                                   REDACTED
                                                                            CustRef#:                       4532-713-E-***
                                                                                                              REDACTED
                                                                            Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
9125                          DEBIT CARD PURCHASE, AUT 092415 VISA DDA PUR                                                      74.75
                                  MARTY S         NEWTON      * MA
                                  REDACTED 7323
9/28                          DEBIT CARD PURCHASE, AUT 092515 VISA DDA PUR                                                      54.38
                                  EXXONMOBIL 97437099   MEDFORD       * MA
                                  REDACTED 7323
9/28                          DEBIT CARD PURCHASE, AUT 092615 VISA DDA PUR                                                      25.00
                                  STARBUCKS CARD RELOAD    800 782 7282 *WA
                                  REDACTED 7323
9130                          DEBIT CARD PURCHASE, AUT 092915 VISA DDA PUR                                                     127.49
                                  BLOOMINGDALES COM      800 289 6229 *OH
                                  REDACTED 7323
9130                          DEBIT CARD PURCHASE, AUT 092915 VISA DDA PUR                                                      70.53
                                  BLOOMINGDALES COM      800 289 6229 * OH
                                  REDACTED 7323
                                                                                                 Subtotal:                        .62
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                       AMOUNT
912                          WIRE TRANSFER FEE                                                                                  15.00
9/10                         WIRE TRANSFER FEE                                                                                  15.00
9/15                         WIRE TRANSFER FEE                                                                                  15.00
9/28                         WIRE TRANSFER FEE                                                                                  15.00
                                                                                                 Subtotal:                      60.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                       AMOUNT
9/30                         MAINTENANCE FEE                                                                                     8.00
                                                                                                 Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE             DATE                                      BALANCE
8/31                                                        6,151.70             9/18                                     10,183.80
9/1                                                         2,439.10             9/21                                      4,989.99
912                                                         6,118.78             9122                                      4,879.65
9/3                                                         5,081.50             9123                                      4,773.88
9/8                                                         4,716.86             9124                                      4,517.47
919                                                         2,995.20             9125                                      4,442.72
9/10                                                       10,837.39             9/28                                     19,348.34
9/11                                                       10,418.49             9129                                     13,439.05
9/14                                                       10,078.07             9130                                     13,233.03
9/15                                                       10,097.76


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                      Bank
                      America's Most Convenient Bank®                                      E             STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                        Page:                                                1 of7
     SALES                                                                                               Statement Period:              Oct 01 2015-0ct 31 2015
                                                                                                                                          REDACTED
     18 GRAF RD UNIT 26                                                                                  CustRef#:                                 4532-713-E-***
                                                                                                         Primary Account#:                           REDACTED 4532
     NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                                                       Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            13,233.03                                               Average Collected Balance                    14,832.65
Electronic Deposits                                             687.66                                               Annual Percentage Yield Earned                   0.00%
Other Credits                                                66,000.00                                               Days in Period                                       31

Checks Paid                                                  10,294.58
Electronic Payments                                          23,818.58
Other Withdrawals                                            32,618.00
Service Charges                                                    8.00
Ending Balance                                               13,181.53

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                                             AMOUNT
10/7                          DEBIT CARD CREDIT, AUT 100715 VISA DDA REF                                                                                              687.66
                                      NELCO PRODUCTS INC                          7818263010          * MA
                                      REDACTED 7323

                                                                                                                                         Subtotal:                    687.66
Other Credits
POSTING DATE                  DESCRIPTION                                                                                                                             AMOUNT
10/6                          WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                                        6,000.00
10/15                         WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                                       10,000.00
10/21                         WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                             50,000.00
                                                                                                                                         Subtotal:                66,000.00
Checks Paid               No. Checks: 4              For online bill pay customers, checks numbered "99XXXX" likely represent payments to a Biller that were
                                                     delivered as a paper check. Funds were withdrawn from your account when the check was cashed. You can view
                                                     these cleared checks in the Account History section of Online Banking.
                                                     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                          AMOUNT                                          DATE                       SERIAL NO.                 AMOUNT
1011                        995009                            2,254.24                                           10115                     995016                  2,410.00
10/5                        995015*                           1,430.34                                           10/29                     995017                  4,200.00
                                                                                                                                         Subtotal:                10,294.58
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                                             AMOUNT
1011                          DEBIT CARD PURCHASE, AUT 093015 VISA DDA PUR                                                                                            687.66
                                      NELCO PRODUCTS INC                          7818263010          * MA
                                      REDACTED 7323
10/2                          DEBIT CARD PURCHASE, AUT 100115 VISA DDA PUR                                                                                            211.44
                                      BANG OLUFSEN                           BOSTON              *MA
                                      REDACTED 7323


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How to Balance your Account                                                                                                                                         Page:                     2 of7

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    W!TIIDRA W ALS NOl   DOLLARS           CENTS                   W!TIIDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                   ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,               If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                         your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
                                                                                               possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                               FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                               so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                     Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                     Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                           If you need more information, describe the item you are W1Sure about.
      Your name and account number.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                       are still obligated to pay the parts of your bill that are not in question. While we
                                                                                               investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                               collect the amount you question.
writing within ten (IO) business days after the first telephone call.
We will investigate your complaint and \Vill correct any error promptly. If we take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it         or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                           on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                                charge. The finance charge begins to accrue on the date advances and other debits
                                                                                               are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the       To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                               Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                               the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                               balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     3 of7
     SALES                                                                                 Statement Period:   Oct012015-0ct312015
                                                                                                                 REDACTED
                                                                                           Cust Ref#:                     4532-713-E-***
                                                                                                                            REDACTED
                                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/2                          DEBIT CARD PURCHASE, AUT 093015 VISA DDA PUR                                                                    25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 7323
10/5                          DEBIT CARD PURCHASE, AUT 100315 VISA DDA PUR                                                                    72.40
                                      GOURMET DUMPLING HOUSE                   BOSTON           * MA
                                      REDACTED 7323
1015                          DEBIT CARD PURCHASE, AUT 100115 VISA DDA PUR                                                                    25.58
                                      FANDANGO COM                      FANDANGO COM * CA
                                      REDACTED 7323
1016                          DEBIT CARD PURCHASE, AUT 100515 VISA DDA PUR                                                                   687.35
                                      NELCO PRODUCTS INC                  7818263010     * MA
                                      REDACTED 7323
10/7                          DEBIT CARD PURCHASE, AUT 100515 VISA DDA PUR                                                                     2.94
                                      BLU RESTAURANT                    BOSTON          *MA
                                      REDACTED 7323
10/8                          DEBIT CARD PURCHASE, AUT 100415 VISA DDA PUR                                                                   115.00
                                      NIKE COM                      800 806 6453 * OR
                                      REDACTED 7323
10/8                          DEBIT POS, AUT 100815 DDA PURCHASE                                                                               4.24
                                      CVS PHARMACY 01                   BOSTON          * MA
                                      REDACTED 7323
1019                          DEBIT CARD PURCHASE, AUT 100815 VISA DDA PUR                                                                    79.69
                                      DA YID YURMAN BOSTON                   BOSTON        *MA
                                      REDACTED 7323
10/9                          DEBIT CARD PURCHASE, AUT 100815 VISA DDA PUR                                                                    15.50
                                      AMZ TEUSCHERCHOCOLATES                   BOSTON           * MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 100815 VISA DDA PUR                                                                   616.25
                                      CARTIER BOSTON                    BOSTON      * MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101015 VISA DDA PUR                                                                    83.94
                                      APPLE STORE Rl49                  BOSTON      *MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101015 VISA DDA PUR                                                                    79.00
                                      APPLE STORE Rl49                  BOSTON      *MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 100915 VISA DDA PUR                                                                    56.45
                                      EXXONMOBIL 97448302                 STOUGHTON        *MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 100915 VISA DDA PUR                                                                    38.00
                                      ESCAPE BEAUTY NAIL SPA                BOSTON         *MA
                                      REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     4 of7
     SALES                                                                                 Statement Period:   Oct012015-0ct312015
                                                                                                                 REDACTED
                                                                                           Cust Ref#:                     4532-713-E-***
                                                                                                                            REDACTED
                                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/13                         DEBIT POS, AUT 101315 DDA PURCHASE                                                                              25.00
                                      PAYPAL DARINANDARI                  SAN JOSE     *CA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101115 VISA DDA PUR                                                                     17.37
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101015 VISA DDA PUR                                                                     10.00
                                      BAR CODE GRAPHICS CB                312 664 0700 *IL
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101115 VISA DDA PUR                                                                      7.39
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 100815 VISA DDA PUR                                                                      2.68
                                      SWEETGREEN BOY                    202 813 9439 *MA
                                      REDACTED 7323
10/13                         DEBIT CARD PURCHASE, AUT 101015 VISA DDA PUR                                                                      2.65
                                      OPC BOSTON PARK                   617 635 4140 *MA
                                      REDACTED 7323
10/14                         DEBIT POS, AUT 101415 DDA PURCHASE                                                                             104.20
                                      PAYPAL KOTID KOTID                 SAN JOSE     *CA
                                      REDACTED 7323
10/14                         DEBIT CARD PURCHASE, AUT 101315 VISA DDA PUR                                                                      2.65
                                      OPC BOSTON PARK                   617 635 4140 *MA
                                      REDACTED 7323
10/15                         DEBIT CARD PURCHASE, AUT 101415 VISA DDA PUR                                                               3,532.90
                                      PAYPAL KOTID KOTID                 402 935 7733 *CA
                                      REDACTED 7323
10/15                         DEBIT CARD PURCHASE, AUT 101315 VISA DDA PUR                                                               3,507.17
                                      ULINE SHIP SUPPLIES               800 295 5510 *IL
                                      REDACTED 7323
10/15                         DEBIT CARD PURCHASE, AUT 101415 VISA DDA PUR                                                                    188.85
                                      DALPAY IS LODSKIN 0906              SCHAAN       LIE
                                      REDACTED 7323
10/15                         DEBIT CARD PURCHASE, AUT 101215 VISA DDA PUR                                                                    129.98
                                      PACKAGING WHOLESALERS                  800 548 9121 *IL
                                      REDACTED 7323
10/15                         DEBIT CARD PURCHASE, AUT 101315 VISA DDA PUR                                                                     12.31
                                      PATISSERIE ON NEWBURY                BOSTON          *MA
                                      REDACTED 7323
10/16                         DEBIT CARD PURCHASE, AUT 101415 VISA DDA PUR                                                                     29.68
                                      LANDWORK LLC                      BETHEL      *VT
                                      REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                           STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                               Page:                                     5 of7
     SALES                                                                      Statement Period:   Oct 012015-0ct31 2015
                                                                                                      REDACTED
                                                                                CustRef#:                      4532-713-E-***
                                                                                                                 REDACTED
                                                                                Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                         AMOUNT
10/19                         DEBIT CARD PURCHASE, AUT 101615 VISA DDA PUR                                                         64.21
                                   STOWE MOUNTAIN LODGE                STOWE        *VT
                                   REDACTED 7323
10/19                         DEBIT CARD PURCHASE, AUT 101715 VISA DDA PUR                                                         36.15
                                   ULINE SHIP SUPPLIES            800 295 5510 *IL
                                   REDACTED 7323
10/19                         DEBIT CARD PURCHASE, AUT 101615 VISA DDA PUR                                                         25.00
                                   STARBUCKS CARD RELOAD                800 782 7282 *WA
                                   REDACTED 7323
10/19                         DEBIT CARD PURCHASE, AUT 101815 VISA DDA PUR                                                           1.92
                                   WEB NETWORKSOLUTIONS                 888 642 9675 * FL
                                   REDACTED 7323
10/20                         eTransfer Debit, Online Xfer                                                                    4,068.04
                                   Transfer to CK REDACTED 3112
10/21                         5CD DEBIT, THE HARTFORD NTCLBIIVRC 14734389                                                     2,341.20
10/21                         ELECTRONIC PMT-WEB, COMCAST CABLE 7071486                                                         281.13
10/21                         DEBIT CARD PAYMENT, AUT 102015 VISA DDA PUR                                                        26.75
                                   DECO BIKE MIAMI LLC              MIAMI       *FL
                                   REDACTED 7323
10/21                         DEBIT CARD PAYMENT, AUT 102015 VISA DDA PUR                                                           26.00
                                   SQUARESPACE INC                646 580 3456 *NY
                                   REDACTED 7323
10/21                         DEBIT CARD PURCHASE, AUT 101915 VISA DDA PUR                                                          21.96
                                   MIKE PATTY S                BOSTON        * MA
                                   REDACTED 7323
10/22                         DEBIT CARD PURCHASE, AUT 102015 VISA DDA PUR                                                        414.48
                                   ULINE SHIP SUPPLIES            800 295 5510 *IL
                                   REDACTED 7323
10/22                         DEBIT CARD PURCHASE, AUT 102115 VISA DDA PUR                                                         150.12
                                   ULINE SHIP SUPPLIES            800 295 5510 *IL
                                   REDACTED 7323
10/23                         DEBIT CARD PURCHASE, AUT 102215 VISA DDA PUR                                                          76.73
                                   ATLANTIC LEATHER                SAUDARKROKUR I SL
                                   REDACTED 7323
10/26                         DEBIT CARD PURCHASE, AUT 102315 VISA DDA PUR                                                        445.14
                                   ULINE SHIP SUPPLIES            800 295 5510 *IL
                                   REDACTED 7323
10/26                         eTransfer Debit, Online Xfer                                                                        299.18
                                   Transfer to CK REDACTED 3112
10/26                         DEBIT CARD PURCHASE, AUT 102315 VISA DDA PUR                                                          62.00
                                   CHESTNUT HILL                617 738 4810 *MA
                                   REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                           p~~                                      6~7
     SALES                                                                                  Statement Period:   Oct012015-0ct312015
                                                                                                                  REDACTED
                                                                                            Cust Ref#:                     4532-713-E-***
                                                                                                                             REDACTED
                                                                                            Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/26                         DEBIT CARD PURCHASE, AUT 102315 VISA DDA PUR                                                                      22.53
                                      S C SUPER LUX                   CHESTNUT HILL * MA
                                      REDACTED 7323
10/26                         DEBIT CARD PURCHASE, AUT 102515 VISA DDA PUR                                                                      13.43
                                      WEB NETWORKSOLUTIONS                      888 642 9675 * FL
                                      REDACTED 7323
10/26                         DEBIT CARD PURCHASE, AUT 102215 VISA DDA PUR                                                                       5.00
                                      NWHPARKING                        NEWTON        *MA
                                      REDACTED 7323
10/27                         eTransfer Debit, Online Xfer                                                                                   2,024.17
                                       Transfer to CK REDACTED 3112
10/27                         eTransfer Debit, Online Xfer                                                                                    840.00
                                       Transfer to CK REDACTED 3112
10/27                         ELECTRONIC PMT-WEB, NGRID05 NGRID05WEB 6668170078                                                               385.49
10/27                         eTransfer Debit, Online Xfer                                                                                    160.00
                                       Transfer to CK REDACTED 3112
10/28                         DEBIT CARD PURCHASE, AUT 102315 VISA DDA PUR                                                                    454.91
                                      PACKAGING WHOLESALERS                      800 548 9121 *IL
                                      REDACTED 7323
10/28                         eTransfer Debit, Online Xfer                                                                                    350.00
                                       Transfer to CK REDACTED 3112
10/28                         DEBIT CARD PURCHASE, AUT 102715 VISA DDA PUR                                                                    288.72
                                      OFFICESMART                      877 251 2288 *CA
                                      REDACTED 7323
10/28                         ACH DEBIT, UPS CUSTOMHOUSE CONS COLL 8US1Al883W                                                                  150.79
10/28                         DEBIT POS, AUT 102815 DDA PURCHASE                                                                                13.29
                                      CVS PHARMACY 05                        BOSTON     *MA
                                      REDACTED 7323
10/30                         DEBIT CARD PURCHASE, AUT 102815 VISA DDA PUR                                                                    352.50
                                      SCOOP WEB                     212 937 9710 *NY
                                      REDACTED 7323
10/30                         DEBIT CARD PURCHASE, AUT 102815 VISA DDA PUR                                                                      44.47
                                      EXXONMOBIL 97448302                     STOUGHTON     *MA
                                      REDACTED 7323

                                                                                                                 Subtotal:               23,818.58
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
10/6                          WIRE TRANSFER FEE                                                                                                 15.00
10/13                         WIRE TRANSFER OUTGOING, Theydal Ehf                                                                            3,738.00
10/13                         WIRE TRANSFER FEE                                                                                                 40.00
10/15                         WIRE TRANSFER FEE                                                                                                 15.00
10/16                         WIRE TRANSFER OUTGOING, Hanna Prudur Pordardottir                                                              1,901.00

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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   1:E::r
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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                     7 of7
     SALES                                                               Statement Period:   Oct 01 2015-0ct 31 2015
                                                                                               REDACTED
                                                                         Cust Ref#:                     4532-713-E-***
                                                                                                          REDACTED
                                                                         Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE                  DESCRIPTION                                                                                  AMOUNT
10/16                         WIRE TRANSFER FEE                                                                           40.00
10/21                         WIRE TRANSFER FEE                                                                            15.00
10/22                         WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                           20,000.00
10/22                         WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                2,090.00
10/22                         WIRE TRANSFER FEE                                                                           40.00
10/22                         WIRE TRANSFER FEE                                                                           40.00
10/23                         DEBIT                                                                                    4,684.00
                                                                                             Subtotal:                32,618.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                  AMOUNT
10/30                         MAINTENANCE FEE                                                                                8.00
                                                                                             Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE          DATE                                    BALANCE
9130                                                         13,233.03        10/16                                   7,703.84
10/1                                                         10,291.13        10/19                                   7,576.56
10/2                                                         10,054.69        10/20                                   3,508.52
10/5                                                          8,526.37        10/21                                  50,796.48
10/6                                                         13,824.02        10/22                                  28,061.88
10/7                                                         14,508.74        10/23                                  23,301.15
10/8                                                         14,389.50        10/26                                  22,453.87
10/9                                                         14,294.31        10/27                                  19,044.21
10/13                                                         9,577.58        10/28                                  17,786.50
10/14                                                         9,470.73        10/29                                  13,586.50
10/15                                                         9,674.52        10/30                                  13,181.53




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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender    @
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                      Bank
                      America's Most Convenient Bank®                                     E             STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                       p~~                                                      1~6
     SALES                                                                                              Statement Period:            Nov 01 2015-Nov 30 2015
                                                                                                                                        REDACTED
     18 GRAF RD UNIT 26                                                                                 Cust Ref#:                               4532-713-E-***
                                                                                                        Primary Account#:                          REDACTED 4532
     NEWBURYPORT MA 01950-4032




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                                                                      Account# REDACTED 4532
SALES


WE WILL SOON CHARGE A MONTHLY FEE FOR PAPER STATEMENTS.
BEGINNING JANUARY 1, 2016, WE'LL CHARGE A $2.00 MONTHLY FEE FOR PAPER STATEMENTS. TO HELP US "GO
GREEN" AND AVOID THIS FEE, LOG IN TO TDBANK.COM/BUSINESSDIRECT AND SIGN UP FOR ONLINE STATEMENTS
ONLY BY DECEMBER 31, 2015. IF YOU DON'T USE.ONLINE BANKING NOW, YOU'LL NEED TO SIGN UP FOR TD BANK
BUSINESSDIRECT FIRST. IF YOU ONLY RECEIVE ONLINE STATEMENTS NOW, THIS FEE DOESN'T APPLY.
QUESTIONS? CALL 1-888-751-9000.

ACCOUNT SUMMARY
Beginning Balance                                          13,181.53                                                 Average Collected Balance                     20,126.68
Electronic Deposits                                           327.00                                                 Annual Percentage Yield Earned                    0.00%
Other Credits                                             100,000.00                                                 Days in Period                                        30

Checks Paid                                                  7,500.00
Electronic Payments                                         13,204.74
Other Withdrawals                                           83,841.50
Service Charges                                                   8.00
Ending Balance                                               8,954.29

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
11123                        DEBIT CARD CREDIT, AUT 112315 VISA DDA REF                                                                                                327.00
                                      THE HOME DEPOT 3404                        SEABROOK              * NH
                                      REDACTED 7323

                                                                                                                                        Subtotal:                      327.00
Other Credits
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
1113                         WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               50,000.00
11117                        WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               50,000.00
                                                                                                                                        Subtotal:                 100,000.00
Checks Paid               No. Checks: 2             *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                         AMOUNT
11/2                                                         5,600.00
11117                       995018*                          1,900.00
                                                                                                                                        Subtotal:                   7,500.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
11/2                         DEBIT CARD PURCHASE, AUT 103015 VISA DDA PUR                                                                                           3,995.00
                                     VACOVEC MAYOTTE                             617 964 0500 *MA
                                     REDACTED 7323

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How to Balance your Account                                                                                                                                        Page:                     2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS            CENTS                    W!TilDRAW ALS N01   DOLLARS           CENTS                   W!TilDRAWALS NO              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                  ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,              If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                              your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                              FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                              so \\ill not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                 Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                          If you need more information, describe the item you are unsure about.
       Your name and account number.                                                          You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in             collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the              the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "ODu refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our im·estigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta.x authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      3 of6
     SALES                                                                                 Statement Period:   Nov 012015-Nov30 2015
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
11/4                          DEBIT CARD PURCHASE, AUT 110315 VISA DDA PUR                                                                3,308.21
                                      ULINE SHIP SUPPLIES               800 295 5510 *IL
                                      REDACTED 7323
11/5                          DEBIT CARD PURCHASE, AUT 110415 VISA DDA PUR                                                                     40.50
                                      DAVENPORTS FAMILY                   CUMBERLAND         * RI
                                      REDACTED 7323
11/6                          DEBIT CARD PURCHASE, AUT 110415 VISA DDA PUR                                                                      19.89
                                      EXXONMOBIL 97440614                BROOKLINE         *MA
                                      REDACTED 7323
11/9                          DEBIT CARD PURCHASE, AUT 110815 VISA DDA PUR                                                                      26.00
                                      SQUARESPACE INC                   6465803456   *NY
                                      REDACTED 7323
11/9                          DEBIT CARD PURCHASE, AUT 110815 VISA DDA PUR                                                                      17.37
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
11/9                          DEBIT CARD PURCHASE, AUT 110815 VISA DDA PUR                                                                       7.39
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
11/10                         eTransfer Debit, Online Xfer                                                                                    250.00
                                       Transfer to CK REDACTED 3112
11/12                         eTransfer Debit, Online Xfer                                                                                    200.00
                                       Transfer to CK REDACTED 3112
11/12                         DEBIT POS, AUT 111115 DDA PURCHASE                                                                               105.05
                                      WHOLEFDS DHM 103 300 LEG              DEDHAM          * MA
                                      REDACTED 7323
11/13                         DEBIT CARD PURCHASE, AUT 111215 VISA DDA PUR                                                                    595.00
                                      VACOVEC MAYOTTE                    617 964 0500 *MA
                                      REDACTED 7323
11/13                         5CD DEBIT, THE HARTFORD NTCLBIIVRC 14734389                                                                     594.10
11/13                         ACH DEBIT, HARLAND CLARKE CHK ORDERS 0062666612562L4                                                             40.49
11/16                         eTransfer Debit, Online Xfer                                                                                    120.00
                                       Transfer to CK REDACTED 3112
11/16                         DEBIT POS, AUT 111415 DDA PURCHASE                                                                                 3.99
                                  WHOLEFDS INK IO 348 HAR BOSTON                           * MA
                                      REDACTED 7323
11116                         DEBIT CARD PURCHASE, AUT 111515 VISA DDA PUR                                                                       3.52
                                      WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                      REDACTED 7323
11/16                         DEBIT CARD PURCHASE, AUT 111315 VISA DDA PUR                                                                       2.62
                                      PEETS 29705                   BROOKLINE    * MA
                                      REDACTED 7323




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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          p~~                                       4~6
     SALES                                                                                 Statement Period:   Nov 01 2015-Nov 30 2015
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-713-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
11/17                        DEBIT CARD PURCHASE, AUT 111515 VISA DDA PUR                                                                       4.00
                                      04946 1330 BOYLSTON ST                 BOSTON      * MA
                                      REDACTED 7323
11118                        DEBIT CARD PURCHASE, AUT 111615 VISA DDA PUR                                                                     51.88
                                      EXXONMOBIL 97551584                    NEWTON HIGHLA *MA
                                      REDACTED 7323
11118                        DEBIT POS, AUT 111815 DDA PURCHASE                                                                               41.10
                                      PAYPAL HRANNARB                        SAN JOSE    *CA
                                      REDACTED 7323
11119                        DEBIT CARD PURCHASE, AUT 111615 VISA DDA PUR                                                                     33.75
                                      GOURMET DUMPLING HOUSE                      BOSTON        * MA
                                      REDACTED 7323
11119                        DEBIT CARD PURCHASE, AUT 111815 VISA DDA PUR                                                                      10.70
                                      SQ JAHO COFFEE ROASTER                   BOSTON      * MA
                                      REDACTED 7323
11/23                        DEBIT CARD PURCHASE, AUT 112015 VISA DDA PUR                                                                    327.00
                                      THE HOME DEPOT 3404                    SEABROOK      * NH
                                      REDACTED 7323
11123                        eTransfer Debit, Online Xfer                                                                                    230.00
                                      Transfer to CK REDACTED 3112
11123                        DEBIT CARD PAYMENT, AUT 112015 VISA DDA PUR                                                                      26.75
                                     DECO BIKE MIAMI LLC                     MIAMI      * FL
                                     REDACTED 7323
11123                        DEBIT CARD PAYMENT, AUT 112015 VISA DDA PUR                                                                      26.00
                                      SQUARESPACE INC                       646 580 3456 *NY
                                      REDACTED 7323
11/24                        DEBIT CARD PURCHASE, AUT 112215 VISA DDA PUR                                                                    385.20
                                      BLOOMINGDALES COM                       MASON        *OH
                                      REDACTED 7323
11124                        DEBIT CARD PURCHASE, AUT 112415 VISA DDA PUR                                                                    350.78
                                     BLOOMINGDALES COM                        MASON        * OH
                                     REDACTED 7323
11/24                        DEBIT CARD PURCHASE, AUT 112215 VISA DDA PUR                                                                    249.84
                                      THE HOME DEPOT 3404                    SEABROOK      * NH
                                      REDACTED 7323
11124                        DEBIT CARD PURCHASE, AUT 112415 VISA DDA PUR                                                                     140.32
                                     BLOOMINGDALES COM                        MASON        *OH
                                     REDACTED 7323
11125                        DEBIT CARD PURCHASE, AUT 112315 VISA DDA PUR                                                                    854.00
                                     THE HOME DEPOT 3404                     SEABROOK      * NH
                                     REDACTED 7323
11125                        ELECTRONIC PMT-WEB, NATIONAL GRID ONLINE PMT CKF150740481POS                                                     143.94


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Bank Deposits FDIC Insured! TD Bank, N.A. I Equal Housing Lender   'l:E:r
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                      Bank
                      America's Most Convenient Bank®                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                      5 of6
     SALES                                                               Statement Period:   Nov 01 2015-Nov 30 2015
                                                                                                REDACTED
                                                                         Cust Ref#:                      4532-713-E-***
                                                                                                           REDACTED
                                                                         Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DA TE                 DESCRIPTION                                                                                   AMOUNT
11/25                         eTransfer Debit, Online Xfer                                                                   50.00
                                   Transfer to CK REDACTED 3112
11/25                         DEBIT CARD PURCHASE, AUT 112315 VISA DDA PUR                                                   12.52
                                   JUICE REPUBLIC               BOSTON   * MA
                                   REDACTED 7323
11/27                         DEBIT POS, AUT 112715 DDA PURCHASE                                                             61.63
                                   BLOOMYS 011175 BOYL CHESTNUTHILL* MA
                                   REDACTED 7323
11/30                         eTransfer Debit, Online Xfer                                                                  822.50
                                   Transfer to CK REDACTED 3112
11/30                         DEBIT CARD PURCHASE, AUT 112615 VISA DDA PUR                                                   38.12
                                   EXXONMOBIL 97448302             STOUGHTON * MA
                                   REDACTED 7323
11/30                         DEBIT POS, AUT 112815 DDA PURCHASE                                                             15.58
                                   CVS PHARMACY 00                CANTON    *MA
                                   REDACTED 7323
                                                                                              Subtotal:                13,204.74
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                   AMOUNT
11/3                          WIRE TRANSFER OUTGOING, Darina Juykova                                                   10,000.00
11/3                          WIRE TRANSFER FEE                                                                            25.00
11/3                          WIRE TRANSFER FEE                                                                            15.00
11/6                          DEBIT                                                                                     5,328.00
11/10                         WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                            15,000.00
11/10                         WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                 3,127.50
11/10                         WIRE TRANSFER OUTGOING, Theydal Ehf                                                       2,285.00
11/10                         WIRE TRANSFER FEE                                                                            40.00
11/10                         WIRE TRANSFER FEE                                                                            40.00
11/10                         WIRE TRANSFER FEE                                                                            40.00
11/13                         DEBIT                                                                                     4,488.00
11/16                         WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                 4,942.00
11/16                         WIRE TRANSFER FEE                                                                            40.00
11/17                         WIRE TRANSFER FEE                                                                            15.00
11/19                         WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                            30,000.00
11/19                         WIRE TRANSFER FEE                                                                            40.00
11/20                         DEBIT                                                                                     5,608.00
11/25                         DEBIT                                                                                     2,808.00
                                                                                               Subtotal:               83,841.50




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Bank Deposits FDlC Insured I TD Bank, N.A. I Equal Housing Lender   @
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                     Bank
                     America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                     p~~                                       6~6
     SALES                                                            Statement Period:   Nov 01 2015-Nov 30 2015
                                                                                             REDACTED
                                                                      Cust Ref#:                      4532-713-E-***
                                                                                                        REDACTED
                                                                      Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE                 DESCRJPTION                                                                                AMOUNT
11130                        MAINTENANCE FEE                                                                              8.00
                                                                                           Subtotal:                      8.00
DAILY BALANCE SUMMARY
DATE                                                       BALANCE          DATE                                    BALANCE
10/31                                                     13,181.53         11/16                                   2,881.90
1112                                                       3,586.53         11117                                  50,962.90
1113                                                      43,546.53         11118                                  50,869.92
11/4                                                      40,238.32         11119                                  20,785.47
11/5                                                      40,197.82         11120                                  15,177.47
1116                                                      34,849.93         11123                                  14,894.72
1119                                                      34,799.17         11/24                                  13,768.58
11110                                                     14,016.67         11125                                   9,900.12
11112                                                     13,711.62         11127                                   9,838.49
11/13                                                      7,994.03         11130                                   8,954.29




Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured IID Bank, N.A I Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                    E   STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                            Pq~                                       1~9
     SALES                                                                   Statement Period:   Dec 01 2015-Dec 31 2015
                                                                                                    REDACTED
     18 GRAF RD UNIT 26                                                      Cust Ref#:                      4532-713-E-***
                                                                                                               REDACTED
     NEWBURYPORT MA 01950-4032                                               Primary Account#:                          4532




TD Business Simple Checking
ENCOMPASS COMMUNICATIONS INC                                                                              Account# REDACTED 4532
SALES


AVOID ATM FEES BY USING ONE OF OUR MANY TD ATMS.
BEGINNING APRIL 1, 2016, OUR AFFILIATE SUM NETWORK WILL BEGIN CHARGING CUSTOMERS A SURCHARGE FEE
AT SOME NON-TD ATMS. THIS IS NOT A TD BANK FEE. AS A COURTESY, HOWEVER, WE WANTED TO LET YOU
KNOW ABOUT THIS CHANGE AND REMIND YOU TO USE TD ATMS TO AVOID THIS AND ALL ATM FEES. TO LOCATE A
TD ATM NEAR YOU, USE OUR MOBILE APP OR VISIT TD BANK.COM.

ACCOUNT SUMMARY
Beginning Balance                                            8,954.29                Average Collected Balance                 7,482.32
Deposits                                                    20,000.00                Annual Percentage Yield Earned               0.00%
Electronic Deposits                                            147.40                Days in Period                                   31
Other Credits                                               35,000.00

Electronic Payments                                         36,931.29
Other Withdrawals                                           19,335.00
Service Charges                                                   8.00
Ending Balance                                               7,827.40

DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
1219                          DEPOSIT                                                                                      20,000.00
                                                                                                  Subtotal:                20,000.00
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                      AMOUNT
12110                         DEBIT CARD CREDIT, AUT 121015 VISA DDA REF                                                         114.49
                                  RESTORATION HARDWARE        844 252 0930 * CA
                                  REDACTED 7323
12/21                         DEBIT CARD CREDIT, AUT 121915 VISA DDA REF                                                          32.91
                                  TARGET COM         800 591 3869 * MN
                                  REDACTED 7323
                                                                                                  Subtotal:                      147.40
Other Credits
POSTING DATE                  DESCRIPTION                                                                                       AMOUNT
1214                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                      10,000.00
12/10                         WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                       5,000.00
12/21                         WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                      20,000.00
                                                                                                  Subtotal:                35,000.00




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How to Balance your Account                                                                                                                                        Page:                     2 of9

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    W!TI!DRA WALS NOl   DOLLARS           CENTS                   WITI!DRA WALS NO             DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                  ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,              If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                        your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                              FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                              so will not preserve your rights. In your Jetter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                 Describe the error and explain, if you can, why you believe there is an error.
more infonnation is needed. Please include:                                                          If you need more information, describe the item you are unsure about.
      Your name and account number.                                                           You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
    • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in             collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. Ifwe take             FINANCE CHARGES:Although the Bank uses the Daily Balance method to caiculate
more than ten (l O) business days to do this, we will credit your account for the             the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection). the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     3 of9
     SALES                                                                                 Statement Period:   Dec012015-Dec312015
                                                                                                                 REDACTED
                                                                                           Cust Ref#:                     4532-713-E-***
                                                                                                                            REDACTED
                                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                    AMOUNT
12/1                          DEBIT CARD PURCHASE, AUT 113015 VISA DDA PUR                                                               1,532.35
                                       ULINE SHIP SUPPLIES              800 295 5510 *IL
                                       REDACTED 7323
12/1                          DEBIT CARD PURCHASE, AUT 113015 VISA DDA PUR                                                                   781.67
                                       THE WEBSTAURANT STORE                717 392 7472 *PA
                                       REDACTED 7323
12/2                          DEBIT CARD PURCHASE, AUT 113015 VISA DDA PUR                                                                   139.09
                                       HP HP HOME STORE                 888 345 5409 * CA
                                       REDACTED 7323
12/3                          DEBIT CARD PURCHASE, AUT 120115 VISA DDA PUR                                                                   362.20
                                       AMERICAN AI 001769865901           WEST LEBANON *NH
                                       REDACTED 7323
12/3                          DEBIT CARD PURCHASE, AUT 120315 VISA DDA PUR                                                                   362.20
                                      AMERICAN AI 001769865901            WEST LEBANON *NH
                                      REDACTED 7323
12/3                          DEBIT POS, AUT 120215 DDA PURCHASE                                                                             240.89
                                      WHOLEFDS FTL 101 2000 NO             FORT LAUDERDA *FL
                                      REDACTED 7323
12/4                          DEBIT CARD PURCHASE, AUT 113015 VISA DDA PUR                                                                   295.38
                                      HOMEDEPOT COM                     800 430 3376 * GA
                                      REDACTED 7323
12/4                          DEBIT CARD PURCHASE, AUT 120215 VISA DDA PUR                                                                    40.00
                                      MILNE TRAVEL AGENCY                  603 298 6644 * NH
                                      REDACTED 7323
12/7                          TDBANK BILL PAY CHECK, GRAF ROAD LLC                                                                       1,900.00
                                       CHECK# 995020
12/7                          DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                   315.65
                                      Y 3 LINCOLN ROAD                  MIAMI BEACH * FL
                                      REDACTED 7323
12/7                          DEBIT CARD PURCHASE, AUT 120515 VISA DDA PUR                                                                   160.37
                                      BEDBATH BEYOND 651                 615111 llll *NJ
                                      REDACTED 7323
12/7                          DEBIT CARD PURCHASE, AUT 120315 VISA DDA PUR                                                                   141.00
                                      SIMPLEHUMAN LLC                   310 436 2250 * CA
                                      REDACTED 7323
12/7                          eTransfer Debit, Online Xfer                                                                                   120.00
                                       Transfer to CK REDACTED 3112
12/7                          DEBIT CARD PURCHASE, AUT 120615 VISA DDA PUR                                                                    88.30
                                      WILLIAMS SONOMA E COMM                 800 541 1262 * CA
                                      REDACTED 7323
12/7                          DEBIT CARD PURCHASE, AUT 120615 VISA DDA PUR                                                                    85.11
                                      AMERICAN AI 001062108709            DALLAS       *TX
                                      REDACTED 7323

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                     Bank
                     America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                        Page:                                       4 of9
     SALES                                                                               Statement Period:    Dec 012015-Dec31 2015
                                                                                         CustRef#:               REDACTED
                                                                                                                          4532-713-E-* **
                                                                                                                            REDACTED
                                                                                         Primary Account #:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                     AMOUNT
12/7                         DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                      82.91
                                     AMERICAN AI 001062108709            DALLAS       *TX
                                     REDACTED 7323
12/7                         DEBIT CARD PURCHASE, AUT 120615 VISA DDA PUR                                                                      55.39
                                      WALGREENS 2489                   AVENTURA     * FL
                                      REDACTED 7323
12/7                         DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                      33.50
                                     DKB HOUSEHOLD USA ZYLIS                888 794 7623 * CA
                                     REDACTED 7323
12/7                         DEBIT CARD PURCHASE, AUT 120515 VISA DDA PUR                                                                      21.39
                                     BED BATH BEYOND 651                 615 111 1111 *NJ
                                     REDACTED 7323
12/7                         DEBIT CARD PURCHASE, AUT 120615 VISA DDA PUR                                                                      19.37
                                     WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                     REDACTED 7323
12/7                         DEBIT CARD PURCHASE, AUT 120615 VISA DDA PUR                                                                       9.39
                                     WEB NETWORKSOLUTIONS                   888 642 9675 * FL
                                     REDACTED 7323
12/8                         DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                    530.72
                                     RESTORATION HARDWARE                   844 252 0930 * CA
                                     REDACTED 7323
12/8                         DEBIT POS, AUT 120815 DDA PURCHASE                                                                               139.05
                                     NST BEST BUY 1498 0832             MIAMI BEACH *FL
                                     REDACTED 7323
12/8                         DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                      26.78
                                     TARGET COM                    800 591 3869 *MN
                                     REDACTED 7323
12/8                         DEBIT CARD PURCHASE, AUT 120715 VISA DDA PUR                                                                      21.39
                                     MIDTOWN SMOKESHOP                    MIAMI       * FL
                                     REDACTED 7323
12/8                         DEBIT CARD PURCHASE, AUT 120715 VISA DDA PUR                                                                       9.10
                                     SQ PANTHER COFFEE                  MIAMI      *FL
                                     REDACTED 7323
12/8                         DEBIT POS, AUT 120815 DDA PURCHASE                                                                                 4.38
                                     NST BEST BUY 1498 0380             MIAMI BEACH *FL
                                     REDACTED 7323
12/8                         DEBIT CARD PURCHASE, AUT 120715 VISA DDA PUR                                                                       0.40
                                     TARGET COM                    800 591 3869 *MN
                                     REDACTED 7323
12/9                         DEBIT CARD PURCHASE, AUT 120415 VISA DDA PUR                                                                     177.22
                                     WALMART COM 8009666546               800 966 6546 * AR
                                     REDACTED 7323
12/9                         ELECTRONIC PMT-WEB, COMCAST CABLE 3075866                                                                         93.71

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                     Bank
                      America's Most Convenient Bank®                                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                         p~~                                       5~9
     SALES                                                                                Statement Period:   Dec 012015-Dec31 2015
                                                                                                                 REDACTED
                                                                                          Cust Ref#:                      4532-713-E-***
                                                                                                                            REDACTED
                                                                                          Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
12/9                          DEBIT CARD PURCHASE, AUT 120815 VISA DDA PUR                                                                     30.35
                                      MB PARKING PARK.MOBILE               WWW PARK.MOBIL* FL
                                      REDACTED 7323
1219                          DEBIT CARD PAYMENT, AUT 120815 VISA DDA PUR                                                                      26.00
                                      SQUARESPACE INC                  646 580 3456 * NY
                                      REDACTED 7323
12/9                         DEBIT CARD PURCHASE, AUT 120715 VISA DDA PUR                                                                      10.97
                                      THE LAUNDRY FACTORY                  305 2183557 *FL
                                      REDACTED 7323
12/9                         DEBIT CARD PURCHASE, AUT 120815 VISA DDA PUR                                                                       2.35
                                      MB PARKING PARK.MOBILE               WWW PARK.MOBIL* FL
                                      REDACTED 7323
12/10                        ELECTRONIC PMT-WEB, NGRID05 NGRID05WEB 6668170078                                                               720.99
12/10                        DEBIT CARD PURCHASE, AUT 120815 VISA DDA PUR                                                                     32.51
                                      TARGET COM                     800 591 3869 *MN
                                      REDACTED 7323
12/10                        DEBIT POS, AUT 121015 DDA PURCHASE                                                                                23.71
                                      CVS PHARMACY 04                  MIAMI       *FL
                                      REDACTED 7323
12/11                        TDBANK BILL PAY CHECK, MASS MARKETING CONSUL TING                                                              3,420.00
                                      CHECK# 995021
12/11                        DEBIT CARD PURCHASE, AUT 121015 VISA DDA PUR                                                                    344.03
                                     IKEA HOME SHOPPING                  410 931 5410 *MD
                                     REDACTED 7323
12111                        5CD DEBIT, NATIONAL GRID NE UTILITYPA Y 04103225645                                                             204.28
12111                        DEBIT CARD PURCHASE, AUT 121115 VISA DDA PUR                                                                     33.25
                                      WILLIAMS SONOMA E COMM                   800 5411262 *CA
                                      REDACTED 7323
12/14                        eTransfer Debit, Online Xfer                                                                                   6,384.00
                                      Transfer to CK REDACTED 3112
12/14                        TD ATM DEBIT, AUT 121415 DDA WITHDRAW                                                                           700.00
                                     1101 BRICKELL AVE                 MIAMI       *FL
                                     REDACTED 7323
12/14                        TD ATM DEBIT, AUT 121315 DDA WITHDRAW                                                                           700.00
                                     1101 BRICKELL AVE                 MIAMI       *FL
                                     REDACTED 7323
12/14                        TD ATM DEBIT, AUT 121415 DDA WITHDRAW                                                                            300.00
                                     1101 BRICKELL AVE                 MIAMI       *FL
                                     REDACTED 7323
12/14                        TD ATM DEBIT, AUT 121315 DDA WITHDRAW                                                                           300.00
                                     1101 BRICKELL A VE                MIAMI       * FL
                                     REDACTED 7323


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                      Bank
                      America's Most Convenient Bank®                                              STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                  Page:                                      6 of9
     SALES                                                                                         Statement Period:   Dec 01 2015-Dec 31 2015
                                                                                                                          REDACTED
                                                                                                   CustRef#:                       4532-713-E-***
                                                                                                                                     REDACTED
                                                                                                   Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                   DESCRIPTION                                                                                                            AMOUNT
12/14                         DEBIT POS, AUT 121315 DDA PURCHASE                                                                                      176.01
                                       EPICURE MARKET                     MIAMI BEACH          * FL
                                       REDACTED 7323
12/14                          DEBIT POS, AUT 121415 DDA PURCHASE                                                                                     152.60
                                       PUBLIX                        MIAMI      * FL
                                       REDACTED 7323
12114                         eTransfer Debit, Online Xfer                                                                                            114.00
                                       Transfer to CK REDACTED 3112
12/14                         DEBIT CARD PURCHASE, AUT 121315 VISA DDA PUR                                                                             28.40
                                       NESPRESSO USA INC                     MIAMI          * FL
                                       REDACTED 7323
12114                         DEBIT CARD PURCHASE, AUT 121015 VISA DDA PUR                                                                             11.12
                                       BED BATH BEYOND 651                    615 1111111 *NJ
                                       REDACTED 7323
12/14                         DEBIT POS, AUT 121315 DDA PURCHASE                                                                                       10.66
                                       E HARDWARE BRICKELL                     MIAMI          *FL
                                       REDACTED 7323
12/14                         DEBIT CARD PURCHASE, AUT 121315 VISA DDA PUR                                                                              9.00
                                       JUTOX LLC                      MIAMI          * FL
                                       REDACTED 7323
12114                         DEBIT CARD PURCHASE, AUT 121215 VISA DDA PUR                                                                              2.68
                                       BEST BUY  00014985                 MIAMI BEACH *FL
                                       REDACTED 7323
12114                         DEBIT CARD PURCHASE, AUT 121315 VISA DDA PUR                                                                              2.00
                                       CITY OF MIAMI BEACH 17 S                MIAMI BEACH           * FL
                                       REDACTED 7323
12116                         DEBIT CARD PURCHASE, AUT 121515 VISA DDA PUR                                                                             22.50
                                       JUTOXLLC                       MIAMI          *FL
                                       REDACTED 7323
12117                         eTransfer Debit, Online Xfer                                                                                        1,855.01
                                       Transfer to CK REDACTED 3112
12117                         TD ATM DEBIT, AUT 121715 DDA WITHDRAW                                                                                   500.00
                                       307 TRAPELO RD                   BELMONT             *MA
                                       REDACTED 7323
12/17                         eTransfer Debit, Online Xfer                                                                                            230.00
                                       Transfer to CK REDACTED 3112
12117                         DEBIT CARD PURCHASE, AUT 121515 VISA DDA PUR                                                                            212.93
                                       APPLE STORE RI 15                  MIAMI BEACH         * FL
                                       REDACTED 7323
12117                         DEBIT POS, AUT 121615 DDA PURCHASE                                                                                       19.85
                                       CVS PHARMACY 05                     BOSTON           * MA
                                       REDACTED 7323


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                      Bank
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     ENCOMPASS COMMUNICATIONS INC                                             Page:                                      7 of9
     SALES                                                                    Statement Period:   Dec 01 2015-Dec 31 2015
                                                                                                     REDACTED
                                                                              Cust Ref#:                      4532-713-E-***
                                                                                                                REDACTED
                                                                              Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                        AMOUNT
12117                         DEBIT POS, AUT 121715 DDA PURCHASE                                                                    2.65
                                   CVS PHARMACY 01              BELMONT       * MA
                                   REDACTED 7323
12/18                         DEBIT CARD PURCHASE, AUT 121615 VISA DDA PUR                                                         60.00
                                   GOURMET DUMPLING HOUSE              BOSTON      * MA
                                   REDACTED 7323
12/18                         DEBIT CARD PURCHASE, AUT 121615 VISA DDA PUR                                                         26.60
                                   EXXONMOBIL 97448302            STOUGHTON * MA
                                   REDACTED 7323
12/21                         eTransfer Debit, Online Xfer                                                                   6,328.00
                                   Transfer to CK REDACTED 3112
12/21                         NONTD ATM DEBIT, AUT 121915 DDA WITHDRAW                                                           703.00
                                   BRICKELL                 MIAMI     *FL
                                   REDACTED 7323
12/21                         DEBIT POS, AUT 121815 DDA PURCHASE                                                                 273.86
                                   WHOLEFDS MIA 10 299 SE MIAMI               * FL
                                   REDACTED 7323
12/21                         DEBIT POS, AUT 122115 DDA PURCHASE                                                                 128.37
                                   NST BEST BUY 1498 0362         MIAMI BEACH * FL
                                   REDACTED 7323
12/21                         DEBIT CARD PAYMENT, AUT 122015 VISA DDA PUR                                                          26.00
                                   SQUARESPACE INC              646 580 3456 *NY
                                   REDACTED 7323
12/21                         NONTD ATM FEE                                                                                        3.00
12/22                         DEBIT POS, AUT 122215 DDA PURCHASE                                                                 319.93
                                   CB2 056                MIAMI BEACH * FL
                                   REDACTED 7323
12/22                         DEBIT POS, AUT 122215 DDA PURCHASE                                                                  119.85
                                   EPICURE MARKET               MIAMI BEACH * FL
                                   REDACTED 7323
12/22                         TD ATM DEBIT, AUT 122215 DDA WITHDRAW                                                               100.00
                                   350 LINCOLN ROAD             MIAMI BEACH * FL
                                   REDACTED 7323
12/22                         DEBIT POS, AUT 122215 DDA PURCHASE                                                                   51.36
                                   MAC LINCOLN RD 695439 MIAMI                * FL
                                   REDACTED 7323
12/23                         eTransfer Debit, Online Xfer                                                                   3,325.00
                                   Transfer to CK REDACTED 3112
12/23                         DEBIT CARD PURCHASE, AUT 122115 VISA DDA PUR                                                         96.29
                                   INMOTION AIRPORTMIA Dl            MIAMI      *FL
                                   REDACTED 7323



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                      Bank
                      America's Most Convenient Bank®                                         STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                             Page:                                      8 of9
     SALES                                                                                    Statement Period:   Dec 012015-Dec31 2015
                                                                                                                     REDACTED
                                                                                              Cust Ref#:                      4532-713-E-* **
                                                                                                                                REDACTED
                                                                                              Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
12/23                         DEBIT CARD PURCHASE, AUT 122115 VISA DDA PUR                                                                         2.78
                                      FRESH ATTRACTI12294609                 MIAMI        * FL
                                      REDACTED 7323
12/24                         5CD DEBIT, THE HARTFORD NWTBCLSCIC 14734389                                                                        592.10
12/24                         DEBIT CARD PURCHASE, AUT 122215 VISA DDA PUR                                                                       300.00
                                      MERIDIAN LOGISTICS                  888 2976968    * TX
                                      REDACTED 7323
12/28                         DEBIT CARD PURCHASE, AUT 122715 VISA DDA PUR                                                                        16.77
                                      TOASTED BAGELRY DELI                   MIAMI        * FL
                                      REDACTED 7323
12/28                         DEBIT CARD PURCHASE, AUT 122515 VISA DDA PUR                                                                         6.42
                                      DECO BIKE                      MIAMI       *FL
                                      REDACTED 7323
12/30                         5CD DEBIT, U. P. S. UPS BILL 153530000057E40                                                                        81.20
                                                                                                                   Subtotal:                36,931.29
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
12/4                          DEBIT                                                                                                          5,608.00
12/4                          WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                                      5,128.00
12/4                          WIRE TRANSFER FEE                                                                                                 40.00
12/4                          WIRE TRANSFER FEE                                                                                                 15.00
12/10                         WIRE TRANSFER FEE                                                                                                 15.00
12/14                         WIRE TRANSFER OUTGOING, Theydal Ehf                                                                            2,924.00
12/14                         WIRE TRANSFER OUTGOING, Sil Vly Bk Sj                                                                          2,500.00
12114                         WIRE TRANSFER FEE                                                                                                 40.00
12114                         WIRE TRANSFER FEE                                                                                                 25.00
12/14                         MINI STMT PREAUTH, AUT 121315 MINISTMT PREAUTH                                                                     0.00
                                      1101 BRICKELL A VE                 MIAMI         * FL
                                      REDACTED 7323
12/15                         WIRE TRANSFER OUTGOING, Derina Juykova                                                                         3,000.00
12/15                         WIRE TRANSFER FEE                                                                                                 25.00
12/21                         WIRE TRANSFER FEE                                                                                                 15.00
                                                                                                                   Subtotal:                19,335.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                                        AMOUNT
12/31                         MAINTENANCE FEE                                                                                                      8.00
                                                                                                                   Subtotal:                       8.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                               DATE                                     BALANCE
11130                                                         8,954.29                             12/1                                      6,640.27

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                     Bank
                      America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                      Page:                                      9 of9
     SALES                                                             Statement Period:   Dec 01 2015-Dec 31 2015
                                                                                              REDACTED
                                                                       Cust Ref#:                      4532-713-E-***
                                                                                                         REDACTED
                                                                       Primary Account#:                          4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE        DATE                                      BALANCE
12/2                                                        6,501.18        12116                                     3,198.46
12/3                                                        5,535.89        12/17                                       378.02
12/4                                                        4,409.51        12/18                                       291.42
12/7                                                        1,377.13        12/21                                    12,847.10
12/8                                                          645.31        12/22                                    12,255.96
12/9                                                       20,304.71        12/23                                     8,831.89
12/10                                                      24,626.99        12/24                                     7,939.79
12/11                                                      20,625.43        12/28                                     7,916.60
12114                                                       6,245.96        12/30                                     7,835.40
12/15                                                       3,220.96        12/31                                     7,827.40




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       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 192 of 231

                      Bank
                      America's Most Convenient Bank®                            E         STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                         Page:                                       I of 6
      SALES                                                                                Statement Period:    Jan 01 2016-Jan 31 2016
                                                                                                                   REDACTED
      18 GRAF RD UNIT 26                                                                   CustRef#:                        4532-717-E-***
                                                                                                                              REDACTED
      NEWBURYPORT MA 01950-4032                                                            Primary Account#:                           4532




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                             Account# REDACTED 4532
SALES


A VOID ATM FEES BY USING ONE OF OUR MANY TD ATMS.
BEGINNING APRIL I, 2016, OUR AFFILIATE SUM NETWORK WILL BEGIN CHARGING CUSTOMERS A SURCHARGE FEE
AT SOME NON-TD ATMS. THIS IS NOT A TD BANK FEE. AS A COURTESY, HOWEVER, WE WANTED TO LET YOU
KNOW ABOUT THIS CHANGE AND REMIND YOU TO USE TD ATMS TO AVOID THIS AND ALL ATM FEES. TO LOCATE A
TD ATM NEAR YOU, USE OUR MOBILE APP OR VISIT TDBANK.COM.

ACCOUNT SUMMARY
Beginning Balance                                             7,827.40                               Average Collected Balance            26,952.95
Electronic Deposits                                          31,397.39                               Annual Percentage Yield Earned           0.00%
Other Credits                                                50,000.00                               Days in Period                               31

Checks Paid                                                     205.00
Electronic Payments                                          15,901.96
Other Withdrawals                                            38,078.00
Ending Balance                                               35,039.83

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
1113                          DEBIT CARD CREDIT,AUT 011316 VISA DDA REF                                                                         159.43
                                      APPLE STORE RI 15                  MIAMI BEACH   * FL
                                      REDACTED 7323
1113                          ATM CHECK DEPOSIT, AUT 011316 ATM CHECK DEPOSI                                                                     25.00
                                      1101 BRICKELL AVE                  MIAMI       *FL
                                      REDACTED 4866
1119                          DEBIT CARD CREDIT, AUT 011616 VISA DDA REF                                                                        854.00
                                      THE HOME DEPOT 3404                 SEABROOK         * NH
                                      REDACTED 7323
1120                          DEBIT CARD CREDIT, AUT 012016 VISA DDA REF                                                                        300.00
                                      MERIDIAN LOGISTICS                  AUSTIN      * TX
                                      REDACTED 7323
1122                          ACH DEPOSIT, STEVEN BARLOW SENDER 272684740                                                                 30,000.00
1/22                          DEBIT CARD CREDIT, AUT 012216 VISA DDA REF                                                                      58.96
                                      WALMART COM 8009666546                BENTONVILLE       * AR
                                      REDACTED 7323

                                                                                                                 Subtotal:                31,397.39
Other Credits
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
118                           WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                     50,000.00
                                                                                                                 Subtotal:                50,000.00


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender    @
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 193 of 231



How to Balance your Account                                                                                                                                      Page:                     2 of6

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS
                                                                         0
                                                                         WITHDRAWALS N01   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
Ifvou need information about an electronic fund transfer or ifvou believe there is an       In case of Errors or Questions About Your Bill:
er;or on your bank statement or receipt relating to an electroni~ fund transfer,            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone nwnber listed on the front of your
statement or write to:
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why               Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.                                                         You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in           collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "00° refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta\'. authorities. The amount to be reported will be
reported separately to you by the Bank.                                                     Period times the Daily Periodic Rate (as listed in the Account Summary section on
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
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                      Bank
                     America's Most Convenient Bank®                                                    STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                      p~~                                                      3~6
      SALES                                                                                             Statement Period:              Jan 01 2016-Jan 31 2016
                                                                                                                                          REDACTED
                                                                                                        Cust Ref#:                                 4532-717-E-* **
                                                                                                        Primary Account#:                            REDACTED 4532




DAILY ACCOUNT ACTIVITY
Checks Paid               No. Checks: I             *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                        AMOUNT
1/20                        1241                                  205.00
                                                                                                                                        Subtotal:                      205.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
1/4                          TD ATM DEBIT, AUT 010316 DDA WITHDRAW                                                                                                     700.00
                                     350 LINCOLN ROAD                         MIAMI BEACH             * FL
                                     REDACTED 7323
1/4                          TD ATM DEBIT, AUT 010316 DDA WITHDRAW                                                                                                     300.00
                                     350 LINCOLN ROAD                         MIAMI BEACH             * FL
                                     REDACTED 7323
1/4                          DEBIT POS, AUT 010316 DDA PURCHASE                                                                                                        271.95
                                     CB2 056                        MIAMI BEACH             * FL
                                     REDACTED 7323
1/4                          DEBIT CARD PURCHASE, AUT 010116 VISA DDA PUR                                                                                              159.43
                                     APPLE STORE Rl 15                       MIAMI BEACH             * FL
                                     REDACTED 7323
1/4                          DEBIT CARD PAYMENT, AUT 010316 VISA DDA PUR                                                                                                99.00
                                     TDS IMPORTGENIUS COM                           855 5739976        * AR
                                     REDACTED 7323
1/4                          DEBIT CARD PURCHASE, AUT 123115 VISA DDA PUR                                                                                               18.00
                                     JUTOXLLC                          MIAMI             *FL
                                     REDACTED 7323
1/5                          TD ATM DEBIT, AUT 010516 DDA WITHDRAW                                                                                                     700.00
                                     12620 BISCAYNE BLVD                        NORTH MIAMI              * FL
                                     REDACTED 7323
1/5                          TD ATM DEBIT, AUT 010516 DDA WITHDRAW                                                                                                     300.00
                                     12620 BISCAYNE BLVD                        NORTH MIAMI              * FL
                                     REDACTED 7323
1/5                          DEBIT POS, AUT 010516 DDA PURCHASE                                                                                                        107.75
                                     PUBLIX                          NMIAMI             *FL
                                     REDACTED 7323
1/6                          5CD DEBIT, U. P. S. UPS BILL 153600000057E40                                                                                               71.16
117                          TD ATM DEBIT, AUT 010616 DDA WITHDRAW                                                                                                     700.00
                                     450 ELSA OLAS BOULEYARD                          FT LAUDERDALE * FL
                                     REDACTED 7323
1/7                          TD ATM DEBIT, AUT 010616 DDA WITHDRAW                                                                                                     300.00
                                     450 ELSA OLAS BOULEYARD                          FT LAUDERDALE * FL
                                     REDACTED 7323
1/8                          TD A TM DEBIT, AUT 010816 DDA WITHDRAW                                                                                                    700.00
                                     350 LINCOLN ROAD                         MIAMI BEACH             * FL
                                     REDACTED 4866



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Bank Deposits FDIC Insured IID Bank, N.A I Equal Housing Lender         @
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                      Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                      p~~                                       4~6
      SALES                                                             Statement Period:   Jan 01 2016-Jan 31 2016
                                                                                               REDACTED
                                                                        CustRef#:                       4532-717-E-***
                                                                                                          REDACTED
                                                                        Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                 AMOUNT
1/8                           eTransfer Debit, Online Xfer                                                                 200.00
                                   Transfer to CK REDACTED 3112
1/11                          DEBIT POS, AUT 010916 DDA PURCHASE                                                           206.00
                                   PAYPAL FROZENKICKS              SAN JOSE     * CA
                                   REDACTED 4866
1/11                          DEBIT CARD PURCHASE, AUT 010916 VISA DDA PUR                                                  47.08
                                   MARKET GROVE INC               COCONUT GROVE * FL
                                   REDACTED 4866
1111                          DEBIT CARD PURCHASE, AUT 010916 VISA DDA PUR                                                   33.50
                                   ERGON FOODS                  COCONUT GROVE * FL
                                   REDACTED 4866
1111                          DEBIT CARD PURCHASE, AUT 010816 VISA DDA PUR                                                   25.00
                                   STARBUCKS CARD RELOAD             800 782 7282 * WA
                                   REDACTED 4866
1111                          DEBIT CARD PURCHASE, AUT 010916 VISA DDA PUR                                                   21.99
                                   TOUCH OF MODERN                TOUCHOFMODERN * CA
                                   REDACTED 4866
1111                          DEBIT CARD PURCHASE, AUT 010916 VISA DDA PUR                                                    7.84
                                   ERGON FOODS                  COCONUT GROVE * FL
                                   REDACTED 4866
1112                          TDBANK BILL PAY CHECK, GRAF ROAD LLC                                                        1,900.00
                                   CHECK# 995022
1/14                          eTransfer Debit, Online Xfer                                                                 391.43
                                   Transfer to CK REDACTED 3112
1114                          eTransfer Debit, Online Xfer                                                                 300.00
                                   Transfer to CK REDACTED 3112
1114                          DEBIT CARD PURCHASE, AUT 011216 VISA DDA PUR                                                 272.40
                                   JETBLUE 279214445350 SALT LAKE CTY *UT
                                   REDACTED 4866
1114                          DEBIT POS, AUT 011416 DDA PURCHASE                                                           107.63
                                   WHOLEFDS SBE 102 1020 AL MIAMI              * FL
                                   REDACTED 4866
1/14                          DEBIT POS, AUT 011416 DDA PURCHASE                                                           104.35
                                   WHOLEFDS MIA 10 299 SE MIAMI               *FL
                                   REDACTED 4866
1115                          TDBANK BILL PAY CHECK, GRAPHIC SALES PRODUCTS, INC                                          1,890.00
                                   CHECK# 995023
1/19                          TD ATM DEBIT, AUT 011716 DDA WITHDRAW                                                        700.00
                                   1101 BRICKELL AVE             MIAMI     *FL
                                   REDACTED 4866
1/19                          TD ATM DEBIT, AUT 011716 DDA WITHDRAW                                                        300.00
                                   1101 BRICKELL AVE             MIAMI     *FL
                                   REDACTED 4866

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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   @
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 196 of 231

                      Bank
                      America's Most Convenient Bank®                                            STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                p~~                                       5~6
     SALES                                                                                       Statement Period:   Jan 01 2016-Jan 31 2016
                                                                                                                        REDACTED
                                                                                                 Cust Ref#:                      4532-717-E-***
                                                                                                                                   REDACTED
                                                                                                 Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                   DESCRIPTION                                                                                                         AMOUNT
1119                           DEBIT CARD PURCHASE, AUT 011516 VISA DDA PUR                                                                           45.37
                                       ERGON FOODS                      COCONUT GROVE * FL
                                       REDACTED 4866
1120                           eTransfer Debit, Online Xfer                                                                                         410.00
                                        Transfer to CK REDACTED 3112
1/20                           eTransfer Debit, Online Xfer                                                                                         380.13
                                       Transfer to CK REDACTED 3112
1120                           DEBIT CARD PURCHASE, AUT 011816 VISA DDA PUR                                                                         190.46
                                       JAMESPERSE COM                        323 588 2226 * CA
                                       REDACTED 4866
1/21                           eTransfer Debit, Online Xfer                                                                                           97.00
                                       Transfer to CK REDACTED 3112
1125                           eTransfer Debit, Online Xfer                                                                                         382.00
                                       Transfer to CK REDACTED 3112
1125                          ELECTRONIC PMT-WEB, COMCAST COMCAST 2430319352 SP A                                                                     95.83
1/26                          TDBANK BILL PAY CHECK, MASS MARKETING CONSULTING                                                                     3,210.00
                                       CHECK# 995024
1127                          5CD DEBIT, U. P. S. UPS BILL 160160000057E40                                                                            74.98
1128                          DEBIT CARD PURCHASE, AUT 012716 VISA DDA PUR                                                                            56.68
                                  SP ICELANDICPLUS LLC  LAMBHORNS CO * FL
                                  REDACTED 4866
1129                          DEBIT CARD PURCHASE, AUT 012716 VISA DDA PUR                                                                            25.00
                                  STARBUCKS CARD RELOAD    800 782 7282 *WA
                                  REDACTED 4866

                                                                                                                      Subtotal:                15,901.96
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                          AMOUNT
118                           DEBIT                                                                                                             3,000.00
118                           WIRE TRANSFER FEE                                                                                                    15.00
1111                          WIRE TRANSFER OUTGOING, Icelandic Plus Lie                                                                        3,500.00
1111                          DEBIT                                                                                                             3,000.00
1111                          WIRE TRANSFER FEE                                                                                                    25.00
1112                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                                     7,000.00
1112                          WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                                         4,793.00
1112                          WIRE TRANSFER OUTGOING, Theydal Ehf                                                                               2,560.00
1112                          WIRE TRANSFER FEE                                                                                                    40.00
1112                          WIRE TRANSFER FEE                                                                                                    40.00
1112                          WIRE TRANSFER FEE                                                                                                    40.00
1121                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                                    10,000.00
1121                          WIRE TRANSFER OUTGOING, Icelandicplus Lie                                                                         4,000.00
1121                          WIRE TRANSFER FEE                                                                                                    40.00


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equn.1 Housing Lender   t:E:J
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 197 of 231

                     Bank
                      America's Most Convenient Bank®                 STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                     Page:                                      6 of6
     SALES                                                            Statement Period:   Jan 01 2016-Jan 31 2016
                                                                                             REDACTED
                                                                      Cust Ref#:                      4532-717-E-***
                                                                                                        REDACTED
                                                                      Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE                 DESCRIPTION                                                                                 AMOUNT
1121                         WIRE TRANSFER FEE                                                                            25.00
                                                                                           Subtotal:                38,078.00
DAILY BALANCE SUMMARY
DATE                                                       BALANCE        DATE                                      BALANCE
12/31                                                      7,827.40        1/15                                    24,064.32
1/4                                                        6,279.02        1119                                    23,872.95
1/5                                                        5,171.27        1/20                                    22,987.36
1/6                                                        5,100.11        1/21                                     8,825.36
1/7                                                        4,100.11        1/22                                    38,884.32
1/8                                                       50,185.11        1/25                                    38,406.49
1/11                                                      43,318.70        1126                                    35,196.49
1112                                                      26,945.70        1/27                                    35,121.51
1/13                                                      27,130.13        1/28                                    35,064.83
1/14                                                      25,954.32        1129                                    35,039.83




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Bank Deposits FDlC Insured I TD Bank. NA I Equal Housing Lender   @
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 198 of 231

                      Bank
                      America's Most Convenient Bank®                                     E             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                      p~~                                                      1~8
      SALES                                                                                             Statement Period:             Feb 012016-Feb29 2016
                                                                                                                                         REDACTED
      18 GRAF RD UNIT 26                                                                                CustRef#:                                 4532-717-E-***
                                                                                                        Primary Account#:                           REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                                                      Account# REDACTED 4532
SALES


AVOID ATM FEES BY USING ONE OF OUR MANY TD ATMS.
BEGINNING APRIL l, 2016, OUR AFFILIATE SUM NETWORK WILL BEGIN CHARGING CUSTOMERS A SURCHARGE FEE
AT SOME NON-TD ATMS. THIS IS NOT A TD BANK FEE. AS A COURTESY, HOWEVER, WE WANTED TO LET YOU
KNOW ABOUT THIS CHANGE AND REMIND YOU TO USE TD ATMS TO AVOID THIS AND ALL ATM FEES. TO LOCATE A
TD ATM NEAR YOU, USE OUR MOBILE APP OR VISIT TDBANK.COM.

ACCOUNT SUMMARY
Beginning Balance                                           35,039.83                                                Average Collected Balance                     15,030.51
Electronic Deposits                                         17,215.52                                                Annual Percentage Yield Earned                    0.00%
Other Credits                                               55,000.00                                                Days in Period                                        29

Checks Paid                                                  8,581.63
Electronic Payments                                         30,890.18
Other Withdrawals                                           59,297.00
Ending Balance                                               8,486.54

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
219                          DEBIT CARD CREDIT, AUT 020916 VISA DDA REF                                                                                                393.92
                                      EXPEDIA 1127202171284                     EXPEDIA COM *WA
                                      REDACTED 4866
2/16                         DEBIT CARD CREDIT, AUT 021416 VISA DDA REF                                                                                                910.80
                                      UNITED  016773805296                    800 932 2732 *TX
                                      REDACTED 4866
2/16                         DEBIT CARD CREDIT, AUT 021416 VISA DDA REF                                                                                                910.80
                                      UNITED  016773805296                    800 932 2732 *TX
                                      REDACTED 4866
2/17                         ACH DEPOSIT, STEVEN BARLOW SENDER 275391730                                                                                           15,000.00
                                                                                                                                        Subtotal:                  17,215.52
Other Credits
POSTING DATE                 DESCRIPTION                                                                                                                               AMOUNT
2/8                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               50,000.00
2/16                         WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                                5,000.00
                                                                                                                                        Subtotal:
Checks Paid               No. Checks: 3             *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                         AMOUNT                                           DATE                      SERIAL NO.                   AMOUNT
2110                        1152                             5,835.00                                          2/1                        1242*                        846.63
2119                        1153                             1,900.00
                                                                                                                                        Subtotal:                   8,581.63

Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
Bank Deposits FDIC Insured IID Bank, N.A. I Equal Housing Lender        @
        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 199 of 231



How to Balance your Account                                                                                                                                       Page:                     2 of8

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WI1HDRA WALS NOl   DOLLARS           CENTS                   WI1HDRA WALS NO              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:
                                                                                             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                 Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why                Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                    If you need more information, describe the item you are unsure about.
      Your name and account number.                                                          You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take           FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (IO) business days to do this, we will credit your accotmt for the             the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta'I: authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                   STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                      Pq~                                       3~8
      SALES                                                             Statement Period:   Feb 01 2016-Feb 29 2016
                                                                                               REDACTED
                                                                        Cust Ref#:                      4532-717-E-***
                                                                                                          REDACTED
                                                                        Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                 AMOUNT
211                           TDBANK BILL PAY CHECK, GRAPHIC SALES PRODUCTS, INC                                          5,000.00
                                  CHECK# 995025
211                           NONTD ATM DEBIT, AUT 013016 DDA WITHDRAW                                                     703.00
                                  BACK BAY           BOSTON     * MA
                                  REDACTED 4866
2/1                           TD ATM DEBIT, AUT 013116 DDA WITHDRAW                                                        700.00
                                  24 WINTER STREET       BOSTON    * MA
                                  REDACTED 4866
211                           TD ATM DEBIT, AUT 013116 DDA WITHDRAW                                                        300.00
                                  24 WINTER STREET       BOSTON    * MA
                                  REDACTED 4866
211                           DEBIT CARD PURCHASE, AUT 012916 VISA DDA PUR                                                  178.10
                                  AMERICAN AI 001773805291 WEST LEBANON *NH
                                  REDACTED 4866
211                           DEBIT CARD PURCHASE, AUT 013116 VISA DDA PUR                                                  178.10
                                  AMERICAN AI 001773805291 WEST LEBANON *NH
                                  REDACTED 4866
211                           DEBIT POS, AUT 013116 DDA PURCHASE                                                             58.75
                                  ROCHE BROTHERS121        BOSTON     *MA
                                  REDACTED 4866
211                           DEBIT CARD PURCHASE, AUT 012916 VISA DDA PUR                                                   41.65
                                  GOURMET DUMPLING HOUSE       BOSTON      * MA
                                  REDACTED 4866
211                           DEBIT POS, AUT 020116 DDA PURCHASE                                                             38.80
                                  JOHN TAMV AKOLOGOS        BOSTON      *MA
                                  REDACTED 4866
211                           DEBIT CARD PURCHASE, AUT 012816 VISA DDA PUR                                                   20.00
                                  JETBLUE 279260814256 SALT LAKE CTY *UT
                                  REDACTED 4866
211                           DEBIT POS, AUT 012916 DDA PURCHASE                                                             13.95
                                  CVS PHARMACY 05         BOSTON     * MA
                                  REDACTED 4866
211                           DEBIT CARD PURCHASE, AUT 012916 VISA DDA PUR                                                   10.07
                                  FORT LAUDERDALE AIRPORT FORT LAUD ERDA * FL
                                  REDACTED 4866
211                           NONTDATMFEE                                                                                     3.00
212                           DEBIT CARD PURCHASE, AUT 020116 VISA DDA PUR                                                   36.87
                                  CHEESECAKE CHESTNUT HILL CHESTNUT HILL * MA
                                  REDACTED 4866
212                           DEBIT CARD PURCHASE, AUT 013116 VISA DDA PUR                                                    7.00
                                  THE WILD DUCK WINE AND     BOSTON      * MA
                                  REDACTED 4866


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Bank Deposits FDIC Insured I TD Bank, N.A. j Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                       STATEMENT OF ACCOUNT


      ENCOMPASS COMMUNICATIONS INC                                          p~~                                        4cl8
      SALES                                                                 Statement Period:   Feb 012016-Feb29 2016
                                                                                                   REDACTED
                                                                            Cust Ref#:                      4532-717-E-***
                                                                                                              REDACTED
                                                                            Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                     AMOUNT
213                           DEBIT CARD PURCHASE, AUT 020116 VISA DDA PUR                                                     57.87
                                  AMERICAN AIR001062411375 FORT WORTH *TX
                                  REDACTED 4866
213                           DEBIT CARD PURCHASE, AUT 020316 VISA DDA PUR                                                     57.87
                                  AMERICAN AIR001062411375 FORT WORTH *TX
                                  REDACTED 4866
213                           DEBIT CARD PURCHASE, AUT 020116 VISA DDA PUR                                                     40.00
                                  MILNE TRAVEL AGENCY       603 298 6644 * NH
                                  REDACTED 4866
213                           DEBIT CARD PURCHASE, AUT 020116 VISA DDA PUR                                                     12.31
                                  PATISSERIE ON NEWBURY      BOSTON        *MA
                                  REDACTED 4866
2/8                           DEBIT CARD PURCHASE, AUT 020616 VISA DDA PUR                                                    393.92
                                  EXPEDIA 1127202171284   EXPEDIA COM *WA
                                  REDACTED 4866
2/8                           DEBIT CARD PURCHASE, AUT 020616 VISA DDA PUR                                                    245.22
                                  ONE BLOCK DOWN          MILANO       I TA
                                  REDACTED 4866
2/8                           DEBIT CARD PURCHASE, AUT 020516 VISA DDA PUR                                                     25.00
                                  STARBUCKS CARD RELOAD       800 782 7282 *WA
                                  REDACTED 4866
219                           DEBIT CARD PURCHASE, AUT 020816 VISA DDA PUR                                                1,369.54
                                  EXPEDIA 1127314042791   EXPEDIA COM *WA
                                  REDACTED 4866
2/11                          DEBIT CARD PURCHASE, AUT 020916 VISA DDA PUR                                                    479.80
                                  AMERICAN AI 001773805295 WEST LEBANON *NH
                                  REDACTED 4866
2/11                          DEBIT CARD PURCHASE, AUT 021116 VISA DDA PUR                                                    479.80
                                  AMERICAN AI 001773805295 WEST LEBANON *NH
                                  REDACTED 4866
2/11                          DEBIT CARD PURCHASE, AUT 020916 VISA DDA PUR                                                     25.00
                                  STARBUCKS CARD RELOAD       800 782 7282 *WA
                                  REDACTED 4866
2/12                          DEBIT POS, AUT 021216 DDA PURCHASE                                                               44.76
                                  CHEVRON JOSEPH L CHIRIA CHIRIACO SUMM * CA
                                  REDACTED 4866
2/12                          DEBIT CARD PURCHASE, AUT 021016 VISA DDA PUR                                                     25.00
                                  AMERICAN AIR001027119554 FORT WORTH * TX
                                  REDACTED 4866
2/12                          DEBIT CARD PURCHASE, AUT 021016 VISA DDA PUR                                                     22.64
                                  CHICK FIL A 01584     PHOENIX     *AZ
                                  REDACTED 4866


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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   t:E:J
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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      5 of8
     SALES                                                                                 Statement Period:   Feb 01 2016-Feb 29 2016
                                                                                                                  REDACTED
                                                                                           Cust Ref#:                      4532-717-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
2/12                          DEBIT CARD PURCHASE, AUT 021016 VISA DDA PUR                                                                     12.60
                                      G MIAMI FOOD AIRPORT                 MIAMI      * FL
                                      REDACTED 4866
2112                          DEBIT POS, AUT 021216 DDA PURCHASE                                                                                3.78
                                      CHEVRON JOSEPH L CHIRIA               CHIRIACO SUMM * CA
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021316 VISA DDA PUR                                                                1,170.66
                                      BOULDERS RESORT                   CAREFREE      * AZ
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021416 VISA DDA PUR                                                                    936.80
                                      BOULDERS RESORT                   CAREFREE      * AZ
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021316 VISA DDA PUR                                                                    910.80
                                      UNITED  016773805296              800 932 2732 *TX
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021316 VISA DDA PUR                                                                    910.80
                                      UNITED  016773805296              800 932 2732 *TX
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                    724.20
                                      UNITED  016773805297              800 932 2732 *TX
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021416 VISA DDA PUR                                                                    724.20
                                      UNITED  016773805297              800 932 2732 *TX
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                    257.89
                                      THE MISSION                   SCOTTSDALE     * AZ
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021316 VISA DDA PUR                                                                    168.61
                                      ROOSTER AND THE PIG                 PALM SPRINGS * CA
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                    150.92
                                      BOULDERS RESORT                   CAREFREE      * AZ
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                    148.10
                                      AMERICAN AI 001773805297             WEST LEBANON * NH
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021416 VISA DDA PUR                                                                    148.10
                                      AMERICAN AI 001773805297             WEST LEBANON *NH
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021316 VISA DDA PUR                                                                     88.05
                                      WANYA THAI RESTAURANT                  CANYON COU         *CA
                                      REDACTED 4866


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                      Bank
                      America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                        Page:                                      6 of8
     SALES                                                                               Statement Period:   Feb 01 2016-Feb 29 2016
                                                                                                                REDACTED
                                                                                         Cust Ref#:                      4532-717-E-***
                                                                                                                           REDACTED
                                                                                         Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
2116                          DEBIT CARD PURCHASE, AUT 021416 VISA DDA PUR                                                                    85.00
                                      WOLFGANG PUCK PIZZA BAR                 PALM DESERT *CA
                                      REDACTED 4866
2116                          DEBIT POS, AUT 021516 DDA PURCHASE                                                                              42.00
                                      ARCO 42487 AMPM                    RANCHO CUCAMO * CA
                                      REDACTED 4866
2/16                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                    40.00
                                      MILNE TRAVEL AGENCY                  603 298 6644 * NH
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                     25.00
                                      STARBUCKS CARD RELOAD                  800 782 7282 * WA
                                      REDACTED 4866
2116                          DEBIT CARD PURCHASE, AUT 021216 VISA DDA PUR                                                                     14.07
                                      BOULDERS RESORT                    CAREFREE     * AZ
                                      REDACTED 4866
2116                          DEBIT POS, AUT 021516 DDA PURCHASE                                                                                4.37
                                      7ELEVEN                       PALM SPRINGS *CA
                                      REDACTED 4866
2117                          5CD DEBIT, U. P. S. UPS BILL 160370000057E40                                                                     83.98
2117                          DEBIT CARD PURCHASE, AUT 021516 VISA DDA PUR                                                                     14.69
                                      INNOUTBURGER 144                   ONTARIO      *CA
                                      REDACTED 4866
2/18                          TDBANK BILL PAY CHECK, GRAPHIC SALES PRODUCTS, INC                                                        5,000.00
                                      CHECK# 995026
2/18                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                                  1,873.72
                                      RIVIERA PALM SPRINGS                 PALM SPRINGS *CA
                                      REDACTED 4866
2/18                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                                   771.45
                                      HERTZ RENT A CAR                   PHOENIX     *AZ
                                      REDACTED 4866
2/18                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                                   577.56
                                      RIVIERA PALM SPRINGS                 PALM SPRINGS *CA
                                      REDACTED 4866
2/18                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                                     25.00
                                      AMERICAN AIR001027174215              FORT WORTH       *TX
                                      REDACTED 4866
2/18                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                                     23.84
                                      BORDER GRILL T32575730               LOS ANGELES     * CA
                                      REDACTED 4866
2/18                          DEBIT CARD PAYMENT, AUT 021716 VISA DDA PUR                                                                      18.59
                                      UBER TECHNOLOGIES INC                 866 576 1039 * CA
                                      REDACTED 4866


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                      Bank
                      America's Most Convenient Bank®                          STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                              Page:                                      7 of8
     SALES                                                                     Statement Period:   Feb 01 2016-Feb 29 2016
                                                                                                      REDACTED
                                                                               Cust Ref#:                      4532-717-E-***
                                                                                                                 REDACTED
                                                                               Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                         AMOUNT
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                        547.53
                                   THE ART HOTEL                DENVER        * CO
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                        423.50
                                   THE ART HOTEL                DENVER        *co
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                         95.00
                                   THE ART HOTEL                DENVER        *co
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021616 VISA DDA PUR                                                         70.30
                                   AMERICAN AI 001773805297 WEST LEBANON *NH
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021916 VISA DDA PUR                                                         70.30
                                   AMERICAN AI 001773805297 WEST LEBANON *NH
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                         25.00
                                   AMERICAN AIR001027181869 FORT WORTH *TX
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                         10.94
                                   THE ART HOTEL                DENVER        *co
                                   REDACTED 4866
2/19                          DEBIT CARD PURCHASE, AUT 021716 VISA DDA PUR                                                          4.00
                                   GOGOAIR COM                  877 350 0038 * IL
                                   REDACTED 4866
2/22                          eTransfer Debit, Online Xfer                                                                        500.20
                                   Transfer to CK REDACTED 3112
2/22                          DEBIT CARD PAYMENT, AUT 022116 VISA DDA PUR                                                          35.95
                                   UBER TECHNOLOGIES INC              866 576 1039 * CA
                                   REDACTED 4866
2/22                          DEBIT CARD PURCHASE, AUT 022016 VISA DDA PUR                                                         25.00
                                   STARBUCKS CARD RELOAD                800 782 7282 *WA
                                   REDACTED 4866
2/22                          DEBIT CARD PAYMENT, AUT 021916 VISA DDA PUR                                                          12.61
                                   UBER TECHNOLOGIES INC              866 576 1039 * CA
                                   REDACTED 4866
2/22                          DEBIT CARD PURCHASE, AUT 021916 VISA DDA PUR                                                          8.95
                                   GOGOAIR COM                  877 350 0038 * IL
                                   REDACTED 4866
2/24                          5CD DEBIT, U. P. S. UPS BILL 160440000057E40                                                        302.46
2/25                          eTransfer Debit, Online Xfer                                                                        312.00
                                   Transfer to CK REDACTED 3112
2/29                          eTransfer Debit, Online Xfer                                                                    2,898.64
                                   Transfer to CK REDACTED 3112

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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   '(E)
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                      Bank
                      America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                     Page:                                      8 of8
      SALES                                                            Statement Period:   Feb 01 2016-Feb 29 2016
                                                                                              REDACTED
                                                                       CustRef#:                       4532-717-E-***
                                                                                                         REDACTED
                                                                       Primary Account#:                          4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                 AMOUNT
2/29                          DEBIT CARD PURCHASE, AUT 022716 VISA DDA PUR                                                 25.00
                                  STARBUCKS CARD RELOAD    800 782 7282 *WA
                                  REDACTED 4866
                                                                                            Subtotal:                30,890.18
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                 AMOUNT
214                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                           15,000.00
214                          WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                5,402.00
2/4                          WIRE TRANSFER FEE                                                                           40.00
214                          WIRE TRANSFER FEE                                                                           40.00
2/8                          DEBIT                                                                                    2,000.00
2/8                          WIRE TRANSFER FEE                                                                            15.00
2/9                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                           25,000.00
2/9                          WIRE TRANSFER OUTGOING, Icelandicplus Lie                                                5,000.00
219                          DEBIT                                                                                    4,500.00
219                          WIRE TRANSFER FEE                                                                           40.00
219                          WIRE TRANSFER FEE                                                                           25.00
2116                         WIRE TRANSFER OUTGOING, Caribbean Commercial Bank                                          170.00
2116                         WIRE TRANSFER FEE                                                                           25.00
2116                         WIRE TRANSFER FEE                                                                            15.00
2/23                         WIRE TRANSFER OUTGOING, Icelandic Plus                                                   2,000.00
2/23                         WIRE TRANSFER FEE                                                                           25.00
                                                                                            Subtotal:                59,297.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE         DATE                                     BALANCE
1/31                                                       35,039.83        2/16                                     11,167.75
211                                                        26,947.78        2/17                                     26,069.08
2/2                                                        26,903.91        2/18                                     17,778.92
2/3                                                        26,735.86        2/19                                     14,632.35
214                                                         6,253.86        2/22                                     14,049.64
2/8                                                        53,574.72        2/23                                     12,024.64
219                                                        18,034.10        2/24                                     11,722.18
2/10                                                       12,199.10        2/25                                     11,410.18
2/11                                                       11,214.50        2/29                                      8,486.54
2/12                                                       11,105.72




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                      Bank
                      America's Most Convenient Bank®                                      E             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                       Pq~                                                      1~7
      SALES                                                                                              Statement Period:             Mar 012016-Mar31 2016
                                                                                                                                         REDACTED
      18 GRAF RD UNIT 26                                                                                 Cust Ref#:                               4532-717-E-***
                                                                                                                                                    REDACTED
      NEWBURYPORT MA 01950-4032                                                                          Primary Account#:                                   4532




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                                                       Account# REDACTED 4532
SALES


AVOID ATM FEES BY USING ONE OF OUR MANY TD ATMS.
BEGINNING APRIL 1, 2016, OUR AFFILIATE SUM NETWORK WILL BEGIN CHARGING CUSTOMERS A SURCHARGE FEE
AT SOME NON-TD ATMS. THIS IS NOT A TD BANK FEE. AS A COURTESY, HOWEVER, WE WANTED TO LET YOU
KNOW ABOUT THIS CHANGE AND REMIND YOU TO USE TD AIMS TO AVOID THIS AND ALL ATM FEES. TO LOCATE A
TD ATM NEAR YOU, USE OUR MOBILE APP OR VISIT TD BANK.COM.

ACCOUNT SUMMARY
Beginning Balance                                            8,486.54                                                Average Collected Balance                      10,275.07
Other Credits                                               70,000.00                                                Annual Percentage Yield Earned                     0.00%
                                                                                                                     Days in Period                                         31
Checks Paid                                                 10,062.18
Electronic Payments                                         14,640.91
Other Withdrawals                                           47,860.00
Service Charges                                                 25.00
Ending Balance                                               5,898.45

DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE                  DESCRIPTION                                                                                                                               AMOUNT
312                           WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               10,000.00
314                           WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               30,000.00
3/15                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               10,000.00
3/25                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               20,000.00
                                                                                                                                         Subtotal:                  70,000.00
Checks Paid               No. Checks: 4              *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                          AMOUNT                                          DATE                       SERIAL NO.                   AMOUNT
3/28                        1154                              4,797.00                                          3/29                       1156                      2,000.00
3129                        1155                                265.18                                          3130                       1157                      3,000.00
                                                                                                                                         Subtotal:                  10,062.18
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                                               AMOUNT
3/1                           TD ATM DEBIT, AUT 030116 DDA WITHDRAW                                                                                                     700.00
                                      1101 BRICKELL A VE                       MIAMI             * FL
                                      REDACTED 4866
311                           TD ATM DEBIT, AUT 030116 DDA WITHDRAW                                                                                                     300.00
                                      1101 BRICKELL AVE                        MIAMI             *FL
                                      REDACTED 4866
3/2                           TD ATM DEBIT, AUT 030216 DDA WITHDRAW                                                                                                     700.00
                                      350 LINCOLN ROAD                         MIAMI BEACH              * FL
                                      REDACTED 4866


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 How to Balance your Account                                                                                                                                       Page:                    2 of7

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                 DOLLARS            CENTS                     Wl1HDRAW ALS NOl   DOLLARS           CENTS                   WI1HDRAWALS NO               DOLLARS             CENTS
ON STATEMENT                                                              ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                             If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                       your bill, \vrite us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after \Ve sent you the
                                                                                                    Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                    Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                     If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                             You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                     are still obligated to pay the parts of your bill that are not in question. While we
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry. the Bank may ask that you send us your complaint in
                                                                                             collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We \Viii investigate your complaint and will correct any error promptly. If we take          FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                              charge. The finance charge begins to accrue on the date advances and other debits
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any other adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
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                     Bank
                     America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                          Page:                                     3 of7
      SALES                                                                                 Statement Period:   MarOl 2016-Mar 312016
                                                                                                                  REDACTED
                                                                                            CustRef#:                      4532-717-E-***
                                                                                                                             REDACTED
                                                                                            Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                 DESCRIPTION                                                                                                      AMOUNT
312                          TD ATM DEBIT, AUT 030216 DDA WITHDRAW                                                                             300.00
                                      350 LINCOLN ROAD                  MIAMI BEACH * FL
                                      REDACTED 4866
312                          5CD DEBIT, U. P. S. UPS BILL 160510000057E40                                                                        57.25
312                          DEBIT POS, AUT 030216 DDA PURCHASE                                                                                   5.07
                                      BEST BUY 1498 00014985               MIAMI BEACH *FL
                                      REDACTED 4866
313                          DEBIT CARD PURCHASE, AUT 022916 VISA DDA PUR                                                                      695.00
                                      WALMARTCOM                        800 966 6546 * AR
                                      REDACTED 4866
313                          DEBIT CARD PURCHASE, AUT 030116 VISA DDA PUR                                                                      394.20
                                      JETBLUE 279775413707              WEST LEBANO *NH
                                      REDACTED 4866
313                          DEBIT CARD PURCHASE, AUT 030316 VISA DDA PUR                                                                      394.20
                                      JETBLUE 279775413707              WEST LEBANO *NH
                                      REDACTED 4866
314                          DEBIT POS, AUT 030416 DDA PURCHASE                                                                                158.39
                                      PUBLIX                       MIAMI      *FL
                                      REDACTED 4866
317                          DEBIT POS, AUT 030716 DDA PURCHASE                                                                                116.62
                                      BEDBATHBEYOND BEDBATH                    AVENTURA         *FL
                                      REDACTED 4866
319                          TDBANK BILL PAY CHECK, GRAF ROAD LLC                                                                             1,900.00
                                      CHECK# 995027
319                          DEBIT CARD PURCHASE, AUT 030816 VISA DDA PUR                                                                        79.00
                                      ELECTRIC GRILLING TECHNO                254 778 7730 * TX
                                      REDACTED 4866
319                          DEBIT CARD PURCHASE, AUT 030816 VISA DDA PUR                                                                        10.45
                                      SQ PANTHER COFFEE                    MIAMI     * FL
                                      REDACTED 4866
3/10                         DEBIT CARD PURCHASE, AUT 030916 VISA DDA PUR                                                                      233.00
                                      AAA MEMBERSHIP DUES                    4018682000 *RI
                                      REDACTED 4866
3/10                         DEBIT CARD PURCHASE, AUT 030816 VISA DDA PUR                                                                        88.48
                                      Y ARDBIRD SOUTHERN TABLE                 MIAMI BEACH        * FL
                                      REDACTED 4866
3/10                         DEBIT CARD PURCHASE, AUT 030816 VISA DDA PUR                                                                        25.00
                                      STARBUCKS CARD RELOAD                   800 782 7282 *WA
                                      REDACTED 4866
3/10                         DEBIT CARD PURCHASE, AUT 030916 VISA DDA PUR                                                                         2.84
                                     PAYPAL STRADEFAREA                     402 935 7733 * CA
                                     REDACTED 4866


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                      Bank
                      America's Most Convenient Bank®                                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          p~~                                      4~7
     SALES                                                                                 Statement Period:   Mar 012016-Mar31 2016
                                                                                                                 REDACTED
                                                                                           Cust Ref#:                     4532-717-E-***
                                                                                                                            REDACTED
                                                                                           Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                   AMOUNT
3/11                          TD ATM DEBIT, AUT 031116 DDA WITHDRAW                                                                          700.00
                                      1101 BRICKELL AVE                 MIAMI     *FL
                                      REDACTED 4866
3111                          DEBIT CARD PURCHASE, AUT 030916 VISA DDA PUR                                                                   572.20
                                      UNITED  016775413709              800 932 2732 *TX
                                      REDACTED 4866
3/11                          TD ATM DEBIT, AUT 031116 DDA WITHDRAW                                                                          300.00
                                      1101 BRICKELL A VE                MIAMI     * FL
                                      REDACTED 4866
3/14                          DEBIT CARD PURCHASE, AUT 031016 VISA DDA PUR                                                                     40.00
                                      MILNE TRAVEL AGENCY                  603 298 6644 * NH
                                      REDACTED 4866
3114                          DEBIT CARD PURCHASE, AUT 031116 VISA DDA PUR                                                                     29.54
                                      BLUETREE BRICKELL                  MIAMI      * FL
                                      REDACTED 4866
3/16                          5CD DEBIT, U. P. S. UPS BILL 160650000057E40                                                                    103.52
3/17                          DEBIT CARD PURCHASE, AUT 031516 VISA DDA PUR                                                                  1,020.38
                                  MARRIOTT JW ORLANDO     ORLANDO       *FL
                                  REDACTED 4866
3/18                          DEBIT CARD PURCHASE, AUT 031616 VISA DDA PUR                                                                     25.00
                                  STARBUCKS CARD RELOAD    800 782 7282 *WA
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031816 VISA DDA PUR                                                                  1,321.60
                                  MARRIOTT JW ORLANDO     ORLANDO       *FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031916 VISA DDA PUR                                                                   346.57
                                  FEDEXOFFICE 00008912  MIAMI      * FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031916 VISA DDA PUR                                                                    174.74
                                  EPICURE MARKET       MIAMI BEACH * FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031916 VISA DDA PUR                                                                     38.73
                                  FEDEXOFFICE 00008912  MIAMI      * FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031716 VISA DDA PUR                                                                     20.00
                                  ROSEN CENTRE PARKING    ORLANDO       *FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031816 VISA DDA PUR                                                                     20.00
                                  ROSEN CENTRE PARKING    ORLANDO       *FL
                                  REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031816 VISA DDA PUR                                                                      6.56
                                  SUNSHINE MARKETPLACE FDR OKEECHOBEE * FL
                                  REDACTED 4866

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                      Bank
                      America's Most Convenient Bank®                                             STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                                 Page:                                     5 of7
     SALES                                                                                        Statement Period:   Mar 012016-Mar31 2016
                                                                                                                        REDACTED
                                                                                                  CustRef#:                      4532-717-E-***
                                                                                                                                   REDACTED
                                                                                                  Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                           AMOUNT
3/21                          DEBIT CARD PURCHASE, AUT 031916 VISA DDA PUR                                                                            6.00
                                      CITY OF MIAMI BEACH 17 S               MIAMI BEACH            * FL
                                      REDACTED 4866
3/21                          DEBIT CARD PURCHASE, AUT 031816 VISA DDA PUR                                                                            4.16
                                      KFC           OKEECHOBEE                      * FL
                                      REDACTED 4866
3/23                          5CD DEBIT, U. P. S. UPS BILL 160720000057E40                                                                          252.49
3/24                          DEBIT CARD PURCHASE, AUT 032316 VISA DDA PUR                                                                            5.34
                                      FEDEXOFFICE 00008912                  MIAMI          * FL
                                      REDACTED 4866
3/25                          DEBIT CARD PURCHASE, AUT 032416 VISA DDA PUR                                                                          148.93
                                      EPICURE MARKET                     MIAMI BEACH         * FL
                                      REDACTED 4866
3/28                          DEBIT CARD PURCHASE, AUT 032516 VISA DDA PUR                                                                          843.20
                                      JETBLUE 279775413715               WEST LEBANO *NH
                                      REDACTED 4866
3/28                          DEBIT CARD PURCHASE, AUT 032716 VISA DDA PUR                                                                          843.20
                                      JETBLUE 279775413715               WEST LEBANO *NH
                                      REDACTED 4866
3/28                          DEBIT POS, AUT 032616 DDA PURCHASE                                                                                     89.41
                                      PUBLIX                        MIAMI      *FL
                                      REDACTED 4866
3/28                          DEBIT CARD PURCHASE, AUT 032616 VISA DDA PUR                                                                            3.00
                                      CITY OF MIAMI BEACH 17 S               MIAMI BEACH *FL
                                      REDACTED 4866
3129                          TD ATM DEBIT, AUT 032816 DDA WITHDRAW                                                                                 700.00
                                      1101 BRICKELL AVE                  MIAMI         *FL
                                      REDACTED 4866
3/29                          TD ATM DEBIT, AUT 032816 DDA WITHDRAW                                                                                 300.00
                                      1101 BRICKELL AVE                  MIAMI         *FL
                                      REDACTED 4866
3/29                          DEBIT POS, AUT 032816 DDA PURCHASE                                                                                     93.59
                                      WHOLEFDS MIA 10 299 SE                 MIAMI          * FL
                                      REDACTED 4866
3129                          DEBIT POS, AUT 032916 DDA PURCHASE                                                                                     79.69
                                      CVS PHARM 04613 200 B                 MIAMI          *FL
                                      REDACTED 4866
3/30                          5CD DEBIT, U. P. S. UPS BILL 160790000057E40                                                                          287.62
3/30                          DEBIT CARD PURCHASE, AUT 032816 VISA DDA PUR                                                                           50.00
                                      MILNE TRAVEL AGENCY                    603 298 6644 * NH
                                      REDACTED 4866




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                      Bank
                      America's Most Convenient Bank®                                  STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                      p~~                                      6~7
     SALES                                                                             Statement Period:   Mar 01 2016-Mar 31 2016
                                                                                                             REDACTED
                                                                                       Cust Ref#:                     4532-717-E-***
                                                                                                                        REDACTED
                                                                                       Primary Account#:                         4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
3/31                          DEBIT POS, AUT 033016 DDA PURCHASE                                                                         25.45
                                       CVS PHARM 03704 1421             MIAMI BEACH *FL
                                       REDACTED 4866
3/31                          DEBIT CARD PURCHASE, AUT 033016 VISA DDA PUR                                                               25.00
                                       STARBUCKS CARD RELOAD               800 782 7282 *WA
                                       REDACTED 4866
3/31                          DEBIT POS, AUT 033016 DDA PURCHASE                                                                          5.49
                                      CVS PHARMACY 03 03704              MIAMI BEACH    * FL
                                      REDACTED 4866

                                                                                                            Subtotal:               14,640.91
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
3/2                           DEBIT                                                                                                  2,565.00
3/2                           WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                              1,050.00
3/2                           WIRE TRANSFER FEE                                                                                         40.00
3/2                           WIRE TRANSFER FEE                                                                                          15.00
3/3                           WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                         10,000.00
3/3                           WIRE TRANSFER FEE                                                                                         40.00
3/4                           WIRE TRANSFER FEE                                                                                          15.00
317                           WIRE TRANSFER OUTGOING, Icelandic Plus                                                                20,000.00
317                           WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                          5,000.00
317                           WIRE TRANSFER FEE                                                                                         40.00
317                           WIRE TRANSFER FEE                                                                                         25.00
3/15                          DEBIT                                                                                                  2,000.00
3/15                          WIRE TRANSFER FEE                                                                                          15.00
3/17                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                          2,000.00
3/17                          WIRE TRANSFER FEE                                                                                         40.00
3/25                          WIRE TRANSFER FEE                                                                                          15.00
3/29                          DEBIT                                                                                                  5,000.00
                                                                                                            Subtotal:               47,860.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
3/31                          MAINTENANCE FEE                                                                                            25.00
                                                                                                            Subtotal:                    25.00
DAILY BALANCE SUMMARY
DATE                                                         BALANCE                         DATE                                   BALANCE
2/29                                                         8,486.54                        3/4                                   31,057.43
3/1                                                          7,486.54                        317                                    5,875.81
312                                                         12,754.22                        319                                    3,886.36
3/3                                                          1,230.82                        3/10                                   3,537.04

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Bank Deposits FDIC Insured I TD Bank, N.A. I Equnl Housing Lender   @
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 212 of 231

                     Bank
                     America's Most Convenient Bank®                   STATEMENT OF ACCOUNT


     ENCOMPASS COMMUNICATIONS INC                                      Pq~                                      7~7
     SALES                                                             Statement Period:   Mar 01 2016-Mar 31 2016
                                                                                             REDACTED
                                                                       Cust Ref#:                     4532-717-E-***
                                                                                                        REDACTED
                                                                       Primary Account#:                         4532




DAILY BALANCE SUMMARY
DATE                                                       BALANCE           DATE                                   BALANCE
3/11                                                        1,964.84         3123                                   4,500.55
3/14                                                        1,895.30         3/24                                   4,495.21
3/15                                                        9,880.30         3125                                  24,331.28
3/16                                                        9,776.78         3/28                                  17,755.47
3/17                                                        6,716.40         3/29                                   9,317.01
3/18                                                        6,691.40         3/30                                   5,979.39
3/21                                                        4,753.04         3/31                                   5,898.45




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                                     t:El'
Bank Deposits FDIC Insured 1TD Bank, N.A I Equal Housing Lender
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 213 of 231

                      Bank
                      America's Most Convenient Bank®                                     E             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                      Page:                                                    I of5
      SALES                                                                                             Statement Period:              Apr 01 2016-Apr 30 2016
                                                                                                                                         REDACTED
      18 GRAF RD UNIT 26                                                                                CustRef#:                                 4532-717-E-***
                                                                                                                                                    REDACTED
      NEWBURYPORT MA 01950-4032                                                                         Primary Account #:                                   4532




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                                                      Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            5,898.45                                                Average Collected Balance                      14,706.30
Other Credits                                               90,000.00                                                Annual Percentage Yield Earned                     0.00%
                                                                                                                     Days in Period                                         30
Checks Paid                                                 35,000.00
Electronic Payments                                          8,991.91
Other Withdrawals                                           48,793.23
Ending Balance                                               3,113.31

DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE                  DESCRIPTION                                                                                                                                AMOUNT
4/4                           WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               50,000.00
4/13                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               15,000.00
4119                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               25,000.00
                                                                                                                                        Subtotal:                   90,000.00
Checks Paid               No. Checks: 2             *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                         AMOUNT
416                         1158                           30,000.00
4/27                        1159                            5,000.00
                                                                                                                                        Subtotal:                   35,000.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                                                 AMOUNT
4/1                          DEBIT CARD PURCHASE, AUT 033116 VISA DDA PUR                                                                                                 24.94
                                 ROSETTA BAKERY         MIAMI BEACH * FL
                                 REDACTED 4866
414                          DEBIT CARD PURCHASE, AUT 040116 VISA DDA PUR                                                                                            1,043.96
                                 COURTYARD BY MARRIOTT       TACOMA        *WA
                                 REDACTED 4866
415                          TDBANK BILL PAY CHECK, GRAF ROAD LLC                                                                                                    1,900.00
                                 CHECK# 995028
415                          DEBIT CARD PURCHASE, AUT 040316 VISA DDA PUR                                                                                                 33.89
                                 LILIKOI ORGANIC LIVING   MIAMI BEACH * FL
                                 REDACTED 4866
415                          DEBIT CARD PURCHASE, AUT 040316 VISA DDA PUR                                                                                                 25.00
                                 STARBUCKS CARD RELOAD       800 782 7282 *WA
                                 REDACTED 4866
4/8                          DEBIT CARD PURCHASE, AUT 040616 VISA DDA PUR                                                                                            1,431.98
                                 DELTA VACATIONS        877 6282284 *ND
                                 REDACTED 4866

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        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 214 of 231


How to Balance your Account                                                                                                                                        Page:                     2 of5

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    W!TI!DRA WALS N01   DOLLARS           CENTS                   W!TI!DRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                  ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                               FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                              SUMMARY
If you need information about an electronic fund transfer or if you believe there is an       In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fW1d transfer,              If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                              your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
statement or write to:
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                              FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                              so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                    Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                    The dollar amount of the suspected error.
Bank, please explain as clearly as you can \vhy you believe there is an error or why                Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                          If you need more information, describe the item you are unsure about
      Your name and account number.
                                                                                              You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                              investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                              collect the amount you question.
writing within ten (IO) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the             the finance charge on your Money line/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue Wltil the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta\'. authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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                      Bank
                      America's Most Convenient Bank®                                        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      3 of5
      SALES                                                                                  Statement Period:    Apr 01 2016-Apr 30 2016
                                                                                                                    REDACTED
                                                                                             CustRef#:                       4532-717-E-***
                                                                                             Primary Account #:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
4/8                           DEBIT CARD PURCHASE, AUT 040816 VISA DDA PUR                                                                      227.20
                                       DELTA AIR 006775413719              WEST LEBANON *NH
                                       REDACTED 4866
4/8                           DEBIT CARD PURCHASE, AUT 040816 VISA DDA PUR                                                                      227.20
                                       DELTA AIR 006775413719              WEST LEBANON *NH
                                       REDACTED 4866
4/8                           DEBIT CARD PURCHASE, AUT 040716 VISA DDA PUR                                                                       12.89
                                       SQ DR SMOOD WYNWOO                     MIAMI         * FL
                                       REDACTED 4866
4/11                          DEBIT POS, AUT 041016 DDA PURCHASE                                                                                179.22
                                      WHOLEFDS MIA 10 299 SE                MIAMI         * FL
                                      REDACTED 4866
4/11                          DEBIT CARD PURCHASE, AUT 040816 VISA DDA PUR                                                                       60.67
                                      SQ TINTA Y CAFE                   MIAMI       *FL
                                      REDACTED 4866
4/11                          DEBIT CARD PAYMENT, AUT 040916 VISA DDA PUR                                                                        13.64
                                      DECO BIKE MIAMI LLC                  MIAMI        * FL
                                      REDACTED 4866
4111                          DEBIT CARD PURCHASE, AUT 040816 VISA DDA PUR                                                                        6.42
                                      DECO BIKE MIAMI LLC                  MIAMI        *FL
                                      REDACTED 4866
4/11                          DEBIT CARD PURCHASE, AUT 040816 VISA DDA PUR                                                                        6.42
                                      DECO BIKE MIAMI LLC                  MIAMI        * FL
                                      REDACTED 4866
4/11                          DEBIT CARD PURCHASE, AUT 040916 VISA DDA PUR                                                                        6.42
                                      DECO BIKE MIAMI LLC                  MIAMI        *FL
                                      REDACTED 4866
4/13                          DEBIT CARD PURCHASE, AUT 041116 VISA DDA PUR                                                                      349.00
                                      MANDOLIN AEGEAN BISTRO                    MIAMI          * FL
                                      REDACTED 4866
4/13                          SCD DEBIT, U. P. S. UPS BILL 160930000057E40                                                                      314.42
4/14                          DEBIT CARD PURCHASE, AUT 041316 VISA DDA PUR                                                                      122.00
                                      MAGGIANOS CUMBERLAND                      ATLANTA            *GA
                                      REDACTED 4866
4/14                          DEBIT CARD PURCHASE, AUT 041316 VISA DDA PUR                                                                       21.00
                                      UBER TECHNOLOGIES INC                  8665761039     *CA
                                      REDACTED 4866
4/14                          DEBIT CARD PURCHASE, AUT 041316 VISA DDA PUR                                                                       11.00
                                      UBER TECHNOLOGIES INC                  8665761039     * CA
                                      REDACTED 4866
4/14                          DEBIT CARD PURCHASE, AUT 041316 VISA DDA PUR                                                                        8.95
                                      GOGOAIRCOM                        877 350 0038 * IL
                                      REDACTED 4866

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Bank Deposits FDIC Insured I TD Bank, N.A. I Equal Housing Lender   @
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                      Bank
                      America's Most Convenient Bank®                                    STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                        Page:                                     4 of5
     SALES                                                                               Statement Period:   Apr 01 2016-Apr 30 2016
                                                                                                               REDACTED
                                                                                         CustRef#:                      4532-717-E-***
                                                                                         Primary Account#:                REDACTED 4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                  AMOUNT
4/15                          DEBIT POS, AUT 041516 DDA PURCHASE                                                                           125.00
                                      THE UPS STORE 6356 24             ATLANTA        *GA
                                      REDACTED 4866
4/18                          DEBIT CARD PURCHASE, AUT 041416 VISA DDA PUR                                                                 455.38
                                      SHERATON                      ATLANTA      *GA
                                      REDACTED 4866
4/18                          DEBIT CARD PURCHASE, AUT 041616 VISA DDA PUR                                                                 116.82
                                      LILIKOI ORGANIC LIVING              MIAMI BEACH * FL
                                      REDACTED 4866
4/18                          DEBIT CARD PURCHASE, AUT 041516 VISA DDA PUR                                                                  68.00
                                      RENAISSANCE HOTELS F B               ATLANTA       *GA
                                      REDACTED 4866
4/18                          DEBIT CARD PURCHASE, AUT 041416 VISA DDA PUR                                                                  42.00
                                      WAFFLE HOUSE 1508                 ATLANTA        *GA
                                      REDACTED 4866
4/18                          DEBIT CARD PURCHASE, AUT 041516 VISA DDA PUR                                                                  13.69
                                      QDOBA 67                      ATLANTA      *GA
                                      REDACTED 4866
4/19                          TD ATM DEBIT, AUT 041816 DDA WITHDRAW                                                                        700.00
                                      350 LINCOLN ROAD                  MIAMI BEACH     * FL
                                      REDACTED 4866
4/19                          TD ATM DEBIT, AUT 041816 DDA WITHDRAW                                                                        300.00
                                      350 LINCOLN ROAD                  MIAMI BEACH * FL
                                      REDACTED 4866
4/19                          DEBIT CARD PURCHASE, AUT 041716 VISA DDA PUR                                                                 118.66
                                      THE SETAI RESORT RESID              MIAMI BCH      * FL
                                      REDACTED 4866
4/19                          DEBIT CARD PURCHASE, AUT 041816 VISA DDA PUR                                                                  19.08
                                      ROSETTA BAKERY                    MIAMI BEACH * FL
                                      REDACTED 4866
4121                          DEBIT CARD PURCHASE, AUT 042016 VISA DDA PUR                                                                 513.09
                                      FEDEXOFFICE 00008912               MIAMI     *FL
                                      REDACTED 4866
4/21                          DEBIT CARD PURCHASE, AUT 042016 VISA DDA PUR                                                                   2.55
                                      FEDEXOFFICE 00008912               MIAMI     *FL
                                      REDACTED 4866
4/25                          DEBIT CARD PURCHASE, AUT 042316 VISA DDA PUR                                                                  18.82
                                      ROSETTA BAKERY                    MIAMI BEACH * FL
                                      REDACTED 4866
4/26                          DEBIT CARD PURCHASE, AUT 042416 VISA DDA PUR                                                                  60.59
                                      LILIKOI ORGANIC LIVING              MIAMI BEACH *FL
                                      REDACTED 4866
4/27                          5CD DEBIT, U. P. S. UPS BILL 161070000057E40                                                                 387.01

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                      Bank
                      America's Most Convenient Bank®                      STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                          Page:                                     5 of5
     SALES                                                                 Statement Period:   Apr 01 2016-Apr 30 2016
                                                                                                 REDACTED
                                                                           CustRef#:                      4532-717-E-***
                                                                                                            REDACTED
                                                                           Primary Account#:                         4532



DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                    AMOUNT
4/29                          DEBIT CARD PURCHASE, AUT 042716 VISA DDA PUR                                                    25.00
                                  STARBUCKS CARD RELOAD    800 782 7282 *WA
                                  REDACTED 4866
                                                                                               Subtotal:                 8,991.91
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                    AMOUNT
4/4                           DEBIT                                                                                      2,500.00
4/4                           WIRE TRANSFER FEE                                                                             15.00
4/8                           WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                  8,145.25
4/8                           WIRE TRANSFER OUTGOING, Omar Mar Jonsson                                                   3,644.00
4/8                           WIRE TRANSFER FEE                                                                             40.00
4/8                           WIRE TRANSFER FEE                                                                             40.00
4/13                          WIRE TRANSFER FEE                                                                             15.00
4/19                          WIRE TRANSFER FEE                                                                             15.00
4/20                          WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                             25,000.00
4/20                          WIRE TRANSFER FEE                                                                             40.00
4/21                          DEBIT, Levy #707059                                                                        9,213.98
                                       S MA Summons to Trustee
4/21                          LEVY FEE, Levy #707059                                                                          125.00
                                 PROCESSING FEE
                                                                                               Subtotal:                48,793.23
DAILY BALANCE SUMMARY
DATE                                                         BALANCE            DATE                                    BALANCE
3/31                                                         5,898.45           4/15                                    20,347.98
4/1                                                          5,873.51           4/18                                    19,652.09
4/4                                                         52,314.55           4/19                                    43,499.35
4/5                                                         50,355.66           4/20                                    18,459.35
4/6                                                         20,355.66           4/21                                     8,604.73
4/8                                                          6,587.14           4/25                                     8,585.91
4111                                                         6,314.35           4/26                                     8,525.32
4/13                                                        20,635.93           4/27                                     3,138.31
4/14                                                        20,472.98           4/29                                     3,113.31




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                      Bank
                      America's Most Convenient Bank®                                      E             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                       Page:                                                    1of5
      SALES                                                                                              Statement Period:            May 012016-May312016
                                                                                                                                         REDACTED
      18 GRAF RD UNIT 26                                                                                 CustRef#:                                4532-717-E-***
                                                                                                                                                    REDACTED
      NEWBURYPORT MA 01950-4032                                                                          Primary Account#:                                   4532




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                                                       Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                             3,113.31                                               Average Collected Balance                      15,952.72
Electronic Deposits                                          26,942.05                                               Annual Percentage Yield Earned                     0.00%
Other Credits                                                30,408.60                                               Days in Period                                         31

Checks Paid                                                  10,000.00
Electronic Payments                                           5,866.11
Other Withdrawals                                            33,565.00
Ending Balance                                               11,032.85

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                                                AMOUNT
519                           ACH DEPOSIT, STEVEN BARLOW SENDER 284877936                                                                                           15,000.00
5/11                          CCD DEPOSIT, U. P. S. UPS BILL 161210000057E40                                                                                            42.05
5/13                          ATM CHECK DEPOSIT, AUT 051316 ATM CHECK DEPOSI                                                                                        11,900.00
                                  1197 CENTRE STREET       NEWTON CENTRE * MA
                                  REDACTED 4866
                                                                                                                                         Subtotal:                  26,942.05
Other Credits
POSTING DA TE                 DESCRIPTION                                                                                                                                AMOUNT
5110                          WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                                                         15,408.60
5124                          WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                               15,000.00
                                                                                                                                         Subtotal:                  30,408.60
Checks Paid               No. Checks: I              *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                          AMOUNT
5117                        1160                             10,000.00
                                                                                                                                         Subtotal:                  10,000.00
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                                                AMOUNT
513                           DEBIT CARD PURCHASE, AUT 050116 VISA DDA PUR                                                                                                25.00
                                   STARBUCKS CARD RELOAD        800 782 7282 *WA
                                   REDACTED 4866
514                           5CD DEBIT, U. P. S. UPS BILL 161140000057E40                                                                                               235.54
514                           DEBIT CARD PURCHASE, AUT 050216 VISA DDA PUR                                                                                                25.00
                                   STARBUCKS CARD RELOAD        800 782 7282 *WA
                                   REDACTED 4866
515                           eTransfer Debit, Online Xfer                                                                                                               658.00
                                   Transfer to CK REDACTED 3112


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 How to Balance your Account                                                                                                                                        Page:                    2 of5

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                 DOLLARS            CENTS                    WITI!DRA W ALS N01   DOLLARS           CENTS                   WITI!DRAWALS NO              DOLLARS             CENTS
ON STATEMENT                                                             ON STATEMENT                                                   ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                              If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                        your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                              possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                              FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                              so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                     Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                     Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                      If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about
    • The dollar amount and date of the suspected error.                                       are still obligated to pay the parts of your bill that are not in question. While we
                                                                                               investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                               collect the amount you question.
writing within ten (I 0) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take            FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
more than ten (IO) business days to do this, we will credit your account for the              the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it        or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                          on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                               charge. The finance charge begins to accrue on the date advances and other debits
                                                                                              are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the      To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta."X authorities. The amount to be reported will be
                                                                                              Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                              the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                              balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                              of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                              advances have been added and payments or credits have been subtracted plus or
                                                                                              minus any other adjustments that might have occurred that day. There is no grace
                                                                                              period during which no finance charge accrues. Finance charge adjustments are
                                                                                              included in your total finance charge.
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               Bank
               America's Most Convenient Bank®                               STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                           Page:                                      3 of5
      SALES                                                                  Statement Period:   May 01 2016-May 31 2016
                                                                                                    REDACTED
                                                                             CustRef#:                       4532-717-E-***
                                                                             Primary Account#:                 REDACTED
                                                                                                                        4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE       DESCRIPTION                                                                                                  AMOUNT
519                TD ATM DEBIT, AUT 050816 DDA WITHDRAW                                                                        700.00
                         535 BOYLSTON STREET              BOSTON        * MA
                         REDACTED 4866
519                TD ATM DEBIT, AUT 050816 DDA WITHDRAW                                                                        300.00
                         535 BOYLSTON STREET              BOSTON        *MA
                         REDACTED 4866
519                DEBIT CARD PURCHASE, AUT 050716 VISA DDA PUR                                                                  25.00
                         SQ IHEARTMEDIA NEW HAMP               PORTSMOUTH            * NH
                         REDACTED 4866
5110               DEBIT CARD PURCHASE, AUT 050816 VISA DDA PUR                                                                   25.00
                         STARBUCKS CARD RELOAD                800 782 7282 *WA
                         REDACTED 4866
5112               DEBIT CARD PURCHASE, AUT 051116 VISA DDA PUR                                                                    5.32
                         PLOUFFE S CUP N SAUCER             PAWTUCKET          *RI
                         REDACTED 4866
5/13               DEBIT CARD PURCHASE, AUT 051116 VISA DDA PUR                                                                    1.00
                        NAY AX AIR                 HUNT VALLEY        * MD
                        REDACTED 4866
5116               eTransfer Debit, Online Xfer                                                                             3,102.37
                         Transfer to CK REDACTED 3112
5116               DEBIT CARD PURCHASE, AUT 051416 VISA DDA PUR                                                                   22.02
                        SQ PRESSED                 BOSTON        * MA
                        REDACTED 4866
5/16               DEBIT CARD PURCHASE, AUT 051416 VISA DDA PUR                                                                    8.28
                        TST TAZA CHOCOLATE BPM               BOSTON           *MA
                        REDACTED 4866
5116               DEBIT CARD PURCHASE, AUT 051416 VISA DDA PUR                                                                    5.50
                        TST SWISSBAKERS BP               ALLSTON        * MA
                        REDACTED 4866
5/17               DEBIT CARD PURCHASE, AUT 051716 VISA DDA PUR                                                                   41.95
                        MASSPIKE  00200055              888 5253278   * MA
                        REDACTED 4866
5117               DEBIT CARD PURCHASE, AUT 051516 VISA DDA PUR                                                                   14.64
                        MIKE PATTY S                BOSTON        * MA
                        REDACTED 4866
5/18               5CD DEBIT, U. P. S. UPS BILL 161280000057E40                                                                  145.78
5/18               DEBIT CARD PURCHASE, AUT 051716 VISA DDA PUR                                                                   22.02
                        SQ PRESSED                 BOSTON        * MA
                        REDACTED 4866
5/18               DEBIT CARD PURCHASE, AUT 051616 VISA DDA PUR                                                                   12.02
                        TREAT CUPCAKE BAR                 CHESTNUT HILL* MA
                        REDACTED 4866


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                     Bank
                     America's Most Convenient Bank®                                       STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                                          Page:                                      4 of5
     SALES                                                                                 Statement Period:   May 012016-May 312016
                                                                                                                  REDACTED
                                                                                           CustRef#:                       4532-717-E-***
                                                                                                                             REDACTED
                                                                                           Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                                     AMOUNT
5/19                          DEBIT POS, AUT 051816 DDA PURCHASE                                                                               10.61
                                      OFFICE MAX OFFI 8 CALLS              DORCHESTER         * MA
                                      REDACTED 4866
5/20                         DEBIT CARD PURCHASE, AUT 051916 VISA DDA PUR                                                                      46.44
                                      MARTYS                        NEWTON      *MA
                                      REDACTED 4866
5/20                         DEBIT CARD PURCHASE, AUT 051816 VISA DDA PUR                                                                      41.64
                                      EXXONMOBIL 97448302                 STOUGHTON        *MA
                                      REDACTED 4866
5/20                         DEBIT CARD PURCHASE, AUT 051916 VISA DDA PUR                                                                       4.60
                                      SQ JAHO COFFEE ROA                  BOSTON       * MA
                                      REDACTED 4866
5123                         DEBIT POS, AUT 052216 DDA PURCHASE                                                                                13.00
                                      WOODYS LI 1035 SARATOG                 EAST BOSTON *MA
                                      REDACTED 4866
5/23                         DEBIT CARD PURCHASE, AUT 052116 VISA DDA PUR                                                                       9.56
                                      FLOUR BAKERY CAFE 2                 BOSTON       * MA
                                      REDACTED 4866
5/24                         DEBIT CARD PURCHASE, AUT 052216 VISA DDA PUR                                                                      49.89
                                      YARD HOUSE 83200083261               DEDHAM       *MA
                                      REDACTED 4866
5127                         DEBIT CARD PURCHASE, AUT 052516 VISA DDA PUR                                                                     162.08
                                      ANJU                         KITTERY POINT* ME
                                      REDACTED 4866
5/27                         DEBIT CARD PURCHASE, AUT 052516 VISA DDA PUR                                                                      82.32
                                      BOB LOBSTER                     NEWBURY       * MA
                                      REDACTED 4866
5/27                         DEBIT CARD PURCHASE, AUT 052516 VISA DDA PUR                                                                      25.00
                                     STARBUCKS CARD RELOAD                    800 782 7282 * WA
                                     REDACTED 4866
5/27                         DEBIT CARD PURCHASE, AUT 052516 VISA DDA PUR                                                                       4.00
                                     RIVERSIDE CYCLE NEWBURYP                 NEWBURYPORT            * MA
                                     REDACTED 4866
5/31                         DEBIT CARD PURCHASE, AUT 052616 VISA DDA PUR                                                                      42.53
                                     EXXONMOBIL 97448302                  STOUGHTON        * MA
                                     REDACTED 4866

                                                                                                                 Subtotal:                5,866.11
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                      AMOUNT
519                          DEBIT                                                                                                        5,500.00
5/10                         WIRE TRANSFER FEE                                                                                               15.00
5/16                         WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                               10,000.00

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                      Bank
                      America's Most Convenient Bank®                  STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                     Page:                                     5 of5
      SALES                                                            Statement Period:   May 012016-May 31 2016
                                                                                              REDACTED
                                                                       CustRef#:                       4532-717-E-***
                                                                       Primary Account#:                 REDACTED 4532




DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE                  DESCRIPTION                                                                                AMOUNT
5/16                          WIRE TRANSFER FEE                                                                             40.00
5/20                          WIRE TRANSFER OUTGOING, Omar Mar Jonsson                                                   1,950.00
5/20                          WIRE TRANSFER FEE                                                                             40.00
5/24                          WIRE TRANSFER FEE                                                                             15.00
5125                          DEBIT                                                                                      2,200.00
5/31                          WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                  7,000.00
5/31                          WIRE TRANSFER OUTGOING, Mcconnell Valdes Lie                                               6,725.00
5/31                          WIRE TRANSFER FEE                                                                             40.00
5/31                          WIRE TRANSFER FEE                                                                             40.00
                                                                                             Subtotal:               33,565.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE          DATE                                    BALANCE
4/30                                                        3,113.31         5/17                                   14,714.34
513                                                         3,088.31         5/18                                   14,534.52
5/4                                                         2,827.77         5/19                                   14,523.91
515                                                         2,169.77         5/20                                   12,441.23
519                                                        10,644.77         5/23                                   12,418.67
5/10                                                       26,013.37         5/24                                   27,353.78
5/11                                                       26,055.42         5125                                   25,153.78
5/12                                                       26,050.10         5127                                   24,880.38
5/13                                                       37,949.10         5/31                                   11,032.85
5/16                                                       24,770.93




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                      Bank
                      America's Most Convenient Bank®                                      E             STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                                       Page:                                                1of4
      SALES                                                                                              Statement Period:             Jun 01 2016-Jun 30 2016
                                                                                                                                          REDACTED
      18 GRAF RD UNIT 26                                                                                 Cust Ref#:                                4532-717-E-***
                                                                                                         Primary Account#:                           REDACTED 4532
      NEWBURYPORT MA 01950-4032




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                                                       Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                            11,032.85                                               Average Collected Balance                    12,529.37
Electronic Deposits                                           2,134.68                                               Annual Percentage Yield Earned                   0.00%
Other Credits                                                20,000.00                                               Days in Period                                       30

Checks Paid                                                   2,500.00
Electronic Payments                                           7,717.43
Other Withdrawals                                            22,760.00
Service Charges                                                  25.00
Ending Balance                                                  165.10

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE                  DESCRIPTION                                                                                                                            AMOUNT
616                           DEBIT CARD CREDIT, AUT 060616 VISA DDA REF                                                                                               34.68
                                      NEST LABS                         PALO ALTO              *CA
                                      REDACTED 7323
6/21                          CTX DEPOSIT, ICELANDICPLUS LL SENDER 289566958                                                                                       2,100.00
                                                                                                                                         Subtotal:                 2,134.68
Other Credits
POSTING DATE                  DESCRIPTION                                                                                                                            AMOUNT

6/1                           WIRE TRANSFER INCOMING, STEVEN J BARLOW                                                                                             20,000.00
                                                                                                                                         Subtotal:                20,000.00
Checks Paid               No. Checks: I              *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE                        SERIAL NO.                          AMOUNT
6/16                        1161                              2,500.00
                                                                                                                                         Subtotal:                 2,500.00
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                                            AMOUNT
612                           DEBIT CARD PURCHASE, AUT 053116 VISA DDA PUR                                                                                              25.00
                                      STARBUCKS CARD RELOAD                             800 782 7282 *WA
                                      REDACTED 4866
616                           eTransfer Debit, Online Xfer                                                                                                           1,792.00
                                      Transfer to CK REDACTED 3112
616                           DEBIT CARD PURCHASE, AUT 060316 VISA DDA PUR                                                                                           1,027.05
                                      V ALBRUNASTORE COM                             970 8279091        * co
                                      REDACTED 4866
616                           eTransfer Debit, Online Xfer                                                                                                             150.00
                                      Transfer to CK REDACTED 3112



Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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        Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 224 of 231


How to Balance your Account                                                                                                                                      Page:                      2 of4

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:                                                              statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS
                                                                         0
                                                                         WITilDRAWALS N01   DOLLARS           CENTS                   WITilDRAWALS NO              DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                 ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                              FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                             SUMMARY
If you need information about an electronic fund transfer or if you believe there is an      In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,             If you think your bill is wrong. or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
statement or write to:
                                                                                             possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                             FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                             so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the                 Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                   The dollar amount of the suspected error.
Bank. please explain as clearly as you can why you believe there is an error or why                Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                         If you need more information, describe the item you are unsure about
      Your name and account number.                                                          You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
                                                                                             are still obligated to pay the parts of your bill that are not in question. While we
    • The dollar amount and date of the suspected error.
                                                                                             investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in            collect the amount you question.
writing within ten (10) business days after the first telephone call.
                                                                                             FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
We will investigate your complaint and will correct any error promptly. Ifwe take
more than ten (I 0) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it       or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                         on the periodic statement as an easier method for you to calculate the finance
                                                                                             charge. The finance charge begins to accrue on the date advances and other debits
INTEREST NOTICE
                                                                                             are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the     To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State ta\'. authorities. The amount to be reported will be
                                                                                             Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank.
                                                                                             the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                             balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                             of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                             advances have been added and payments or credits have been subtracted plus or
                                                                                             minus any 9ther adjustments that might have occurred that day. There is no grace
                                                                                             period during which no finance charge accrues. Finance charge adjustments are
                                                                                             included in your total finance charge.
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 225 of 231

                     Bank
                     America's Most Convenient Bank®                                  STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                    p~~                                       3~4
      SALES                                                                           Statement Period:   Jun 012016-Jun30 2016
                                                                                                             REDACTED
                                                                                      Cust Ref#:                      4532-717-E-***
                                                                                                                        REDACTED
                                                                                      Primary Account#:                          4532




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE                  DESCRIPTION                                                                                               AMOUNT
6/10                          eTransfer Debit, Online Xfer                                                                              1,568.00
                                      Transfer to CK REDACTED 3112
6/13                          TD ATM DEBIT, AUT 061116 DDA WITHDRAW                                                                      700.00
                                      391 MARKET STREET                BRIGHTON     * MA
                                      REDACTED 4866
6/13                         TD A TM DEBIT, AUT 061116 DDA WITHDRAW                                                                      300.00
                                      391 MARKET STREET                BRIGHTON     *MA
                                      REDACTED 4866
6/13                          DEBIT CARD PURCHASE, AUT 061016 VISA DDA PUR                                                                  2.98
                                      UBER JUN09 US C4TKL              8665761039   * CA
                                      REDACTED 4866
6/15                          DEBIT CARD PURCHASE, AUT 061316 VISA ODA PUR                                                                 52.40
                                      EXXONMOBIL 97448229              BOSTON       *MA
                                      REDACTED 4866
6123                         eTransfer Debit, Online Xfer                                                                               2,100.00
                                      Transfer to CK REDACTED 3112

                                                                                                           Subtotal:                    7,717.43
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                AMOUNT
611                          WIRE TRANSFER OUTGOING, Darina Juykova                                                                  2,500.00
6/1                          WIRE TRANSFER FEE                                                                                          25.00
6/1                          WIRE TRANSFER FEE                                                                                          15.00
616                          WIRE TRANSFER OUTGOING, Omar Mar Jonsson                                                                1,600.00
616                          WIRE TRANSFER FEE                                                                                          40.00
6116                         WIRE TRANSFER OUTGOING, Fossa Enterprises Ehf                                                          15,000.00
6/16                         WIRE TRANSFER OUTGOING, Dyrakotsnammi Ehf                                                               3,500.00
6/16                         WIRE TRANSFER FEE                                                                                          40.00
6116                         WIRE TRANSFER FEE                                                                                          40.00
                                                                                                           Subtotal:                22,760.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                AMOUNT
6130                         MAINTENANCE FEE                                                                                               25.00
                                                                                                           Subtotal:                       25.00
DAILY BALANCE SUMMARY
DATE                                                        BALANCE                         DATE                                    BALANCE
5/31                                                       11,032.85                        6/13                                    21,322.50
6/1                                                        28,492.85                        6/15                                    21,270.10
612                                                        28,467.85                        6/16                                       190.10
616                                                        23,893.48                        6/21                                     2,290.10
6110                                                       22,325.48                        6/23                                       190.l 0

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Bank Deposits FDIC Insured 1 TD Bank, N.A I Equal Housing Lender   @
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                     Bank
                     America's Most Convenient Bank®                        STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                           Page:                                       4 of4
     SALES                                                                  Statement Period:    Jun 01 2016-Jun 30 2016
                                                                                                    REDACTED
                                                                            CustRef#:                        4532-717-E-***
                                                                            Primary Account #:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE
6/30                                                               165.10




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Bank Deposits FDIC Insured I TD Bank, N.A.1 Equal Housing Lender        @
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 227 of 231

                     Bank
                     America's Most Convenient Bank®                           E       STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                     Page:                                    1 of2
      SALES                                                                            Statement Period:   Jul 01 2016-Jul 31 2016
                                                                                                            REDACTED
      9 RIVERVIEW HTS                                                                  Cust Ref#:                    4532-717-E-***
                                                                                       Primary Account#:               REDACTED 4532
      AMESBURY MA 01913-4533




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                      Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                              165.10                          Average Collected Balance                116.14
Other Credits                                                5,000.00                          Annual Percentage Yield Earned           0.00%
                                                                                               Days in Period                               31
Electronic Payments                                             83.89
Other Withdrawals                                            5,015.00
Service Charges                                                 25.00
Ending Balance                                                  41.21

DAILY ACCOUNT ACTNITY
Other Credits
POSTING DA TE                DESCRIPTION                                                                                                AMOUNT

7/8                          WIRE TRANSFER INCOMING, BOSTON LAW GROUP, P.C                                                          5,000.00
                                                                                                           Subtotal:                5,000.00
Electronic Payments
POSTING DATE                 DESCRIPTION                                                                                                AMOUNT
7112                         DEBIT CARD PURCHASE, AUT 071016 VISA DDA PUR                                                                49.21
                                     EXXONMOBIL 97448302                   STOUGHTON   * MA
                                     REDACTED 4866
7127                         DEBIT CARD PURCHASE, AUT 072516 VISA DDA PUR                                                                34.68
                                     EXXONMOBIL 97448302                   STOUGHTON   * MA
                                     REDACTED 4866

                                                                                                           Subtotal:                     83.89
Other Withdrawals
POSTING DATE                 DESCRIPTION                                                                                                AMOUNT
7/8                          DEBIT                                                                                                  5,000.00
7/8                          WIRE TRANSFER FEE                                                                                         15.00
                                                                                                           Subtotal:                5,015.00
Service Charges
POSTING DATE                 DESCRIPTION                                                                                                AMOUNT
7/29                         MAINTENANCE FEE                                                                                             25.00
                                                                                                           Subtotal:                     25.00
DAILY BALANCE SUMMARY
DATE                                                       BALANCE                          DATE                                   BALANCE
6/30                                                              165.10                    7/27                                         66.21
7/8                                                               150.10                    7129                                         41.21
7112                                                              100.89



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Bank Deposits FDfC Insured I TD Bank, NA I Equal Housing Lender        @
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How to Balance your Account                                                                                                                                      Page:                     2 of2

Begin by adjusting your account register                            1.   Your ending balance shown on this
as follows:
                                                                         statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and  enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




e
DEPOSITS NOT                DOLLARS             CENTS                    WITHDRAWALS NOl   DOLLARS           CENTS                   WITHDRAWALS NO               DOLLARS              CENTS
ON STATEMENT                                                             ON STATEMENT                                                ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                             FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                            SUMMARY
If you need information about an electronic fund transfer or if you believe there is an     In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                            If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
                                                                                            your bill, write us at P.O. Box 1377, Lewiston, Maine 04243~1377 as soon as
statement or write to:
                                                                                            possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                            FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                            so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                  Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                  The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                  Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:                                                        If you need more information, describe the item you are unsure about.
      Your name and account number.
                                                                                            You do not have to pay any amount in question while we are investigating, but you
    • A description of the error or transaction you are unsure about.
    • The dollar amount and date of the suspected error.                                    are still obligated to pay the parts of your bill that are not in question. While we
                                                                                            investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                            collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and \vill correct any error promptly. If we take         FINANCE CHARGES:Although the Bnnk uses the Daily Balance method to calculate
more than ten (10) business days to do this, we will credit your account for the            the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it      or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                        on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                             charge. The finance charge begins to accrue on the date advances and other debits
                                                                                            are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the    To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
                                                                                            Period times the Daily Periodic Rate (as listed in the Account Summary section on
reported separately to you by the Bank
                                                                                            the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                            balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                            of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                            advances have been added and payments or credits have been subtracted plus or
                                                                                            minus any other adjustments that might have occurred that day. There is no grace
                                                                                            period during which no finance charge accrues. Finance charge adjustments are
                                                                                            included in your total finance charge.
       Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 229 of 231

                      Bank
                      America's Most Convenient Bank®                               E        STATEMENT OF ACCOUNT



      ENCOMPASS COMMUNICATIONS INC                                                           Page:                                      1 of3
      SALES                                                                                  Statement Period:   Aug 012016-Aug31 2016
                                                                                                                    REDACTED
      9 RIVERVIEW HTS                                                                        CustRef#:                       4532-717-E-***
                                                                                             Primary Account#:                 REDACTED 4532
      AMESBURY MA 01913-4533




TD Business Convenience Plus
ENCOMPASS COMMUNICATIONS INC                                                                                              Account# REDACTED 4532
SALES


ACCOUNT SUMMARY
Beginning Balance                                                     41.21                          Average Collected Balance                  -160.75
                                                                                                     Annual Percentage Yield Earned              0.00%
Electronic Payments                                                  169.07                          Days in Period                                  31
Other Withdrawals                                                    160.00
Service Charges                                                       25.00
Ending Balance                                                      -312.86

DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
8/1                           DEBIT CARD PURCHASE, AUT 072916 VISA DDA PUR                                                                       23.34
                                      EXXONMOBIL 97448302                     STOUGHTON      *MA
                                      REDACTED 4866
8/5                           DEBIT CARD PURCHASE, AUT 080316 VISA DDA PUR                                                                        58.47
                                      EXXONMOBIL 97448229                     BOSTON      * MA
                                      REDACTED 4866
8115                          DEBIT CARD PURCHASE, AUT 081316 VISA DDA PUR                                                                        49.03
                                      EXXONMOBIL 97454649                     PEABODY      * MA
                                      REDACTED 4866
8/18                          DEBIT CARD PURCHASE, AUT 081716 VISA DDA PUR                                                                        21.00
                                      PAYPAL DEEWHITFIEL                      402 935 7733 * CA
                                      REDACTED 4866
8118                          DEBIT CARD PURCHASE, AUT 081716 VISA DDA PUR                                                                        17.23
                                      PAYPAL ENDLESSVINT                      402 935 7733 *CA
                                      REDACTED 4866

                                                                                                                  Subtotal:                     169.07
Other Withdrawals
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
8/8                           OVERDRAFT PD                                                                                                        35.00
8/16                          OVERDRAFT PD                                                                                                        35.00
8/18                          SUSTAINED OD FEE                                                                                                    20.00
8/19                          OVERDRAFT PD                                                                                                        70.00
                                                                                                                  Subtotal:                      160.00
Service Charges
POSTING DATE                  DESCRIPTION                                                                                                       AMOUNT
8/31                          MAINTENANCE FEE                                                                                                     25.00
                                                                                                                   Subtotal:                      25.00



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Bank Deposits FDIC Insured I TD Bank. N.A. I Equal Housing Lender         @
         Case 1:16-cv-11914-LTS Document 13-18 Filed 11/28/16 Page 230 of 231


 How to Balance your Account                                                                                                                                        Page:                     2 of3

Begin by adjusting your account register                             1.   Your ending balance shown on this
as follows:
                                                                          statement is:
Subtract any services charges shown
on this statement.                  2. List below the amount of deposits or
                                       credit transfers which do not appear
Subtract any automatic payments,       on this statement. Total the deposits
transfers or other electronic with-
drawals not previously recorded.       and enter on Line 2.

Add any interest earned if you have 3. Subtotal by adding lines 1 and 2.
an interest-bearing account.
                                      4. List below the total amount of
Add any automatic deposit or
overdraft line of credit.                withdrawals that do not appear on
                                         this statement. Total the withdrawals
Review all withdrawals shown on this and enter on Line 4.
statement and check them off in your
account register.                     s. Subtract Line 4 from 3. This adjusted
Follow instructions 2-5 to verify your balance should equal your account
ending account balance.                  balance.




f)
DEPOSITS NOT                 DOLLARS             CENTS                    WlTilDRA WALS N01   DOLLARS           CENTS                   WlTilDRA W ALS NO            DOLLARS              CENTS
ON STATEMENT                                                              ON STATEMENT                                                  ON STATEMENT




FOR CONSUMER ACCOUNTS ONLY IN CASE OF ERRORS OR                                                FOR CONSUMER LOAN ACCOUNTS ONLY BILLING RIGHTS
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                               SUMMARY
If you need information about an electronic fund transfer or if you believe there is an        In case of Errors or Questions About Your Bill:
error on your bank statement or receipt relating to an electronic fund transfer,
                                                                                               If you think your bill is wrong, or if you need more information about a transaction on
telephone the bank immediately at the phone number listed on the front of your
statement or write to:                                                                         your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
                                                                                               possible. We must hear from you no later than sixty (60) days after we sent you the
TD Bank, N.A., Deposit Operations Dept, P.O. Box I377, Lewiston,                               FIRST bill on which the error or problem appeared. You can telephone us, but doing
Maine 04243-1377                                                                               so will not preserve your rights. In your letter, give us the following information:
We must hear from you no later than sixty (60) calendar days after we sent you the
                                                                                                     Your name and account number..
first statement upon which the error or problem first appeared. When contacting the
                                                                                                     The dollar amount of the suspected error.
Bank, please explain as clearly as you can why you believe there is an error or why
                                                                                                     Describe the error and explain, if you can, why you believe there is an error.
more information is needed. Please include:
                                                                                                      If you need more information, describe the item you are unsure about.
       Your name and account number.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
     • A description of the error or transaction you are unsure about.
     • The dollar amount and date of the suspected error.                                      are still obligated to pay the parts of your bill that are not in question. While we
                                                                                               investigate your question, we cannot report you as delinquent or take any action to
When making a verbal inquiry, the Bank may ask that you send us your complaint in
                                                                                               collect the amount you question.
writing within ten (10) business days after the first telephone call.
We will investigate your complaint and \Viii correct any error promptly. If we take            FINANCE CHARGES:Although the Bank uses the Daily Balance method to calculate
more than ten (I 0) business days to do this, we will credit your account for the              the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
amount you think is in error, so that you have the use of the money during the time it         or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
takes to complete our investigation.                                                           on the periodic statement as an easier method for you to calculate the finance
INTEREST NOTICE                                                                                charge. The finance charge begins to accrue on the date advances and other debits
                                                                                               are posted to your account and will continue until the balance has been paid in full.
Total interest credited by the Bank to you this year will be reported by the Bank to the
                                                                                               To compute the finance charge, multiply the Average Daily Balance times the Days in
Internal Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank.                                                        Period times the Daily Periodic Rate (as listed in the Account Summary section on
                                                                                               the front of the statement). The Average Daily Balance is calculated by adding the
                                                                                               balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                      Bank
                     America's Most Convenient Bank®                     STATEMENT OF ACCOUNT



     ENCOMPASS COMMUNICATIONS INC                                        Page:                                     3 of3
     SALES                                                               Statement Period:   Aug 01 2016-Aug 31 2016
                                                                                                REDACTED
                                                                         Cust Ref#:                      4532-717-E-***
                                                                         Primary Account#:                 REDACTED 4532




DAILY BALANCE SUMMARY
DATE                                                        BALANCE          DATE                                      BALANCE
7/31                                                             41.21       8/16                                          -159.63
8/1                                                              17.87       8/18                                          -217.86
8/5                                                             -40.60       8/19                                          -287.86
8/8                                                             -75.60       8/31                                          -312.86
8/15                                                           -124.63




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